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                              EXHIBIT 1

                   MASSACHUSETTS APPEALS BRIEF

                        HUMPHRIES V BUTTON
                            2023-P-1202
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12

13                COMMONWEALTH OF MASSACHUSETTS
14
                               APPEALS COURT
15

16
                                   NO. 2023-P-1202
17

18   ON APPEAL FROM BOSTON MUNICIPAL COURT CENTRAL DIVISION
            FOR A MOTION TO VACATE A PERMANENT 209A
19

20

21
     M.T.M and D.B
22
                Appellants,
23
           v.
24                                           BRIEF OF APPELLANTS
     S.H                                     M.T.M AND D.B
25
                 Appellee.
26

27

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 1                       STATEMENT OF THE ISSUES
 2
      1. Whether the trial Court violated Appellants’ due process when ordering
 3

 4       them not to speak on newly discovered evidence of fraud on the Court
 5
         which occurred in 2017 and 2018 while allowing Appellee to speak on the
 6
         very years Appellants were prevented from speaking on and instead
 7

 8       required Appellants to prove a significant change in circumstances in the
 9
         years that followed the issuance of the permanent 209A in 2018 rather
10

11
         than addressing the fraud on the Court?

12    2. Whether the lower Court abused discretion in its decision by negligently
13
         dismissing factual evidence of fraud presented by Appellants, depriving
14

15
         them of a fair hearing and causing error in judgement, resulting in

16       incorrect, unsubstantiated and false statements made by the lower Court?
17

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 1                           STATEMENT OF THE CASE
 2
                  This case is an appeal from a decision of the Boston Municipal
 3

 4   Court Central Division, by order of Judge Steven M. Key. The parties are the
 5
     Appellants, Mitchell Taylor Button (“M.T.M”) and Dusty Button (“D.B”)
 6
     together, (“Appellants or Defendants”), and the Appellee is Sage Humphries
 7

 8   (“S.H”, “Plaintiff or “Appellee”). In January of 2023, Appellants filed a motion
 9
     to vacate a permanently issued 209A on the grounds of fraud on the Court and
10

11
     newly discovered evidence which was not available to Appellants at the

12   issuance of the 209A or when the Order was made permanent ex parte by the
13
     exercise of reasonable diligence and was only obtained in 2022 through civil
14

15
     litigation in Nevada, which involves both parties1 (RA Vol. I 18-37)2.

16                Appellants claim that S.H committed fraud on the Court to
17
     fraudulently obtain a permanent 209A against Appellants in 2017 and 2018
18

19   whereas, S.H abused and deceived the Court to obtain a permanent 209A under
20
     false and fraudulent pretenses as grounds for a plan to utilize the 209A and
21

22
     1
23     Appellee filed a civil suit against Appellants in the state of Nevada for
     $21,000,000.00 in July, 2021. Appellants have been pro se litigants for nearly
24   three years in litigation and regularly confer with counsel representing S.H in
25   Nevada who now represent her in this Court after being granted pro hac vice.
     2
       Record of Appendix exhibits will be referenced with the abbreviation RA =
26   record of appendix, Vol = volume and then the page number following. Example
27   RA Vol 22 etc. Addendum is referenced as such – Add. and following page
     number, for example Add pg 52.
28

                                         7
                         BRIEF OF APPELLANTS M.T.M. AND D.B
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 1   justify the fraud she has carried out as part of a larger pattern of harassment. See
 2
     M.C.D., 90 Mass. App. Ct. at 342, quoting Adams, supra at 729-730 (false
 3

 4   allegation of abuse or false testimony alone insufficient to constitute fraud on
 5   court absent showing that it contributed to "'larger pattern of harassment' or
 6
     'unconscionable scheme calculated to interfere with the judicial system's ability
 7

 8   impartially to adjudicate a matter'") – Add. pg 53. Specifically, Appellants
 9   claim that S.H intentionally withheld police reports from the Court which
10
     contradicted her testimony in prior years and forged documents including her
11

12   209A and supporting affidavits which were presented to the Court in 2017 and
13   2018 in order to secure a favorable outcome. If the withheld reports had been
14
     presented to the Court in 2017 and 2018, the outcomes of the decisions would
15

16   certainly have been different and would not have favored Appellee as the reports
17   show the true nature of events which took place. (RA Vol II – Tr. Lyons – 98
18
     and 93-95; RA Vol II – Tr. Key 113-117).
19

20                In January of 2023 Appellants filed motion to vacate based upon
21
     fraud on the Court which was heard on February 22nd, 2023 by Honorable Judge
22

23   Tracy Lyons of the Boston Municipal Court. Appellants’ motion to vacate was

24   heard in part and additionally moved to a later date to ensure all evidence of
25
     fraud Appellants presented to the Court was also provided to S.H. and her
26

27   attorney prior to the next hearing (RA Vol II 90-105). Appellants’ motion to

28

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 1   vacate was scheduled to be heard again on March 27th, 2023. On March 13th,
 2
     2023, Appellee filed for attorney Sabina Mariella3 admittance pro hac vice in
 3

 4   Massachusetts. Appellants filed an opposition to however; Sabina Mariella was
 5   admitted pro hac vice and rather than assisting Appellee’s attorney Maura
 6
     Melcher, she replaced her, leading Appellee to perjure herself on the stand after
 7

 8   Defendants made it known to Ms. Mariella that she was representing a client
 9   with contradicting allegations in Nevada4 though her 209a states she was never
10
     forced, threatened or under duress (RA Vol I 17).
11

12                 On March 27th, 2023 Appellants were heard on their motion to
13
     vacate by Honorable Judge Steven M. Key. (RA Vol II 109-175). Appellee filed
14

15
     an opposition and both parties appeared (RA Vol I 38-59). Appellants submitted

16
     3
17
       Sabina Mariella is an associate of Boies Schiller Flexner LLC and represents
     S.H. in the Nevada District Court but is not relevant to Appellants’ claim of
18   fraud on the Court and in fact, represents contradicting allegations made by S.H
19
     in Nevada which are not consistent with the facts in Appellee’s original
     affidavits in 2017 and 2018 (RA Vol III 16-18; RA Vol III 41-44; RA Vol IV 73-
20   75; RA Vol IV 166-171)
     4
21     S.H gave testimony with new allegations which contradicted her 209A and
     affidavits but were on par with her complaint in Nevada. Defendants made
22   Sabina Mariella aware of such contradictions during a meet and confer
23   regarding the contradicting allegations in two states and that it would be a
     conflict of interest for Ms. Mariella to represent S.H in Nevada. The allegations
24   presented by S.H on March 27th, 2023 were new allegations of “damage” which
25   she alleges was due to “the rapes”, which had never been stated in any prior
     complaint in Massachusetts and is also subject to defamation in Defendants
26   counterclaim due to evidence presented by Defendants which shows the
27   contradicting statements and perjury committed by S.H (RA Vol II – Tr. Key
     150).
28

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 1   “two binders of materials containing nearly two hundred pages of pictures, text
 2
     messages, emails, affidavits, police reports and selective pages of what seems to
 3

 4   be a transcript of the initial two-party hearing” (RA Vol III; RA Vol I 60-91),
 5   however, within the first five minutes of the hearing, Appellants were instructed
 6
     by the Court not to speak on the evidence of fraud or the years which new
 7

 8   evidence obtained by Appellants in 2022 proves S.H committed fraud in 2017
 9   and 2018 (RA Vol II Tr. Key 112-125). Additionally, the Court stated they
10
     would not look at the evidence provided by Appellants and that he is not going
11

12   to look at those documents (dismissing the fact that the Motion to Vacate was
13   filed on grounds of fraud on the Court (RA Vol II Tr. Key 114). On May 22nd,
14
     2023, the lower Court issued its decision and Order on Appellants’ motion to
15

16   vacate and DENIED Appellants’ motion to vacate. M.T.M and D.B filed their
17   joint notice of Appeal on June 11th, 2023 (RA Vol I 102-103).
18

19                             STATEMENT OF FACTS

20
                  In April of 2017, at the age of Nineteen years and six months old,
21
     S.H, who was a co-worker of Appellant D.B at the Boston Ballet, initiated a
22

23   consensual dating relationship with both Appellants M.T.M and D.B. The dating
24
     relationship in its entirety was nearly three months in length however, two of
25
     those three months, (in June and July) were purely through long distance
26

27   messaging (RA Vol III 92-93; RA Vol III 105-107; RA Vol III 143-162).
28

                                         10
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 1   Although Appellants admit the relationship was unorthodox and unfamiliar to
 2
     them, the relationship between Appellants and Appellee was mutually loving
 3

 4   and caring (RA Vol III 163-171).
 5
                  On May 25th, 2017, after weeks of harassing their daughter
 6
     regarding the disapproval of the relationship between S.H and Appellants, the
 7

 8   parents of S.H took a flight from California to Massachusetts, kidnapped their
 9
     adult daughter under false pretenses, stole her phone, driver’s license and funds
10

11
     from her bank account, forced her onto a plane back to California, “into

12   exorcisms” and into therapy because they did not approve of her choice to be in
13
     a relationship with Appellants (RA Vol III Tr. McKenna 94-95; RA Vol II Tr.
14

15
     Lyons 41; RA Vol II Tr. Key 125; RA Vol III 108-109; RA Vol III 171-175; RA

16   Vol III 139; RA Vol III 37-40).
17
                  Three days later, Appellee’s father knowingly filed two false police
18

19   reports against Appellants, one with the Orange County Sherriff’s Department in
20
     California falsely claiming Appellants had boarded a flight to California and
21
     were going to kidnap S.H and harm their family and another with the Somerville
22

23   Police Department in Massachusetts, falsely stating Appellants had over fifty
24
     automatic weapons, hand grenades and land mines in their Somerville home,
25
     illegally using an address of a Somerville resident who lived in the same
26

27   apartment complex as Appellants while making the call from California to file
28

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 1   the false report (RA Vol III 176; RA Vol III 7). Both reports were filed
 2
     consecutively, within one minute of each other. The Somerville Police
 3

 4   Department cleared the home of Appellants within minutes stating there were no
 5   such automatic weapons, hand grenades or land mines and the call was
 6
     unfounded. In California, The Orange County Sheriff’s Department interviewed
 7

 8   S.H away from her father where she stated “there is no validity to the statements
 9   made by her father and she feels safe and that no harm would be done to her
10
     family”. These reports were withheld from the Boston Municipal Court in 2017
11

12   and 2018 to intentionally deceive the Court and later obtained by Appellants
13   through subpoenas issued by the Nevada District Court in 2022.
14

15
                  From May 25th, 2017 – July 18th, 2017 Appellee Sage Humphries

16   pursued Appellants and expressed her desire to continue her relationship with
17
     them using various forms of communication on her own merit, borrowing
18

19   strangers’ phones, her parents’ phones, her therapist’s phone, and her younger

20   brother’s phone to contact Appellants via Snapchat, (who were in Australia at
21
     the time), in order to hide her communication with Appellants from her parents,
22

23   who continued to withhold her phone, driver’s license and funds from her bank

24   account until she agreed to break off her relationship with Appellants (RA Vol
25
     III 125; RA Vol III 107).
26

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                         BRIEF OF APPELLANTS M.T.M. AND D.B
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 1                On July 9th, 2017 S.H warned Appellants that she would be forced
 2
     to leave a fake voicemail to convince her parents that she had ended the
 3

 4   relationship with Appellants so that her parents would allow her to go back to
 5   Boston, giving back her driver’s license, phone and bank account funds (RA Vol
 6
     III 106; RA Vol III 125; RA Vol III 127 – 138). S.H followed through, leaving
 7

 8   the fake break up voicemail on July 10th, 2017. Following the voicemail, S.H
 9   continued to pursue Appellants via Snapchat on her own accord telling
10
     Appellants to delete the voicemail and to “not believe a word [she] said” (RA
11

12   Vol III 126; RA Vol III 134). Days later, S.H messaged Appellants stating her
13   parents had forced her to see a lawyer and were forcing her to sign a restraining
14
     order against Appellants in order for her parents to allow her to go back to
15

16   Boston, that she “got really upset and left” (RA Vol III 106). S.H stated via
17   messages to Appellants that her desire was to be with them once she returned to
18
     Boston but that she needed to “make them [her parents] believe she ended the
19

20   relationship” (RA Vol III 132). S.H continued to pursue Appellants and
21
     maintained her relationship with them until July 18th, 2017 sending a final
22
     message, “I want you to know I am no longer your girlfriend, this is over and
23

24   final ~ Sagey”.
25
                  Four days later, on July 22nd, 2017, S.H intentionally and
26

27   knowingly filed a false police report with The Orange County Sherriff’s

28

                                          13
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 1   Department in California against Appellants, reporting sexual assault and threats
 2
     to do bodily harm, contradicting her initial statement in her father’s false report
 3

 4   on May 28th, 2017 (RA Vol III 8). Officers interviewed S.H privately, away
 5   from her parents viewing any and all messages between S.H and Appellants on
 6
     her phone and the report concluded that the allegations were unfounded based
 7

 8   on the interview, the messages and the prior statements made to law
 9   enforcement by S.H. (RA Vol III 7). This report was intentionally withheld by
10
     S.H in 2017, 2018 and 2023 and was not obtained by Appellants until 2022
11

12   during litigation in Nevada whereas, Appellants subpoenaed The Orange County
13   Sheriff’s Department to obtain this report. Appellants were never able to cross
14
     examine S.H on this report as S.H did not bring the report with her to Court. The
15

16   withholding of this report is due to its contradicting statements which would
17   have certainly changed the outcome of the lower Court’s decision in 2017. S.H
18
     even admitted in her deposition in Nevada that her attorney, Maura Melcher
19

20   “did not find it necessary” to bring to Court in 2017 which Appellants cannot
21
     provide as the deposition was following the Motion to Vacate in March.
22
     However, this report was presented to Judge Key in Defendants’ motion to
23

24   vacate as it had never previously been litigated and shows by a preponderance of
25
     the evidence that S.H has committed fraud and that this was a calculated scheme
26
     to obtain an unwarranted abuse prevention order in 2017 for a larger purpose.
27

28

                                          14
                          BRIEF OF APPELLANTS M.T.M. AND D.B
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 1   Appellants were never aware of these reports as they were not presented to the
 2
     Court in 2017 or in 2018 however, even if Appellants were aware of the reports,
 3

 4   they were not able to obtain the reports until a subpoena was served upon The
 5   Orange County Sheriff’s Department (California Public Records Act. - See Cal.
 6
     Gov. Code 7923.600)5.
 7

 8                 On August 1st, 2017, S.H. filed for an emergency 209A against
 9
     Appellants in Massachusetts. On August 14th, 2017 S.H. was granted a 209A for
10

11
     extended period of one year (RA Vol I 9-17). On August 15th, 2018 S.H was

12   granted a permanent 209A against Appellants ex parte (RA Vol IV 91-94).
13
     Appellants were not notified of the hearing as they had since moved to
14

15
     California in 2017, were not present for the hearing and there was no

16   representation notified or present for Appellants at the 2018 hearing where the
17
     209A order was made permanent (RA Vol II 87-91).
18

19                 Following the final message from S.H on July 18th, 2017, there was
20
     no contact or association in any way between Appellants and S.H. Appellants
21
     were residents of Las Vegas, NV and yet, on May 13th, 2021 S.H with her friend
22

23   Madison Breshears took to social media to post defamatory statements about
24
     Appellants stating “PSA: Dusty Button is a sexual predator. If u or someone you
25

26   5
       California Public Records Act. - See Cal. Gov. Code 7923.600 - reports
27   requested without a subpoena, court order or specific statutory authority will be
     treated as a request made under the California Public Records Act.
28

                                          15
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 1   know has been victimized by dusty_button6 u aren’t alone. She can’t keep a
 2
     ballet job because she grooms young dancers for sex acts with herself and her
 3

 4   husband.” (RA Vol III 47-49). This immediately caused Appellants to lose any
 5   and all work and they have been unemployed for nearly three years. Appellants
 6
     contacted an attorney for defamation however, three months later, (before
 7

 8   Appellants could file their complaint against S.H) on July 28th, 2021, S.H filed a
 9   federal civil complaint in the District Court of Nevada citing allegations which
10
     contradict her previous affidavits presented to the Boston Municipal Court in
11

12   2017 and 2018. S.H has since been involved in ongoing litigation with M.T.M
13   and D.B for nearly three years. Appellants currently have a pending Motion to
14
     Dismiss and a Counterclaim of defamation and civil conspiracy against S.H. In
15

16   February of 2023, S.H filed to dismiss Defendant’s counterclaim but her motion
17   was DENIED, proving such defamation has taken place7 including because S.H
18
     filed with the Boston Municipal Court that she never engaged in sexual relations
19

20

21   6
       @dusty_button was previously Appellant Dusty Button’s Instagram username
22   amassing over four hundred thousand follwers including children whom were
23   taught dance classes by Appellants which would have seen the horrendous
     defamatory and disgusting allegations intentionally posted on social media by
24   S.H.
     7
25     In May of 2022 S.H did an interview with Good Morning America (RA Vol III
     46) citing allegations which differs from her complaint in Nevada and her
26   previous narrative in Massachusetts. Appellants have included this interview in
27   their counterclaim in Nevada which S.H motioned to dismiss but her dismissal
     was DENIED.
28

                                          16
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 1   with Appellants by force, threat or while under duress yet, filed false police
 2
     reports prior to the initial hearing stating otherwise and additionally filed a
 3

 4   complaint in Nevada stating she was “forced” to engage in sexual relations with
 5   Appellants and omits being in a dating relationship with both Appellants. S.H
 6
     has been extremely vocal in the press, managed by her PR team at Boies Schiller
 7

 8   Flexner, including but not limited to interviews with Good Morning America 7,
 9   the New York Times, New York Post, Boston Magazine, Boston Globe,
10
     Cosmopolitan, the Washington Post, Breitbart, Perez Hilton, Fox News, CNN,
11

12   ABC, Pointe Magazine, Dance Media, Dance Spirit Magazine and Safe Haven
13   Ballet black tie Gala which was a fund raiser that raised a large sum of money to
14
     pay her to verbally tell her fraudulent story and thus, committing fraud on a
15

16   federal level8.
17
                   There have only been two instances where the Court paid attention
18

19   all evidence presented by Appellants, once on February 22nd, 2023 in Appellants

20   initial hearing for their motion to vacate in front of Honorable Judge Lyons and
21

22
     8
23    The Supreme Court has been unequivocal for decades that there’s no First
     Amendment right to commit fraud. In Illinois v. Telemarketing Associates
24   (2003), it stated that the “First Amendment does not shield fraud.” In United
25   States v. Stevens (2010), it observed “the prevention and punishment of” fraud
     has “never been thought to raise any Constitutional problem.” And just two
26   months ago in United States v. Hansen, Trump-appointed Justice Amy Coney
27   Barrett noted that “fraudulent representations through speech for personal gain”
     are “not protected by the First Amendment.” (Add pg 55).
28

                                          17
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 1   in Nevada, when Defendants filed their counterclaim against S.H where both
 2
     outcomes were favorable to Appellants, as the evidence shows S.H has
 3

 4   knowingly perjured herself and will continue to do so, engaging in a federal
 5   crime each and every time she carries out the act.9 See - 18 U.S.C. §§ 1621 to
 6
     162310 (Add. pg. 71)
 7

 8        A. PROCEDURAL HISTORY
 9
                   On August 1st, 2017 S.H. filed for an emergency Abuse Prevention
10

11   Order against Appellants (RA Vol I 9-17). On August 14th, 2017 both parties
12   appeared represented, Defendants presented evidence to the Court which
13
     included over 1200 documents as well as four external thumb drives of data
14

15   pertaining to the relationship between the parties. This evidence was dismissed
16
     9
17
       18 U.S.C. §§1621 to 1623--perjury, subornation of perjury, and false
     declarations before grand juries and courts. It has been held by at least one court
18   that simple perjury, the assertion of a false affirmative statement by an
19
     individual testifying under oath, is not an obstruction of justice under the
     omnibus clause of 18 U.S.C. § 1503. See United States v. Faudman, 640 F.2d
20   20, 23 (6th Cir. 1981); United States v. Essex, 407 F.2d 214, 218 (6th Cir. 1969).
21   But see United States v. Griffin, 589 F.2d 200, 203, 204 (5th Cir.) (dicta), cert.
     denied, 444 U.S. 825 (1979); cf. Smith v. United States, 234 F.2d 385 (5th Cir.
22   1956) (submission of false affidavits of others violates omnibus clause).
23   However, if simple perjury is accompanied by other obstructive, truth-
     suppressing acts, an omnibus clause offense may exist.
24   10
        Under federal law (18 USC § 1621), for example, the elements of the crime of
25   perjury include: 1) Having taken an oath before any competent tribunal (court),
     officer, or person; 2) In any case where U.S. law authorizes an oath for truthful
26   testimony, declaration, deposition, or certification; 3) Willfully and contrary to
27   such oath; 4) States or subscribes to any material matter which they do not
     believe to be true. (see Add pgs. 62,63,64,65,66,67).
28

                                            18
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 1   and neglected by Judge McKenna as he did not put eyes on any evidence
 2
     presented by Defendants and refused to enter the evidence presented as exhibits
 3

 4   (RA Vol IV 5) and on August 14th, 2017 the lower Court extended the 209A for
 5   one year (RA Vol IV 80-91). On August 15th, 2018 S.H appeared at Boston
 6
     Municipal Court, represented by her attorney Maura Melcher requesting the
 7

 8   order be made permanent. The Court was presented with fraudulent evidence by
 9   Plaintiff and her attorney and in the absence of Defendants with no
10
     representation as neither were notified to appear in 2018 (RA Vol II 86-91).
11

12   Defendants were not residents of Massachusetts in 2018 and had since moved to
13   Los Angeles, CA in September of 2017. On August 15th, 2018 the 209A was
14
     made permanent ex parte and Appellants were notified of the permanent order
15

16   months later in California.
17
                  On July 29th, 2021, S.H. filed a civil complaint against M.T.M and
18

19   D.B in the state of Nevada, citing contradicting allegations to those mentioned in

20   her 2017 and 2018 affidavits to the Boston Municipal Court which included
21
     documents Appellants later subpoenaed from law enforcement, further proving
22

23   after four years, the documents received were intentionally withheld by

24   Appellee S.H. and her attorney in 2017 and 2018 to calculate a planned scheme
25
     and deceive the Court. These documents “could not have been easily obtained
26

27   with diligence” in prior years to 2022 but were intentionally withheld to use this

28

                                          19
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 1   fraudulently obtained 209A as the catalyst to harass Appellants for over seven
 2
     years.
 3

 4                Appellants presented this newly discovered evidence to the trial
 5
     Court on March 27th, 2023 which included these false police reports, messages
 6
     and incident reports made by S.H, her attorney Maura Melcher and her parents,
 7

 8   forged documents and affidavits, evidence of Appellee harassing and stalking
 9
     Appellants in 2020 and other instances of fraud, proving there was a calculated
10

11
     scheme which was planned by Appellee, her attorney and her family to

12   fraudulently obtain a permanent 209A against Appellants (RA Vol IV 80-90;
13
     RA Vol IV 166 - 171; RA Vol IV 172-175; RA Vol III 98-99; RA Vol III 50-51;
14

15
     RA Vol III 27-34; RA Vol III 100-104; RA Vol III 19-26; RA Vol III 89-91).

16                        SUMMARY OF THE ARGUMENT
17

18
                  Appellants argue that the Court erred by 1) violating Defendants

19   due process and right to be heard when presented with evidence of fraud on the
20
     Court and 2) abuse of discretion. The facts of this case far exceed the standard to
21

22   vacate and expunge the permanent 209A due to fraud on the Court, where the

23   requirements of such an extraordinary circumstance are abundantly clear in this
24
     case - See COMMISSIONER OF PROBATION vs. AMANDA ADAMS. 65 Mass.
25

26   App. Ct. 725 June 15, 2005 - March 10, 2006, (“The District Court judge found

27   that the 209A order against Adams was obtained through fraud on the court.”)
28

                                          20
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 1   (Add. pg 50). Appellants discovered new evidence in 2022 which was withheld
 2
     by S.H and her attorney in 2017 and 2018 including false police reports,
 3

 4   testimony and text messages via discovery in Nevada. Appellants performed
 5   their due diligence in obtaining and presenting evidence of fraud to the lower
 6
     Court however, the trial Court turned a blind eye at the hearing, preventing
 7

 8   Appellants from even speaking upon the evidence of fraud or the years in which
 9   the fraud occurred. This was a clear violation of Defendants due process,
10
     Appellants’ right to be heard and their rights to a fair hearing. The evidence
11

12   presented to the lower Court by Appellants was not available to Appellants prior
13   to 2022 nor were the related issues litigated in 2017 or 2018 and therefore, S.H
14
     was never cross examined on these issues, as they were not presented to the
15

16   Court prior to March 27th, 202311. This new evidence could not have been
17   obtained by Appellants prior to 2022 as it was withheld by Plaintiff and her
18

19

20   11
        Discovery requests in a G. L. c. 209A proceeding are left to the judge's
21   discretion. See Guidelines § 1:03. However, this is not a simple discovery issue.
     Rather, the judge here improperly considered evidence that the defendant had
22   never seen, and thus was unable to challenge. See Frizado, 420 Mass. at 597-
23   598, 651 N.E.2d 1206 (in G. L. c. 209A proceedings, “the rules of evidence need
     not be followed, provided that there is fairness in what evidence is admitted and
24   relied on”) (Add pg 53). And while the defendant is not required to disprove the
25   allegations against her, her ability to raise issues of fact was necessarily impeded
     here by the lack of access to the plaintiff's evidence against her. See C.O. v.
26   MM, 442 Mass. at 656-657, 815 N.E.2d 582. Guidelines § 1:02(f) (each party
27   must be given meaningful opportunity to challenge other party's evidence) (add.
     pg 52)
28

                                          21
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 1   attorney for years and Appellants were not aware of the existence of such
 2
     evidence. (RA Vol IV 34). The lower Court refused to hear from Defendants in
 3

 4   regard to the evidence of fraud or the years in which the fraud occurred; 2017
 5   and 2018, stating “I do not want to hear about the years prior to the issuance of
 6
     the permanent 209A” which includes evidence of fraud. (RA Vol II 113-114).
 7

 8                  In preventing Appellants from speaking upon the fraud on the
 9
     Court, the trial Court then made numerous errors in the final Order because it
10

11
     made the decision to negligently dismiss the evidence presented by Appellants,

12   which would have certainly changed the outcome of the final decision and
13
     accurately depicted the nature of the case where judicial errors were made in
14

15
     neglecting the evidence12.

16

17
     12
       The Court erred in the final Order due to the dismissal of evidence which
     would have prevented such errors including but not limited to: 1) S.H was not
18   unrepresented in 2018 but was represented by Maura Melcher 2) Defendants did
19
     not litigate issues which should have been litigated at the issuance of the initial
     209A in 2017 and the Order which was made permanent in 2018. 3) Defendants
20   were not allowed to cross examine Plaintiff on evidence of fraud which included
21   evidence such as reports and text messages that were not readily available or
     easily obtained by Defendants in 2017 or 2018 and therefore, S.H was never
22   cross examined on such issues. 4) Defendants did not publish any data of S.H in
23   a daily mail article or otherwise in any YouTube videos as noted by Honorable
     Judge Lyons. 5) Defendants were not notified of an ex parte hearing in 2018. 6)
24   Defendants were unable to defend themselves against statements of evidence
25   presented by Plaintiff in 2018 as they were not notified by Plaintiff’s counsel or
     the court and were therefore, unable to defend against evidence or testify
26   otherwise. 7) Materials presented to the lower Court which includes evidence of
27   fraud on the Court was dismissed therefore the Court’s ruling of “Defendants
     argument of fraud upon the Court would be more compelling if there were
28

                                           22
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 1                 The Court demonstrated that the final Order is not consistent with
 2
     the facts or evidence, made it clear that the factual basis behind Defendant’s
 3

 4   argument was not understood and that the Court did not make an independent
 5   assessment of facts presented by Defendants by determining which facts were
 6
     relevant or true as the Court did not allow the facts that were relevant and true to
 7

 8   be discussed. Appellants argue that the Court showed judicial bias by
 9   proceeding to allow S.H. to speak on the very years which Appellants were
10
     instructed not to speak on. In doing so, the Court allowed S.H. to present “new
11

12   statements”13 in her testimony which directly spoke on the years of 2017 and
13   2018 and the underlying issues of the original Order which entirely contradicted
14
     her prior 2017 testimony, (RA Vol II 150; 156).
15

16                It is without question that S.H, with the force of her parents and
17
     assistance of her attorneys have by definition, met every standard of committing
18

19

20   credible evidence of fraud on the Court” lacks foundation due to the Court’s
21   dismissal of credible evidence which was presented but dismissed.
     13
        New statements provided by S.H in her testimony consisted of new allegations
22   of rape in 2017 which had never previously been stated before and therefore, by
23   the Court allowing this testimony to take place as S.H presented new statements
     from years Defendants were not allowed to speak on while offering evidence of
24   fraud and perjury which was dismissed can only be deemed bias. It would be
25   impossible for the Plaintiff’s statements to not have swayed the Judge by
     providing additional testimony to her previous 2017 testimony yet, ordering
26   Defendants to refrain from speaking on 2017 and 2018 though it was Defendants
27   who were the moving party requesting a motion to vacate on the ground of fraud
     upon the Court.
28

                                          23
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 1   fraud upon the Court. Appellants, who presented that fraud, were prevented
 2
     from speaking on the very grounds of fraud they presented for their motion
 3

 4   which proves by a preponderance of the evidence that S.H. willfully and
 5   knowingly committed the crimes of fraud upon the Court and perjury to obtain a
 6
     permanent 209A and ultimately using that Order as grounds to deceive the Court
 7

 8   and harass Appellants for the foreseeable future.
 9
                                      ARGUMENT
10

11      1. The Lower Court’s Decision Should Be Reversed Because Appellants
12                     Were Deprived of Their Right to a Fair Hearing
13

14
                  This case presents one singular issue for this Court and three sub-

15   issues pertaining to the Order of the Court; 1) The lower Court violated
16
     Appellants’ due process ordering them not to speak on the evidence of fraud on
17

18
     the Court which occurred in 2017 and 2018. The lower Court negligently

19   dismissed the evidence of fraud on the Court presented by Appellants which
20
     shows that Appellee committed fraud on the Court in order to fraudulently
21

22   obtain an Abuse Prevention Order against Appellants. The only relevant fact,

23   that the Appellee has committed fraud on the Court, is undisputed.
24
           A. The lower Court erred in violating Defendants’ due process
25

26                Due process requires the Court provide a fair hearing to both
27
     parties; As the Supreme Judicial Court has held, “due process ‘does not demand
28

                                         24
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 1   the impossible.’” Defendants were not provided an opportunity to speak on the
 2
     very issues which they filed their motion to vacate on.
 3

 4                "A defendant must be provided a meaningful opportunity to be
 5
     heard in a G. L. c. 209A proceeding." Idris I. v. Hazel H., 100 Mass. App. Ct.
 6
     784, 790 (2022) (Add pg 54). This includes the defendant's right to testify and to
 7

 8   present evidence. Frizado v. Frizado, 420 Mass. 592, 597 (1995)(Add pg. 53).
 9
     “It is not sufficient to hear from the defendant's attorney and to deny the
10

11
     defendant the opportunity to present evidence. C.O. v. M.M., 442 Mass. 648,

12   657 (2004) (Add. pg 52). Here, Defendants were not provided a meaningful
13
     opportunity to be heard and although Defendants presented new evidence to the
14

15
     Court, the Court made the decision not to look at any evidence presented which

16   referred to documents obtained after 2018 but which proved fraud on the Court
17
     was committed in 2017 and 2018, the years of the issued Orders. In 2018,
18

19   Plaintiff presented statements based upon reports that were withheld from the

20   Court which Defendants were not made aware of or obtained until 2022 but
21
     which are statements that are proven to be fraudulent and yet, relied on by the
22

23   Court to grant S.H a permanent 209A. Defendants made effort to explain this to

24   the Court but their efforts were denied (RA Vol II Tr. Key 109-175).
25
                  Idris I. v. Hazel H., No. 21-P-570 (Mass. App. Ct. Mar. 25, 2022),
26

27   (“without first hearing the evidence, a judge should not, over objection, vacate
28

                                          25
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 1   any provision of a c. 209A order once issued”, whereas Defendants should have
 2
     been heard in order to vacate the order (Add pg 54). Singh v. Capuano, 468
 3

 4   Mass. 328, 331, 10 N.E.3d 1074 (2014). (Add pg. 60). We see no reason why
 5   the same should not apply here: “a judge must first hear the evidence from both
 6
     parties before extending a c. 209A order. This is especially true where here, as
 7

 8   in most G. L. c. 209A cases, the judge did not hear from the defendant when the
 9   initial order was obtained on an ex parte basis. For that reason, the judge erred
10
     by extending the c. 209A order without first hearing the defendant's testimony.14
11

12         I.     TRIAL COURT JUDGEMENT ‘DISCUSSION’ ERRORS
13
                    The lower Court erred regarding the factual background of this
14

15   case, making it clear the Court did not understand the facts behind Defendants’
16   argument and could not have possibly determined which facts were relevant or
17
     true as the Court could not make an independent assessment of facts presented
18

19   by Defendants due to the dismissal of that relevant and true evidence being
20
     denied.
21

22              1. BACKGROUND

23

24   14
       Similarly, not only did the original judge err by extending the c. 209A order
25   without first hearing the Defendants’ testimony… fraudulent statements were
     made to the Court in reference to false police reports which were withheld to
26   conceal the truth of the reports and the contradicting evidence which proves the
27   statements to the Court to be fraudulent and which Judge Key dismissed
     although presented with the evidence.
28

                                           26
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 1                The Court states in the background portion of the order, “On
 2
     August 14, 2018 Humphries appeared at the courthouse unrepresented.” (RA
 3

 4   Vol I 97) This statement is false as S.H appeared at the courthouse represented
 5   by her attorney, Maura Melcher (RA Vol I 80-90). The Court goes on the state
 6
     “Humphries filed an affidavit asserting additional allegations relating to the
 7

 8   Defendants’ conduct and requested the Order be made permanent. After hearing
 9   from her, the judge made the order permanent. (RA Vol I 97). The Court errs in
10
     stating “after hearing from her” as the Court did not hear from S.H that day, but
11

12   from her attorney, Maura Melcher who intentionally deceived the Court by
13   making false statements to the Court including, “The Defendants were in their
14
     thirties”, “They feed her drugs”, and “She was underage”, amongst other lies
15

16   stated to the Court that day (RA Vol IV 83 Tr. McKenna). Statements regarding
17   police incident reports that were filed on June 11th and on August 13th, 2018
18
     were intentionally mischaracterized in statements made to the Court and yet, the
19

20   reports were not provided to the Court (RA Vol IV 84-86; RA Vol III 87-88;
21
     RA Vol III 97). Appellants obtained these reports and presented them to Judge
22
     Steven Key however, the reports were not looked at, though there was evidence
23

24   of fraud Defendants attempted to show.
25
                  S.H and her attorney took the opportunity to deceive and
26

27   manipulate the Court with allegations that were unfounded, withholding reports

28

                                          27
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 1   and documents which contradicted their statements to the Court that day for
 2
     personal gain as Defendants were not present and no representation was present
 3

 4   for Defendants allowing Plaintiff to make any statements necessary to obtain a
 5   permanent order as Defendants could not defend themselves against these false
 6
     statements. This information and evidence was available to Judge Steven Key
 7

 8   but was dismissed and Defendants were not allowed to speak on the evidence
 9   they obtained after 2018.
10

11
                    "While a judge surely may exclude irrelevant or inadmissible

12   evidence, or even interrupt an argument or a witness examination that has
13
     become repetitious, [s]he should not terminate a hearing without ensuring that
14

15
     [s]he has heard all the relevant and admissible evidence once.” S.T., 80 Mass.

16   App. Ct. at 430-431, 953 N.E.2d 269. (Add pg 61) See Guidelines § 5:01. But a
17
     judge's “discretion is not unlimited and each side must be given a meaningful
18

19   opportunity to challenge each other's evidence.15 (RA Vol II 87).

20
                    On February 22nd, 2023 at the initial two-party hearing in 2023
21
     regarding Defendants’ motion to vacate, Honorable Judge Lyons took notice
22

23

24   15
       Appellants were not given a meaningful opportunity to challenge evidence in
25   2017 or 2018 and again in 2023, which was not available prior to this hearing
     however, Appellants presented evidence that was withheld from 2017 and 2018
26   but were instructed not to discuss such evidence and further, were prevented
27   from cross examining S.H on these issues which were not previously litigated in
     2017 or 2018 and where S.H was not cross examined on the issues.
28

                                           28
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 1   that Defendants did not have proper notice, were not present and were not
 2
     represented in 2018, yet, the 209A was made permanent ex-parte with
 3

 4   Defendants having no knowledge of such allegations made by S.H and no way
 5   to defend themselves against the false allegations or statements made to the
 6
     Court.
 7

 8            2. LACK OF NOTICE
 9
                  The lower Court states, “The Defendants had notice of the next
10

11   hearing date and chose not to appear at their own peril.” (RA Vol I 98).
12   Defendants contest that although the Clerk “announced” the Order, Defendants
13
     immediately moved out of the state Massachusetts following the hearing (RA
14

15   Vol II 87-92). Additionally, as noticed by Honorable Judge Tracy Lyons,
16   Plaintiff S.H was responsible for providing Defendants’ new address to the
17
     Court thought Defendants were not notified of the hearing, the “additional
18

19   allegations” presented to the Court or notified by Plaintiff’s counsel regarding a
20
     2018 affidavit… nor were Defendants notified by their previous counsel in
21
     regard to the extension hearing (RA Vol II 87). (Tracy MacDonald vs. Kevin
22

23   Caruso SJC-11381, A defendant served with an ex-parte order advising him of
24
     his right to be heard at a scheduled hearing has actual and constructive notice
25

26

27

28

                                          29
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 1   that failure to attend the hearing may result in the extension of the order.
 2
     Commonwealth v. Delaney, 425 Mass. 587, 581 (1997)16. (Add. pg 51 and 57).
 3

 4                  Finally, The Court relies on a Daily Mail Article submitted to the
 5
     Court by Plaintiff to make a decision regarding Defendants’ attendance to the
 6
     2018 hearing based on statements written by a journalist for the media which as
 7

 8   the Court is aware, is hardly factual evidence to consider and never verbatim
 9
     (RA Vol IV 133-165).
10

11            3. FRAUD ON THE COURT
12
                    Massachusetts law is clear, a permanent 209A should only be set
13

14
     aside on extraordinary circumstances when fraud has been committed or etc.

15   (Adams, 65 Mass. App. Ct. at 737. See M.C.D., 90 Mass. App. Ct. at 342,
16
     quoting Adams, supra at 729-730 (false allegation of abuse or false testimony
17

18
     alone insufficient to constitute fraud on court absent showing that it contributed

19   to "'larger pattern of harassment' or 'unconscionable scheme calculated to
20
     interfere with the judicial system's ability impartially to adjudicate a matter.'"17)
21

22

23
     16
        Defendants were never served with an ex-parte order advising them of their
     right to be heard at a scheduled hearing or that failure to attend the hearing may
24   result in the extension of the order.
25
     17
        A narrow exception to this rule allows for judicial expungement "in the rare
     and limited circumstance that the judge has found through clear and convincing
26   evidence that the order was obtained through fraud on the court." - Adams, 65
27   Mass. App. Ct. at 737. (Add pg 53). See M.C.D., 90 Mass. App. Ct. at 342 (Add.
     pg 61).
28

                                           30
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 1   (Add. pg 58). The Court states “The Defendants’ fraud on the Court allegations
 2
     would be more intriguing if there were credible evidence that there was fraud”,
 3

 4   yet, refused to listen to or view the credible evidence which Defendants
 5   presented but were prevented from speaking on. The Court DENIED Defendants
 6
     the right to speak on the fraud on the Court and refused to look at the evidence
 7

 8   of fraud therefore, it would have been impossible for the Court to review the
 9   credible evidence that there was fraud due to the negligence in denying
10
     Defendants the right to be heard. There is credible evidence which Defendants
11

12   presented that would have established the fraud the Court but instead, this
13   evidence was dismissed by the Court.
14

15
                  Evidence obtained by Appellants during the discovery of litigation

16   in Nevada proves the 2018 police reports filed and withheld from the Court were
17
     fraudulent and that statements made by S.H and her attorney to the lower Court
18

19   in 2018 were intentionally deceiving in order to obtain a permanent 209A

20   including but not limited to:
21
                  1) A false police report filed by S.H and her attorney on June 11th,
22

23   2018 and a legally recorded phone call which contradicts the allegations stated
24
     in the false police report (RA Vol III 50-51; 97; 98,99). This recorded call was
25
     between Appellants and Jordyn Brown, whose sister’s name, (Kennedy Brown),
26

27   was used by S.H to fraudulently claim she was Appellants’ personal assistant
28

                                          31
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 1   who was “trying to get her address” and who Appellee and her attorney
 2
     fraudulently claimed was Appellants’ personal assistant while knowing this was
 3

 4   untrue (RA Vol IV 84-85; RA Vol IV 172-173). The Melrose Police Department
 5   stated that even if the statements made by S.H and her attorney were true, it was
 6
     not a violation of the 209A however, the allegations were intentionally false and
 7

 8   the phone call between Appellants and Jordyn Brown proves S.H once again
 9   committed fraud and intended to harass Defendants by making false allegations
10
     which would enable her to obtain a fraudulent 209A by merely making
11

12   statements to the Court of the allegations but withholding the actual report.
13   Appellee intentionally made this fraudulent claim to the Melrose Police
14
     Department to obtain a permanent 209A at an ex-parte hearing where Appellants
15

16   were not able to defend themselves or address the false allegations, they were
17   unaware of for years. In addition to the false allegation and report, Appellee’s
18
     attorney, Maura Melcher intentionally misrepresented the communication by
19

20   Kennedy Brown to S.H stating “Oh I really need your address”, which is not at
21
     all what is presented in the communications, (RA Vol IV 84; RA Vol III 97; RA
22
     Vol IV 172). Additionally, the message was sent to S.H from Kennedy in
23

24   November of 2017 but was not reported until the night before her hearing.
25
                  2) On August 13th, 2018 (the night before Appellee’s 209A
26

27   extension request for a permanent Order), S.H filed another false police report

28

                                          32
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 1   claiming Appellants were selling illegal firearms in California (RA Vol III 87).
 2
     This report was discovered and obtained by Appellants in 2022 and was never
 3

 4   introduced to the Court or to Appellants prior to discovery opening in Nevada.
 5   Appellants presented evidence to the lower Court on March 27th, 2023 to prove
 6
     fraud was once again committed by S.H as she knowingly and willingly filed a
 7

 8   false police report. Additionally, the photo S.H used to file this police report was
 9   a photo of a toy airsoft prop which was already confirmed by police and by the
10
     Court, (RA Vol III 87; RA Vol III 19-26; RA Vol III 89). The photo used by
11

12   Appelle’s parents was a screen shot of Defendant M.T.M’s Instagram18 story in
13   2017 where he was selling parts from his airsoft toy props in October of 2017 in
14
     Massachusetts, which were used for photography as props for marketing on
15

16   social media. S.H intentionally post-dated a photo to make it seem as if the
17   photo was taken in 2018 in California of a real gun when Plaintiff knew
18
     Defendants owned no firearms and never did (RA Vol III 19-26; 89-91; 100-
19

20   104). The police report resulted in no violation as she stated to the police that
21
     she “just wanted the matter on record”, the night before her 209A extension
22
     hearing and then withheld the report which ironically, she withheld again in her
23

24   exhibits in 2023 thought she attached the files surrounding the report using the
25

26   18
       Instagram is an online social media platform which was used by both
27   Appellants as public figures to promote their own brands and business, using the
     platform for marketing.
28

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 1   same pattern. Finally, at the extension hearing, S.H did not adjust her affidavit to
 2
     the findings of the false police reports she filed and the statements made by
 3

 4   officers and withheld the reports from the Court, resulting in fraudulent
 5   statements to the Court in order to obtain her permanent Order. Additionally, her
 6
     2018 affidavit is not signed or witnessed (just as her 2017 affidavit was not
 7

 8   witnessed), and Appellants did not receive this affidavit until litigation in
 9   Nevada in 2022 (RA Vol IV 166-171).19
10

11
                  S.H knew that Appellants did not own firearms and therefore, her

12   statement to police that Defendants were to turn over all firearms to the Boston
13
     Police Department as if they had not, was misleading and false as she knew that
14

15
     Defendants never had any firearms to turn over (RA Vol III 100; RA Vol III

16   141). S.H could have made this false allegation at any time prior to her 209A
17
     extension hearing yet, waited until the night before her hearing to file the false
18

19   report with police, solely to state to the Court that she filed a report with the

20   police and would be able to use the mere statement of a report in Court the
21
     following morning while withholding the actual report.
22

23

24

25   19
       “Any liar can get an order by merely asserting fear”: Why Chapter 209A must
26   be revamped to protect against the issuance of unnecessary abuse protection
27   orders. Brittany Pierce, 47 New Eng. L. Rev. 427 (No. 2, Winter 2012)(Add pg
     70).
28

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 1                These reports of fraud were presented to Judge Key in 2023 but
 2
     dismissed, resulting in judicial abuse of discretion, ignoring the evidence of
 3

 4   fraud which Defendants presented and were unaware of until 2022. As
 5   Defendants were not allowed to raise the issues of fraud, which was
 6
     discoverable evidence obtained in 2022 and 2023, these issues could not have
 7

 8   been previously raised which is why Defendants filed to vacate the 209A based
 9   upon fraud on the Court. The Court showed clear discrimination by forcing
10
     Defendants to argue fact that was not pertaining to fraud and instead directed
11

12   them to “significant changes in circumstance”.
13
                  Finally, the lower Court errs in their final Order stating “The
14

15
     Defendants’ fraud on the court allegation would be more intriguing if there were

16   credible evidence that there was fraud” yet, ordered Appellants not speak on the
17
     evidence of fraud and refused to look at documents which proved the fraud he
18

19   states is missing within his order (RA Vol I 99) - “certain minimum standards of

20   fairness must be observed.” S.T. v. E.M., 80 Mass. App. Ct. 423, 429, 953
21
     N.E.2d 269 (2011). (Add pg 61) It is undisputed that a defendant -- in any case -
22

23   - “has a right to notice and an opportunity to be heard.”

24
                  The lower Court states in their Discussion portion of the Order, “In
25
     making their fraud on the court case, the Defendants raise facts and issues that
26

27   were either addressed or should have been addressed at the original hearing”,
28

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 1   (RA Vol I 100). This statement by the lower Court is false and proves that
 2
     Appellants did not receive a fair hearing20 nor was the Order of the Court
 3

 4   consistent with the facts or evidence presented by Appellants as the Court did
 5   not allow Defendants an opportunity to speak upon the fraud on the Court which
 6
     relies on newly discovered evidence and therefore, it would be impossible for
 7

 8   the Court to know whether or not the evidence Defendants presented and were
 9   instructed not to speak on was credible or not, which it is. (Idris I. v. Hazel H.,
10
     No. 21-P-570[2] (Mass. App. Ct. Mar. 25, 2022) (Add pg 54) .21 Appellants
11

12   have never litigated the facts of fraud on the Court or the new evidence they
13   presented to the Court which included withheld documents received through
14
     discovery in 2022 and police reports obtained in 2022 and 2023 which were
15

16   subpoenaed by pro se Defendants and not used in Court in 2017 or 2018 and
17

18   20
        A defendant must be provided a meaningful opportunity to be heard in a G. L.
19
     c. 209A proceeding. See C.O. v. MM, 442 Mass. at 657, 815 N.E.2d 582 (Add.
     pg 52)
20   21
        Here, the defendant contends that the judge denied her a meaningful
21   opportunity to challenge the plaintiff's evidence. In support of her claim, the
     defendant points to the fact that the judge had before her evidence that the
22   defendant did not have, and had not seen. It was only once the plaintiff referred
23   to certain exhibits in response to a question posed by the judge that the
     defendant's attorney even became aware of that evidence. She immediately
24   brought it to the attention of the judge, but the judge did not respond. Instead,
25   the judge allowed the plaintiff's attorney to continue his direct examination of
     the plaintiff. The judge also noted several times during the hearing that she was
26   considering written evidence submitted by both parties; as a result, the judge
27   admittedly relied on evidence that the defendant did not see, much less have an
     opportunity to challenge.
28

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 1   therefore, it would have been impossible for Appellants or their Counsel to have
 2
     previously litigated the matters they attempted to litigate at the hearing for
 3

 4   which they are filing this appeal as the evidence was not available to litigate.
 5
                  A. The Court Erred Stating S.H Was Cross Examined
 6

 7                The lower Court states, “Humphries was cross examined on these
 8   issues by Defendants’ attorney at the two-party hearing”22 (RA Vol I 99). This is
 9
     false. S.H was never cross examined on the issues of fraud Defendants presented
10

11   at the hearing on March 27th, 2023, including because it was dismissed by the
12   Court. The Court violated the Defendants’ right to cross examine the Plaintiff on
13
     issues which had never before been presented to the Court or to Appellee on
14

15   cross examination. See Idris I. v. Hazel H., No. 21-P-570 (Mass. App. Ct. Mar.
16   25, 2022) (Add pg 54) - “the defendant also contends that the judge improperly
17
     limited her cross-examination of the plaintiff. Although the defendant's attorney
18

19   began a cross-examination of the plaintiff, the judge sua sponte ended it and
20
     directed the attorneys to proceed to closing arguments. “While a judge surely
21
     may exclude irrelevant or inadmissible evidence, or even interrupt an argument
22

23   or a witness examination that has become repetitious, [s]he should not terminate
24

25   22
       Judge Key refers to the 2017 two-party hearing but neglects to refer to the
26   missing police reports from both years 2017 and 2018 which Appellee had never
27   been cross examined on before as they were only obtained by Appellants in
     2022 during discovery in Nevada litigation.
28

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 1   a hearing without ensuring that [s]he has heard all the relevant and admissible
 2
     evidence once.” S.T., 80 Mass. App. Ct. at 430-431, 953 N.E.2d 269. (Add pg
 3

 4   61) See Guidelines § 5:01. But a judge's “discretion is not unlimited and each
 5   side must be given a meaningful opportunity to challenge each other's
 6
     evidence.23
 7

 8                  The referred to police reports were withheld by S.H and her
 9
     attorneys in 2017 and 2018 and were not obtained by Defendants until 2022 and
10

11
     2023 therefore, it would have been impossible to litigate such issues or to cross

12   examine Appellee on the issues of fraud that were not discoverable until four
13
     years later. Additionally, if one is not aware that new issues of fraud exist, they
14

15
     could not have been challenged and therefore the Court is incorrect in stating

16   that Appellants were challenging the “underlying issues”.
17
           II.   MOTION TO VACATE STANDARD
18

19                  Defendants presents a case to the lower Court which is not filed on
20
     ground of a standard motion to vacate and therefore should not require the same
21

22   standard to vacate such as a “significant change is circumstance”, that would be

23

24    Appellants were not given a meaningful opportunity to challenge evidence in
     23


25   2017 or 2018 which was not available prior to this hearing however, Appellants
     presented evidence that was withheld from 2017 and 2018 but were instructed
26   not to discuss such evidence and further, were prevented from cross examining
27   S.H on these issues which were not previously litigated in 2017 or 2018 and
     where S.H was not cross examined on the issues.
28

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 1   required of someone with a “standard” case, as this case shows clear and
 2
     convincing evidence that there was fraud on the Court (see- COMMISSIONER
 3

 4   OF PROBATION vs. AMANDA ADAMS 65 Mass. App. Ct. 725 where “The
 5   commissioner filed a motion to reconsider and to vacate the expungement order.
 6
     The judge denied the commissioner's motion, reasoning that the District Court
 7

 8   had the inherent power to expunge the record of the 209A order against Adams
 9   where the order was obtained by fraud on the court. The judge also found that
10
     Adams is an attorney, and that before either party had obtained a 209A order,
11

12   her work had involved representing children. He further found that Jones falsely
13   complained of Adams to the Board of Bar Overseers. As a result of Jones's false
14
     complaints, the terms and conditions of Adams's employment were altered to
15

16   prevent her unsupervised contact with children. The judge found, but did not
17   further specify why, Adams lost employment opportunities because of her
18
     listing in the system as an abuser).24 (Add pg 50).
19

20

21

22
     24
23     S.H and her family sent the fraudulently obtained 209A to every single
     employer who D.B and M.T.M worked for with emails stating Appellants were
24   abusers, harassing them online and causing any and all work to be lost due to the
25   defamatory statements made by S.H and her family and friends (RA Vol III 47-
     49; 141-142). Appellants cannot find work due to the global media campaign
26   against them and have not been able to continue their previous work as a
27   majority of Appellant D.B’s work involved teaching dance to thousands of
     children.
28

                                          39
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 1                Moreover, instead of addressing the evidence of fraud on the Court,
 2
     the Court instructed Appellants to discuss the “significant changes in
 3

 4   circumstance” that had occurred after the permanent 209A was granted in 2018.
 5   Appellants were denied their rights and opportunity to speak and for this reason
 6
     alone, the Court’s order should, at the very least, be reversed however, there is
 7

 8   evidence of fraud which directly allows for a motion to vacate and expungement
 9   of the Order; See - K.D. v. J.D., 92 Mass. App. Ct. 1115, 94 N.E.3d 881 (Mass.
10
     App. Ct. 2017) (Add. pg 56) - “It is well settled that a record of an abuse
11

12   prevention order issued pursuant to G. L. c. 209A generally cannot be expunged
13   via judicial order. See Vaccaro v. Vaccaro, 425 Mass. 153, 156-157 (1997)
14
     (Add. Pg 68); Commissioner of Probation v. Adams, 65 Mass. App. Ct. 725,
15

16   728 (2006) (Add. Pg 50).
17
                  A narrow exception to this rule allows for judicial expungement "in
18

19   the rare and limited circumstance that the judge has found through clear and

20   convincing evidence that the order was obtained through fraud on the
21
     court." Adams, supra at 737. A false allegation of abuse or false testimony alone
22

23   is insufficient to constitute fraud on the court absent a showing that it

24   contributed to a " ‘larger pattern of harassment’ or an ‘unconscionable scheme
25
     calculated to interfere with the judicial system's ability impartially to adjudicate
26

27   a matter.’ " M.C.D. v. D.E.D., 90 Mass. App. Ct. 337, 342 (2016), quoting

28

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                          BRIEF OF APPELLANTS M.T.M. AND D.B
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 1   from Adams, supra at 729, 730 (Add. pg 58). See Wojcicki v. Caragher, 447
 2
     Mass. 200, 210 (2006).25 (Add. pg 69).
 3

 4                  Plaintiff and the lower Court both reference MacDonald v. Caruso,
 5
     82 Mass. App. Ct. 1120, 978 N.E.2d 106 (Mass. App. Ct. 2013) (Add. pg 57)
 6
     however, the referenced case does not apply here because the grounds for the
 7

 8   motion to vacate are based on grounds of fraud upon the Court and not
 9
     “significant changes in circumstance”. Defendants are not presenting evidence
10

11
     of changes in circumstance because there were never circumstances that should

12   have been changed as the entirety of Appellee’s narrative is fraudulent and
13
     criminal. Not only does this case meet the requirements of an extraordinary
14

15
     circumstance to set aside a permanent 209A, Massachusetts fraud on the Court

16   statute is clear, “A fraud on the court’ occurs where it can be demonstrated,
17
     clearly and convincingly, that a party has sentiently set in motion some
18

19   unconscionable scheme calculated to interfere with the judicial system's ability

20

21
     25
       The narrow exception applies here, in this case, where Plaintiff, who was in a
     consensual relationship with Appellants has lied to officers of the Court and law
22   enforcement to abuse the Court system in order to obtain a permanent 209A
23   against Appellants with future plans to harass Defendants through the media and
     litigation in two states as an unconscionable scheme calculated to interfere with
24   the judicial system’s ability impartially to adjudicate a matter. S.H has used the
25   lower Court and the District Court of Nevada against each other by committing
     fraud on the Court in both states for favorable outcomes in each Court and later
26   admitting to the fraud which has been committed, and leaving Appellants to
27   present evidence of fraud in each court but only after the decisions have been
     made, favoring Appellee due to fraud on the Court.
28

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 1   impartially to adjudicate a matter by improperly influencing the trier or unfairly
 2
     hampering the presentation of the opposing party's claim or defense." Id . at 729-
 3

 4   730, quoting from Rockdale Mgmt. Co. v. Shawmut Bank, N.A , 418 Mass. 596,
 5   598 (1994).).26 (Add pg. 59).
 6
                    S.H and her attorneys have continuously deceived the Court to
 7

 8   ensure the result they are seeking is in their favor, only to later provide
 9
     statements and documents (such as the deposition of S.H in September of 2023),
10

11
     which contradict the prior filings submitted and the successful manipulation of

12   the Court, which consistently leaves Defendants in a position to refile evidence
13
     proving Plaintiff and her attorneys have deceived the Court.
14

15                                     CONCLUSION
16
                    Appellee has not only committed perjury and fraud upon the Court,
17

18
     she has used the lower Court to commit fraud upon a different Court at a federal

19   level in Nevada. S.H has intentionally and knowingly lied to Federal officers,
20
     law enforcement and officers of the Court for personal gain, to create a
21

22   calculated scheme by using the Court to protect herself from the crimes she has

23

24

25   26
       Defendants argue that they are not challenging the underlying basis as the
     Court states by quoting Macdonald v. Caruso, Defendants presented evidence
26
     showing the Court fraud was committed by S.H in order to obtain and extend
27   her 209A in 2017 and again in 2018.
28

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 1   committed. Appellants have been harassed for seven years by a woman who will
 2
     continue to use the system to her advantage as long as the Court allows it.
 3

 4   Appellants wanted nothing to do with S.H from the moment they realized she
 5   would commit any crime which would place Appellants as a pawn for her
 6
     scheme and personal gain. Appellants have not simply “moved on” but have
 7

 8   wanted nothing more than to be as far from S.H as they possibly can and have
 9   made efforts to do so since 2017 yet, S.H continued to stalk Appellants
10
     (admittedly in her deposition in Nevada), in California and file another
11

12   complaint against them in 2021 after four years of silence. S.H has completely
13   destroyed the lives of Appellants for nearly seven years causing them to lose all
14
     employment, their home, their assets and the ability to work due to the global
15

16   media campaign against them using this fraudulently obtained 209A.
17
                  Appellants reside in South Carolina and live with Appellant’s
18

19   mother due to the loss of their home in Nevada and the inability to work.

20   Appellants are on government programs for food and health such as SNAP and
21
     MEDICAID as they are unemployed, unable to get employment due to
22

23   Appellee’s global media campaign and fraudulent allegations against them.

24
                  Appellants put their lives on hold for nearly seven years due to
25
     Appellee’s fraudulent allegations but have decided not to allow her fraud to put
26

27   their lives on hold any longer and are expecting a child in August. Appellants
28

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 1   sole priority is the life they are bringing into the world and it is imperative that
 2
     these false and fraudulent allegations which S.H has created are corrected and
 3

 4   dismissed in their entirety and the Court must allow Appellants to be heard on
 5   the fraud and crimes S.H has committed.
 6
                  For the foregoing reasons, Appellants respectfully ask the Court for
 7

 8   relief in reversing the lower Court’s decision and vacate the permanent 209A
 9
     which was issued through fraud, under false pretenses in 2017 and made
10

11
     permanent in 2018 with evidence of fraud on the Court not available to

12   Defendants until 2022 and which was dismissed by the lower Court on March
13
     27th, 2023. In the event the Court does not reverse the lower Court’s decision,
14

15
     Appellants request a new hearing where they are afforded the right to be heard

16   and to present and speak on all of the new evidence which proves by the
17
     preponderance of the evidence that S.H and her attorney have intentionally
18

19   committed fraud upon the Court.

20

21

22

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 1                        CERTIFICATE OF COMPLIANCE
 2
                  Pro se Appellants hereby certify, as required by Mass R.A.P 16(k),
 3

 4   including but not limited to requirements listed in Mass R.A.P 16a, Mass R.A.P
 5
     16(e), Mass R.A.P(f), Mass R.A.P 18, Mass R.A.P and that this brief complies
 6
     with the rules of court that pertain to the filing of Appellants’ brief and
 7

 8   including.
 9

10

11

12
                  Respectfully dated this 26th day of January, 2024,
13

14

15
                                ___________________________________________
16

17                              Mitchell Taylor Moore and Dusty Button
18                              (Pro se)
19

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 1                            CERTIFICATE OF SERVICE
 2
           The undersigned hereby certifies that the foregoing was filed on January
 3

 4   26th, 2024, via the Court’s electronic filing system and sent to all parties on the e-
 5   service list including Attorney Maura Melcher for the Appellee.
 6

 7

 8

 9                       Dated this 26th day of January, 202 ,
10

11

12                                     ___________________________________
13                                     Mitchell Taylor Moore and Dusty Button
14
                                       (Pro se)
15

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Statutes, codes, and regulations      /   GENERAL LAWS OF …         /       •••   /    Chapter 209A - ABU…              /   Section 209A:1 - Defi…




Mass. Gen. Laws ch. 209A § 1
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Current through Chapter 87 of the 2023 Legislative Session


                                                                                                                                      Next Section
Section 209A:1 - Definitions                                                                                                          Section 209A:2 - Abuse prevention
                                                                                                                                      proceedings; venue


As used in this chapter the following words shall have the following meanings:

"Abuse", the occurrence of one or more of the following acts between family or household
members:

  (a) attempting to cause or causing physical harm;
  (b) placing another in fear of imminent serious physical harm;
  (c) causing another to engage involuntarily in sexual relations by force, threat or duress.
"Court", the superior, probate and family, district or Boston municipal court departments of the
trial court, except when the petitioner is in a dating relationship when "Court" shall mean district,
probate, or Boston municipal courts.

"Family or household members", persons wh

  (a) are or were married to one another;
  (b) are or were residing together in the same household;
  (c) are or were related by blood or marriage;
  (d) having a child in common regardless of whether they have ever married or lived together; or
  (e) are or have been in a substantive dating or engagement relationship, which shall be
  adjudged by district, probate or Boston municipal courts consideration of the following factors:
  (1) the length of time of the relationship; (2) the type of relationship; (3) the frequency of
  interaction between the parties; and (4) if the relationship has been terminated by either
  person, the length of time elapsed since the termination of the relationship.
"Law oﬃcer", any oﬃcer authorized to serve criminal process.

"Protection order issued by another jurisdiction", any injunction or other order issued by a court
of another state, territory or possession of the United States, the Commonwealth of Puerto Rico,
or the District of Columbia, or tribal court that is issued for the purpose of preventing violent or
threatening acts or harassment against, or contact or communication with or physical proximity
to another person, including temporary and final orders issued by civil and criminal courts filed by
or on behalf of a person seeking protection.

"Vacate order", court order to leave and remain away from a premises and surrendering forthwith
any keys to said premises to the plaintiﬀ. The defendant shall not damage any of the plaintiﬀ's
belongings or those of any other occupant and shall not shut oﬀ or cause to be shut oﬀ any
utilities or mail delivery to the plaintiﬀ. In the case where the premises designated in the vacate
order is a residence, so long as the plaintiﬀ is living at said residence, the defendant shall not
interfere in any way with the plaintiﬀ's right to possess such residence, except by order or
judgment of a court of competent jurisdiction pursuant to appropriate civil eviction proceedings,
a petition to partition real estate, or a proceeding to divide marital property. A vacate order may
include in its scope a household, a multiple family dwelling and the plaintiﬀ's workplace. When
issuing an order to vacate the plaintiﬀ's workplace, the presiding justice must consider whether
the plaintiﬀ and defendant work in the same location or for the same employer.

      Mass. Gen. Laws ch. 209A, § 1




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                                                                             Case 2:21-cv-01412-ART-EJY   Document 452-1     Filed 01/09/25   Page 51 of 78


           COMMISSIONER OF PROBATION vs. AMANDA ADAMS. [Note 1]
65 Mass. App. Ct. 725
June 15, 2005 - March 10, 2006
Hampden County

Present: GREENBERG, BECK, & MCHUGH, JJ.

   Abuse Prevention. Domestic Violence Record Keeping System. Fraud. Practice, Civil, Fraud, Costs. Criminal Records. Statute, Construction.

   This court concluded that a judge has the inherent power to expunge the record of a civil abuse protection order, issued against a defendant pursuant to G. L. c. 209A, from the Statewide domestic
   violence registry system, in the rare and limited circumstance where the judge has found through clear and convincing evidence that the order was obtained through fraud on the court. [728-737]

   A District Court judge was without statutory authority to levy costs against the Commissioner of Probation in an action initiated by a private plaintiff. [737-738]

   CIVIL ACTION commenced in the Springfield Division of the District Court Department on November 1, 2002.

   Motions to vacate an abuse prevention order, to destroy records of the vacated order, and for reconsideration were heard by W Michael Ryan, J., and a motion for costs was also heard by him.

   David M. Lieber, Assistant Attorney General, for the plaintiff.

   Mary Ann Chase for the defendant.




BECK, J. In this case we are asked to decide whether a District Court judge has the inherent power to expunge a civil abuse protection order, issued pursuant to G. L.
c. 209A, from the Statewide domestic violence registry when the order was obtained through fraud on the court. We hold that he does.

Introduction. Jake Jones and Amanda Adams were involved

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in a romantic relationship. Adams ended the relationship because Jones's violence and threats of violence caused her to fear for her life and safety. On October 30,
2002, Adams obtained an emergency abuse protection order against Jones pursuant to G. L. c. 209A. (We will refer hereafter to all abuse protection orders issued
pursuant to G. L. c. 209A as 209A orders.) In retaliation, Jones filed a complaint for a 209A order against Adams. At an ex parte hearing on November 1, 2002, a
District Court judge entered a temporary 209A order against Adams. On November 8, 2002, following a hearing at which both Jones and Adams were present, another
District Court judge extended both 209A orders for one year. The order against Jones was later made permanent. Meanwhile, Jones was charged in both the Worcester
and Springfield Divisions of the District Court Department with a violation of the 209A order against him, threats to commit a crime, and criminal harassment.

On April 29, 2003, Adams filed a motion to vacate the 209A order against her and requested the destruction of all records of the order. A different District Court judge
granted her motion to vacate the 209A order but denied her request to destroy the records. Adams then filed a separate motion to destroy all records of the vacated
order, including the records located in the Statewide domestic violence record keeping system (system) maintained by the office of the Commissioner of Probation
(commissioner) pursuant to G. L. c. 209A, s. 7. See St. 1992, c. 188, s. 7. The commissioner intervened and opposed the motion. The judge granted the motion,
reasoning that the prejudice to Adams outweighed the State's need to maintain records, and he ordered expungement of the record from the system.

The commissioner filed a motion to reconsider and to vacate the expungement order. The judge denied the commissioner's motion, reasoning that the District Court
had the inherent power to expunge the record of the 209A order against Adams where the order was obtained by fraud on the court. [Note 2] The judge also found
that Adams is an attorney, and that before either party

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had obtained a 209A order, her work had involved representing children. He further found that Jones falsely complained of Adams to the Board of Bar Overseers. As a
result of Jones's false complaints, the terms and conditions of Adams's employment were altered to prevent her unsupervised contact with children. The judge found,
but did not further specify why, Adams lost employment opportunities because of her listing in the system

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as an abuser. The commissioner appeals, arguing that the District Court has no authority to expunge the record of a 209A order from the system. We affirm.

General Laws c. 209A. "Civil restraining or protective orders ... may be entered pursuant to G. L. c. 209A, which provides that the courts have jurisdiction over abuse
prevention cases as described therein. Orders for the protection of those abused may be granted under G. L. c. 209A, s.s. 3, 4, and 5, and are enforced under G. L. c.
209A, s. 7. By St. 1992, c. 188, s. 7, the Legislature authorized and directed the Commissioner of Probation . . . to develop and implement the system, which is to
contain a computerized record of the issuance and violation of any restraining or protective order. Section Seven . . . restrict[s] access to the records in the system to
judges and law enforcement agencies." Vaccaro v. Vaccaro, 425 Mass. 153, 155 (1997). [Note 3] "There is nothing in St. 1992, c. 188, s. 7, or in G. L. c. 209A, that
permits a record to be removed or that authorizes the entry of a judicial order directing expungement of a record from the system." Id. at 156. "The system is
designed to promote the goal of preventing abuse . . . by providing a judge (and other authorized agencies) with complete information about a defendant." Id. at 157.

Fraud on the court. The Supreme Judicial Court has long recognized the court's powers to protect its authority: "[T]he inherent powers of the courts are those whose
exercise is essential to the function of the judicial department, to the

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maintenance of its authority, or to its capacity to decide cases. Opinion of the Justices, 279 Mass. 607, 613 (1932). Blankenburg v. Commonwealth, 260 Mass. 369,
373 (1927)." Sheriff of Middlesex County v. Commissioner of Correction, 383 Mass. 631, 636 (1981). "[E]very judge must exercise his inherent powers as necessary to
secure the full and effective administration of justice." O'Coin's, Inc. v. Treasurer of the County of Worcester, 362 Mass. 507, 514 (1972).

In essence, the District Court judge found that the 209A order against Adams was obtained through fraud on the court. We recognize that the judge did not use the
words "fraud on the court." However, he found that "[the nineteen] allegations by [Jones] are false and perjurious"; "[his behaviors] are indicative of an obsessive
compulsion that is extremely alarming"; "[t]he seeking of the restraining order . . . is part of a larger pattern of harassment"; and "[i]n addition to filing affidavits that
contain falsehoods . . . , [Jones] has falsely complained of [Adams] to the Board of Bar Overseers." In addition, the judge found that Jones obtained the ex parte order
against Adams "without disclosing that [Adams] had a restraining order against him." See G. L. c. 209A, s. 3 (requiring disclosure of pending abuse prevention orders).
See also Szymkowski v. Szymkowski, 57 Mass. App. Ct. 284, 287 (2003) (in considering 209A complaint, judge "must be alert against allowing process to be used" for
purposes of harassment). We hold that these findings support a conclusion that the order was obtained through fraud on the court.

It has been repeatedly held that courts have the inherent power to revoke judgments obtained by fraud on the court. See Jose v. Lyman, 316 Mass. 271, 280 (1944);
Rockdale Mgmt. Co. v. Shawmut Bank, N.A., 418 Mass. 596, 598 (1994); Gray v. Commissioner of Rev., 422 Mass. 666, 672-673 (1996); Winthrop Corp. v. Lowenthal,
29 Mass. App. Ct. 180, 184 (1990). "Fraud on the court implies corrupt conduct and embraces only that species of fraud which does, or attempts to, defile the court
itself." Munshani v. Signal Lake Venture Fund II, LP, 60 Mass. App. Ct. 714, 718 (2004), quoting from Winthrop Corp. v. Lowenthal, supra. "A `fraud on the court'
occurs where it can be demonstrated, clearly and convincingly, that a party has

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sentiently set in motion some unconscionable scheme calculated to interfere with the judicial system's ability impartially to adjudicate a matter by improperly
influencing the trier or unfairly hampering the presentation of the opposing party's claim or defense." Rockdale Mgmt. Co. v. Shawmut Bank, N.A., 418 Mass. at 598,
quoting from Aoude v. Mobil Oil Corp., 892 F.2d 1115, 1118 (1st Cir. 1989).

A court must be sufficiently empowered in order to prevent fraud on the court, because allowing the court to be manipulated by fraud poses a danger to its authority.
See Rockdale Mgmt. Co. v. Shawmut Bank, N.A., supra; Gray v. Commissioner of Rev., supra. Thus, the Supreme Judicial Court has held that "[w]hen a fraud on the
court is shown through clear and convincing evidence to have been committed in an ongoing case, the trial judge has the inherent power to take action in response to
the fraudulent conduct." Rockdale Mgmt. Co. v. Shawmut Bank, N.A., supra.

Fraud on the court has been found in cases where a party has perjured him or herself to the court and the court has relied upon the fabrications when reaching a
judgment. See Matter of Neitlich, 413 Mass. 416, 423 (1992) (fraud on the court where attorney made false statement with intent to deceive court); Rockdale Mgmt.
Co. v. Shawmut Bank, N.A., 418 Mass. at 598-599 (fraud on the court where party forged letter, proffered forged letter in response to interrogatories, and testified
under oath as to authenticity of letter); Munshani v. Signal Lake Venture Fund II, LP, 60 Mass. App. Ct. at 719-720 (fraud on the court where party fabricated an
electronic mail message [e-mail], submitted fabricated e-mail with false affidavit to court, and attempted to hide fabrication from court for several months). In this
case, Jones committed fraud on the court through his calculated pattern of false statements to the court, which influenced the District Court judge's decision to issue a
209A order against Adams. The District Court judge found that Jones made nineteen separate false statements under oath in four different affidavits submitted to the
court, and that Jones's application for a 209A order against Adams was part of a larger pattern of harassment and lies to the court and to the Board of Bar Overseers.

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When faced with a finding of fraud on the court, "[t]he judge has broad discretion to fashion a judicial response warranted by the fraudulent conduct." Rockdale Mgmt.
Co. v. Shawmut Bank, N.A., 418 Mass. at 598. The judge should seek "to secure the full and effective administration of justice." O'Coin's, Inc. v. Treasurer of the
County of Worcester, 362 Mass. at 514. Judges may exercise their inherent powers to fashion remedies that not only realistically protect the integrity of the pending
litigation, but that also "send an appropriate message to those who would so abuse the courts of the Commonwealth." Munshani v. Signal Lake Venture Fund II, LP, 60
Mass. App. Ct. at 721. When courts invoke their inherent authority to fashion remedies to respond to fraud on the court, "lack of statutory authorization . . . is
immaterial." Brach v. Chief Justice of the Dist. Ct. Dept., 386 Mass. 528, 535 (1982). Such power exists "without statutory authorization and cannot be restricted or
abolished by the Legislature." Gray v. Commissioner of Rev., 422 Mass. at 672, quoting from Brach v. Chief Justice of the Dist. Ct. Dept., supra. "We examine judicial
responses to findings of fraud on the court for an abuse of discretion." Rockdale Mgmt. Co. v. Shawmut Bank, N.A., supra.

It is well established that, upon a finding of fraud on the court, judges may enter default judgments, dismiss claims, or dismiss entire actions. See Rockdale Mgmt. Co.
v. Shawmut Bank, N.A., 418 Mass. at 598-599; Munshani v. Signal Lake Venture Fund II, LP, 60 Mass. App. Ct. at 721. In cases where an attorney has committed fraud
on the court, judges have used their inherent authority to suspend or disbar the attorney. See Matter of Neitlich, 413 Mass. at 423-425; Matter of Otis, 438 Mass.
1016, 1017 (2003). Common to these cases is the notion that judges have the authority to fashion remedies that will protect the integrity of the courts, and that will
discourage the public from attempting to use the courts to perpetuate fraudulent schemes. See Munshani v. Signal Lake Venture Fund II, LP, supra.

In this case, vacating the 209A order against Adams is insufficient to protect the integrity of the courts and does not send an appropriate message to the public.
Vacating the order leaves a record of the order in the system. See St. 1992, c. 188, s. 7. Not

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only does this leave a permanent mark against Adams, but it also leaves, in perpetuity, a record of a fraudulently obtained court order. Although labels such as
"dismissed" or "closed" are applied to records in the system, no explanation is provided as to why the order was dismissed or the case closed. Many vacated 209A
orders are vacated because of the victim's failure to prosecute. See Vaccaro v. Vaccaro, 425 Mass. at 158 n.5. Law enforcement officials will not be notified that the
order was vacated because it was obtained by fraud on the court. Rather, they may presume it was vacated because of the victim's failure to prosecute or because of
insufficient evidence. The perpetuation of a fraud amounts to a defiling of the court itself when law enforcement officials rely on inaccurate information produced by the
court. See Winthrop Corp. v. Lowenthal, 29 Mass. App. Ct. at 184.

Just as vacating the order is an insufficient remedy in those circumstances, sealing the record of the order is equally inadequate. When records are sealed, they do not
disappear. While sealed records become unavailable to the public, "the raw data continues to be available to law enforcement officials (police, probation officers, and
courts)." Commonwealth v. Roberts, 39 Mass. App. Ct. 355, 356 (1995). Law enforcement officials would retain access to information that is inaccurate and misleading
and was obtained through fraud on the court. Therefore, sealing would not remedy the defiling of the court.

Adams argues that Police Commr. of Boston v. Municipal Ct. of the Dorchester Dist., 374 Mass. 640, 661 (1978), controls the outcome of this case. In that case, the
Supreme Judicial Court concluded that the "power to order expungement or its equivalent is a power that properly may be exercised by the courts of the
Commonwealth as a necessary adjunct to their exercise of judicial power." Ibid. (citation and footnote omitted). "The power properly may be exercised where the utility
of the records for law enforcement purposes is likely to be minimal or nonexistent." Ibid. In that case, the court held that a Juvenile Court judge had the inherent
power to order the police department to expunge the arrest records of a juvenile after a delinquency proceeding against the juvenile had been dismissed with
prejudice. Id. at 641-642. In doing so, the court reasoned

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that the unnecessary harm to the juvenile outweighed the government's interest in maintaining and disseminating records of a dismissed case. Ibid.

The commissioner argues that this case is controlled by Vaccaro v. Vaccaro, 425 Mass. at 157-159, in which the Supreme Judicial Court held that the District Court had
no statutory or inherent power to order expungement of a c. 209A record from the system. In order to understand that holding, however, it is crucial to understand the
facts of that case. There, the plaintiff, Mrs. Vaccaro, obtained an ex parte temporary protective order against the defendant, her husband, pursuant to G. L. c. 209A, s.
5. Id. at 154. At a subsequent hearing, Mrs. Vaccaro testified to incidents of the defendant's verbal and physical abuse and her ongoing fear that he would harm her.
Ibid. The District Court judge found that the plaintiff was genuinely fearful, but that there was insufficient evidence to justify the continuation of the protective order.
Ibid. Therefore, the judge vacated the 209A order and directed that the record be expunged from the system. Id. at 155. On appeal, the Supreme Judicial Court held
that "no power to order expungement can be implied." Id. at 157. The court reasoned that the purpose of the system is to provide a judge with complete information
about a defendant, and to allow a judge to identify subsequent situations in which a subsequent plaintiff may face a particularly heightened degree of danger. Ibid. See
Commonwealth v. Gavin G., 437 Mass. 470 (2002) (where case against juvenile was dismissed due to Commonwealth's failure to prosecute, Juvenile Court has no
inherent authority to expunge records maintained pursuant to statutory scheme where statute does not authorize expungement).

In Vaccaro v. Vaccaro, the Supreme Judicial Court distinguished Police Comm. of Boston v. Municipal Ct. of the Dorchester Dist., supra, on the ground that the Vaccaro
case was "not a case where there is `little or no valid law enforcement purpose . . . served by the maintenance and dissemination of . . . records.' " 425 Mass. at 158,
quoting from Police Commr of Boston v. Municipal Ct. of the Dorchester Dist., 374 Mass. at 642. In enacting G. L. c. 209A, the Legislature was concerned with the
prevalence of domestic abuse and wanted to ensure that abusers were easily identifiable by law enforcement

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officials when they either violated 209A orders or committed other crimes in the future. Id. at 157-158. The Legislature specifically omitted an expungement provision
in the statute because it did not want vacated 209A orders to go unnoticed. See id. Recognizing the realities of domestic abuse, the court noted that many victims
initially obtain 209A orders but then either fail to prosecute them or, as in Vaccaro, fail to present enough evidence to allow a court to continue the issuance of one.
See Vaccaro v. Vaccaro, 425 Mass. at 158 n.5. Therefore, although many 209A orders would likely be vacated, the Legislature determined that records of such orders
would still provide valuable information to law enforcement officials. Ibid.

In Vaccaro, the Supreme Judicial Court also distinguished Police Commr of Boston v. Municipal Ct. of the Dorchester Dist., supra, by pointing out that while there is no
statutory authority requiring the maintenance of juvenile arrest records, there is an express legislative directive to implement the domestic violence registry system.
Vaccaro v. Vaccaro, 425 Mass. at 158. That distinction is immaterial to this case because when courts invoke their inherent authority to fashion remedies to respond to
fraud, "lack of statutory authorization . . . is immaterial." Brach v. Chief Justice of the Dist. Ct. Dept., 386 Mass. at 535. See Gray v. Commissioner of Rev., 422 Mass.
at 672. The District Court judge in the Vaccaro case was not invoking the court's inherent authority to remedy fraud on the court; therefore, the legislative directive
omitting a provision for expungement controlled. Here, however, there has been fraud on the court, and the judge's inherent power to fashion an appropriate remedy is
not vitiated by the statute's omission regarding expungement. See Commonwealth v. S.M.F., 40 Mass. App. Ct. 42, 43-45 (1996) (where sealing statutes are
inapplicable and no statutory remedy is therefore available, trial courts may invoke inherent power to order expungement). Contrast Commonwealth v. Roe, 420 Mass.
1002, 1002-1003 (1995) (even though charges against defendant dismissed for want of prosecution, court lacked inherent authority to expunge criminal records of
adult because legislative scheme allows such records to be sealed).

Allowing expungement in this case does not offend the

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Supreme Judicial Court's rationale in Vaccaro. [Note 4] As the court stated in that case, the purpose of G. L. c. 209A is to protect prospective victims. Vaccaro v.
Vaccaro, 425 Mass. at 157. In the case before us, Adams was the victim of abuse. The 209A order against her was obtained fraudulently as a means of retaliation
against her for seeking a 209A order against Jones, and the court was used as a mechanism to perpetrate the fraud. Compare Jose v. Lyman, 316 Mass. at 280 (use of
court's inherent powers permissible to prevent fraud on the court), and Winthrop Corp. v. Lowenthal, 29 Mass. App. Ct. at 184 (same), with Vaccaro v. Vaccaro, 425
Mass. at 158, and Commonwealth v. Gavin G., 437 Mass. at 473. Expunging Adams's record not only remedies any harm suffered by her, but it also sends the
appropriate message to the public: the courts will not be used as a vehicle for abusing G. L. c. 209A as a means of harassment through the seeking and obtaining of
fraudulent 209A orders. Moreover, the court in Vaccaro stated that these orders should not be expunged because vacated orders serve an informational purpose.
Vaccarro v. Vaccarro, 425 Mass. at 158. In contrast, the order in this case serves no informational purpose. Because the order was obtained through fraud on the court,
a subsequent discovery of the order in the system by a law enforcement official will provide incorrect information to the official. Adams has not posed any threat to
Jones, and any contrary record will impede the administration of justice.

Balancing test. The Supreme Judicial Court has cautioned that, before a court may invoke its inherent power to expunge a record, it must ensure that the
government's interest in maintaining the record does not outweigh the harms suffered by the maintenance of the record. Police Comm: of Boston v. Municipal Ct. of
the Dorchester Dist., 374 Mass. at 658-661. As in that case, the resulting harm here from the maintenance and dissemination of the fraudulent 209A order against
Adams outweighs the government interest in keeping the record in the system. We have already discussed how the court's integrity and ability to secure the full
administration of justice is severely

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weakened when a court order obtained through fraud remains a record available to and perhaps relied upon by law enforcement officials. Contrast Vaccaro v. Vaccaro,
425 Mass. at 157. Moreover, the harm suffered by Adams is obvious. Without expungement, she will suffer from a blemish on her record for the rest of her life. The
District Court judge found that the existence of this record already has had a detrimental impact on the terms and conditions of her employment. [Note 5] The
existence of a record can also adversely affect Adams if she is involved in any future 209A proceeding. See Wooldridge v. Hickey, 45 Mass. App. Ct. 637, 638 (1998).
Furthermore, the existence of an order can have a negative effect on her during future bail proceedings. See Frizado v. Frizado, 420 Mass. 592, 594 (1995).

The potential harm to the courts and to Adams outweighs the governmental interest in maintaining and disseminating the fraudulently obtained 209A order, because
the order contains absolutely no informational purpose. Contrast Vaccaro v. Vaccaro, 425 Mass. at 157; Commonwealth v. Gavin G., 437 Mass. at 473. Because the
209A order was obtained by fraud on the court, it does not offer any assistance to law enforcement officials. If anything, the existence of a vacated 209A order that
was obtained through fraud is unhelpful because it provides false information to law enforcement. This impedes the fair administration of justice.

The commissioner also argues that the government has an interest in conserving resources and in not having to defend against frivolous attempts to expunge records
from the system. We do not find this argument sufficiently persuasive to outweigh the egregious harms suffered by the courts and c. 209A defendants if expungement
were not allowed in those limited circumstances. Courts must afford a hearing to c. 209A defendants within ten business days of the entry of a temporary order. G. L.
c. 209A, s. 4. An additional hearing is required in

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order to extend the length of a 209A order beyond one year. G. L. c. 209A, s. 3. Should a c. 209A defendant claim that a plaintiff is pursuing the order through fraud
on the court, he or she will have adequate opportunity to assert that argument at either or both of these hearings. If the judge does not make a finding of fraud on the
court, the defendant will have no basis for a subsequent motion to expunge the record of the order from the system. Nothing in G. L. c. 209A, or in this opinion,
requires a hearing on a defendant's motion for expungement. Furthermore, the "clear and convincing evidence" standard of proof required for demonstrating a fraud
on the court finding will necessarily limit the number of instances when expungement may even be considered as an appropriate remedy.

We therefore conclude that a judge has the inherent authority to expunge a record of a 209A order from the Statewide domestic violence registry system in the rare
and limited circumstance that the judge has found through clear and convincing evidence that the order was obtained through fraud on the court. Because the District
Court judge's finding of fraud on the court was not an abuse of discretion, we hold that expungement of the order from the system in this case was appropriate. [Note
6] Cf. Corrado v. Hedrick, 65 Mass. App. Ct. 477 (2006).

Costs. The commissioner also appeals from the judge's order that the commissioner reimburse Adams for costs in the amount of $500 due to the commissioner's
failure to attend a hearing at the initial hearing on her motion to destroy all copies of the 209A order. [Note 7] We conclude that the judge erred because he was
without statutory authority to order the payment of costs in these circumstances.

"[C]osts against the Commonwealth, its officers, and agencies shall be imposed only to the extent permitted by law." Mass.R. Civ.P. 54(d), as appearing in 382 Mass.
821 (1980). "Consequently, express statutory authority is required to levy costs on

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the Commonwealth." Judge Rotenberg Educ. Center, Inc. v. Commissioner of the Dept. of Mental Retardation (No. 1), 424 Mass. 430, 468 (1997). See Broadhurst v.
Director of the Div of Employment Security, 373 Mass. 720, 722 (1977); Ware v. Commonwealth, 409 Mass. 89, 90 (1991). "This requirement arises out of the general
rule of law that the Commonwealth `cannot be impleaded in its own courts except with its consent, and, when that consent is granted, it can be impleaded only in the
manner and to the extent expressed . . . [by] statute.' " Judge Rotenberg Educ. Center, Inc. v. Commissioner of the Dept. of Mental Retardation (No. 1), 424 Mass. at
468, quoting from General Elec. Co. v. Commonwealth, 329 Mass. 661, 664 (1953).

The District Court judge did not ground his decision to levy costs against the commissioner on any express statutory authority. Adams argues that G. L. c. 261, s. 14,
authorizes the judge to levy such costs. That statute provides: "In civil actions and in proceedings which are instituted by, or in the name of, the commonwealth, and
not at the relation, in behalf, or for the use, of a private person, the commonwealth shall be liable for costs as is an individual." G. L. c. 261, s. 14. It has been
repeatedly held that s. 14 provides for the recovery of costs in civil actions that are initiated by the Commonwealth and does not allow for recovery of costs from the
Commonwealth in civil actions initiated by a private plaintiff. See Broadhurst v. Director of the Div of Employment Security, 373 Mass. at 724; Ware v. Commonwealth,
409 Mass. at 92; Judge Rotenberg Educ. Center, Inc. v. Commissioner of the Dept. of Mental Retardation (No. 1), 424 Mass. at 468-469. The present action was
initiated by a private plaintiff. Adams's motion seeking an order of expungement necessarily compelled the commissioner to intervene and oppose the motion.
Therefore, G. L. c. 261, s. 14, does not authorize the District Court judge to levy costs against the commissioner.

That portion of the order dated February 27, 2004, awarding costs against the Commissioner of Probation is vacated. In all other respects, the order is affirmed.

So ordered.



   FOOTNOTES

   [Note 1] A pseudonym. The Commissioner of Probation intervened to oppose Adams's motion for expungement and is now the appellant in this matter. The original plaintiff, Jake
   Jones (a pseudonym), is not a party to this appeal.

   [Note 2] The judge found that Jones made the following false statements under oath:

   "1. [Adams] stated she had me under surveillance for six months."

   "2. She stated to me that the people following me were members of organized crime."

   "3. The defendant's family have many links to organized crime."

   "4. Her uncle was `Bendo,' an enforcer for the Puglione family."

   "5. I broke off our relationship."

   "6. She has threatened my new girlfriend."

   "7. She has threatened myself."

   "8. The defendant has made numerous threats using the term `The boys owe me a favor.' "

   "9. I feel the real danger is to myself as well as my children."

   "10. [Adams's] threats to my children remain . .. very real."

   "11. [Adams] . . .had made repeated threats such as `Your children will suffer,' and I will make things very inconvenient for you."

   "12. She had me followed for six months by members of organized crime."

   "13. [Adams] has made fraudulent statements."

   "14.. . . the relationship ceased after I met another woman of another race."

   "15. [Adams] arrived at my residence on October, 29, 2002 clearly intoxicated . . . in a rage . . . threatening my children . . . and stating she would make my life very
   inconvenient."

   "16. [Adams] personally sabotaged a personal injury case for my father."

   "17. [Adams] does in fact misrepresent herself by using an alias in her work as a lawyer."

   "18. [Adams's] HIDDEN AGENDA to settle an old vendetta is her real motivation in this case."

   "19. [Adams] is using her title to further harass me."

   [Note 3] The relevant portion of St. 1992, c. 188, s. 7, provides as follows:

   "The commissioner of probation is hereby authorized and directed to develop and implement a statewide domestic violence record keeping system . . . . Said system shall include
   a computerized record of the issuance of or violations of any protective orders or restraining orders issued pursuant to . . . [G. L. c. 209A]. Further, said computerized system shall
   include the information contained in the court activity record information system maintained by the office of said commissioner. The information contained in said system shall be
   made available to judges considering petitions or complaints pursuant to [G. L. c. 209A]. Further, the information contained in said system shall be made avail-able to law
   enforcement agencies through the criminal justice information system maintained by the executive office of public safety."

   [Note 4] In fact, leaving the record on the system would reward Jones in his attempt to harass and destroy Adams. Refusal to expunge the record would fail to discourage others
   from committing similar frauds on the court.

   [Note 5] The commissioner suggests that the judge's findings were unsubstantiated. He argues that the record in the system did not harm Adams because it was Jones who
   notified Adams's employer of the 209A order. The commissioner has failed to show that the judge's findings of fact were clearly erroneous. See Mass.R.Civ.P. 52(c), as appearing
   in 423 Mass. 1408 (1996).

   [Note 6] As we hold that fraud on the court allows expungement of Adams's record from the system, we need not address Adams's due process argument.

   [Note 7] According to the judge's findings, "[c]ounsel for the commissioner acknowledged receipt of notice of the first hearing but was unable to explain why the commissioner did
   not appear in opposition."


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           COMMONWEALTH vs. MARTIN F. DELANEY, JR
425 Mass. 587
December 4, 1996 - July 28, 1997
Essex County

Present: WILKINS, C.J., ABRAMS, LYNCH, O'CONNOR & GREANEY, JJ.

   [Note: This opinion was revised by the court in v. 432 of Massachusetts Reports. The text below is that of the revised opinion.]

   Where a defendant was served at his last and usual place of abode with a temporary restraining order issued pursuant to G. L. c. 209A, with notice that, if he failed to appear at a hearing, the order
   would continue in effect without further order of the court, and where the order was so extended pursuant to G. L. C. 209A, s. 4, personal service of the extended order was not a prerequisite to
   prosecution of the defendant for violation of the order [589-591]; moreover, where the defendant with reasonable inquiry could have discovered that the temporary order had been extended, there
   could be no argument on due process grounds that he was deprived of an opportunity to seek to have the extended order vacated [591-592]. LYNCH, J., dissenting.

   Evidence at the trial of complaints alleging violation of a protective order was sufficient to warrant the conclusion that the defendant had knowledge of the terms of the order. [592-593] LYNCH, J.,
   dissenting.

   In a criminal case in which the defendant was charged with six counts of violation of a restraining order, intimidation of a witness and stalking, on four various dates within an eight-week period, the
   judge correctly joined the offenses for trial, where the allegations demonstrated a pattern of conduct by the defendant toward the same victim, where evidence of each offense would have been
   admissible at trials of the offenses separately, and where the defendant did not demonstrate any prejudice from joinder. [593-595]

   The provisions of G. L. c. 209, s. 7, establishing a distinct crime for certain violations of c. 209A orders, do not require any further proof of a defendant's intent or mens rea than proof that the
   defendant knew the terms of the order in question. [595-597]

   At a criminal trial, there was no substantial risk of a miscarriage of justice in the judge's exclusion of certain improper argument by defense counsel; of a certain improper reference to hearsay in
   defense counsel's opening remarks; and of certain cross-examination of a witness that was irrelevant to her credibility; further, error, if any, in the judge's instructions to the jury was harmless. [597-
   598]

   No substantial risk of a miscarriage of justice was created at a criminal trial by the prosecutor's closing argument which was based on the evidence

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   admitted and reasonable inferences therefrom; further, the judge's instructions made it clear that arguments of counsel were not evidence. [599-601] LYNCH, J., dissenting.

   COMPLAINTS received and sworn to in the Lawrence Division of the District Court Department on September 29, 1992, October 9, 1992, and November 4, 1992, respectively.

   The cases were tried before Michael T. Stella, Jr., J., and a motion for a new trial was heard by him.

   The Supreme Judicial Court on its own initiative transferred the case from the Appeals Court.

   Mark J. Gillis for the defendant.

   Marcia H. Slingerland, Assistant District Attorney, for the Commonwealth.




ABRAMS, J. On March 9, 1994, a District Court jury found the defendant, Martin F. Delaney, Jr., guilty of five counts of violating a protective order issued pursuant to
G. L. c. 209A. [Note 1] The defendant appeals from the convictions, as well as from an order denying his motion for a new trial on various grounds. We transferred the
case here on our motion. We affirm.

The following facts are not in dispute. On August 31, 1992, the victim, the defendant's former female companion, obtained an ex parte protective order against the
defendant pursuant to G. L. c. 209A, s. 4. The order stated that the defendant was to refrain from having any contact with the victim, and specifically restrained the
defendant from following the victim and making telephone calls to her. The order also stated that there was to be a hearing on September 11, 1992, to determine
whether the order would be extended and that the defendant "may appear, with or without an attorney, to oppose any extension or expansion of this [o]rder. If the
defendant does not appear, an extended or expanded [o]rder may remain in effect for up to one year." Service of the temporary order was made by leaving a copy of it
at the defendant's last and usual place of abode on September 1, 1992. On September 11, 1992, the defendant did not appear at the hearing; the order was extended
for one year to September 10, 1993. The extended order contained the same

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terms as the temporary order, but there is no evidence that the extended order was ever served on the defendant.

There was evidence from which the jury could have found the following facts. On September 14, 1992, the defendant telephoned the victim and stated, "You got a
restraining order against me." The defendant offered to put a clutch in the victim's automobile for free if she would "drop" the restraining order against him. The
defendant again telephoned the victim on September 18, 1992, and asked the victim to "give [him] another chance." On September 28, 1992, the defendant forced
the victim's automobile off the road and apparently referring to charges in an unrelated matter told her, "You are going to drop the charges or else." The defendant was
arrested following this incident. On October 8, 1992, the defendant pulled his vehicle up behind the victim and asked her "if [they] could handle their problems outside
of court." Again, the defendant was arrested. Finally, on November 2, the defendant blocked the victim's vehicle as she tried to leave a gasoline station.

On appeal, the defendant argues that, because he never was served with the extended order he was charged with violating, the judge improperly asserted jurisdiction
over this case and denied him his due process rights under the Fourteenth Amendment to the United States Constitution and art. 12 of the Massachusetts Declaration
of Rights. The defendant also argues that the Commonwealth improperly joined the charges against him; he alleges error in the jury instructions and claims that the
judge's biased treatment of defense counsel deprived him of his right to a fair trial. Finally, the defendant claims that his motion for a new trial was improperly denied
because the Commonwealth's closing argument distorted the evidence against him. [Note 2]

1. Failure to serve the extended order. The defendant first argues that the failure to serve him with a copy of the extended order deprived the District Court judge of
subject matter jurisdiction over his case. Because it is clear that the District Court had subject matter jurisdiction, [Note 3] we treat the defendant's argument as
asserting that the statute requires that there be

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personal service on the defendant before he can be convicted of violating the order. We conclude that personal service of the extended order is not required.

General Laws c. 209A, s. 7, requires that a copy of an order issued under s.s. 3, 4, or 5 of G. L. c. 209A be served on a defendant. [Note 4] The defendant argues,
therefore, that, absent such service, he cannot be convicted of violating an order issued pursuant to G. L. c. 209A. The defendant's argument, however,

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ignores the fact that the temporary order was served on him at his last and usual place of abode and that the evidence warranted a finding that he had knowledge of
the order. This order warned the defendant that, if he failed to appear, "an extended or expanded [o]rder may remain in effect." [Note 5] Section 4 mandated that "the
temporary order[] shall continue in effect without further order of the court" when the defendant fails to appear (emphasis added). [Note 6] The jury could have found
that the defendant had actual and constructive notice of the order and that it continued in effect after the hearing date. In these circumstances the service of the
extended order on the defendant was not a prerequisite to his prosecution for violating the terms of the order. This, however, does not end our inquiry. The defendant
also argues that prosecuting a defendant for violating an order that has not been served on him violates the defendant's due process rights.

As the defendant points out, "[t]he fundamental requisite of due process is an opportunity to be heard at a meaningful time and in a meaningful manner." Matter of
Kenney, 399 Mass. 431, 435 (1987). See Langlitz v. Board of Registration of Chiropractors, 396 Mass. 374, 376 (1985); LaPointe v. License Bd. of Worcester, 389 Mass.
454, 458 (1983). The defendant, however, does not argue that he was deprived of an opportunity to be heard before the judge entered the extended order. [Note 7]
Apparently, the defendant's argument is that, because he was not served with a copy of the extended order, he was precluded from moving to have the extended order
vacated. G. L. c. 209A, s. 3 ("[t]he court may modify its order at any subsequent time

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upon motion by either party"). The ex parte order informed the defendant that an extended order may be entered against him if he did not appear at the hearing. This
information was certainly sufficient to put the defendant on notice, for "[n]otice of facts which would incite a person of reasonable prudence to an inquiry under similar
circumstances is notice of all the facts which a reasonably diligent inquiry would develop." Commonwealth v. Olivo, 369 Mass. 62, 69 (1975), quoting Essex Nat'l Bank
v. Hurley, 16 F.2d 427, 428 (1st Cir. 1926). Indeed, a party may not "shut his eyes to the means of knowledge which he knows are at hand, and thereby escape the
consequences which would flow from the notice if it had actually been received." Commonwealth v. Olivo, supra, quoting NLRB v. Local 3, Bloomingdale Dist. 65, Retail,
Wholesale & Dep't Store Union, 216 F.2d 285, 288 (2d Cir. 1954). Thus, the defendant, who with reasonable inquiry could have discovered that the temporary order
had been extended, cannot be heard to complain that he was deprived of an opportunity to seek to have that extended order vacated.

Due process also requires that a person be given a "reasonable opportunity to know what the order prohibited, so that he might act accordingly." Commonwealth v.
Butler, 40 Mass. App. Ct. 906, 907 (1996). See Commonwealth v. Freiberg, 405 Mass. 282, 289, cert. denied, 493 U.S. 940 (1989) (due process requires that
individuals receive fair notice of conduct proscribed by statute); Department of Youth Servs. v. A Juvenile, 398 Mass. 516, 522 (1986) (same); Commonwealth v.
Williams, 395 Mass. 302, 304 (1985), quoting Kolender v. Lawson, 461 U.S. 352, 357 (1974) ("penal statute must 'define the criminal offense with sufficient
definiteness that ordinary people can understand what conduct is prohibited and in a manner that does not encourage arbitrary and discriminatory enforcement'").
Clearly, a showing that a defendant was served with a copy of a court order is strong evidence that a defendant had knowledge that certain conduct would not be
permitted and could result in a criminal conviction. The failure of such service, however, is not fatal where the Commonwealth can prove beyond a reasonable doubt
that the defendant had actual knowledge of the terms of the order. Bongiovi v. LaBeet, 155 A.D.2d 320, 321 (N.Y. 1989) ("[a]t any rate, respondent conceded that she
was, in fact, aware of the order of protection and, therefore, personal service need not be demonstrated"). Cf.

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State v. Delap, 466 N.W.2d 264, 269 (Iowa Ct. App. 1990) (where defendant argues order not sufficiently clear, definite and unambiguous to support contempt
adjudication irrelevant because defendant had actual knowledge of "no contact condition" in order and consequences of violating condition). Indeed, as long as a
defendant had actual knowledge of the terms of the order, there is no danger that a defendant will be convicted of conduct not known to be violative of a court order.
Cf. Lambert v. California, 355 U.S. 225, 229 (1957) (where there was "absence of an opportunity either to avoid the consequences of the law or to defend any
prosecution brought under it," defendant's conviction violated due process).

We conclude then that the failure to serve a copy of the extended order on the defendant is not a bar to charging him with violating that order. Failure to serve the
defendant, however, with a copy of the extended order is, of course, relevant to a determination as to whether the defendant possessed the knowledge required to
convict him of violating the order. See note 5, supra. Evidence that the ex parte order delivered to the defendant's last and usual address was actually received
warrants the conclusion that the defendant had actual knowledge of the terms of the extended order, as does the defendant's testimony that, following his arrest after
the September 28 incident, he was aware that there was a protective order against him.

2. Joinder. Prior to trial, there was a joinder of numerous charges pending against the defendant. [Note 8] The defendant argues that the offenses joined did not
involve a "pattern of conduct" and that he was severely prejudiced by the joining of these charges. We disagree.

A judge's decision on "whether joinder is appropriate is committed to the sound discretion of the trial judge." Commonwealth v. Montanez, 410 Mass. 290, 303 (1991).
See Commonwealth v. Shelton, 37 Mass. App. Ct. 964, 964 (1994). The defendant bears the burden of demonstrating that prejudice will

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result from a failure to sever the charges. Commonwealth v. Gallison, 383 Mass. 659, 671 (1981). Indeed, Mass. R. Crim. P. 9 (a) (3), 378 Mass. 859 (1979), provides
that where offenses are related, "[t]he trial judge shall join the charges for trial unless he determines that joinder is not in the best interests of justice."

Related offenses are defined in part as "aris[ing] out of a course of criminal conduct or series of criminal episodes connected together or constituting parts of a single
scheme or plan." Mass. R. Crim. P. 9 (a) (1), 378 Mass. 859 (1979). We have stated that offenses are related if the evidence "in its totality shows a common scheme
and pattern of operation that tends to prove all the indictments." Commonwealth v. Feijoo, 419 Mass. 486, 494-495 (1995). Time and space play an important role in
determining whether offenses are related offenses for the purposes of joinder. See Commonwealth v. Mamay, 407 Mass. 412, 417 (1990); Commonwealth v. Cruz, 373
Mass. 676, 690 (1977).

In the instant case, the judge joined for trial the charges of violating a c. 209A order, stalking, and intimidating a witness. All the incidents giving rise to the charges
involved the same victim. All the incidents occurred between March and November of 1992; indeed, the six counts of c. 209A violations, which include the five counts
of which the defendant was ultimately convicted, occurred within an approximate eight-week period. Thus, the offenses charged demonstrated a pattern of conduct by
the defendant toward the victim because of his unhappiness with the ending of their relationship and his desire to reunite with her. See Commonwealth v. Feijoo, supra
at 495 (joinder appropriate where offenses indicated scheme whereby defendant used his position as karate teacher to induce students to engage in homosexual
activity); Commonwealth v. Mamay, supra at 416 (joinder appropriate where offenses indicated scheme whereby defendant used his position of authority and trust to
commit sexual crimes on female patients visiting his office). As such, evidence of each offense would have been admissible at trials for a separate offense. See
Commonwealth v. Feijoo, supra. Indeed, if the charges were tried separately, much testimony would be duplicated at each trial merely establishing the relationship
between the victim and the defendant. See Commonwealth v. Hoppin, 387 Mass. 25, 32 (1982) ("[j]oinder may promote economy in the trial of criminal offenses,
particularly

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when the same witnesses will testify concerning more than one offense"). Finally, we note that, in the instant case, the defendant has failed to demonstrate that he
was prejudiced by the joinder of these offenses. The defendant's burden is "not satisfied by a showing merely that the defendant's chances for acquittal would have
been better had the [complaints] been tried separately." Commonwealth v. Montanez, supra at 304. Rather, the defendant's burden is to show that "the prejudice
resulting from a joint trial is so compelling that it prevent[ed] [him] from obtaining a fair trial." Commonwealth v. Clarke, 418 Mass. 207, 217 (1994), quoting
Commonwealth v. Moran, 387 Mass. 644, 658 (1982). See Commonwealth v. Ferraro, 424 Mass. 87, 90 (1997). In the instant case, the jury acquitted the defendant of
the stalking charge and the charge that he intimidated a witness. The defendant was also acquitted of one of the counts charging him with violating a protective order.
Thus, it is clear that the jury carefully considered the evidence with regard to each crime charged.

3. Jury instructions. The defendant argues that, in order to be convicted of violating a c. 209A order, the Commonwealth must show a manifest intent on the part of the
defendant to violate that order. We disagree.

The judge instructed the jury that, in order to convict the defendant of the crime of violating a c. 209A order, the Commonwealth must prove: "First . . . that a court
had issued an order pursuant to Chapter 209A of our General Laws, which ordered the defendant to refrain from abusing the alleged victim. Second, that such order
was in effect on the date that this violation of the order allegedly occurred. Third, that the defendant knew that the pertinent terms of the order were in effect, either
by having received a copy of the order or in some other way. And fourth, that the defendant violated the order by failing to vacate the household or by abusing alleged
victim."

The defendant argues that this charge was erroneous because, by allowing the jury to convict the defendant based solely on the fact that there was a violation of the
order instead of requiring a finding that the defendant intended to violate the order, the instruction lowered the Commonwealth's burden of proof. The defendant urges
us to look to the law of contempt and conclude that an essential element of the crime of violating a c. 209A order is a finding that the defendant intended to violate the
order. Because there was no objection at trial, we review the

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charge to determine whether it "was so erroneous that it created a 'substantial risk of a miscarriage of justice.' " Commonwealth v. Preziosi, 399 Mass. 748, 751
(1987), quoting Commonwealth v. Murray, 396 Mass. 702, 705 (1986).

We have read s. 7 as limiting to the enumerated offenses those actions which will constitute a criminal violation of G. L. c. 209A. Commonwealth v. Gordon, 407 Mass.
340, 345 (1990). All other violations of a c. 209A order cannot be prosecuted as a statutory offense; rather, they can be prosecuted as criminal contempt. Commentary
to s. 8:02 of the Guidelines for Judicial Practice: Abuse Prevention Proceedings (Oct. 1996).

In order to prove a defendant guilty of criminal contempt, the Commonwealth must prove beyond a reasonable doubt that "there was a clear, outstanding order of the
court, that the defendant knew of that order, and that the defendant clearly and intentionally disobeyed that order in circumstances in which he was able to obey it."
Commonwealth v. Brogan, 415 Mass. 169, 171 (1993), quoting Furtado v. Furtado, 380 Mass. 137, 145 (1980). See United Factory Outlet, Inc. v. Jay's Stores, Inc.,
361 Mass. 35, 45 (1972) (Tauro, C.J., concurring) ("[t]he rule that intent is not an element of civil contempt is a direct consequence of the separate functions of
criminal and civil contempt").

While intent is an element of criminal contempt proceedings, s. 7 of G. L. c. 209A establishes a distinct statutory crime for certain violations of c. 209A orders. The
statute does not speak explicitly to the defendant's state of mind; it is conceded, however, by the Commonwealth that, in order to convict a defendant of violating an
order, it must be proved beyond a reasonable doubt that the defendant knew of the order. See Commonwealth v. Crosscup, 369 Mass. 228, 234 (1975) (clear statutory
language would be needed . . . to buttress an interpretation that knowledge was irrelevant"); Commonwealth v. Wallace, 14 Mass. App. Ct. 358, 364 (1982) ("
[b]ecause traditionally, at common law, some element of intent or knowledge was required before punishment could be imposed . . . and because due process
considerations may, in some cases, require some degree of notice . . . courts are reluctant to infer a legislative intent to impose absolute liability" [citations omitted]).
This statute, however, requires no more knowledge than that the defendant knew of the order. We decline to read

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any additional mens rea requirements into the statute. [Note 9] Simon v. Solomon, 385 Mass. 91, 103 (1982) ("[a]lthough the requirement of due process places
some limits on legislative power to penalize innocent conduct, legislatures generally have broad power to define and limit the mens rea element of criminal offenses");
Commonwealth v. Jackson, 369 Mass. 904, 909 (1976) ("Legislature has great latitude to determine what conduct should be regarded as criminal and to prescribe
penalties to vindicate the legitimate interests of society"). The defendant does not argue that the failure of the statute to require a showing of intentional violation is
unconstitutional.

4. Failure to allow certain arguments. The defendant also argues that the judge erred in failing to allow the defendant to pursue certain avenues of argument. [Note
10] The defendant attempts to cite five instances where the judge improperly discarded the defendant's arguments. We think that this argument is without merit.

At trial, the defendant did not object to the judge's rulings, instructions, or comments. Therefore, we examine whether the judge's actions constituted a "substantial
risk of a miscarriage of justice." Commonwealth v. Boyer, 400 Mass. 52, 59 (1987).

The first occasion occurred during the defendant's opening statement where defense counsel made the following comment: "[The victim] has a motive in this trial, and
you will hear it. She has a credibility problem, you will find out, that she has a hard time telling the truth." Following an objection by the prosecutor, the judge
instructed: "The credibility and believability of witnesses is the sole province of the jurors. Refrain from making comment." There was no error. Defense counsel's
statement was improper argument. See United States v. Dinitz, 424 U.S. 600, 612 (1976) (Burger, C.J., concurring). The judge

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did not create a substantial risk of a miscarriage of justice with his instruction. The defendant's second instance involved his discussion of a note left on a witness's
automobile that related that the defendant "had tried to break [the victim's] arm" and that he was "violent." The judge reminded the jury that the opening statements
were not evidence. The judge acted properly because the evidence from the note regarding the victim's arm was inadmissible hearsay and therefore improper to
discuss as evidence during opening statements. See Commonwealth v. Murray, 22 Mass. App. Ct. 984, 985 (1986). The note was not offered as an exhibit.

The next two allegations of error involve the judge's refusal to allow the defense to pursue during cross-examination a line of argument that the victim had been on
welfare. The defense contended that the issue was relevant to the defendant's credibility. Despite being given an opportunity to do so, the defense was unable to
produce a relevant link between the victim's welfare status and her credibility. These rulings were not erroneous.

The defendant argues that the judge's instructions to the jury on an employer's obligation to report monies paid to employees did not permit defense's point to reach
the jury. However, the facts that the witness evaded taxes did reach the jury. [Note 11] The judge's instruction to the jury merely clarified the distinction between the
employer's obligation to report income and the employee's obligation to file a tax return. An error, if any, on the part of the judge was harmless.

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5. Closing argument. The defendant also argues that the prosecutor misstated the evidence in her closing argument. He claims that the prosecutor mislead the jury by
implying that the proof of service was for the permanent order, rather than for the temporary order. We do not agree.

Because the defendant failed to object to the closing argument, the standard of review is whether the prosecutor's argument created a substantial risk of a miscarriage
of justice. See Commonwealth v. Mello, 420 Mass. 375 (1995); Commonwealth v. Marquetty, 416 Mass. 445, 450 (1993); Commonwealth v. Kozec, 399 Mass. 514, 518
n.8 (1987). Under that standard, "[w]e analyze the remarks in 'light of the "entire argument, as well as in light of the judge's instruction to the jury and the evidence
at trial." ' " Commonwealth v. Marquetty, supra, quoting Commonwealth v. Yesilciman, 406 Mass. 736, 746 (1990). The defendant's argument, however, ignores that
standard and focuses on one sentence out of context. To adopt the defendant's position we would have to abandon our responsibility to analyze the prosecutor's
remarks in light of the entire argument. See Marquetty, supra at 445.

Read in context, the relevant portion of the Commonwealth's closing argument breaks down into two distinct parts. The first part of the excerpt addresses the process
through which the victim obtained a restraining order against the defendant. The second half of the excerpt switches to the defendant's claim that he never received
the original temporary restraining order. The Commonwealth simply highlighted the return of service from the temporary order. [Note 12] The prosecutor was entitled
to reply to the defendant's main contention that he had never received the

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temporary or the extended order. [Note 13] The prosecutor's reply was based on evidence admitted during the trial.

The defendant argues that it was never brought out that a copy of the extended order was not served on him. However, that fact was brought out during the trial by
the defendant and in the defendant's closing. If the defendant desired to focus on the fact that the extended order was not served, he had the opportunity to do so by
noting the absence of service of the extended order in his closing argument. [Note 14] Instead, the defendant's argument at trial attempted to convince the jurors that
there was no service of any kind.

The Commonwealth noted that the return of service was left at the address which the defendant admitted was his primary

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place of residence for twelve years. The evidence highlighted by the prosecutor was how and where the defendant received his mail, evidence which came from the
defendant himself. The prosecutor simply was arguing facts in evidence and reasonable inferences from those facts. Commonwealth v. Paradise, 405 Mass. 141, 152
(1989).

Further, the prosecutor encouraged the jurors to look at the proof of return of service by bringing their attention to the exhibit which was the temporary order, and
which was extended on September 11, 1992. In doing so, the prosecutor made clear her intention that the jurors look at the evidence including the proof of return of
service. The proof of service unequivocally shows the date and time of service as "9/1/92 10:00 AM." [Note 15]

We also trust the citizens that serve as the foundation of our jury system. The judge told the jurors both before the trial began and after the closing argument that
they were the sole finders of fact and that arguments by the attorneys should not be viewed as evidence. [Note 16] The judge's instructions should have cured the
prejudicial effect, if any, of the statement that the defendant would like us to use to conclude there was a substantial miscarriage of justice. "[T]he judge made it clear
that the arguments of counsel were not evidence. The argument was forceful but fair. It did not exceed the limits of propriety." Commonwealth v. Haskins, 411 Mass.
120, 122 (1991).

Judgments affirmed.



LYNCH, J. (dissenting). Today the court affirms a criminal conviction for violating a protective order that had not been

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served on the defendant, even though G. L. c. 209A, s. 7, [Note Dissent-1] clearly requires such service and even though the prosecutor told the jury that service had
been made. Accordingly, I dissent.

It should be kept in mind that, although two protective orders issued against the defendant -- a temporary order and an extended order -- only one order, the
extended order, formed the basis of the defendant's conviction. The temporary order expired on September 11, 1992.

During closing argument, the prosecutor stated:

"[At] the end of August of 1992, [the complainant] went to Lawrence District Court.... The court gave her a restraining order. This restraining order, ladies and
gentlemen, which you will have with you in the jury room, it states on it, '[t]he court has issued the following orders to the defendant. You are not to abuse the
plaintiff. You are to immediately leave and stay away from her address. You are to refrain from making phone calls to said plaintiff, not to follow her and to have no
contact with her whatsoever.'

"[The complainant] again came back to the court on September 11, 1992, asking that order to be extended for a year. The judge ordered again [the defendant] to stay
away from [the complainant]. You have in front of you-you will have in front of you the return of service. It states here it was left, a copy of this at the defendant's last
and usual address.

"[The defendant], by his own admission, has lived at [that address] for the last twelve years. He gets his mail there. He gets his bills there. He gets his taxes there. In
fact, all of his mail is left on the kitchen table. But this one very important piece of paper, he didn't get. Isn't that convenient?"

"You heard [the defendant], [the defendant's brother]

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and [the defendant's mother] testify that, when he got an important letter from his attorney, everyone was searching for him to find him. But when there is a piece of
paper given to [the defendant] by a police officer, he's claiming he didn't get it. I would suggest that's a little too convenient." (Emphasis added.)

The court reads a paragraph break immediately prior to the prosecutor's reference to the return of service, and after so doing, asserts that "read in context" the
Commonwealth's closing argument breaks down into two distinct parts, one part addressing the process by which the complainant obtained a protective order against
the defendant and one part addressing the defendant's claim that he never received the original temporary protective order. Ante at 599-600 & n.12. The
Commonwealth, however, did not argue that the prosecutor was making two distinct arguments, nor does the reproduction of the argument in the Commonwealth's
brief insert a paragraph break. [Note Dissent-2] I contend that, read in context, it is clear that the prosecutor was improperly suggesting to the jury that what was in
front of them was proof of service of the extended order when no such proof existed. Indeed, the prosecutor's reference to the extended order, which the
Commonwealth concedes was not served on the defendant, is immediately preceded by the prosecutor's reference to September 11, 1992, the date the complainant
obtained the extended order. Moreover immediately following is a reference to testimony that was elicited by the prosecutor alluding to the extended order. See note 5,
infra. Furthermore, the prosecutor referred to "a piece of paper given to [the defendant] by a police officer." Not even the temporary order was given to the defendant
by a police officer rather, the proof of service of the temporary order states that it was left at the defendant's last and usual address; thus the prosecutor compounded
the misstatement she made earlier in her argument.

Because the prosecutor referred both to service and to proof of service which did not exist, her argument misstated the evidence and was improper. It is well settled
that "[a] prosecutor must limit comment in closing statement to the evidence and fair inferences that can be drawn from the evidence." Commonwealth v. Kelly, 417
Mass. 266, 270 (1994). See Com-

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monwealth v. Kozec, 399 Mass. 514, 516 (1987); Commonwealth v. Shelley, 374 Mass. 466, 472 (1978), S.C., 381 Mass. 340 (1980), and 411 Mass. 692 (1992).
Moreover, the prosecutor's statement cannot be characterized as responding to the defendant's argument that there was no service at all. The thrust of the defendant's
argument was that he did not receive either order and was not aware at least until September 28, 1992, of the existence of a protective order. In support of this claim
the defendant offered testimony to the effect that he did not spend a lot of time at the address where the temporary order was left and emphasized that no order was
served in hand. More importantly, while the prosecutor was entitled to reply to the defendant's contention, she was not entitled to rebut his contention by stating that
proof of service of the extended order would be before the jury and that he had been given written notice by a police officer when those facts were not in evidence.
[Note Dissent-3]

In the face of such prosecutorial error, several factors must be considered, including whether the argument was seasonably objected to; whether the error was limited
to collateral issues or went to the heart of the case; whether the judge's instructions to the jury may have mitigated the error; and generally, whether the error, in the
circumstances, possibly made a difference in the jury's conclusion. See Commonwealth v. Kozec, supra at 517-518; Commonwealth v. Pavao, 34 Mass. App. Ct. 577,
581 (1993). Because the argument here was not objected to, review is limited to whether a substantial risk of a miscarriage of justice has occurred. Where the
evidence before the jury has been distorted, however, "we have recognized that the failure to object and possibly obtain a curative instruction may be the very thing
which permits the remarks to have their maximum prejudicial effect." Commonwealth v. Shelley, supra at 469. See Commonwealth v. Nordstrom, 364 Mass. 310, 314
(1973). See also Commonwealth v. Cifizzari, 397 Mass. 560, 578 (1986); Commonwealth v. Fitzgerald, 376 Mass. 402, 416 (1978).

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Clearly, the defendant's knowledge of the protective order and the terms it contained were crucial elements of the Commonwealth's case. Indeed, without proving
beyond a reasonable doubt that the defendant knew of the existence of the order, the defendant could not be convicted of violating the order. Thus, this "is not a case
in which overreaching argument was confined to collateral issues only." Commonwealth v. Shelley, supra at 470. Moreover, the judge's instructions on the mental state
element of the crime emphasized that the Commonwealth must prove that the defendant had actual knowledge of the terms of the extended order, the very issue to
which the prosecutor's improper arguments referred. Thus, absent specific instructions that mitigated the error, I do not believe that the judge's reminder to the jury
that closing statements are not evidence cured the prejudicial impact of the prosecutor's argument. See Commonwealth v. Rosa, 412 Mass. 147, 160 (1992) (curative
instruction regarding the prosecutor's improper closing argument not sufficient and new trial required given the importance to the Commonwealth's case of the issue
that was part of improper argument); Commonwealth v. Clary, 388 Mass. 583, 591 (1983) ("judge's instructions to the jury, which stated only in general terms that
the arguments of counsel are not evidence did not cure adequately the prejudicial impact of the prosecutor's assertion"); Commonwealth v. Pavao, supra at 581-582
(where prosecutor misstated evidence by improperly attributing to defendant a statement indicating defendant acted with intent necessary to be convicted of murder,
new trial required even though judge did instruct the jury that closing arguments were not evidence because there were not forceful statements by judge that
argument was inappropriate and should be disregarded); Commonwealth v. Shelley, supra (where overreaching argument not confined to collateral issues only,
adequate curative instructions did not render the prosecutorial misconduct harmless).

The court suggests that the parties knew that the defendant had not been served with a copy of the extended order and chose to use their closing statements to argue
whether the defendant received a copy of the temporary order -- a doubtful proposition particularly where, until today, a reading of the statute would suggest that a
defendant must be served with a copy of the order he was charged with violating. I believe that a

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fairer and more plausible reading of the testimony and the closing arguments suggests that both defense counsel [Note Dissent-4] and the prosecutor [Note Dissent-5]
operated as if the proof of service before them was

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proof of service of the extended order, an error that makes the distortion of the evidence during the prosecutor's closing argument even more significant.

Given that the outcome of the case essentially depended on whether the jury believed the complainant's or the defendant's version of events, the suggestion that the
defendant was served with a copy of the extended order could very well have influenced the jury's assessment of the defendant's credibility and thus, their verdict.
Indeed, this is hardly a case where there is overwhelming evidence of the defendant's guilt. See Commonwealth v. Clary, supra at 593; Commonwealth v. Shelley,
supra. Contrast Commonwealth v. DeChristoforo, 360 Mass. 531, 538 (1971) (overwhelming evidence of guilt neutralizing prosecutorial misconduct). Thus, it is
impossible to say that the improper argument, which undermined the defendant's credibility and went to a crucial issue in the case, did not make a difference in the
jury's verdict, and I would order a new trial for the defendant. See Commonwealth v. Kelly, 417 Mass. 266, 271 (1994) (where improper argument went to police
credibility, the crux of the case, new trial was necessary); Commonwealth v. Clary, supra at 593 (where argument of prosecutor struck at defendant's sole defense,
that error contributed to conclusion that new trial was warranted); Commonwealth v. Shelley, supra at 470-471 (argument as to credibility of expert witness urging an
inference that expert testimony was purchased "struck impermissibly, at the defendant's sole defense" and warranted a new trial).

Finally, I agree that great trust should be and is placed in the citizens who serve as jurors, for they are the foundation of our justice system. Where the evidence is
distorted, however, it is unfair to those very jurors to place on them the burden of cor-

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recting or overlooking a prosecutor's mistake. [Note Dissent-6] Indeed, a jury's verdict can be only as fair as the trial allows. I would therefore reverse the defendant's
convictions and order a new trial.


   FOOTNOTES

   [Note 1] The defendant was acquitted of one count of violating a protective order on October 12, 1992, one count of stalking on November 2, 1992, and one count of intimidating
   a witness on September 28, 1992.

   [Note 2] The defendant also appeals from the denial of his motion for a new trial on the above grounds.

   [Note 3] Subject matter jurisdiction refers to the "court's power to hear and determine cases of the general class or category to which proceedings in question belong; the power
   to deal with the general subject involved in the action." Black's Law Dictionary 1425 (6th ed. 1990).

   General Laws c. 209A, s. 7, provides in pertinent part: "Any such violation may be enforced in the superior, the district or Boston municipal court departments." In addition,
   District Courts have jurisdiction of all misdemeanors, G. L. c. 218, s. 26, and violation of a c 209A protective order is a misdemeanor.

   [Note 4] Section 7 of G. L. c. 209A provides: "Whenever the court orders under . . . [s.s. 3, 4, and 5] of [c. 209A] . . . the defendant to vacate, refrain from abusing the plaintiff or
   to have no contact with the plaintiff or the plaintiff's minor child . . . the appropriate law enforcement agency . . . shall serve one copy of each order upon the defendant ...."

   Section 3 of G. L. c. 209A, provides: "A person suffering from abuse from an adult or minor family or household member may file a complaint in the court requesting protection
   from such abuse, including, but not limited to, the following orders: "(a)ordering the defendant to refrain from abusing the plaintiff, whether the defendant is an adult or minor;
   (b) ordering the defendant to refrain from contacting the plaintiff, unless authorized by the court, whether the defendant is an adult or minor ...."

   Section 4 of G. L. c. 209A, provides: "Upon the filing of a complaint under this chapter, the court may enter such temporary orders as it deems necessary to protect a plaintiff from
   abuse, including relief as provided in section three. Such relief shall not be contingent upon the filing of a complaint for divorce, separate support, or paternity action.

   "If the plaintiff demonstrates a substantial likelihood of immediate danger of abuse, the court may enter such temporary relief orders without notice as it deems necessary to
   protect the plaintiff from abuse and shall immediately thereafter notify the defendant that the temporary orders have been issued. The court shall give the defendant an
   opportunity to be heard on the question of continuing the temporary order . . . and of granting other relief as requested by the plaintiff no later than ten days after such orders are
   entered. Notice shall be made by the appropriate law enforcement agency as provided in section seven. If the defendant does not appear at such subsequent hearing, the
   temporary orders shall continue in effect without further order of the court."

   Section 5 of G. L. c. 209A, provides: "When the court is closed for business, any justice of the superior, probate and family, district or Boston municipal court departments may
   grant relief to the plaintiff as provided under section four if the plaintiff demonstrates a substantial likelihood of immediate danger of abuse."

   [Note 5] There was evidence that the defendant knew of the process of how a protective order begins as a temporary order and could be extended after a hearing. In fact, the
   defendant introduced evidence of a previous protective order obtained against him.

   [Note 6] "The court may modify its order at any subsequent time upon motion by either party. G. L. c. 209A, s. 3, fourth par.

   [Note 7] It is clear that "[d]ue process requires that no [extended] order be issued against a person without prior notice and the opportunity to be heard." Commentary to s. 5:05
   of the Guidelines for Judicial Practice: Abuse Prevention Proceedings (Oct. 1996). "[T]he adequacy of notice so far as due process is concerned is dependent on whether the form
   of notice is 'reasonably calculated to give . . . actual notice of the proceedings and an opportunity to be heard." Commonwealth v. Olivo, 369 Mass. 62, 68 (1975), quoting Milliken
   v. Meyer, 311 U.S. 457, 463 (1940). In the instant case, service of the temporary order was made by delivering a copy of the order to the defendant's last and usual address. The
   defendant does not argue that the extended order against him was entered improperly, and we do not consider that issue.

   [Note 8] The Commonwealth was allowed to join the five offenses of which the defendant was convicted and three charges that he was acquitted of, including another charge that
   he violated a protective order on October 12, 1992, stalking, and intimidating a witness. See note 1, supra. The Commonwealth also sought to join for trial a charge of assault and
   battery, malicious destruction of property, and threatening to commit a crime which involved the same victim. The motion judge ordered these offenses to be tried separately and
   the defendant was found not guilty.

   [Note 9] We note that the Appeals Court recently stated that, on a complaint charging a defendant with a violation of a G. L. c. 209A order, the Commonwealth must prove that
   "there was a clear, outstanding order of the court, that the defendant knew of the order, and that the defendant clearly and intentionally disobeyed the order in circumstances in
   which he was able to obey it." Commonwealth v. O'Shea, 41 Mass. App. Ct. 115, 118 (1996), quoting Commonwealth v. Brogan, 415 Mass. 169, 171 (1993). To the extent that
   that decision is inconsistent with our decision today, it is incorrect.

   [Note 10] The defendant's argument includes references to bias on the part of the trial judge. There is neither support nor a specific argument for that claim. The defendant's
   discussion on that point does not rise to the level of appellate review. Mass. R. A. P. 16 (a) (4), as amended, 367 Mass. 921 (1975).

   [Note 11] The following exchange occurred between the defense counsel and the witness:

   DEFENSE COUNSEL: "Did you ever pay taxes on [the cash money you received from Riverside House of Pizza]?"

   THE PROSECUTOR: "Objection."

   DEFENSE COUNSEL: "It goes to credibility, Your Honor."

   THE JUDGE: "She can have that."

   DEFENSE COUNSEL: "Did you ever pay taxes?"

   THE WITNESS: "No, I didn't."

   DEFENSE COUNSEL: "You never reported that to the State or the Federal government?"

   THE WITNESS: "No."

   [Note 12] The prosecutor stated: "[At] the end of August of 1992, [the victim] went to Lawrence District Court. She went to Lawrence District Court in front of a judge, under
   oath, and she told the judge that she feared for her life and she needed help. She needed help from the court and she needed protection from the court. And that's what the court
   gave her. The court gave her a restraining order. This restraining order, ladies and gentlemen, which you will have with you in the jury room, it states on it, 'The court has issued
   the following orders to the defendant. You are not to abuse the plaintiff. You are to immediately leave and stay away from her address. You are to refrain from making phone calls
   to said plaintiff, not to follow her and to have no contact with her whatsoever.' [The victim] again came back to the court on September 11, 1992, asking that order to be extended
   for a year. The judge ordered again [the defendant] to stay away from [the victim]."

   The prosecutor then shifted focus and continued: "You have in front of you -- you will have in front of you the return of service. It states here it was left, a copy of this at the
   defendant's last and usual address. [The defendant], by his own admission, has lived at 35 Groton Street for the last twelve years. He gets his mail there. He gets his bills there.
   He gets his taxes there. In fact, all of his mail is left on the kitchen table. But this one very important piece of paper, he didn't get. Isn't that convenient? You heard [the
   defendant], [the defendant's brother], and [the defendant's mother] testify that when he got an important letter from his attorney, everyone was searching for him to find him.
   But when there is a piece of paper given to Mr. Delaney by a police officer, he's claiming he didn't get it. I would suggest that's a little too convenient." (Paragraph break added.)

   [Note 13] On direct examination, the defendant said that he had no knowledge of the order until he was arrested on September 28, 1992. Further, in closing argument defense
   counsel stated, "Look at the restraining order. The Commonwealth has to prove beyond a reasonable doubt that [the defendant] knew about the restraining order. Did he receive it
   in hand from a police officer? No." This statement clearly referred to the defense argument that neither the temporary restraining order nor the extended order had been served
   on the defendant.

   [Note 14] The dissent suggests that all parties "operated as if the proof of service before them was proof of service of the extended order." Post at 606-607. We do not agree.
   Examination and the cross-examination of the defendant on the temporary order does not show that the parties focused solely on proof of service of the extended order. When the
   exhibit was introduced, it was introduced as the restraining order in effect against the defendant without reference to the return of service because that return was not yet at
   issue. Despite an effort to do so, the dissent cannot point to any instance in the transcript where the prosecutor stated or implied that the return of service was for the extended
   order. As we read the record, the prosecutor's challenge, see post at n.5, went to the defendant's testimony that he had not received the temporary order which was left at his last
   and usual home address.

   [Note 15] The temporary order, left at the defendant's last and usual address, referred to a hearing date of September 11, 1992, and included the statement that "[i]f the
   defendant does not appear [at the scheduled hearing], an extended or expanded Order may remain in effect for up to one year."

   [Note 16] Before any evidence was presented, the judge told the jury: "If one of the attorneys or I refer to some part of the evidence, and that does not coincide with what your
   recollection is, it is your recollection which you are to follow in your deliberation, not the attorneys or not mine."

   After the closing arguments had concluded, the judge again instructed the jury: "The opening statements and the closing arguments of the lawyers are not a substitute for the
   evidence. They are only intended to assist you in understanding the evidence and the contentions of the parties."

   [Note Dissent-1] General Laws c. 209A, s. 7, states in pertinent part: "Whenever the court orders under . . . [s.s. 3, 4, and 5] of [c. 209A] . . . the defendant to vacate, refrain
   from abusing the plaintiff or to have no contact with the plaintiff or the plaintiff's minor child . . . the appropriate law enforcement agency . . . shall serve one copy of each order
   upon the defendant .... The law enforcement agency shall promptly make its return of service to the court" (emphasis added).

   [Note Dissent-2] Indeed, the Commonwealth reproduces the same portion of the argument reproduced here and characterizes the argument as referring to "the issue of notice
   and to the service of the protective order."

   [Note Dissent-3] The court reasons from evidence of a previous protective order obtained against the defendant "that the defendant knew of the process of how a protective order
   begins as a temporary order and then may be extended after a hearing." Ante at 591 n.5. It should be noted, however, that, while there was evidence that the complainant had
   obtained protective orders against the defendant in the past, she had also, on at least one occasion, failed to appear at the hearing as required in order to get the temporary order
   extended. Thus, in the defendant's experience, notice of a temporary order did not necessarily mean that an extended order would follow; the absence of any service of an
   extended order could only have buttressed this conclusion.

   [Note Dissent-4] A review of several portions of the transcript indicates that defense counsel had confused the return of service of the temporary order as a return of service of the
   extended order. Indeed, when defense counsel moved for a directed verdict, alleging that the Commonwealth had not proved that the defendant had known of the existence of the
   order he was charged with violating (the extended order), she stated: "Under the facts that on that restraining order that they have entered into evidence, they have not proven
   that the defendant . . . either knew of the pertinent terms of the order were in effect by either having received a copy of the order or in some other way. The reason I would state
   that, Your Honor, is looking at the return of service checked off as leaving a copy at the defendant's last and usual address as shown on this order, Your Honor, that doesn't
   constitute proof that [the defendant] had any knowledge of the effect of this order. And he had no -- it does not prove that he had knowledge of any portion of the order."

   In addition, in her own closing argument, defense counsel argued: "Look at the restraining order. The Commonwealth has to prove beyond a reasonable doubt that [the
   defendant] knew about the restraining order. Did he receive it in hand from a police officer? No. Could [the complainant] have told the police officer, well, he's never at that 35
   Groton Street address, go to his parents' house .... She never told him that. If she told him that, maybe it would have gotten served. And who better to know [the defendant's]
   schedule, where he is? She knew when she went into court, she knew where that restraining order was going to be. Could she have gone and taken the restraining order? Could
   she have orchestrated his arrest?" Certainly, it would seem likely that, in both examples, if defense counsel was aware that the extended order had not been served on the
   defendant she would have just said so in her argument to both the judge and the jury.

   [Note Dissent-5] Indeed, when the defendant was being cross-examined by the prosecutor, the prosecutor showed the defendant a copy of the extended order that had been
   introduced in evidence as the extended order obtained by the complainant on September 11, 1992. The defendant then testified that he lived at the address indicated on the order
   and received his mail there. The prosecutor then challenged the defendant's testimony that he did not receive a copy of the extended order in the following exchange:

   THE PROSECUTOR: "You receive any and all correspondence that is sent to you at 35 Groton Street; isn't that correct?"

   THE DEFENDANT: "Yes. What's your point now?"

   TEE PROSECUTOR: "But you didn't receive this restraining order that was sent to you; is that correct?"

   THE DEFENDANT: "No, I did not."

   I would suggest that this exchange supports the inference that the prosecutor, who challenges the defendant's contention that he did not receive a copy of the extended order, was
   operating as if the proof of service before her was proof of service of the extended order. Indeed, she goes on to elicit testimony regarding what would happen to mail if left by a
   police officer with the defendant's brother at the 35 Groton Street address or in the mailbox.

   In addition, in responding to the defendant's motion for a directed verdict, the prosecutor argued: "With regards to the . . . three counts of violations of restraining orders ....
   Judge, you have before you that is placed into evidence the service of the restraining order, that it has been left at the defendant's last and usual address, that being I believe, 35
   Groton Street." I suggest that this reference to the return of service, coupled with the reference to the order in evidence, demonstrates that the prosecutor was acting as if the
   proof of service before the court was proof of service of the extended order.

   [Note Dissent-6] The copy of the order is confusing at best apparently because the same piece of paper was used to indicate the existence and service of both. Thus, a "cursory
   glance" might give the impression to the jury that the order which had been served on the defendant was the order he was charged with violating.


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           C.O. v. M.M                                                                                                                   Case Details


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                                                                                                                                         Court: Supreme Judicial
                                                                                                                                         Court of Massachusetts.
           Summary                                                                                                                       Plymouth


                                                                                                                                         Date published: Oct 6, 2004
           Concluding that a state statute that listed four factors to be considered in
           determining the existence of a substantive dating relationship was written
           "with purposeful flexibility in its definitions"
                                                                                                                                         Citations      Copy Citations
           Summary of this case from State v. Enos
                                                                                                                                         442 Mass. 648 (Mass. 2004)
           See 5 Summaries
                                                                                                                                         815 N.E.2d 582




                                                                                                                                         Citing Cases
                      Meet CoCounsel, pioneering AI that’s secure, reliable,
                                   and trained for the law.                                                                              Idris I. v. Hazel H.

                                               Try CoCounsel free                                                                        Further, this error was not
                                                                                                                                         cured by allowing the
                                                                                                                                         defendant's attorney to argue
                                                                                                                                         on her behalf, as arguments…

           Opinion                                                                                                                       Idris I. v. Hazel H.
                                                                                                                                         Further, this error was not
           September 8, 2004.                                                                                                            cured by allowing the
                                                                                                                                         defendant's attorney to argue
           October 6, 2004.                                                                                                              on her behalf, as arguments…

           Present: MARSHALL, C.J., GREANEY, IRELAND, SPINA, COWIN,
                                                                                                                                             48 Citing Cases
           SOSMAN, CORDY, JJ.

           Abuse Prevention. Statute, Construction. Due Process of Law, Abuse
           prevention. Words, "Substantive dating relationship."

           This court concluded that the existence of a "substantive dating
           relationship" should be determined on a case-by-case basis applying the
           factors set forth in G.L. c. 209A, § 1 ( e) (1)-(4), while keeping in mind the
           protective purpose of G.L. c. 209A. [650-654]

           At a hearing on an abuse prevention order, the judge erred in relying on
           improper factors as the basis for his finding that the parties were engaged in
           a "substantive dating relationship" and not those set forth in G.L. c. 209A, §
           1 ( e) (1)-(4). [654-656]

           The judge at a hearing on an abuse prevention order improperly denied the
           defendant the opportunity to present evidence and cross-examine during
           the hearing on the question of continuing the order, thereby violating the
           defendant's rights under G.L. c. 209A, § 4, and his constitutional right to due
           process; moreover, the judge erred in determining that the defendant's right
           to present evidence at an upcoming criminal hearing would suﬃciently
           protect the defendant's due process rights with regard to the abuse
           prevention order. [656-659]

           COMPLAINT for protection from abuse filed in the Brockton Division of
           the District Court Department on January 29, 2004.

           The case was heard by Joseph R. Welch, J., and a motion to modify was heard
           by Lance J. Garth, J.

           The Supreme Judicial Court on its own initiative transferred the case from
           the Appeals Court.

           Jeﬀrey S. Beckerman for the defendant.

           Elizabeth M. Clague for the plaintiﬀ.



           COWIN, J.

          The defendant appealed from the issuance against him of an abuse
          prevention order pursuant to G.L. c. 209A, § 4. We transferred the case to
          this court from the Appeals Court on our own motion. The defendant asks
      649 that we vacate *649 the G.L. c. 209A abuse prevention order on the bases
          that (1) the plaintiﬀ failed to meet her burden of establishing the existence
          of a "substantive dating or engagement relationship" as required by G.L. c.
          209A, § 1 ( e); and (2) the District Court judge violated the defendant's due
          process rights by not permitting him to call any witnesses on his behalf or
          otherwise to challenge the evidence presented by the plaintiﬀ during the
          hearing on the question of continuing the temporary order. After reviewing
          the parties' briefs and hearing oral argument, this court issued an order
          vacating the abuse prevention order. This opinion addresses the reasons for
          that order.2 Background. We summarize the relevant and undisputed facts of
           this case as set forth in the parties' briefs and pleadings. The defendant,
           M.M., is a seventeen year old high school student accused of having sexually
           assaulted a fifteen year old schoolmate. The plaintiﬀ in this case, C.O., is the
           mother of the young woman who was allegedly abused ("daughter"). Shortly
           after the alleged incident, the plaintiﬀ filed a complaint and supporting
           aﬃdavit on behalf of her daughter and obtained an ex parte abuse
           prevention order against the defendant pursuant to G.L. c. 209A, § 4. The
           plaintiﬀ's aﬃdavit alleges that the defendant oﬀered to drive the daughter
           home from school and, along the way, stopped at his house, invited the
           young woman inside, and then forcibly sexually assaulted her in his
           bedroom. The defendant contests the occurrence of the incident.
                 2 The plaintiﬀ also filed a motion to strike portions of the defendant's brief

                     for failure to comply with Mass. R.A.P. 16 (e), as amended, 378 Mass. 940
                     (1979). We deny the plaintiﬀ's motion. Our holding does not rest on any
                     contested language in the brief, and we see nothing in the brief that is
                     confidential or otherwise prejudicial to the plaintiﬀ. See Commonwealth v.
                     Nadal-Ginard, 42 Mass. App. Ct. 1, 13 (1997) (motion to strike portions of
                     appellate brief denied where passages in question neither confused panel of
                     Appeals Court nor prejudiced panel against defendant).

           One day after an ex parte emergency temporary abuse prevention order was
           issued, see G.L. c. 209A, § 4, the defendant was arrested on charges arising
           from the alleged assault. The defendant was arraigned on these charges and
           subsequently released on bail. He was suspended from high school as a
           result of the arrest.

      650 After a hearing during which both parties were represented *650 by counsel,
           a judge of the Brockton District Court extended the abuse prevention order
           for a period of one year. Defendant timely appealed the issuance of the order
           and shortly thereafter filed a motion to suspend the order pending appeal.
           The judge denied the defendant's motion to suspend the abuse prevention
           order pending appeal, and the defendant timely appealed the denial of that
           motion as well. Subsequently, the district attorney's oﬃce entered a nolle
           prosequi on all pending charges related to the alleged sexual assault, and the
           defendant immediately filed a motion to modify the abuse prevention order
           and requested an evidentiary hearing on his earlier motion to vacate. A
           diﬀerent District Court judge denied the defendant's motion to modify, and
           the defendant once again timely appealed.

           Discussion. We first consider whether the plaintiﬀ's daughter and the
           defendant were engaged in a "substantive dating relationship" as defined in
           G.L. c. 209A, § 1. We then discuss whether the defendant's due process
           rights were violated during the hearing on the question of continuing the
           temporary order.

           1. Substantive dating relationship. General Laws c. 209A, § 3, provides a range
           of protections and remedies for those "person[s] suﬀering from abuse from
           an adult or minor family or household member. . . ." Included within the
           definition of "family or household members" are those individuals who are
           or have been engaged in a "substantive dating or engagement relationship."
           G.L. c. 209A, § 1 ( e).3

                 3 The plaintiﬀ does not assert the existence of an "engagement relationship,"

                     and there is no evidence in the record to suggest such a relationship ever
                     existed between the parties. We therefore confine our analysis to whether
                     there was a "substantive dating relationship."

          The defendant maintains that the plaintiﬀ failed to show the existence of a
          "substantive dating relationship" between him and the plaintiﬀ's daughter,
          and that, consequently, the abuse prevention order against him was
          improperly issued and extended. The defendant further asks this court to
          clarify the meaning of "substantive dating relationship" in G.L. c. 209A, § 1.
          Because the statute enumerates four factors to be considered in determining
          the existence of a "substantive dating relationship," there is suﬃcient
          language in the statute to enable judges to make informed and consistent
      651 determinations. *651 We need not add to this language by interpretation. We
          believe that the Legislature drafted the statute with purposeful flexibility in
          its definitions, and we acknowledge that intent by declining the invitation to
          add elements to the Legislature's definition. The existence of a "substantive
          dating relationship" is to be determined on a case-by-case basis applying the
          factors set forth in G.L. c. 209A, § 1 ( e) (1)-(4), while keeping in mind the
          statute's protective purpose.

           The Legislature enacted G.L. c. 209A in 1978 to address the problem of
           domestic violence. St. 1978, c. 447, § 2. See Turner v. Lewis, 434 Mass. 331, 332
           (2001), quoting Commonwealth v. Gordon, 407 Mass. 340, 344 (1990)
           (legislative purpose of G.L. c. 209A is to provide "a statutory mechanism by
           which victims of family or household abuse can enlist the aid of the State to
           prevent further abuse"). Since its inception, G.L. c. 209A has protected
           victims exclusively from abuse by "family or household members." G.L. c.
           209A, § 3. However, the Legislature has consistently broadened the
           definition of "family or household member," and consequently expanded the
           scope of G.L. c. 209A's coverage. In 1978, the statute defined "[f]amily or
           household member" as a "household member, a spouse, former spouse or
           their minor children or blood relative." St. 1978, c. 447, § 2. In 1986, the
           definition of "family or household member" was expanded to include a
           "former household member" and a "person who, though unrelated by blood
           or marriage, is a parent of the plaintiﬀ's minor child." St. 1986, c. 310, § 15. In
           1990, the Legislature once again amended the definition of "family or
           household member" to its present form.4 St. 1990, c. 403, § 2. General Laws
           c. 209A, § 1, now defines "[f ]amily or household members" as "persons who:
           (a) are or were married to one another; (b) are or were residing together in
           the same household; (c) are or were related by blood or marriage; (d) having
           [ sic] a child in common regardless of whether they have ever married or
           lived together; or (e) are or have been in a substantive dating or engagement
           relationship . . ." (emphasis added).
                 4 In 1996, the Legislature made a grammatical correction to the definition

                     that is immaterial to our analysis. St. 1996, c. 450, § 232.


      652 Rather than establishing a rigid test to be applied to all *652 relationships,
           the statute directs courts to "adjudge" the existence of substantive dating
           relationships by considering four factors: "(1) the length of time of the
           relationship; (2) the type of relationship; (3) the frequency of interaction
           between the parties; and (4) if the relationship has been terminated by
           either person, the length of time elapsed since the termination of the
           relationship." G.L. c. 209A, § 1 ( e) (1)-(4). The Legislature thus anticipated
           that the existence or absence of a "substantive dating relationship" would be
           determined on a case-by-case basis. It is not our role to impose additional
           constraints on the interpretive instructions provided by the Legislature. See
           Commonwealth v. Boucher, 438 Mass. 274, 278 (2002) (declining to further
           limit phrase "likely" in G.L. c. 123A, and reasoning "[i]f the Legislature had
           intended to restrict 'likely' to a usage less broad than its commonly
           understood meaning, the Legislature would have done so"). See also
           Sorgman v. Sorgman, 49 Mass. App. Ct. 416, 418 (2000) (declining to imply
           limiting factors to plain statutory language of G.L. c. 209A). Had the
           Legislature intended to further limit the scope of "substantive dating or
           engagement relationship," it would have included any such limitation in the
           text of the statute.

           This court has had only one prior opportunity to consider the meaning of
           "substantive dating relationship" within G.L. c. 209A, § 1 ( e). See Brossard v.
           West Roxbury Div. of the Dist. Court Dep't, 417 Mass. 183, 185 (1994) (person
           may be in more than one "substantive dating relationship" at any given
           time). In acknowledging the possibility of simultaneous "substantive dating
           relationships," we recognized the need for flexibility in applying the statute.
           Also instructive is our analysis in Turner v. Lewis, supra at 333-334, in which
           we broadly interpreted "related by blood," as set forth in G.L. c. 209A, § 1 (
           c). In Turner, we recognized the changing nature of the concept of "family,"
           as well as the Legislature's clear intent to extend protections to victims who
           experience violence beyond the context of the traditional "family." See id. at
           334-336. The Legislature intended to encompass a variety of relationships
           within G.L. c. 209A. It would not accord with this intent to restrict the
           statute beyond its terms in the present case.

      653 While the four statutory factors enumerated in G.L. c. *653 209A, § 1 ( e) (1)-
           (4), are the primary guidance for courts when making case-specific
           determinations about the existence of a "substantive dating relationship,"
           courts should also consider the underlying purpose of G.L. c. 209A. See
           Hanlon v. Rollins, 286 Mass. 444, 447 (1934) (statutory language is to be
           "interpreted according to the intent of the Legislature ascertained from all
           its words construed by the ordinary and approved usage of the language,
           considered in connection with the cause of its enactment, the mischief or
           imperfection to be remedied and the main object to be accomplished"). See
           also Turner v. Lewis, supra at 333, quoting Telesetsky v. Wight, 395 Mass. 868,
           872 (1985). The Legislature intended to address violence stemming from
           relationships which may not be considered traditional "family or household"
           associations. See Turner v. Lewis, supra at 334, quoting C.P. Kindregan, Jr.
           M.L. Inker, Family Law and Practice § 57.5 (2d ed. 1996). The judicial
           guidelines on abuse prevention thus properly instruct courts to "give broad
           meaning to the term 'substantive dating relationship' to assure that the
           protective purposes of the statute are achieved." Guidelines for Judicial
           Practice: Abuse Prevention Proceedings § 3:02 commentary (Dec. 2000)
           (hereinafter, "Judicial Guidelines").

           On the other hand, G.L. c. 209A is denominated a "domestic relations"
           statute within the General Laws. See Part II, Title III of the General Laws,
           entitled "Domestic Relations" (including, inter alia, marriage, divorce, and
           child custody statutes). The Legislature did not intend the statute to apply
           to acquaintance or stranger violence, nor did it intend to cover the myriad of
           relationships that exist or even to all those which might be considered
           "dating" relationships. See Brossard v. West Roxbury Div. of the Dist. Court
           Dep't, supra at 185 ("substantive dating relationship" existed where facts
           revealed "substantially more than a few casual dates"). The statutory
           language clearly requires something more — a " substantive dating or
           engagement relationship."

          Dating is inherently personal and idiosyncratic, and relationships exist in
          endless variety. It would be unproductive to place a numerical quota on the
          number of "dates" that constitute a "substantive dating relationship," just as
      654 it would be inappropriate *654 to mandate a minimum duration for a
          relationship to fall within G.L. c. 209A. Furthermore, any attempt by this
          court to elaborate on the meaning of "substantive dating relationship" by
          adding adjectives to an already well-designed statutory definition would be
          counterproductive. Such an eﬀort might spawn additional litigation and
          result in unnecessary intrusions by courts into the precise nature of parties'
          interactions. See Judicial Guidelines § 1:01 commentary ("any attempt to
          explore the nature of the underlying relationship between the parties can
          inappropriately shift the focus of the proceedings away from the issue of
          protection. Such a shift of focus can weaken the plaintiﬀ's resolve to seek
          protection . . .").

          The plaintiﬀ bears the burden of proving by a preponderance of the
          evidence that the parties were engaged in a "substantive dating relationship"
          within the meaning of G.L. c. 209A, § 1. See Frizado v. Frizado, 420 Mass. 592,
          596, 597 (1995) ("The burden is on the complainant to establish facts
          justifying the issuance and continuance of an abuse prevention order," and
          "plaintiﬀ must make a case for relief by a preponderance of the evidence.")
          See also Judicial Guidelines § 1:02 commentary par. (D). Here, the plaintiﬀ
          failed to sustain her burden. During the hearing on the question of
          continuing the temporary order, the plaintiﬀ testified that the defendant
          had "been over to the house and he ha[d] taken [the daughter] to the
          movies." When asked about the nature of the relationship, the mother
          testified that she was "really not sure. They did, you know, go out." Plaintiﬀ's
          counsel asserts that the plaintiﬀ's uncertainty related only to the then-
          existing state of the dating relationship, not its past existence. Even so, the
          judge's finding of a past "boyfriend/girlfriend" relationship is not supported
          by the plaintiﬀ's testimony, and the relationship between the parties does
          not meet the statutory standard of a "substantive dating relationship." The
          plaintiﬀ's counsel also contends that the judge properly made a credibility
          assessment of the plaintiﬀ, who was the sole witness at the hearing, that this
          court should not disturb. See Adoption of Larry, 434 Mass. 456, 462 (2001)
          (deferring to judge's assessment of witness credibility). See also Matter of
      655 Antonelli, 429 Mass. 644, 648 (1999). We do not *655 contest the judge's
          assessment of the plaintiﬀ's credibility in the present case, but rather his
          misapplication of the standards set forth in G.L. c. 209A, § 1. See
          Commonwealth v. Boucher, 438 Mass. 274, 276 (2002) ("we will not substitute
          our judgment for that of the trier of fact. We do, however, scrutinize without
          deference the propriety of the legal criteria employed by the trial judge and
          the manner in which those criteria were applied to the facts").

           The judge committed an error of law in relying on improper factors as the
           basis for his finding that the parties were engaged in a "substantive dating
           relationship." General Laws c. 209A, § 1 ( e) (1)-(4), directs judges to
           consider four factors. The judge in this case ignored these factors and
           instead improperly relied upon judicially constructed factors, including "the
           fact that a criminal matter [ sic] has issued," and "the age of the alleged
           victim." According to the judge, the determination was based "primarily" on
           the fact that a criminal case was pending. There was no testimony as to the
           length of time of the relationship or the frequency of the parties'
           interactions, as required by G.L. c. 209A, § 1 ( e) (1), (3). The plaintiﬀ
           contends that the judge properly exercised his broad discretion in according
           weight to these nonstatutory factors. While judicial discretion and flexibility
           are appropriate in applying the statutory definition of "substantive dating
           relationship," they do not relieve a court of its obligation to apply the
           legislative criteria.

           Although the plaintiﬀ asserts that the judge could draw an adverse inference
           from the defendant's failure to testify, this alone does not cure the defects in
           the judge's analysis. "An inference adverse to a defendant may be properly
           drawn . . . from his or her failure to testify in a civil matter such as this, even
           if criminal proceedings are pending. . . . However, inference cannot alone
           meet the plaintiﬀ's burden. . . . [A] defendant's failure to testify cannot be
           used to justify the issuance of an abuse prevention order until a case is
           presented on other evidence." (Citations omitted.) Frizado v. Frizado, supra
           at 596.

          Since there is insuﬃcient evidence in the record to support a finding of a
          "substantive dating relationship" between the defendant and the plaintiﬀ's
      656 daughter, the abuse prevention *656 order is vacated, and this case could be
          disposed of without further discussion. However, given the importance and
          merit of the defendant's due process claim, which both parties briefed, we
          choose to address it below.

           2. Due process claim. The defendant on appeal claims that he was improperly
           denied the opportunity to present evidence and cross-examine during the
           hearing on the question of continuing the temporary order. There is no
           question that the defendant was denied a meaningful opportunity to be
           heard. This violated statutory rights given him expressly by G.L. c. 209A, § 4;
           apart from the statute, his constitutional right to due process was denied
           him.

          General Laws c. 209A, § 4, requires a hearing "on the question of continuing
          the temporary order . . . no later than ten court business days after such
          [temporary] orders are entered." The statute explicitly states: "[t]he court
          shall give the defendant an opportunity to be heard on the question of
          continuing the temporary order." Id. This court has determined that "[t]he
          right of the defendant to be heard [in a G.L. c. 209A proceeding] includes his
          right to testify and to present evidence. A defendant has a general right to
          cross-examine witnesses against him." Frizado v. Frizado, 420 Mass. 592, 597
          (1995). See Judicial Guidelines § 5:01 ("a [G.L.] c. 209A action is an
          adversarial proceeding in which both parties must be allowed to present
          evidence"). Furthermore, this court has recognized that G.L. c. 209A
          proceedings may implicate a defendant's constitutional due process rights.
          Frizado v. Frizado, supra at 598 ("[W]hether a defendant's constitutional
          rights have been violated will depend on the fairness of a particular
          hearing"). Due process requires that the defendant be given an opportunity
          to testify and present evidence. See Commonwealth v. Delaney, 425 Mass. 587,
          591 (1997), cert. denied, 522 U.S. 1058 (1998), quoting Matter of Kenney, 399
          Mass. 431, 435 (1987) ("[t]he fundamental requisite of due process is an
          opportunity to be heard at a meaningful time and in a meaningful manner");
          Commonwealth v. Durling, 407 Mass. 108, 113 (1990) (right to present
          evidence, call witnesses, and cross-examine adverse witnesses in context of
          parole revocation hearing); Roche v. Massachusetts Bay Transp. Auth., 400
      657 Mass. 217, 222 (1987), *657 and cases cited ("right of cross-examination [is] a
          right which has long been recognized in both civil and criminal cases");
          Judicial Guidelines § 1:02 ("The adjudication of cases by a neutral court is a
          fundamental element of due process. In [G.L.] c. 209A cases, as in all other
          court proceedings, the court is responsible for protecting the rights of the
          accused . . .").

           The record reveals that the defendant was not given any opportunity to
           present or to cross-examine witnesses. The defendant's counsel explicitly
           argued for the right to call witnesses on at least four occasions. The
           defendant was never permitted to present evidence.5 The fact that defense
           counsel was permitted to argue on behalf of his client does not substitute
           for the opportunity to present evidence through the testimony of witnesses,
           to cross-examine adverse witnesses, and to have the judge take this
           testimony and cross-examination into account in making his findings.
                 5 During one such request, defense counsel stated: "I would like an

                     opportunity to exercise my client's rights to cross-examine [the plaintiﬀ ] . .
                     . and I would like to present additional evidence in terms of witnesses which
                     I believe according to the rules is my right and my client's right to . . . due
                     process." The defendant's counsel further stated that his witnesses would
                     show that the daughter and the defendant were not engaged in a
                     "substantive dating relationship" and that the alleged assault did not occur.

          The plaintiﬀ next claims that even if the defendant were denied the
          opportunity to call and cross-examine witnesses, those denials constituted a
          proper exercise of judicial discretion. While a defendant's right to present
          evidence is not absolute, and while a judge may limit cross-examination for
          "good cause" in certain situations, see Silvia v. Duarte, 421 Mass. 1007, 1008
          (1995); Frizado v. Frizado, supra at 597-598, judicial discretion is not
          "unlimited," and "each side must be given a meaningful opportunity to
          challenge each other's evidence." Frizado v. Frizado, supra at 598 n. 5.
          Proceedings held pursuant to G.L. c. 209A are no diﬀerent than any other
          adversarial hearings in that each party has a right to present evidence, and
          the moving party must satisfy the burden of proof and subject its witnesses
          to cross-examination. See Frizado v. Frizado, supra at 597 ("The practice in
          civil actions . . . is to permit cross-examination . . .); Commonwealth v.
      658 Durling, supra at 113 (right to present evidence, call witnesses, and *658
          cross-examine adverse witnesses). Cross-examination may be limited or
          denied in certain instances, Frizado v. Frizado, supra at 598 n. 5, such as to
          avoid harassment or intimidation of witnesses, confusion, delay, or other
          abuses of the proceedings. See, e.g., Commonwealth v. Johnson, 431 Mass. 535,
          540 (in criminal context, "reasonable limits may be placed on cross-
          examination 'based on concerns about, among other things, harassment,
          prejudice, confusion of the issues, the witness's safety, or interrogation that
          is repetitive or only marginally relevant'" [citation omitted]); Judicial
          Guidelines § 5:01 ("the judge should not permit . . . cross-examination to be
          used for harassment or discovery purposes"). Absent these circumstances, a
          defendant in a G.L. c. 209A proceeding, as in any case, must be given the
          opportunity to present evidence and cross-examine witnesses. Here, there
          was no showing by the plaintiﬀ of any of the grounds enumerated above that
          would justify a limitation on these rights.6 In fact, the issue whether to limit
           cross-examination was never reached by the judge because he allowed no
           cross-examination at all. The judge abused his discretion in denying the
           defendant the opportunity to present testimonial evidence and cross-
           examine the plaintiﬀ.
                 6 The plaintiﬀ made bald assertions that the defendant intended to harass

                     witnesses and create confusion in the proceedings, but these claims are
                     unsupported by the record.

           One final error of law by the judge in this case requires discussion. The
           judge improperly determined that the defendant's right to present evidence
           at an upcoming criminal hearing would suﬃciently protect the defendant's
           due process rights. The judge stated, "if we have a [G.L. c. 209A protective
           order] . . . and there is no pending criminal matters pending [ sic], then
           that's a much diﬀerent issue. In other words, we give both parties a full right
           to have a hearing and witnesses. . . . But if there's a criminal matter pending,
           then that's a diﬀerent matter altogether." A defendant's right to present
           evidence at a G.L. c. 209A hearing is unrelated to his rights at a pending
           criminal proceeding. The right to be heard in one forum does not aﬀect the
           right to be heard in another.

          Although "[a]buse prevention order proceedings were intended by the
      659 Legislature to be as expeditious and informal as *659 reasonably possible,"
          Zullo v. Goguen, 423 Mass. 679, 681 (1996), citing Frizado v. Frizado, supra at
          598, the proceedings may not violate the due process rights of defendants in
          an attempt to accommodate plaintiﬀs. "[T]he issue of family violence has
          become the focus of legitimate and increasing public concern. However, that
          concern must not be permitted to aﬀect or diminish the court's
          responsibility to remain neutral, to protect the rights of the accused in each
          case, and to address each case individually on its own merits." Judicial
          Guidelines § 1:02 commentary. Just as we must guard against the potential
          that G.L. c. 209A proceedings may be used to harass and intimidate victims
          of domestic abuse, so too must we resist a culture of summarily issuing and
          extending these orders. Such a culture would ignore the legislative intent
          behind G.L. c. 209A and undermine a basic pillar of our judicial tradition —
          that all parties be given a fair and equal opportunity to be heard.

           For the foregoing reasons, the abuse prevention order against the defendant
           is vacated.

      660 *660




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           Frizado v. Frizado                                                                                                           Case Details


                 Download PDF                    Check Treatment                                                                        Full title: RICHARD W.
                                                                                                                                        FRIZADO vs. SHIRLEY A.
                                                                                                                                        FRIZADO another


           Summary                                                                                                                      Court: Supreme Judicial
                                                                                                                                        Court of Massachusetts.
                                                                                                                                        Suffolk
           In Frizado v. Frizado, 420 Mass. 592, 651 N.E.2d 1206 (1995), overruled on
           another ground by Zullo, 423 Mass. at 681, 672 N.E.2d 502, we rejected such
                                                                                                                                        Date published: Jun 15,
           facial challenges to c. 209A, holding that "[t]he general pattern to be followed                                             1995
           in G. L. c. 209A proceedings is both fair and reasonably clear.
           Summary of this case from Commonwealth v. Dufresne

           See 4 Summaries                                                                                                              Citations      Copy Citations

                                                                                                                                        420 Mass. 592 (Mass. 1995)
                                                                                                                                        651 N.E.2d 1206


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                                               Try CoCounsel free                                                                       S.T. v. E.M
                                                                                                                                        The judge responded, “I beg
                                                                                                                                        to differ.” Counsel then drew
                                                                                                                                        the judge's attention to
           Opinion                                                                                                                      Frizado v. Frizado, 420…


           April 4, 1995.                                                                                                               A.P. v. M.T.
                                                                                                                                        The purpose of proceedings
           June 15, 1995.                                                                                                               under c. 258E, like those
                                                                                                                                        under c. 209A, is "protective,
           Present: LIACOS, C.J., WILKINS, ABRAMS, O'CONNOR, JJ.                                                                        not penal," A.T. v. C.R.,…

           Abuse Prevention. Constitutional Law, Trial by jury, Self-incrimination. Due                                                    124 Citing Cases
           Process of Law, Abuse prevention.

           A defendant against whom an order was sought under the provisions of
           G.L.c. 209A was not entitled to a trial by jury pursuant to art. 12 of the
           Massachusetts Declaration of Rights. [594-595] A defendant against whom
           an order was sought under the provisions of G.L.c. 209A was not entitled to
           a jury trial pursuant to art. 15 of the Massachusetts Declaration of Rights
           where no common law right to trial by jury existed with respect to the
           wrongs or threats for which the statute provides a remedy. [595-596] The
           procedures prescribed for the issuance of orders under G.L.c. 209A do not
           compel a person charged thereunder to furnish evidence against himself in
           violation of his right under art. 12 of the Massachusetts Declaration of
           Rights. [596] General Laws c. 209A does not on its face violate the right to
           due process of law guaranteed by art. 12 of the Massachusetts Declaration of
           Rights. [596-598]

           CIVIL ACTION commenced in the Supreme Judicial Court for the county of
           Suﬀolk on September 26, 1994.

           The case was heard by Nolan, J.

           Paul W. Patten for the plaintiﬀ.

          Edward D. Rapacki, Assistant Attorney General, for Fall River Division of the
      593 District Court Department of the Trial Court. *593 Toni G. Wolfman, Anthony
          Mirenda, Michele A. Whitham, Claire Laporte Mark Rosen, for Domestic
          Violence Council others, amici curiae, submitted a brief.



           WILKINS, J.

           We are concerned with constitutionally-based arguments that challenge the
           lawfulness of abuse prevention orders issued against Richard W. Frizado on
           the complaint of his former wife. In August and September, 1994,
           respectively, a District Court judge issued preliminary and permanent
           orders against Frizado pursuant to G.L.c. 209A (1992 ed.).

           Frizado moved unsuccessfully in the District Court to dismiss the complaint
           and ex parte orders that had been issued pursuant to the complaint, on the
           grounds that the procedures prescribed by G.L.c. 209A violated his rights
           under the Declaration of Rights of the Constitution of the Commonwealth
           (1) to a jury trial (arts. 12 and 15), (2) not to be compelled to furnish
           evidence against himself (art. 12), and (3) to due process of law (art. 12).

           Frizado commenced this action under G.L.c. 211, § 3 (1992 ed.), seeking relief
           from the G.L.c. 209A order issued against him after a hearing, alleging that
           G.L.c. 209A is facially invalid. The use of G.L.c. 211, § 3, to challenge an order
           entered under G.L.c. 209A was proper. Callahan v. Boston Mun. Court Dep't,
           413 Mass. 1009 (1992). A single justice denied relief without issuing an
           opinion, and Frizado appealed. We shall refer to Frizado as the defendant
           because that was his status in the District Court proceeding. His challenges
           are based exclusively on the Constitution of the Commonwealth and assert
           the facial invalidity of G.L.c. 209A.

          We shall reject the defendant's substantive challenges. First, however, we
          must consider the consequences of the fact that on October 14, 1994, the
          same day that the single justice denied relief, a District Court judge, other
          than the one who had entered it, vacated the outstanding abuse prevention
          order on the motion of the complainant. The defendant argues nevertheless
          that his appeal is not moot because he has a continuing stake in the appeal.
      594 See Johnson v. Commonwealth, *594 409 Mass. 712, 716 n. 6 (1991); Department
          of Youth Servs. v. A Juvenile, 384 Mass. 784, 785-787 (1981); Blake v.
          Massachusetts Parole Bd., 369 Mass. 701, 703-704 (1976). He asserts that the
          abuse prevention orders could have an adverse eﬀect on him in any future
          G.L.c. 209A proceeding and in certain future bail proceedings. The assertion
          has some merit, assuming that the allowance of the motion to vacate the
          outstanding G.L.c. 209A order does not result in the removal from
          probation records of all abuse prevention orders entered in this G.L.c. 209A
          proceeding.2 The record does not indicate what eﬀect the order vacating the
           outstanding abuse prevention order may have on probation records. The
           Attorney General on behalf of the Fall River District Court makes no claim
           that the issues are moot. The issues may be expected to arise in other
           proceedings. We therefore address the defendant's arguments.
                 2 In any future matter involving a complaint under G.L.c. 209A, the judge

                     must consider whether the defendant has a record of domestic violence
                     contained in the Statewide domestic violence record keeping system of the
                     commissioner of probation. G.L.c. 209A, § 7. See G.L.c. 276, § 85 (1992 ed.).
                     When the Commonwealth moves in a criminal case for an order that the
                     defendant is dangerous and should not be released on bail, the judge may
                     consider whether the defendant has a history of orders issued against him
                     under G.L.c. 209A, in deciding whether there are conditions of release that
                     will assure the public safety. G.L.c. 276, § 58A (5) (Supp. Dec., 1994).

           1. We consider first the claim that the Constitution of the Commonwealth
           requires that complaints under G.L.c. 209A concerning protection from
           abuse must be tried to a jury. The defendant makes separate arguments
           under arts. 12 and 15 of the Declaration of Rights.

          The guarantee of art. 12 that "no subject shall be . . . deprived of his property
          . . . but by the judgment of his peers," is not violated when, without a jury
          trial, a court enters an order under G.L.c. 209A, provided that, in its
          implementation, the order does not confiscate property as a punishment for
          the commission of a crime. See Commonwealth v. One 1972 Chevrolet Van, 385
      595 Mass. 198, 201-202 *595 (1982); Commonwealth v. United Food Corp., 374 Mass.
          765, 778-781 (1978). An order pursuant to G.L.c. 209A that requires a
          defendant to stay away from property in which the defendant has an interest
          (which is not the situation in the case before us) is not punitive in purpose.
          Relief granted pursuant to G.L.c. 209A, §§ 3, 4, and 5, is largely prospective
          (see, however, § 3 [ f], concerning compensation for losses resulting from
          abuse), and thus the statutory process for issuing such an order appears
          unlikely in its application ever to involve a violation of art. 12 jury trial
          rights. See Commonwealth v. Barboza, 387 Mass. 105, 112-113, cert. denied, 459
          U.S. 1020 (1982), in which the balancing of interests aﬀected, including the
          State's interest in expedited hearings, indicated that art. 12 did not require a
          jury trial in the circumstances of that case. Consequently, the defendant's
          art. 12 rights were not violated by trial before a judge without a jury.

          Article 15 does not require that there be a jury trial in a proceeding under
          G.L.c. 209A. Article 15 generally provides an opportunity for a jury trial in a
          civil action between two or more persons "except in cases in which it has
          heretofore been otherways used and practiced." Article 15 thus preserves the
          common law right to trial by jury established when the Constitution of the
          Commonwealth was adopted in 1780. Department of Revenue v. Jarvenpaa,
          404 Mass. 177, 185-186 (1989). The wrongs or threats for which G.L.c. 209A
          provides a remedy do not appear to be ones that juries considered under the
          common law of the Commonwealth. See id. at 186. Nothing similar to
          injunctive relief forbidding future domestic abuse and mandating that a
          person stay away from a complainant seems to have existed at common law.
          Cf. Commonwealth v. Guilfoyle, 402 Mass. 130, 135-136 (1988) (new cause of
          action, not a new version of a traditional proceeding; no art. 15 right to jury
          trial); Commonwealth v. Mongardi, 26 Mass. App. Ct. 5, 8-9 (1988). See also
          Dalis v. Buyer Advertising, Inc., 418 Mass. 220, 228 (1994) ("art. 15 does not
      596 guarantee a right to a trial *596 by jury in the class of cases traditionally
          reserved for courts of equity").

           2. The processes of G.L.c. 209A do not compel a defendant to abandon his
           privilege against self-incrimination guaranteed by art. 12. They do not force
           a defendant to testify or to present a defense, nor do they coerce a waiver of
           rights against self-incrimination. The burden is on the complainant to
           establish facts justifying the issuance and continuance of an abuse
           prevention order. The court must on request grant a "defendant an
           opportunity to be heard on the question of continuing the temporary order
           and of granting other relief." G.L.c. 209A, § 4. That opportunity, however,
           places no burden on a defendant to testify or to present evidence. The
           defendant need only appear at the hearing. Id.

           The plaintiﬀ must make the case for the awarding of relief. An inference
           adverse to a defendant may properly be drawn, however, from his or her
           failure to testify in a civil matter such as this, even if criminal proceedings
           are pending or might be brought against the defendant. See McGinnis v.
           Aetna Life Casualty Co., 398 Mass. 37, 39 (1986); Commonwealth v. United Food
           Corp., supra at 771-772. The fact that the defendant may refuse to testify on
           the ground of self-incrimination does not bar the taking of an adverse
           inference. See Quintal v. Commissioner of the Dep't of Employment Training,
           418 Mass. 855, 861 (1994). However, the inference cannot alone meet the
           plaintiﬀ's burden. See McGinnis v. Aetna Life Casualty Co., supra; Custody of
           Two Minors, 396 Mass. 610, 616 (1986). Thus a defendant's failure to testify
           cannot be used to justify the issuance of an abuse prevention order until a
           case is presented on other evidence. Id.

           3. Chapter 209A does not facially violate a defendant's right to due process
           of law stated in art. 12. The defendant argues that the absence of procedural
           safeguards makes G.L.c. 209A unconstitutional on its face.3 A statute such as
      597 *597 G.L.c. 209A need not repeat procedural practices that are established as
           generally acceptable. A court will fill in necessary and appropriate
           procedural elements unless circumstances indicate a contrary legislative
           intent. Cf. Aime v. Commonwealth, 414 Mass. 667, 683 (1993) (Legislature's
           elimination of constitutional safeguards from proposed legislation
           foreclosures judicial adoption of them to save statute from constitutional
           attack). Although it is not expressly stated in G.L.c. 209A, it follows from
           custom and practice in civil cases that a G.L.c. 209A plaintiﬀ must make a
           case for relief by a preponderance of the evidence. The circumstances of a
           G.L.c. 209A hearing do not require that a higher burden of proof be met. See
           Medical Malpractice Joint Underwriting Ass'n v. Commissioner of Ins., 395 Mass.
           43, 46-47 (1985).4 The right of the defendant to be heard includes his right to
           testify and to present evidence.
                 3 Because a G.L.c. 209A proceeding is a civil, and not a criminal, proceeding,

                     the constitutional right to confront witnesses and to cross-examine them
                     set forth in art. 12 of the Declaration of Rights has no application in this
                     case.

                 4 A judge may enter a temporary order only "[i]f the plaintiﬀ demonstrates a

                     substantial likelihood of immediate danger of abuse. . . ." G.L.c. 209A, § 4.

          A defendant has a general right to cross-examine witnesses against him.
          There may be circumstances in which the judge properly may deny that right
          in a G.L.c. 209A hearing, and certainly a judge may limit cross-examination
          for good cause in an exercise of discretion. See Commonwealth v. Durling, 407
          Mass. 108, 113, 117-118 (1990). The practice in civil actions, however, is to
          permit cross-examination (which is what happened in the case before us).
          See Adoption of Mary, 414 Mass. 705, 710 (1993); Roche v. Massachusetts Bay
          Transp. Auth., 400 Mass. 217, 222 (1987); Custody of Two Minors, 19 Mass. App.
          Ct. 552, 556 (1985). A defendant or his counsel should be given adequate
          opportunity to consider any aﬃdavit filed in the proceeding on which the
          judge intends to rely before being required to elect whether to cross-
          examine the complainant or any other witness. On the other hand, the rules
      598 of evidence need not be *598 followed, provided that there is fairness in what
          evidence is admitted and relied on.

           The Legislature devised a procedure in G.L.c. 209A that is intended to be
           expeditious and as comfortable as it reasonably can be for a lay person to
           pursue. Judges often must deal with large numbers of these emotional
           matters in busy court sessions. The process must be a practical one. The
           general pattern to be followed in G.L.c. 209A proceedings is both fair and
           reasonably clear. Whether a defendant's constitutional rights have been
           violated will depend on the fairness of a particular proceeding. Apart from
           the facial challenges that we have discussed and rejected, the defendant
           makes no claim that the hearing and decision in the matter before us denied
           him due process of law.5 Judgment aﬃrmed.

                 5 Many of the principles that we have stated also appear in the District

                     Court's Draft Standards of Judicial Practice, Abuse Prevention Proceedings
                     (December, 1994). See, e.g., § 5:01 ("Both parties must be allowed to present
                     evidence"; "The plaintiﬀ bears the burden of proof"; "Neither the defendant
                     nor the plaintiﬀ should be compelled to provide incriminating
                     information"); § 5:03 ("The court need not apply the rules of evidence"); §
                     5:04 ("The standard of proof in c. 209A hearings is the civil standard of
                     preponderance of the evidence").
                     On the other hand, our view of the right of a defendant to cross-examine
                     witnesses expresses a due process, fairness standard that § 5:01 of the abuse
                     prevention standards does not express in the same way. The District Court
                     standards (§ 5:01) state that "cross examination may be limited to the extent
                     deemed appropriate by the court." The judge's discretion in restricting
                     cross-examination may not be unlimited in particular situations. We agree
                     when § 5:01 adds that "the court should not permit the use of cross
                     examination for harassment or discovery purposes. However, each side
                     must be given a meaningful opportunity to challenge the other's evidence."


      599 *599




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           Idris I. v. Hazel H.                                                                                                         Case Details


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                                                                                                                                        H.


                                                                                                                                        Court: Appeals Court of
                                                                                                                                        Massachusetts, Middlesex.


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                                                                                                                                        100 Mass. App. Ct. 784
                                                                                                                                        (Mass. App. Ct. 2022)
           Opinion                                                                                                                      185 N.E.3d 471


           No. 21-P-570
                                                                                                                                        Citing Cases
           03-25-2022
                                                                                                                                        A.D. v. M.D.
           IDRIS I. v. HAZEL H.
                                                                                                                                        "A meaningful opportunity to
                                                                                                                                        be heard includes an
           Caroline L. Jones, of the District of Columbia, for the defendant. Idris I., pro
                                                                                                                                        opportunity to address the
           se, submitted a brief.                                                                                                       material and determinative…


           BLAKE, J.                                                                                                                    T.E. v. W.L.
                                                                                                                                        . Contrast Idris I. v. Hazel H.,
           Caroline L. Jones, of the District of Columbia, for the defendant.                                                           100 Mass.App.Ct. 784, 789
                                                                                                                                        (2022) (finding error where
           Idris I., pro se, submitted a brief.                                                                                         judge did…


           Present: Rubin, Wolohojian, & Blake, JJ.                                                                                         13 Citing Cases

           BLAKE, J.

          Following a hearing conducted by video conference, a judge of the District
          Court extended, with certain modifications, a G. L. c. 209A abuse prevention
          order (c. 209A order) for one year. The defendant appeals, claiming that
      474 there was insuﬃcient *474 evidence to extend the order. She also claims that
          she was denied a meaningful opportunity to be heard because she was
          unable to challenge the plaintiﬀ's evidence, to meaningfully cross-examine
                                      2
      785 the plaintiﬀ, or to testify. We agree that she was denied a meaningful *785
           opportunity to be heard, and therefore we vacate the c. 209A order and
           remand the matter for a new hearing.
                  2 The plaintiﬀ, a retired attorney, submitted a letter in lieu of a brief and did

                     not appear for oral argument.

           Background. On March 3, 2021, the plaintiﬀ applied for and was granted an
           ex parte c. 209A order against the defendant. The plaintiﬀ alleged that,
           beginning in 2017, the defendant mentally, sexually, and physically abused
           him. He claimed that he had recently received a "series of strange and
           menacing messages on [his] work and personal numbers from numbers [he
           did] not know." At the ex parte hearing, the plaintiﬀ said that his last contact
           with the defendant had been on January 12, 2021, which was fifty days before
           he applied for a c. 209A order. When asked by the judge "what took ... so long
           [for him] to come in," the plaintiﬀ responded that he was preparing an
           aﬃdavit to give to his attorney.

           On March 24, 2021, the day before the hearing after notice was scheduled to
           take place, the defendant's attorney sent the defendant's proposed exhibits
           to the court by e-mail.3 Due to the ongoing COVID-19 pandemic and the
           closure of certain courts, the hearing scheduled for March 25, 2021, was
           rescheduled. It was eventually held on April 8, 2021, by video conference.
           Both parties appeared with counsel. The hearing judge was not the same
           judge who had issued the ex parte c. 209A order.4

                  3 The proposed exhibits included e-mail, text, and Facebook messages.


                  4 The parties agree that the hearing judge did not turn on her camera during

                     the video conference. The better practice would be for all parties, and the
                     judge, to turn on their cameras during hearings conducted over video
                     conference platforms.

           When the case was called, the judge first asked the plaintiﬀ whether he
           wanted the c. 209A order extended. He said yes and asked for a permanent c.
           209A order. The judge then asked the defendant if she opposed the
           extension and, if so, to explain why. The defendant's response was brief. She
           said that she opposed further extension of the c. 209A order because it had
           been issued based on an e-mail message that she sent to the plaintiﬀ for
           "closure," and that it did not contain any threats. She denied all of the
           allegations in the plaintiﬀ's aﬃdavit.

          The judge then asked the plaintiﬀ "what [he] would ... like to tell [the judge]
          in regards to ... being in imminent fear of serious bodily harm from [the
          defendant]." The plaintiﬀ said that the e-mail, which the defendant
      786 acknowledged sending, contained "a *786 coded or implied threat of
          stabbing,"5 and that there was "evidence ... on file with the [local] police."
          The judge asked whether the plaintiﬀ was referring to certain documents
          that "were submitted to the [c]ourt." The defendant's attorney then
          interjected that she had not received any of the plaintiﬀ's evidence, despite
      475 the fact that she provided her evidence "well in advance to the plaintiﬀ." *475
           The judge did not address defense counsel's concern; rather, the judge asked
           the defendant if she sent the e-mail in question. As she had done earlier, the
           defendant acknowledged that she sent the e-mail. Thereafter the plaintiﬀ's
           counsel was permitted to conduct a direct examination of the plaintiﬀ.
                  5 The plaintiﬀ testified that the e-mail contained an "implied threat" because

                     the defendant used red, italicized text to "indicate precisely where the
                     defendant intended to stab [him]." We note that the copy of the e-mail in
                     the record appendix is not in color. The defendant's attorney contends that
                     the copy she received from the clerk's oﬃce was a black and white scan of
                     the original. On its face, the e-mail was not threatening.

           The defendant's attorney then began her cross-examination of the plaintiﬀ,
           but the judge did not permit her to complete it. For example, when the
           defendant's attorney asked the judge's permission to play voice mail
           messages in an apparent eﬀort to impeach the plaintiﬀ, the judge responded,
           "No, counsel. Next question." Shortly thereafter, the defendant's attorney
           explained to the judge that, at this point in the hearing, she would ordinarily
           approach the plaintiﬀ with the exhibits to determine whether or not he sent
           them to the defendant. The judge interrupted and stated:

                 "Counsel -- counsel, hold on. Hold on. The [c]ourt is fully aware,
                 the [c]ourt has all of the information that's been provided by both
                 the plaintiﬀ and the defendant. So the [c]ourt has that information,
                 it's the [c]ourt that needs to look at this and make a determination
                 if in fact the [c]ourt is going to issue[ ] this order.


                 "So I will tell you that the -- during this hearing, that I've [had] the
                 opportunity to go through these documents as you're questioning
                 [the plaintiﬀ], and as your client was being questioned to see what
                 was -- actually has been submitted, so I can digest that information.
                 So that is there. If you want to make an argument at the end, that's
                 fine, but the [c]ourt does have that information. That's fine."

      787 *787

           When the defendant's attorney then attempted to question the plaintiﬀ
           about statements that he made to the defendant, the judge again
           interrupted. She said:

                 "Counsel -- counsel, hold on. Hold on. As I indicated, the [c]ourt
                 has the documents. We're not going to go specifically through each
                 of those incidents. I have the information that I've read. You've
                 submitted that these are communications between your client and
                 [the plaintiﬀ], that's fine. We're not going through each and every
                 line of these documents."

           The defendant's attorney then attempted to make an oﬀer of proof. She said,
           in pertinent part, "[M]y concern is that if I don't bring [the statements] out
           in the hearing, that Your Honor might not see some of the extremely
           important texts and e-mails and threats that [the plaintiﬀ] made to [the
           defendant] that --" Before she could finish her sentence, the judge
           interrupted and said, "[T]his is not your client asking for a restraining
           order." She added, "The [c]ourt gets it." As the defendant's attorney tried to
           continue her cross-examination of the plaintiﬀ, the judge interrupted again
           and said:

                 "[W]hat I'm going to do is have you and counsel for [the plaintiﬀ]
                 give your closing statements. The [c]ourt gets the relationship. The
                 [c]ourt gets how tumultuous this relationship is. I get it. So I want
                 to hear you both in closing as to what you would like this [c]ourt to
                 consider."

          Before starting her closing argument, the defendant's attorney addressed
          the judge and said, "Let me just -- I don't think the [c]ourt is going to
          indulge --" Without even hearing in what way the defendant's attorney
          sought the court's indulgence, the judge said, "No. Go ahead, counsel." After
          completion of the closing arguments, the judge extended the c. 209A order
                                                     6
      476 for one year, with certain modifications. *476 In so doing, the judge said
           that she had heard the testimony of both parties and arguments of counsel.
           She made no further findings.
                  6 The c. 209A order was modified to provide only that the defendant could

                     not contact the plaintiﬀ and that she turn in any firearms.

          Discussion. We review the issuance of a c. 209A order for an abuse of
          discretion or other error of law. See Noelle N. v. Frasier F., 97 Mass. App. Ct.
          660, 664, 149 N.E.3d 850 (2020). We begin by examining the scope and
      788 manner in which the hearing after notice was conducted. *788
          Unquestionably, these hearings can be informal, but "certain minimum
          standards of fairness must be observed." S.T. v. E.M., 80 Mass. App. Ct. 423,
          429, 953 N.E.2d 269 (2011). It is undisputed that a defendant -- in any case --
          "has a right to notice and an opportunity to be heard." M.M. v. Doucette, 92
          Mass. App. Ct. 32, 34, 81 N.E.3d 1210 (2017). This principle applies with equal
          force in proceedings conducted pursuant to G. L. c. 209A. See id. See also
          Guidelines for Judicial Practice: Abuse Prevention Proceedings § 1:02 (Oct.
          2021) (Guidelines).7

                  7 We recognize that the Guidelines were revised in October 2021, after the

                     hearing at issue in this case. However, the relevant provisions remain
                     substantially similar such that it does not change our analysis. We therefore
                     cite to the most recent version of the Guidelines.

           Here, the question is whether the defendant had a meaningful opportunity
           to be heard in the context of a G. L. c. 209A proceeding.8 A meaningful
           opportunity to be heard includes an opportunity to address the material and
           determinative allegations at the core of a party's claim or defense and to
           present evidence on the contested facts. See Highland Tap of Boston, Inc. v.
           Commissioner of Consumer Aﬀairs & Licensing of Boston, 33 Mass. App. Ct.
           559, 571, 602 N.E.2d 1095 (1992). This includes the defendant's right to
           testify, to present evidence, and to cross-examine the witnesses against her.
           See Frizado v. Frizado, 420 Mass. 592, 597-598, 651 N.E.2d 1206 (1995).
                  8 Notice to the defendant is not contested.


          The defendant first claims that she was not permitted to testify. At the start
          of the hearing the judge asked whether the plaintiﬀ wanted the c. 209A
          order extended, asked whether the defendant opposed the extension, and
          asked each party the reasons for their positions. Apart from stating her
          name, this was the sum total of the defendant's testimony: it spanned
          twenty-one lines (or about four-fifths of one page) of a twenty-five page
          transcript. On the other hand, the plaintiﬀ's attorney conducted a detailed,
          guided direct examination of the plaintiﬀ. That testimony included, among
          other things, the plaintiﬀ's view of the parties’ relationship, the reasons that
          he was in fear, and his claimed reports to law enforcement. By contrast, the
          judge did not permit the defendant's attorney to conduct a direct
          examination of the defendant, let alone a detailed and guided one. Indeed,
          the defendant was never permitted to testify at all, as the judge interrupted
          her attorney's cross-examination of the plaintiﬀ and immediately directed
      789 the attorneys to present their closing arguments.*789 Unquestionably, "
          [w]ithout first hearing the evidence, a judge should not, over objection,
          vacate any provision of a c. 209A order once issued." Singh v. Capuano, 468
          Mass. 328, 331, 10 N.E.3d 1074 (2014). We see no reason why the same should
          not apply here: that is, a judge must first hear the evidence from both parties
      477 before extending a c. 209A *477 order. See id. This is especially true where
          here, as in most G. L. c. 209A cases, the judge did not hear from the
          defendant when the initial order was obtained on an ex parte basis. For that
          reason, the judge erred by extending the c. 209A order without first hearing
          the defendant's testimony. Further, this error was not cured by allowing the
          defendant's attorney to argue on her behalf, as arguments of counsel are not
          a substitute for evidence or the defendant's right to testify. See C.O. v. M.M.,
          442 Mass. 648, 657, 815 N.E.2d 582 (2004). See also Commonwealth v.
          Delaney, 425 Mass. 587, 591, 682 N.E.2d 611 (1997), cert. denied, 522 U.S.
          1058, 118 S.Ct. 714, 139 L.Ed.2d 655 (1998), quoting Matter of Kenney, 399
          Mass. 431, 435, 504 N.E.2d 652 (1987) ("[t]he fundamental requisite of due
          process is an opportunity to be heard at a meaningful time and in a
          meaningful manner").

           The defendant next contends that the judge denied her a meaningful
           opportunity to challenge the plaintiﬀ's evidence. In support of her claim, the
           defendant points to the fact that the judge had before her evidence that the
           defendant did not have, and had not seen. It was only once the plaintiﬀ
           referred to certain exhibits in response to a question posed by the judge that
           the defendant's attorney even became aware of that evidence. She
           immediately brought it to the attention of the judge, but the judge did not
           respond. Instead, the judge allowed the plaintiﬀ's attorney to continue his
           direct examination of the plaintiﬀ. The judge also noted several times during
           the hearing that she was considering written evidence submitted by both
           parties; as a result, the judge admittedly relied on evidence that the
           defendant did not see, much less have an opportunity to challenge.

          We recognize that discovery requests in a G. L. c. 209A proceeding are left
          to the judge's discretion. See Guidelines § 1:03. However, this is not a simple
          discovery issue. Rather, the judge here improperly considered evidence that
          the defendant had never seen, and thus was unable to challenge. See
          Frizado, 420 Mass. at 597-598, 651 N.E.2d 1206 (in G. L. c. 209A proceedings,
          "the rules of evidence need not be followed, provided that there is fairness
          in what evidence is admitted and relied on"). And, while the defendant is not
          required to disprove the allegations against her, her ability to raise issues of
      790 fact was necessarily impeded here by the lack of *790 access to the
          defendant's evidence against her. See C.O., 442 Mass. at 656-657, 815 N.E.2d
          582. See also Guidelines § 1:02(f ) (each party must be given meaningful
          opportunity to challenge other party's evidence).

          The defendant also contends that the judge improperly limited her cross-
          examination of the plaintiﬀ. Although the defendant's attorney began a
          cross-examination of the plaintiﬀ, the judge sua sponte ended it and
          directed the attorneys to proceed to closing arguments. "While a judge
          surely may exclude irrelevant or inadmissible evidence, or even interrupt an
          argument or a witness examination that has become repetitious, [s]he
          should not terminate a hearing without ensuring that [s]he has heard all the
          relevant and admissible evidence once." S.T., 80 Mass. App. Ct. at 430-431,
          953 N.E.2d 269. See Guidelines § 5:01. But a judge's "discretion is not
          unlimited and each side must be given a meaningful opportunity to
          challenge each other's evidence" (quotation and citation omitted). S.T.,
          supra at 431, 953 N.E.2d 269. Here, there was no objection, and there was no
          suggestion that the cross-examination was designed to harass or intimidate
          the plaintiﬀ, or that it had caused confusion or delay. The judge's reasoning
      478 for prematurely terminating the cross-examination *478 -- that the "[c]ourt
          gets the relationship" -- and then directing the parties to proceed to closing
          arguments without permitting the defendant to testify was error. See C.O.,
          442 Mass. at 657, 815 N.E.2d 582.

           Finally, we are not persuaded by the plaintiﬀ's contention that the
           defendant did not preserve her claims of error for consideration on appeal.
           The hearing transcript reflects the eﬀorts by the defendant's attorney to
           view the evidence that the plaintiﬀ submitted to the judge but not to her, to
           conduct a comprehensive cross-examination of the plaintiﬀ, and to permit
           the defendant to testify and present evidence. Illustrative of this point is the
           repeated but unsuccessful eﬀorts by the defendant's attorney to make an
           oﬀer of proof. Moreover, no specific words are required to preserve a claim
           of error.9 In the circumstances of this case, we deem the claims of error
           preserved.
                  9 We also note that any additional objections by the defendant's attorney

                     would likely have been futile. See Commonwealth v. McDonagh, 480 Mass.
                     131, 140 n.9, 102 N.E.3d 369 (2018) ("A party need not continue to voice an
                     objection once it is clear that doing so would be futile").

          In addition, although the defendant's objections could have been more
          fulsome, nothing in the transcript can be viewed as a tacit agreement to the
      791 manner in which the judge conducted the *791 hearing. Contrast Diaz v.
          Gomez, 82 Mass. App. Ct. 55, 63, 970 N.E.2d 355 (2012) (no due process issue
          where defendant actively participated in determining scope and manner of
          G. L. c. 209A proceeding). And while the lack of a further objection in a civil
          case may constitute waiver, see Hoﬀman v. Houghton Chem. Corp., 434
          Mass. 624, 639, 751 N.E.2d 848 (2001), that principle does not control in G.
          L. c. 209A cases because of the sui generis nature of the proceedings, see
          Mitchell v. Mitchell, 62 Mass. App. Ct. 769, 773 n.9, 821 N.E.2d 79 (2005).10
           Lastly, there are particular circumstances that will prompt us to consider
           questions of law that were neither pressed nor passed upon by the lower
           court, particularly where an injustice might otherwise result. See White v.
           White, 40 Mass. App. Ct. 132, 133, 662 N.E.2d 230 (1996). This is one such
           case for at least three reasons: (1) the defendant's due process rights are
           implicated, see C.O., 442 Mass. at 656-657, 815 N.E.2d 582 ; (2) a c. 209A
           order has significant collateral consequences, see S.T., 80 Mass. App. Ct. at
           430 n.7, 953 N.E.2d 269 ; and (3) violation of a c. 209A order is a criminal
           oﬀense, see G. L. c. 209A, § 7.
                 10 We note that G. L. c. 209A proceedings are "purely statutory and, thus, are

                     not among the cases to which the Massachusetts Rules of Civil Procedure ...
                     apply." M.G. v. G.A., 94 Mass. App. Ct. 139, 145, 112 N.E.3d 837 (2018).

           Conclusion. A defendant must be provided a meaningful opportunity to be
           heard in a G. L. c. 209A proceeding. See C.O., 442 Mass. at 657, 815 N.E.2d
           582. As discussed in detail supra, that did not happen here. Accordingly, the
           c. 209A order must be vacated, and the case remanded for a further
           hearing.11 We do not mean to intimate how the matter should be decided
           after a full and fair hearing. We recognize that credibility determinations
           and an evaluation of the suﬃciency of all the evidence are matters for the
           hearing judge to decide. See Ginsberg v. Blacker, 67 Mass. App. Ct. 139, 140
      479 n.3, 852 N.E.2d 679 (2006). However, under all of the circumstances, *479 we
           think it better that the matter be heard before a diﬀerent judge.12

                 11 Because we conclude that a remand is required, we do not address the

                     defendant's suﬃciency argument.

                 12 The plaintiﬀ's request for damages and costs is denied.


           So ordered.




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           !/012/,%-3!4
                                                   8998:-83$1;$219<$!=>8?=:&$=//-2:1@$?1:12=9$-A$8998:-83$!"#/191!=2B1/8:?$=33-.8=/13&$8:.<&$1/$=9<

                                                           .12/8-2=28$/-$/C1$3DE21!1$.-D2/$-A$8998:-83$:F<$(GHGI(J<$=*K6LM$!"*+,$)&$'(()H>L+NMLM
            5/67-5$8,8$/1                                  !"#$%&$'(()

                                                   2L7OFPMLPQ7&$844NPFN7$RF*HO*FSQ$R6PM*"N7NPK$+F*OF*"QNFP7$"PM$Q,LN*$FTPL*$U+F44L+QNVL4#$/L4LW"*XLQL*7Y&$TL*L
                                                   *LQ"NPLM$5#$ZNLQ:FT$:"QNFP"4$CL"M[6"*QL*7&$"$+,"*NQ"54L$PFPO*FSQ$+F*OF*"QNFP&$QF$7F4N+NQ$MFP"QNFP7$QF$"NM
                                                   ZNLQP"W$VLQL*"P7<$/,L$+FPQ*"+Q7$5LQTLLP$Q,F7L$O"*QNL7$O*FVNMLM&$"WFPK$FQ,L*$Q,NPK7&$Q,"Q$/L4LW"*XLQL*7
                                                   TF64M$*LQ"NP$I%$OL*+LPQ$FR$Q,L$K*F77$*L+LNOQ7$R*FW$844NPFN7$MFPF*7&$4L"VNPK$G%$OL*+LPQ$RF*$ZNLQ:FT<$/,L
                                                   844NPFN7$=QQF*PL#$?LPL*"4$S4LM$"$+FWO4"NPQ$NP$7Q"QL$+F6*Q&$"44LKNPK&$$%&'(#)*$)+#Q,"Q$/L4LW"*XLQL*7$*LO*L7LPQLM
                                                   QF$MFPF*7$Q,"Q$"$7NKPNS+"PQ$"WF6PQ$FR$L"+,$MF44"*$MFP"QLM$TF64M$5L$O"NM$FVL*$QF$ZNLQ:FT$RF*$7OL+NS+"44#
                                                   NMLPQNSLM$+,"*NQ"54L$LPML"VF*7&$"PM$Q,"Q$76+,$*LO*L7LPQ"QNFP7$TL*L$XPFTNPK4#$ML+LOQNVL$"PM$W"QL*N"44#
                                                   R"47L&$+FP7QNQ6QLM$"$R*"6M&$"PM$TL*L$W"ML$RF*$/L4LW"*XLQL*7\$O*NV"QL$OL+6PN"*#$5LPLSQ<$/,L$Q*N"4$+F6*Q
                                                   K*"PQLM$/L4LW"*XLQL*7\$WFQNFP$QF$MN7WN77$Q,L$R*"6M$+4"NW7$FP$AN*7Q$=WLPMWLPQ$K*F6PM7<$8P$"]*WNPK&$Q,L
                                                   844NPFN7$=OOL44"QL$"PM$36O*LWL$.F6*Q7$O4"+LM$,L"V#$TLNK,Q$FP$,-.)/01/(2#V<$3$&$4'%5#67(#)#8'&&'(
                                                   9%!$(7%0'%&+#^^^$D<$3<$J'(&$,'-('&)(:#76#,&)&'#76#;<"#V<$=75'>.#?"#;/%57%#37"+#^J_$D<$3<$`^_&$"PM$@$*':#V<
                                                   A)&$7%)*#B'<'()&$7%#76#8*$%<#76#:<$.<&$8P+<&$^I_$D<$3<$_IG<$/,F7L$ML+N7NFP7$,L4M$Q,"Q$+L*Q"NP$*LK64"QNFP7$FR
                                                   +,"*NQ"54L$7F4N+NQ"QNFP$5"**NPK$RLL7$NP$La+L77$FR$"$O*L7+*N5LM$4LVL4$LbL+QNVL4#$NWOF7LM$O*NF*$*L7Q*"NPQ7$FP
                                                   R6PM*"N7NPK&$"PM$TL*L$Q,L*LRF*L$NP+FWO"QN54L$TNQ,$Q,L$AN*7Q$=WLPMWLPQ<$/,L$7Q"QL$,NK,$+F6*Q$"+XPFT4LMKLM
                                                   Q,"Q$Q,N7$+"7L$NPVF4VLM$PF$76+,$O*FO,#4"+QN+$O*F7+*NOQNFP$FR$,NK,HRLL$+,"*NQ"54L$7F4N+NQ"QNFP<$8P7QL"M&$Q,L
                                                   +F6*Q$PFQLM&$Q,L$=QQF*PL#$?LPL*"4$7F6K,Q$QF$LPRF*+L$Q,L$3Q"QL\7$KLPL*"44#$"OO4N+"54L$"PQNR*"6M$4"T7$"K"NP7Q
                                                   /L4LW"*XLQL*7$RF*$7OL+NS+$NP7Q"P+L7$FR$ML4N5L*"QL$ML+LOQNFP<$CFTLVL*&$Q,L$844NPFN7$36O*LWL$.F6*Q$7"NM&
                                                   /L4LW"*XLQL*7\$7F4N+NQ"QNFP$7Q"QLWLPQ7$TL*L$"44LKLM$QF$5L$R"47L$FP4#$5L+"67L$/L4LW"*XLQL*7$+FPQ*"+QLM$RF*
                                                   I%$OL*+LPQ$FR$Q,L$K*F77$*L+LNOQ7$"PM$R"N4LM$QF$MN7+4F7L$Q,N7$NPRF*W"QNFP$QF$MFPF*7<$/,L$+F6*Q$+FP+46MLM$Q,"Q
                                                   Q,L$=QQF*PL#$?LPL*"4\7$+FWO4"NPQ$T"7&$NP$L77LP+L&$"P$"QQLWOQ$QF$*LK64"QL$/L4LW"*XLQL*7\$"5N4NQ#$QF$LPK"KL$NP
                                                   "$O*FQL+QLM$"+QNVNQ#$5"7LM$6OFP$"$OL*+LPQ"KLH*"QL$4NWNQ"QNFPHQ,L$7"WL$*LK64"QF*#$O*NP+NO4L$*LcL+QLM$NP
                                                   ,-.)/01/(2+#;/%57%+#"PM$@$*':"



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                                                   8998:-83$1;$219<$!=>8?=:&$=//-2:1@$?1:12=9$-A$8998:-83$!"#/191!=2B1/8:?$=33-.8=/13&$8:.<&$1/$=9<

                                                           .12/8-2=28$/-$/C1$3DE21!1$.-D2/$-A$8998:-83$:F<$(GHGI(J<$=*K6LM$!"*+,$)&$'(()H>L+NMLM
                                                           !"#$%&$'(()

                                                   2L7OFPMLPQ7&$844NPFN7$RF*HO*FSQ$R6PM*"N7NPK$+F*OF*"QNFP7$"PM$Q,LN*$FTPL*$U+F44L+QNVL4#$/L4LW"*XLQL*7Y&$TL*L
                                                   *LQ"NPLM$5#$ZNLQ:FT$:"QNFP"4$CL"M[6"*QL*7&$"$+,"*NQ"54L$PFPO*FSQ$+F*OF*"QNFP&$QF$7F4N+NQ$MFP"QNFP7$QF$"NM
                                                   ZNLQP"W$VLQL*"P7<$/,L$+FPQ*"+Q7$5LQTLLP$Q,F7L$O"*QNL7$O*FVNMLM&$"WFPK$FQ,L*$Q,NPK7&$Q,"Q$/L4LW"*XLQL*7
                                                   TF64M$*LQ"NP$I%$OL*+LPQ$FR$Q,L$K*F77$*L+LNOQ7$R*FW$844NPFN7$MFPF*7&$4L"VNPK$G%$OL*+LPQ$RF*$ZNLQ:FT<$/,L
                                                   844NPFN7$=QQF*PL#$?LPL*"4$S4LM$"$+FWO4"NPQ$NP$7Q"QL$+F6*Q&$"44LKNPK&$$%&'(#)*$)+#Q,"Q$/L4LW"*XLQL*7$*LO*L7LPQLM
                                                   QF$MFPF*7$Q,"Q$"$7NKPNS+"PQ$"WF6PQ$FR$L"+,$MF44"*$MFP"QLM$TF64M$5L$O"NM$FVL*$QF$ZNLQ:FT$RF*$7OL+NS+"44#
                                                   NMLPQNSLM$+,"*NQ"54L$LPML"VF*7&$"PM$Q,"Q$76+,$*LO*L7LPQ"QNFP7$TL*L$XPFTNPK4#$ML+LOQNVL$"PM$W"QL*N"44#
                                                   R"47L&$+FP7QNQ6QLM$"$R*"6M&$"PM$TL*L$W"ML$RF*$/L4LW"*XLQL*7\$O*NV"QL$OL+6PN"*#$5LPLSQ<$/,L$Q*N"4$+F6*Q
                                                   K*"PQLM$/L4LW"*XLQL*7\$WFQNFP$QF$MN7WN77$Q,L$R*"6M$+4"NW7$FP$AN*7Q$=WLPMWLPQ$K*F6PM7<$8P$"]*WNPK&$Q,L
                                                   844NPFN7$=OOL44"QL$"PM$36O*LWL$.F6*Q7$O4"+LM$,L"V#$TLNK,Q$FP$,-.)/01/(2#V<$3$&$4'%5#67(#)#8'&&'(
                                                   9%!$(7%0'%&+#^^^$D<$3<$J'(&$,'-('&)(:#76#,&)&'#76#;<"#V<$=75'>.#?"#;/%57%#37"+#^J_$D<$3<$`^_&$"PM$@$*':#V<
                                                   A)&$7%)*#B'<'()&$7%#76#8*$%<#76#:<$.<&$8P+<&$^I_$D<$3<$_IG<$/,F7L$ML+N7NFP7$,L4M$Q,"Q$+L*Q"NP$*LK64"QNFP7$FR
                                                   +,"*NQ"54L$7F4N+NQ"QNFP$5"**NPK$RLL7$NP$La+L77$FR$"$O*L7+*N5LM$4LVL4$LbL+QNVL4#$NWOF7LM$O*NF*$*L7Q*"NPQ7$FP
                                                   R6PM*"N7NPK&$"PM$TL*L$Q,L*LRF*L$NP+FWO"QN54L$TNQ,$Q,L$AN*7Q$=WLPMWLPQ<$/,L$7Q"QL$,NK,$+F6*Q$"+XPFT4LMKLM
                                                   Q,"Q$Q,N7$+"7L$NPVF4VLM$PF$76+,$O*FO,#4"+QN+$O*F7+*NOQNFP$FR$,NK,HRLL$+,"*NQ"54L$7F4N+NQ"QNFP<$8P7QL"M&$Q,L
                                                   +F6*Q$PFQLM&$Q,L$=QQF*PL#$?LPL*"4$7F6K,Q$QF$LPRF*+L$Q,L$3Q"QL\7$KLPL*"44#$"OO4N+"54L$"PQNR*"6M$4"T7$"K"NP7Q
                                                   /L4LW"*XLQL*7$RF*$7OL+NS+$NP7Q"P+L7$FR$ML4N5L*"QL$ML+LOQNFP<$CFTLVL*&$Q,L$844NPFN7$36O*LWL$.F6*Q$7"NM&
                                                   /L4LW"*XLQL*7\$7F4N+NQ"QNFP$7Q"QLWLPQ7$TL*L$"44LKLM$QF$5L$R"47L$FP4#$5L+"67L$/L4LW"*XLQL*7$+FPQ*"+QLM$RF*
                                                   I%$OL*+LPQ$FR$Q,L$K*F77$*L+LNOQ7$"PM$R"N4LM$QF$MN7+4F7L$Q,N7$NPRF*W"QNFP$QF$MFPF*7<$/,L$+F6*Q$+FP+46MLM$Q,"Q
                                                   Q,L$=QQF*PL#$?LPL*"4\7$+FWO4"NPQ$T"7&$NP$L77LP+L&$"P$"QQLWOQ$QF$*LK64"QL$/L4LW"*XLQL*7\$"5N4NQ#$QF$LPK"KL$NP
                                                   "$O*FQL+QLM$"+QNVNQ#$5"7LM$6OFP$"$OL*+LPQ"KLH*"QL$4NWNQ"QNFPHQ,L$7"WL$*LK64"QF*#$O*NP+NO4L$*LcL+QLM$NP
                                                   ,-.)/01/(2+#;/%57%+#"PM$@$*':"


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                                                   ?'*<C#.FP7N7QLPQ$TNQ,$Q,N7$.F6*Q\7$O*L+LMLPQ$"PM$Q,L$AN*7Q$=WLPMWLPQ&$3Q"QL7$W"#$W"NPQ"NP$R*"6M$"+QNFP7
                                                   T,LP$R6PM*"N7L*7$W"XL$R"47L$F*$WN74L"MNPK$*LO*L7LPQ"QNFP7$ML7NKPLM$QF$ML+LNVL$MFPF*7$"5F6Q$,FT$Q,LN*
                                                   MFP"QNFP7$TN44$5L$67LM<$/,L$844NPFN7$=QQF*PL#$?LPL*"4\7$"44LK"QNFP7$"K"NP7Q$/L4LW"*XLQL*7$Q,L*LRF*L$7Q"QL$"
                                                   +4"NW$RF*$*L4NLR$Q,"Q$+"P$76*VNVL$"$WFQNFP$QF$MN7WN77<$EO<$JGGHJ'^<

                                                   U"Y$/,L$AN*7Q$=WLPMWLPQ$O*FQL+Q7$Q,L$*NK,Q$QF$LPK"KL$NP$+,"*NQ"54L$7F4N+NQ"QNFP&$7LL&$'"#2"+#,-.)/01/(2+#^^^$D<
                                                   3<&$"Q$J)'&$56Q$MFL7$PFQ$7,NL4M$R*"6M&$7LL&$'"#2"+#D7%)*<57%#V<$@')<#;)2)4$%'+#E%-"+#)))$D<$3<$G_I&$G`(<$9NXL$FQ,L*
                                                   RF*W7$FR$O654N+$ML+LOQNFP&$R*"6M64LPQ$+,"*NQ"54L$7F4N+NQ"QNFP$N7$6PO*FQL+QLM$7OLL+,<$3LL&$'"#2"+#,-.%'$<'(#V<
                                                   ,&)&'#FG7H%#76#E(!$%2&7%I+#)(I$D<$3<$G^_&$GJ^<$/,N7$.F6*Q$,"7$PFQ$O*LVNF674#$"MM*L77LM$Q,L$AN*7Q$=WLPMWLPQ\7
                                                   "OO4N+"QNFP$QF$NPMNVNM6"4$R*"6M$"+QNFP7$FR$Q,L$XNPM$"Q$N776L$,L*L<$8Q$,"7&$,FTLVL*&$Q,*LL$QNWL7$,L4M
                                                   6P+FP7QNQ6QNFP"4$O*FO,#4"+QN+$4"T7$ML7NKPLM$QF$+FW5"Q$R*"6M$5#$NWOF7NPK$O*NF*$*L7Q*"NPQ7$FP$7F4N+NQ"QNFP
                                                   T,LP$R6PM*"N7NPK$RLL7$La+LLMLM$"$7OL+NSLM$*L"7FP"54L$4LVL4<$EO<$JGGHJG_<

                                                   U5Y$8P$Q,F7L$+"7L7&$,-.)/01/(2+#;/%57%+#"PM$@$*':+#Q,L$.F6*Q$QFFX$+"*L$QF$4L"VL$"$+F**NMF*$FOLP$RF*$R*"6M
                                                   "+QNFP7$QF$K6"*M$Q,L$O654N+$"K"NP7Q$R"47L$F*$WN74L"MNPK$+,"*NQ"54L$7F4N+NQ"QNFP7<$3LL&$'"#2"+#,-.)/01/(2+#^^^$D<
                                                   3<&$"Q$J)_<$=7$Q,F7L$ML+N7NFP7$*L+FKPNdLM&$Q,L*L$"*L$MNbL*LP+L7$+*NQN+"4$QF$AN*7Q$=WLPMWLPQ$+FP+L*P7
                                                   5LQTLLP$R*"6M$"+QNFP7$Q*"NPLM$FP$*LO*L7LPQ"QNFP7$W"ML$NP$NPMNVNM6"4$+"7L7$"PM$7Q"Q6QL7$Q,"Q$+"QLKF*N+"44#
                                                   5"P$7F4N+NQ"QNFP7$T,LP$R6PM*"N7NPK$+F7Q7$*6P$,NK,<$3NWO4#$4"5L4NPK$"P$"+QNFP$FPL$RF*$eR*"6M&e$FR$+F6*7L&$TN44
                                                   PFQ$+"**#$Q,L$M"#<$C"M$Q,L$3Q"QL$=QQF*PL#$?LPL*"4\7$+FWO4"NPQ$+,"*KLM$R*"6M$5"7LM$7F4L4#$FP$Q,L$OL*+LPQ"KL
                                                   FR$MFP"QNFP7$Q,L$R6PM*"N7L*7$TF64M$*LQ"NP&$F*$Q,LN*$R"N46*L$QF$"4L*Q$MFPF*7$QF$RLL$"**"PKLWLPQ7$"Q$Q,L$7Q"*Q$FR
                                                   L"+,$+"44&$@$*':#TF64M$76OOF*Q$7TNRQ$MN7WN77"4<$EF*QNFP7$FR$Q,L$=QQF*PL#$?LPL*"4\7$+FWO4"NPQ$"K"NP7Q
                                                   /L4LW"*XLQL*7$TL*L$FR$Q,N7$KLP*L<$06Q$Q,L$+FWO4"NPQ$"PM$"PPLaLM$"]M"VNQ7&$NP$4"*KL$O"*Q&$"44LKLM$PFQ$7NWO4#
                                                   T,"Q$/L4LW"*XLQL*7$R"N4LM$QF$+FPVL#<$/,L#$"47F$ML7+*N5LM$T,"Q$/L4LW"*XLQL*7$WN74L"MNPK4#$*LO*L7LPQLM<
                                                   /"XNPK$NPQF$"++F6PQ$Q,L$"]M"VNQ7&$"PM$*L"MNPK$Q,L$+FWO4"NPQ$NP$Q,L$4NK,Q$WF7Q$R"VF*"54L$QF$Q,L$=QQF*PL#
                                                   ?LPL*"4&$Q,"Q$O4L"MNPK$ML7+*N5LM$WN7*LO*L7LPQ"QNFP7$Q,N7$.F6*Q\7$O*L+LMLPQ$MFL7$PFQ$O4"+L$6PML*$Q,L$AN*7Q
                                                   =WLPMWLPQ\7$+FVL*<$AN*7Q&$Q,L$+FWO4"NPQ$"77L*QLM$Q,"Q$/L4LW"*XLQL*7$"]*W"QNVL4#$*LO*L7LPQLM$Q,"Q$"
                                                   7NKPNS+"PQ$"WF6PQ$FR$L"+,$MF44"*$MFP"QLM$TF64M$5L$O"NM$FVL*$QF$ZNLQ:FT$QF$5L$67LM$RF*$7OL+NS+$+,"*NQ"54L
                                                   O6*OF7L7$T,N4L$NP$R"+Q$/L4LW"*XLQL*7$XPLT$Q,"Q$G%$+LPQ7$F*$4L77$FR$L"+,$MF44"*$TF64M$5L$"V"N4"54L$RF*$Q,F7L
                                                   O6*OF7L7<$3L+FPM&$Q,L$+FWO4"NPQ$L77LPQN"44#$"44LKLM$Q,"Q$Q,L$+,"*NQ"54L$7F4N+NQ"QNFP$T"7$"$R"fg"MLh$=4Q,F6K,
                                                   /L4LW"*XLQL*7$*LO*L7LPQLM$Q,"Q$MFP"QLM$R6PM7$TF64M$KF$QF$ZNLQ:FT\7$+,"*NQ"54L$O6*OF7L7&$Q,L$"WF6PQ$FR
                                                   R6PM7$O"NM$FVL*$QF


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                                                   Q,L$+,"*NQ#$T"7$WL*L4#$NP+NMLPQ"4$QF$Q,L$R6PM*"N7NPK$LbF*Q&$T,N+,$T"7$W"ML$RF*$/L4LW"*XLQL*7\$O*NV"QL
                                                   OL+6PN"*#$5LPLSQ<$A*"6M$"+QNFP7$7F$Q"N4F*LM&$Q"*KLQNPK$WN74L"MNPK$"]*W"QNVL$*LO*L7LPQ"QNFP7$"5F6Q$,FT
                                                   MFP"QNFP7$TF64M$5L$67LM&$"*L$6P4NXL$Q,L$O*FO,#4"+QN+$WL"76*L7$NPV"4NM"QLM$NP$,-.)/01/(2+#;/%57%+#"PM
                                                   @$*':C#3F$4FPK$"7$Q,L$LWO,"7N7$N7$FP$T,"Q$Q,L$R6PM*"N7L*7$WN74L"MNPK4#$+FPVL#&$"PM$PFQ$FP$OL*+LPQ"KL
                                                   4NWNQ"QNFP7$FP$7F4N+NQF*7\$RLL7$>'(#5'+#R*"6M$"+QNFP7$PLLM$PFQ$NWOL*WN77N54#$+,N44$O*FQL+QLM$7OLL+,<$EO<$JG_H
                                                   JG`<

                                                   U+Y$/,L$O*F,N5NQNFP7$NPV"4NM"QLM$NP$,-.)/01/(2+#;/%57%+#"PM$@$*':#Q6*PLM$7F4L4#$FP$T,LQ,L*$,NK,$OL*+LPQ"KL7
                                                   FR$MFP"QLM$R6PM7$TL*L$7OLPQ$FP$R6PM*"N7NPK<$/,LN*$"OO4N+"QNFP$MNM$PFQ$MLOLPM$FP$T,LQ,L*$Q,L$R6PM*"N7L*
                                                   W"ML$R*"6M64LPQ$*LO*L7LPQ"QNFP7$QF$OFQLPQN"4$MFPF*7<$8P$+FPQ*"7Q$QF$Q,L$O*NF*$*L7Q*"NPQ7$NP7OL+QLM$NP$Q,F7L
                                                   +"7L7&$"$O*FOL*4#$Q"N4F*LM$R*"6M$"+QNFP$Q"*KLQNPK$7OL+NS+$R*"6M64LPQ$*LO*L7LPQ"QNFP7$LWO4F#7$PF$e\i5j*F"M
                                                   O*FO,#4"+QN+$*64iLj&\e$,-.)/01/(2+#^^^$D<$3<&$"Q$J)_$U+NQ"QNFP$FWNQQLMY&$4"+XNPK$"P#$ePLa67$<<<$iQFj$Q,L$4NXL4N,FFM
                                                   Q,"Q$Q,L$7F4N+NQ"QNFP$N7$R*"6M64LPQ&e$@$*':+#^I_$D<$3<&$"Q$_`)<$36+,$"P$"+QNFP$Q,67$R"447$FP$Q,L$+FP7QNQ6QNFP"4$7NML
                                                   FR$Q,L$4NPL$e5LQTLLP$*LK64"QNFP$"NWLM$"Q$R*"6M$"PM$*LK64"QNFP$"NWLM$"Q$7FWLQ,NPK$L47L$NP$Q,L$,FOL$Q,"Q$NQ
                                                   TF64M$7TLLO$R*"6M$NP$M6*NPK$Q,L$O*F+L77<e$;/%57%+#^J_$D<$3<&$"Q$`J`H`_(<$/,L$=QQF*PL#$?LPL*"4\7$+FWO4"NPQ
                                                   ,"7$"$7F4NM$+F*L$NP$"44LK"QNFP7$Q,"Q$,FWL$NP$FP$/L4LW"*XLQL*7\$"]*W"QNVL$7Q"QLWLPQ7$ML7NKPLM$QF$WN74L"M
                                                   MFPF*7$*LK"*MNPK$Q,L$67L$FR$Q,LN*$+FPQ*N56QNFP7<$-R$O*NWL$NWOF*Q"P+L&$QF$O*FVL$"$MLRLPM"PQ$4N"54L$RF*$R*"6M
                                                   6PML*$844NPFN7$+"7L$4"T&$Q,L$3Q"QL$W67Q$7,FT$5#$+4L"*$"PM$+FPVNP+NPK$LVNMLP+L$Q,"Q$Q,L$MLRLPM"PQ$XPFTNPK4#
                                                   W"ML$"$R"47L$*LO*L7LPQ"QNFP$FR$"$W"QL*N"4$R"+Q&$Q,"Q$76+,$*LO*L7LPQ"QNFP$T"7$W"ML$TNQ,$Q,L$NPQLPQ$QF
                                                   WN74L"M$Q,L$4N7QLPL*&$"PM$Q,"Q$Q,L$*LO*L7LPQ"QNFP$76++LLMLM$NP$MFNPK$7F<$8P$+FPQ*"7Q$QF$"$O*NF*$*L7Q*"NPQ$FP
                                                   7F4N+NQ"QNFP&$F*$"$*LK64"QNFP$Q,"Q$NWOF7L7$FP$R6PM*"N7L*7$"P$6O,N44$56*MLP$QF$O*FVL$Q,LN*$+FPM6+Q$4"TR64&$Q,L
                                                   3Q"QL$5L"*7$Q,L$R644$56*MLP$FR$O*FFR$NP$"P$NPMNVNM6"4NdLM$R*"6M$"+QNFP<$1a"+QNPK$O*FFR$*L[6N*LWLPQ7$FR$Q,N7
                                                   F*ML*&$NP$FQ,L*$+FPQLaQ7&$,"VL$5LLP$,L4M$QF$O*FVNML$76]+NLPQ$5*L"Q,NPK$*FFW$RF*$O*FQL+QLM$7OLL+,<$3LL&$'"
                                                   2"+#A'H#J7(K#G$0'5#37"#V<$,/**$!)%+#)_J$D<$3<$'%^&$'_`H'I(<$=7$"P$"MMNQNFP"4$7"RLK6"*M$*L7OFP7NVL$QF$AN*7Q
                                                   =WLPMWLPQ$+FP+L*P7&$"P$"OOL44"QL$+F6*Q$+F64M$NPMLOLPMLPQ4#$*LVNLT$Q,L$Q*N"4$+F6*Q\7$SPMNPK7<$.R<$875'
                                                   37(>"#V<$37%5/0'(5#L%$7%#76#L%$&'<#,&)&'5+#E%-"+#^JJ$D<$3<$^I%&$^`IH%GG<$k,"Q$Q,L$AN*7Q$=WLPMWLPQ$"PM$Q,N7
                                                   .F6*Q\7$+"7L$4"T$LWO,"QN+"44#$MF$PFQ$*L[6N*L&$,FTLVL*&$N7$"$54"PXLQ$LaLWOQNFP$R*FW$R*"6M$4N"5N4NQ#$RF*$"
                                                   R6PM*"N7L*$T,F$NPQLPQNFP"44#$WN74L"M7$NP$+"447$RF*$MFP"QNFP7<$k,N4L$Q,L$OL*+LPQ"KL$FR$R6PM*"N7NPK$O*F+LLM7
                                                   Q6*PLM$FVL*$QF$"$+,"*NQ#$N7$PFQ$"P$"++6*"QL$WL"76*L$FR$Q,L$"WF6PQ$FR$R6PM7$67LM$eRF*e$"$+,"*NQ"54L$O6*OF7L&
                                                   ;/%57%+#^J_$D<$3<&$"Q$`J_&$P<$GJ&$Q,L$K*"V"WLP$FR$Q,L$R*"6M$"+QNFP$NP$Q,N7$+"7L$N7$PFQ$,NK,$+F7Q7$F*$RLL7&


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                                                   56Q$O"*QN+64"*$*LO*L7LPQ"QNFP7$W"ML$TNQ,$NPQLPQ$QF$WN74L"M<$/,L$844NPFN7$=QQF*PL#$?LPL*"4$,"7$PFQ$76KKL7QLM
                                                   Q,"Q$"$+,"*NQ#$W67Q$ML7N7Q$R*FW$67NPK$MFP"QNFP7$RF*$4LKNQNW"QL$O6*OF7L7$76+,$"7$NPRF*W"QNFP$MN77LWNP"QNFP&
                                                   "MVF+"+#&$"PM$Q,L$4NXL<$2"Q,L*&$Q,L$=QQF*PL#$?LPL*"4$,"7$"44LKLM$Q,"Q$/L4LW"*XLQL*7$"QQ*"+QLM$MFP"QNFP7$5#
                                                   WN74L"MNPK$OFQLPQN"4$MFPF*7$NPQF$5L4NLVNPK$Q,"Q$"$7657Q"PQN"4$OF*QNFP$FR$Q,LN*$+FPQ*N56QNFP7$TF64M$R6PM
                                                   7OL+NS+$O*FK*"W7$F*$7L*VN+L7&$XPFTNPK$R644$TL44$Q,"Q$T"7$PFQ$Q,L$+"7L<$36+,$*LO*L7LPQ"QNFP7$*LW"NP$R"47L$F*
                                                   WN74L"MNPK&$,FTLVL*$4LKNQNW"QL$Q,L$FQ,L*$O6*OF7L7$RF*$T,N+,$Q,L$R6PM7$"*L$NP$R"+Q$67LM<$/,L$.F6*Q$MFL7$PFQ
                                                   "K*LL$TNQ,$/L4LW"*XLQL*7$Q,"Q$Q,L$=QQF*PL#$?LPL*"4\7$R*"6M$"+QNFP$N7$7NWO4#$"P$LPM$*6P$"*F6PM$@$*':M5
                                                   ,F4MNPK$Q,"Q$R6PM*"N7L*7$W"#$PFQ$5L$*L[6N*LM&$NP$LVL*#$QL4LO,FPL$7F4N+NQ"QNFP&$QF$7Q"QL$Q,L$OL*+LPQ"KL$FR
                                                   *L+LNOQ7$Q,L$R6PM*"N7L*$TF64M$*LQ"NP<$8Q$N7$FPL$Q,NPK$QF$+FWOL4$LVL*#$R6PM*"N7L*$QF$MN7+4F7L$NQ7$RLL
                                                   "**"PKLWLPQ7$"Q$Q,L$7Q"*Q$FR$"$QL4LO,FPL$+FPVL*7"QNFP&$[6NQL$"PFQ,L*$QF$Q"XL$RLL$"**"PKLWLPQ7$NPQF$"++F6PQ
                                                   NP$"77L77NPK$T,LQ,L*$O"*QN+64"*$"]*W"QNVL$*LO*L7LPQ"QNFP7$ML7NKPLM4#$ML+LNVL$Q,L$O654N+<$EO<$JG`HJ')<

                                                   UMY$?NVLP$Q,N7$.F6*Q\7$*LOL"QLM$"OO*FV"4$FR$KFVL*PWLPQ$LbF*Q7$QF$LP"54L$MFPF*7$QF$W"XL$NPRF*WLM$+,FN+L7
                                                   "5F6Q$Q,LN*$+,"*NQ"54L$+FPQ*N56QNFP7&$7LL&$'"#2"+#,-.)/01/(2+#^^^$D<$3<&$"Q$J)I&$"4WF7Q$"44$3Q"QL7$"PM$W"P#
                                                   4F+"4NQNL7$*L[6N*L$+,"*NQNL7$"PM$O*FRL77NFP"4$R6PM*"N7L*7$QF$*LKN7QL*$"PM$S4L$*LK64"*$*LOF*Q7$FP$Q,LN*$"+QNVNQNL7&
                                                   O"*QN+64"*4#$Q,LN*$R6PM*"N7NPK$+F7Q7<$/,L7L$*LOF*Q7$"*L$KLPL*"44#$"V"N4"54L$QF$Q,L$O654N+$"PM$"*L$FRQLP$O4"+LM
                                                   FP$Q,L$8PQL*PLQ<$/L4LW"*XLQL*7$MF$PFQ$F5cL+Q$FP$AN*7Q$=WLPMWLPQ$K*F6PM7$QF$Q,L7L$MN7+4F76*L
                                                   *L[6N*LWLPQ7<$l67Q$"7$KFVL*PWLPQ$W"#$7LLX$QF$NPRF*W$Q,L$O654N+$"PM$O*LVLPQ$R*"6M$Q,*F6K,$76+,
                                                   *L[6N*LWLPQ7&$7F$NQ$W"#$VNKF*F674#$LPRF*+L$"PQNR*"6M$4"T7$QF$O*F,N5NQ$O*FRL77NFP"4$R6PM*"N7L*7$R*FW
                                                   F5Q"NPNPK$WFPL#$FP$R"47L$O*LQLP7L7$F*$5#$W"XNPK$R"47L$7Q"QLWLPQ7<$@$*':+#^I_$D<$3<&$"Q$I((<$CNK,$R6PM*"N7NPK
                                                   +F7Q7&$TNQ,F6Q$WF*L&$MF$PFQ$L7Q"54N7,$R*"6M&$7LL$$<"+#"Q$_`)&$"PM$WL*L$R"N46*L$QF$VF46PQLL*$Q,L$R6PM*"N7L*\7
                                                   RLL$T,LP$+FPQ"+QNPK$"$OFQLPQN"4$MFPLL&$TNQ,F6Q$WF*L&$N7$NP76]+NLPQ$QF$7Q"QL$"$+4"NW$RF*$R*"6M&$$<"+#"Q$_`%H
                                                   I(G<$06Q$Q,L7L$4NWNQ"QNFP7$MF$PFQ$MN7"*W$3Q"QL7$R*FW$"776*NPK$Q,"Q$Q,LN*$*L7NMLPQ7$"*L$OF7NQNFPLM$QF$W"XL
                                                   NPRF*WLM$+,FN+L7$"5F6Q$Q,LN*$+,"*NQ"54L$KNVNPK<$EO<$J')HJ'^<

                                                   G`I$844<$'M$)^%&$_J)$:<$1<$'M$'I`&$*LVL*7LM$"PM$*LW"PMLM<

                                                   ?8:30D2?&$l<&$ML4NVL*LM$Q,L$FONPNFP$RF*$"$6P"PNWF67$.F6*Q<$3.=98=&$l<&$S4LM$"$+FP+6**NPK$FONPNFP&$NP$T,N+,
                                                   /C-!=3&$l<&$cFNPLM&$>75&+#O<$J'^<

                                                   @$-.)(<#3<$?/54)2.+#=77N7Q"PQ$=QQF*PL#$?LPL*"4$FR$844NPFN7&$"*K6LM$Q,L$+"67L$RF*$OLQNQNFPL*<$kNQ,$,NW$FP$Q,L
                                                   5*NLR7


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                                                   .F6P7L4

                                                   TL*L$N$5)#;)<$2)%+#=QQF*PL#$?LPL*"4&$=)0'5#9"#@:)%+#RF*WL*$=QQF*PL#$?LPL*"4&$=7'*#D"#8'(&7--.$+#3F4N+NQF*
                                                   ?LPL*"4&$8)((:#8"#O(755+#.,NLR$>LO6Q#$=QQF*PL#$?LPL*"4&$"PM$='()*<#3<$P75&+#B*7:<#D"#P'(K$%5+#"PM$;)&&.'H#D"
                                                   ,.)>$(7+#=77N7Q"PQ$=QQF*PL#7$?LPL*"4<

                                                   >LO6Q#$3F4N+NQF*$?LPL*"4$.4LWLPQ$"*K6LM$Q,L$+"67L$RF*$Q,L$DPNQLM$3Q"QL7$LQ$"4<$"7$"WN+N$+6*N"L$6*KNPK
                                                   *LVL*7"4<$kNQ,$,NW$FP$Q,L$5*NLR$TL*L$3F4N+NQF*$?LPL*"4$-47FP&$=77N7Q"PQ$=QQF*PL#$?LPL*"4$!+."446W&$!"QQ,LT
                                                   ><$2F5L*Q7&$l"+F5$!<$9LTN7&$"PM$."Q,L*NPL$C"P+F+X<

                                                   1**F4$.FON4LVNQd$"*K6LM$Q,L$+"67L$RF*$*L7OFPMLPQ7<$kNQ,$,NW$FP$Q,L$5*NLR$TL*L$kN44N"W$1<$2"PL#&$!"+XLPdNL
                                                   ."PQL*$888&$"PM$!"*X$>N7XNP<m

                                                   m0*NLR7$FR$)0$-$#-/($)'#6*KNPK$*LVL*7"4$TL*L$S4LM$RF*$Q,L$3Q"QL$FR$A4F*NM"$LQ$"4<$5#$@$-.)(<#9"#D7()%+#=QQF*PL#
                                                   ?LPL*"4$FR$A4F*NM"&$G.70)5#9"#Q)(%'(+#3F4N+NQF*$?LPL*"4&$N7/$5#A<$?/1'%'(#"PM$;)&&.'H#="#37%$2*$)(7+#>LO6Q#
                                                   3F4N+NQF*7$?LPL*"4&$=7%)&.)%#R"#O*72)/+#R()1'**)#Q#G')*+#.F*OF*"QNFP$.F6P7L4$FR$Q,L$>N7Q*N+Q$FR$.F46W5N"&
                                                   G.70)5#@"#S'**'(+#=+QNPK$=QQF*PL#$?LPL*"4$FR$C"T"NN&$"PM$R%)1'**'#@7<($2/'4+#=QQF*PL#$?LPL*"4$FR$E6L*QF$2N+F&
                                                   "PM$5#$Q,L$=QQF*PL#7$?LPL*"4$RF*$Q,LN*$*L7OL+QNVL$3Q"QL7$"7$RF44FT7h$Q$**$)0#?"#P(:7(+#=("+#FR$=4"5"W"&$O('22#D"
                                                   @'%K'5#FR$=4"7X"&$;)(K#N/%567(<#P(:7(#FR$=*X"P7"7&$8$**#N7-K:'(#FR$."4NRF*PN"&$S'%#,)*)4)(#FR$.F4F*"MF&$@$-.)(<
                                                   8*/0'%&.)*#FR$.FPPL+QN+6Q&$;"#=)%'#8()<:#FR$>L4"T"*L&$G./(1'(&#9"#8)K'(#FR$?LF*KN"&$R*)%#?<$N)%-'#FR$8M",F&
                                                   ,&'!'#3)(&'(#FR$8PMN"P"&$G.70)5#="#;$**'(#FR$8FT"&$3)(*)#="#,&7!)**#FR$B"P7"7&$R*1'(&#8"#3.)%<*'(#EEE#FR$BLPQ6+X#&
                                                   @$-.)(<#P"#E':7/1#FR$9F6N7N"P"&$?<$,&'!'%#@7H'#FR$!"NPL&$="#=75'>.#3/(()%+#=("+#FR$!"*#4"PM&$G.70)5#A<$@'$**:#FR
                                                   !"77"+,67LQQ7&$='%%$6'(#;"#O()%.7*0#FR$!N+,NK"P&$;$K'#?)&-.#FR$!NPPL7FQ"&$;$K'#;77('#FR$!N77N77NOON&
                                                   ='('0$).#Q#F=):I#A$T7%#FR$!N77F6*N&$;$K'#;-O()&.#FR$!FPQ"P"&$D7%#,&'%1'(2#FR$:L5*"7X"&$B()%K$'#,/'#D'*#P)>)
                                                   FR$:LV"M"&$P.$**$>#P"#;-N)/2.*$%#FR$:LT$C"WO7,N*L&$D)!$<#,)057%#FR$:LT$lL*7L#&$P)&($-$)#R"#;)<($<#FR$:LT
                                                   !LaN+F&$9*$7&#,>$&4'(#FR$:LT$@F*X&$Q):%'#,&'%'.U'0#FR$:F*Q,$>"XFQ"&$8'&&:#D"#;7%&270'(:#FR$-,NF&$?)(<:
                                                   ;:'(5#FR$-*LKFP&$;$K'#B$5.'(#FR$ELPP7#4V"PN"&$,.'*<7%#Q.$&'.7/5'#FR$2,FML$874"PM&$3.)(*'5#37%<7%#FR$3F6Q,
                                                   ."*F4NP"&$;)(K#8)(%'&&#FR$3F6Q,$>"XFQ"&$P)/*#?<$,/00'(5#FR$/LPPL77LL&$O('2#R117&&#FR$/La"7&$;)(K#N"#,./(&*'V
                                                   FR$DQ",&$Q$**$)0#?"#,7(('**#FR$ZL*WFPQ&


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                                                   lD3/8.1$?8:30D2?$ML4NVL*LM$Q,L$FONPNFP$FR$Q,L$.F6*Q<$/,N7$+"7L$+FP+L*P7$Q,L$"WLP"5N4NQ#$FR$RF*HO*FSQ
                                                   R6PM*"N7NPK$+F*OF*"QNFP7$QF$76NQ$5#$Q,L$=QQF*PL#$?LPL*"4$FR$844NPFN7$RF*$R*"6M64LPQ$+,"*NQ"54L$7F4N+NQ"QNFP7<$/,L
                                                   +FPQ*FVL*7#$"*N7L7$R*FW$Q,L$R6PM*"N7L*7\$+FPQ*"+Q7$TNQ,$"$+,"*NQ"54L$PFPO*FSQ$+F*OF*"QNFP$F*K"PNdLM$QF
                                                   "MV"P+L$Q,L$TL4R"*L$FR$ZNLQP"W$VLQL*"P7g$6PML*$Q,L$+FPQ*"+Q7&$Q,L$R6PM*"N7L*7$TL*L$QF$*LQ"NP$I%$OL*+LPQ$FR
                                                   Q,L$O*F+LLM7$FR$Q,LN*$R6PM*"N7NPK$LPML"VF*7<$/,L$3Q"QL$=QQF*PL#$?LPL*"4\7$+FWO4"NPQ$"44LKL7$Q,"Q$Q,L
                                                   R6PM*"N7L*7$MLR*"6MLM$WLW5L*7$FR$Q,L$O654N+$5#$R"47L4#$*LO*L7LPQNPK$Q,"Q$e"$7NKPNS+"PQ$"WF6PQ$FR$L"+,
                                                   MF44"*$MFP"QLM$TF64M$5L$O"NM$FVL*$QF$iQ,L$VLQL*"P7$F*K"PNd"QNFPj$RF*$NQ7$i+,"*NQ"54Lj$O6*OF7L7$T,N4L$NP$R"+Q
                                                   Q,L$iR6PM*"N7L*7j$XPLT$Q,"Q$<<<$G%$+LPQ7$F*$4L77$FR$L"+,$MF44"*$TF64M$5L$"V"N4"54Le$RF*$Q,F7L$O6*OF7L7<$=OO<$`&
                                                   n$)^<$.FWO4LWLPQNPK$Q,"Q$"44LK"QNFP&$Q,L$+FWO4"NPQ$7Q"QL7$Q,"Q$Q,L$R6PM*"N7L*7$R"47L4#$*LO*L7LPQLM$Q,"Q$eQ,L
                                                   R6PM7$MFP"QLM$TF64M$KF$QF$R6*Q,L*$<<<$+,"*NQ"54L$O6*OF7L7&e$$<"+#"Q$I&$n$'`&$T,LP$NP$R"+Q$eQ,L$"WF6PQ$<<<$O"NM
                                                   FVL*$QF$+,"*NQ#$T"7$WL*L4#$NP+NMLPQ"4$QF$Q,L$R6PM

                                                   ='((:#Q#S$*27('#FR$ZN*KNPN"&$3.($5&$%'#-<$O('27$('#FR$k"7,NPKQFP&$D)(('**#W"#;-O()H+#=("+#FR$kL7Q$ZN*KNPN"&$"PM
                                                   ?7K'#;)-;$**)%#FR$k#FWNPKg$"PM$RF*$Q,L$.F6P+N4$FR$0LQQL*$067NPL77$06*L"67&$8P+<&$LQ$"4<$5#$,&'!'%#="#37*'#"PM
                                                   @$-.)(<#Q77<5"

                                                   0*NLR7$FR$)0$-$#-/($)'#6*KNPK$"]*W"P+L$TL*L$S4LM$RF*$Q,L$=WL*N+"P$/L4L7L*VN+L7$=77F+N"QNFP$5#$@71'(&#37(%X
                                                   @'!'('Y#RF*$Q,L$=77F+N"QNFP$FR$A6PM*"N7NPK$E*FRL77NFP"47$LQ$"4<$5#$O'7V(':#Q#P'&'(5#"PM$Q)*&'(#="#,-4/<*7Y#RF*
                                                   >N7"54LM$=WL*N+"P$ZLQL*"P7$5#$3.($5&7>.'(#="#3*):#"PM$=7.%#N"#;77('+#=("Y#RF*$Q,L$A*LL$3OLL+,$>LRLP7L$"PM
                                                   1M6+"QNFP$A6PM&$8P+<&$LQ$"4<$5#$Q$**$)0#="#Z*57%+#=7.%#3<$;$*'5+#?'(1'(&#Q#G$&/5+#;)(K#Q'$%1'(2+#"PM$;)(K
                                                   B$&42$117%5Y#RF*$8PMLOLPMLPQ$3L+QF*$LQ$"4<$5#$@71'(&#R"#87$5&/('+#R*1'(&#?<$N)/1'(+#"PM$N*7:<#?"#;):'(Y#"PM$RF*
                                                   E654N+$.NQNdLP&$8P+<&$LQ$"4<$5#$87%%$'#E"#@71$%X#W'(2''(#"PM$R*)%#8"#;7(($57%"

                                                   0*NLR7$FR$)0$-$#-/($)'#TL*L$S4LM$RF*$==2E$5#$D'17().#;"#[/-K'(0)%+#,&)-:#="#3)%)%+#"PM$;$-.)'*#@"#,-./5&'(Y
                                                   RF*$C6M7FP$0"#$.F<$FR$844NPFN7&$8P+<&$5#$G.70)5#?"#O77<0)%#"PM$R%&.7%:#="#O*''K'*Y#"PM$RF*$/,N*Q#HQTF
                                                   .FWWL*+N"4$A6PM*"N7L*7$LQ$"4<$5#$3.)(*'5#?"#A)!'"


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                                                   *"N7NPK$LbF*Q&e$T,N+,$T"7$+FPM6+QLM$O*NW"*N4#$eRF*$Q,L$O*NV"QL$OL+6PN"*#$5LPLSQ$FRe$Q,L$R6PM*"N7L*7&$$<"+#"Q$`&
                                                   n$)%<

                                                   /,L$[6L7QNFP$O*L7LPQLM$N7$T,LQ,L*$Q,F7L$"44LK"QNFP7$7Q"QL$"$+4"NW$RF*$*L4NLR$Q,"Q$+"P$76*VNVL$"$WFQNFP$QF
                                                   MN7WN77<$8P$"++F*M$TNQ,$Q,L$844NPFN7$Q*N"4$"PM$"OOL44"QL$+F6*Q7&$Q,L$844NPFN7$36O*LWL$.F6*Q$,L4M$Q,L#$MNM$PFQ<
                                                   /,"Q$+F6*Q$T"7$eWNPMR64$FR$Q,L$FOOF*Q6PNQ#$RF*$O654N+$WN76PML*7Q"PMNPK$"PM$Q,L$OFQLPQN"4$RF*$MFPF*
                                                   +FPR67NFP$T,N+,$W"#$5L$O*L7LPQLM$TNQ,$R6PMH*"N7NPK$7F4N+NQ"QNFP7$FR$Q,L$7F*Q$NPVF4VLM$NP$Q,iN7j$+"7L&e$@:)%#V<
                                                   G'*'0)(K'&$%2#R557-$)&'5+#E%-"+#G`I$844<$'M$)^%&$)J)&$_J)$:<$1<$'M$'I`&$'``$U'((GYg$NQ$PLVL*Q,L4L77$+FP+46MLM$Q,"Q
                                                   Q,*L7,F4M$MN7WN77"4$FR$Q,L$+FWO4"NPQ$T"7$+FWOL44LM$5#$Q,N7$.F6*Q\7$ML+N7NFP7$NP$,-.)/01/(2#V<$3$&$4'%5#67(#)
                                                   8'&&'(#9%!$(7%0'%&+#^^^$D<$3<$J'($UG`I(Y&$,'-('&)(:#76#,&)&'#76#;<"#V<$=75'>.#?"#;/%57%#37"+#^J_$D<$3<$`^_$UG`I^Y&
                                                   "PM$@$*':#V<$A)&$7%)*#B'<'()&$7%#76#8*$%<#76#:<$+<&$E%-"+#^I_$D<$3<$_IG$UG`IIY<$/,F7L$ML+N7NFP7$,L4M$Q,"Q$+L*Q"NP
                                                   *LK64"QNFP7$FR$+,"*NQ"54L$7657+*NOQNFP7&$5"**NPK$RLL7$NP$La+L77$FR$"$O*L7+*N5LM$4LVL4&$LbL+QNVL4#$NWOF7LM$O*NF*
                                                   *L7Q*"NPQ7$FP$R6PM*"N7NPK&$"PM$TL*L$Q,L*LRF*L$NP+FWO"QN54L$TNQ,$Q,L$AN*7Q$=WLPMWLPQ<

                                                   kL$*LVL*7L$Q,L$c6MKWLPQ$FR$Q,L$844NPFN7$36O*LWL$.F6*Q<

                                                   -6*$O*NF*$ML+N7NFP7$MF$PFQ$*64L$F6Q&$"7$76OOF*QNVL$FR$"$R*"6M$+4"NW$"K"NP7Q$R6PM*"N7L*7&$"P#$"PM$"44$*L4N"P+L
                                                   FP$Q,L$OL*+LPQ"KL$FR$+,"*NQ"54L$MFP"QNFP7$R6PM*"N7L*7$*LQ"NP$RF*$Q,LW7L4VL7<$k,N4L$5"*L$R"N46*L$QF$MN7+4F7L
                                                   Q,"Q$NPRF*W"QNFP$MN*L+Q4#$QF$OFQLPQN"4$MFPF*7$MFL7$PFQ$76]+L$QF$L7Q"54N7,$R*"6M&$T,LP$PFPMN7+4F76*L$N7
                                                   "++FWO"PNLM$5#$NPQLPQNFP"44#$WN74L"MNPK$7Q"QLWLPQ7$ML7NKPLM$QF$ML+LNVL$Q,L$4N7QLPL*&$Q,L$AN*7Q$=WLPMWLPQ
                                                   4L"VL7$*FFW$RF*$"$R*"6M$+4"NW<

                                                   8

                                                   >LRLPM"PQ7$5L4FT&$*L7OFPMLPQ7$,L*L&$/L4LW"*XLQNPK$=77F+N"QL7&$8P+<&$"PM$=*WLQ&$8P+<&$"*L$844NPFN7$RF*HO*FSQ
                                                   R6PM*"N7NPK$+F*OF*"QNFP7$T,F44#$FTPLM$"PM$+FPQ*F44LM$5#$MLRLPM"PQ*L7OFPMLPQ$2N+,"*M$/*FN"<$G`I$844<$'M&$"Q
                                                   )^_H)^I&$_J)


                                                   J(_

                                                   :<$1<$'M&$"Q$'`G<$/L4LW"*XLQNPK$=77F+N"QL7$"PM$=*WLQ$TL*L$*LQ"NPLM$5#$ZNLQ:FT$:"QNFP"4$CL"M[6"*QL*7&$"
                                                   +,"*NQ"54L$PFPO*FSQ$+F*OF*"QNFP&$QF$7F4N+NQ$MFP"QNFP7$QF$"NM$ZNLQP"W$VLQL*"P7<$E<"+#"Q$)^I&$_J)$:<$1<$'M&$"Q
                                                   '`G<$8P$Q,N7$FONPNFP&$TL$KLPL*"44#$*LRL*$QF$*L7OFPMLPQ7&$+F44L+QNVL4#&$"7$e/L4LW"*XLQL*7<$e

                                                   /,L$+FPQ*"+Q7$5LQTLLP$Q,L$+,"*NQ#&$ZNLQ:FT&$"PM$Q,L$R6PM*"N7L*7&$/L4LW"*XLQL*7&$O*FVNMLM$Q,"Q
                                                   /L4LW"*XLQL*7$TF64M$*LQ"NP$I%$OL*+LPQ$FR$Q,L$K*F77$*L+LNOQ7$R*FW$MFPF*7$TNQ,NP$844NPFN7&$4L"VNPK$G%$OL*+LPQ
                                                   RF*$ZNLQ$:FT<$E1$<"#DPML*$Q,L$"K*LLWLPQ7&$MFPF*$4N7Q7$MLVL4FOLM$5#$/L4LW"*XLQL*7$TF64M$*LW"NP$NP$Q,LN*
                                                   e7F4L$"PM$La+467NVLe$+FPQ*F4<$=OO<$'^&$`)H`^&$G('&$n$J%<$/L4LW"*XLQL*7$"47F$5*FXL*LM$+FPQ*"+Q7$FP$5L,"4R$FR
                                                   ZNLQ:FT$TNQ,$F6QHFRH7Q"QL$R6PM*"N7L*7g$6PML*$Q,F7L$+FPQ*"+Q7&$F6QHFRH7Q"QL$R6PM*"N7L*7$*LQ"NPLM$5LQTLLP$_(
                                                   OL*+LPQ$"PM$I($OL*+LPQ$FR$MFP"QLM$R6PM7&$/L4LW"*XLQL*7$*L+LNVLM$5LQTLLP$G($OL*+LPQ$"PM$'($OL*+LPQ$"7$"
                                                   SPML*\7$RLL&$"PM$ZNLQ:FT$*L+LNVLM$G($OL*+LPQ<$G`I$844<$'M&$"Q$)^I&_J)$:<$1<$'M&$"Q$'`G<$0LQTLLP$l64#$G`I_$"PM
                                                   Q,L$LPM$FR$G``%&$/L4LW"*XLQL*7$+F44L+QLM$"OO*FaNW"QL4#$o_<G$WN44NFP&$XLLONPK$74NK,Q4#$WF*L$Q,"P$oJ$WN44NFP
                                                   RF*$Q,LW7L4VL7&$"PM$4L"VNPK$"OO*FaNW"QL4#$oG<G$WN44NFP$RF*$Q,L$+,"*NQ#<$E1$<"G

                                                   8P$G``G&$Q,L$844NPFN7$=QQF*PL#$?LPL*"4$S4LM$"$+FWO4"NPQ$"K"NP7Q$/L4LW"*XLQL*7$NP$7Q"QL$+F6*Q<$E<"+#"Q$)^IH)%(&
                                                   _J)$:<$1<$'M&$"Q$'`GH'`'<'$/,L$+FWO4"NPQ$"77L*QLM$+FWWFPH4"T$"PM$7Q"Q6QF*#$+4"NW7$RF*$R*"6M$"PM$5*L"+,$FR
                                                   SM6+N"*#$M6Q#<$E1$<"#8Q$"44LKLM&$$%&'(#)*$)+#Q,"Q$Q,L$I%$OL*+LPQ$RLL$RF*$T,N+,$/L4LW"*XLQL*7$+FPQ*"+QLM$T"7
                                                   eLa+L77NVLe$"PM$ePFQ$c67QNSLM

                                                   G$/,L$OLQNQNFP$RF*$+L*QNF*"*N$R6*Q,L*$"44LKL7$Q,"Q&$FR$Q,L$WFPL#$*"N7LM$5#$/L4LW"*XLQL*7&$ZNLQ:FT$NP$Q,L$LPM
                                                   7OLPQ$FP4#$"5F6Q$)$OL*+LPQ$QF$O*FVNML$+,"*NQ"54L$7L*VN+L7$QF$VLQL*"P7<$ELQ<$RF*$.L*Q<$'&$"PM$P<$Gg$7LL$823$AF*W
                                                   ``(&$S4LM$5#$ZNLQ:FT$NP$'(((&$"V"N4"54L$"Q$,QQOhppGJ_<G-<%<G)Gp.Q(J(.(_((p$(J%'pG!GG8:>Z<E>A$U"7$VN7NQLM
                                                   =O*<$G(&$'(()Y$U"V"N4"54L$NP$.4L*X$FR$.F6*Q\7$+"7L$S4LY<

                                                   '$2LRL*LP+L7$QF$Q,L$+FWO4"NPQ$NP$Q,N7$FONPNFP$NP+46ML$"44$"WLPMWLPQ7$QF$Q,"Q$O4L"MNPK<


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                                                   5#$LaOLP7L7$iQ,L#j$O"NM<e$=OO<$G()&$n$_'<$>FWNP"PQ4#&$,FTLVL*&$Q,L$+FWO4"NPQ$+FP+L*PLM$WN7*LO*L7LPQ"QNFP<

                                                   8P$Q,L$+F6*7L$FR$Q,LN*$QL4LO,FPL$7F4N+NQ"QNFP7&$Q,L$+FWO4"NPQ$7Q"QL7&$/L4LW"*XLQL*7$WN74L"MNPK4#$*LO*L7LPQLM
                                                   Q,"Q$eR6PM7$MFP"QLM$TF64M$KF$QF$R6*Q,L*$ZNLQi:jFT\7$+,"*NQ"54L$O6*OF7L7<e$E<"+#"Q$I&$n$'`<$=]M"VNQ7$"QQ"+,LM
                                                   QF$Q,L$+FWO4"NPQ$"VL*$Q,"Q$/L4LW"*XLQL*7$QF4M$O*F7OL+QNVL$MFPF*7$Q,LN*$+FPQ*N56QNFP7$TF64M$5L$67LM$RF*
                                                   7OL+NS+"44#$NMLPQNSLM$+,"*NQ"54L$LPML"VF*7g$Q#ON+"4$La"WO4L7$FR$Q,F7L$LPML"VF*7$NP+46ML$eRFFM$5"7XLQ7$KNVLP
                                                   QF$VLQ7$i"PMj$Q,LN*$R"WN4NL7$RF*$/,"PX7KNVNPK&e$$<"+#"Q$G'^&$O"#NPK$e5N447$"PM$*LPQ$QF$,L4O$O,#7N+"44#$"PM
                                                   WLPQ"44#$MN7"54LM$ZNLQP"W$VLQ7$"PM$Q,LN*$R"WN4NL7&e$$<"+#"Q$G)G&$ecFi5j$Q*"NPNPK&e$$<"+#"Q$G^%&$"PM$e*L,"5N4NQ"QNFP
                                                   i"PMj$FQ,L*$7L*VN+L7$RF*$ZNLQP"W$VLQ7&e$$<"+#"Q$GJ`$U7FWL$+"ONQ"4Nd"QNFP$FWNQQLM$NP$[6FQL7Y<$-PL$"]"PQ$"7XLM
                                                   T,"Q$OL*+LPQ"KL$FR$,L*$+FPQ*N56QNFP$TF64M$5L$67LM$RF*$R6PM*"N7NPK$LaOLP7L7g$7,L$eT"7$QF4M$`(q$F*$WF*L
                                                   KFL7$QF$Q,L$VLQ7<e$E1$<"#U+"ONQ"4Nd"QNFP$FWNQQLMY<$=PFQ,L*$"]"PQ$7Q"QLM$7,L$T"7$QF4M$,L*$MFP"QNFP$TF64M$PFQ
                                                   5L$67LM$RF*$e4"5F*$LaOLP7L7e$5L+"67L$e"44$WLW5L*7$"*L$VF46PQLL*7<e$E<"+#"Q$GGG$U+"ONQ"4Nd"QNFP$FWNQQLMY<)
                                                   k*NQQLP$W"QL*N"47$/L4LW"*XLQL*7$7LPQ$QF$L"+,$MFPF*

                                                   )$DPML*$844NPFN7$4"T&$La,N5NQ7$"QQ"+,LM$QF$"$+FWO4"NPQ$"PM$*LRL**LM$QF$NP$"$O4L"MNPK$5L+FWL$O"*Q$FR$Q,L
                                                   O4L"MNPK$eRF*$"44$O6*OF7L7<e$844<$.FWOF$3Q"Q<&$+,<$_)%&$r$%p'HJ(J$UG``'Yg$P/('#Z$*#.-<$Z<$;$**'(X;-B)(*)%<#D($**$%2
                                                   37"+#)_J$844<$^IJ&$^`_H^`I&$)^$:<$1<$'M$I%^&$I%`$UG`^GYg$)$2<$!N+,"L4&$844NPFN7$E*"+QN+L$r$')<`&$OO<$))'H)))&$PP<$_H`
                                                   "PM$"++FWO"P#NPK$QLaQ$UG`I`Y$U+F44L+QNPK$844NPFN7$+"7L7Y<$/L4LW"*XLQL*7\$+F6P7L4$7Q"QLM$"Q$F*"4$"*K6WLPQ$Q,"Q
                                                   Q,L$844NPFN7$36O*LWL$.F6*Q$,"M$eRF6PM$"7$"$W"QQL*$FR$4"T$Q,"Q$iQ,Lj$"]M"VNQ7$TL*L$PFQ$O"*Q$FR$Q,L
                                                   +FWO4"NPQ<e$/*<$FR$-*"4$=*K<$^(<$kL$+"P$4F+"QL$PF$76+,$SPMNPK$NP$Q,L$+F6*Q\7$FONPNFP<$=7XLM$QF$76OO4#$"
                                                   +NQ"QNFP$"RQL*$"*K6WLPQ&$7LL$$<"+#"Q$^G&$+F6P7L4$MN*L+QLM$67$QF$Q,L$+F6*Q\7$7Q"QLWLPQ$Q,"Q$eQ,L*L$N7$PF
                                                   "44LK"QNFP$Q,"Q$i/L4LW"*XLQL*7j$W"ML$"]*W"QNVL$WN77Q"QLWLPQ7$QF$OFQLPQN"4$MFPF*7<e$G`I$844<$'M$)^%&$)^I&
                                                   _J)$:<$1<$'M$'I`&$'`G$U'((GYYg$7LL$9LQQL*$R*FW$kN44N"W$1<$2"PL#$QF$kN44N"W$B<$36QL*&$.4L*X$FR$Q,L$.F6*Q$U!"*<$^&
                                                   '(()Y<$8P$7F$7Q"QNPK&$Q,L$844NPFN7$+F6*Q$FVL*4FFXLM&$WF7Q$F5VNF674#&$Q,L$QTF$"]M"VNQ7$"QQL7QNPK$QF
                                                   /L4LW"*XLQL*7\$*LO*L7LPQ"QNFP7$Q,"Q$e`(q$F*$WF*L$KFL7$QF$Q,L$VLQ7&e$"PM$Q,"Q$Q,L*L$TF64M$5L$PF$e4"5F*


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                                                   *LO*L7LPQLM$Q,"Q$+FPQ*N56QNFP7$TF64M$e5L$67LM$QF$,L4O$"PM$"77N7Q$ZNLQi:jFT\7$+,"*NQ"54L$O6*OF7L7<e$E<"+#"Q$I&
                                                   n$)(<^

                                                   /,L$G%$+LPQ7$F*$4L77$FR$L"+,$7F4N+NQLM$MF44"*$"+Q6"44#$W"ML$"V"N4"54L$QF$ZNLQ:FT&$Q,L$=QQF*PL#$?LPL*"4
                                                   +,"*KLM&$eT"7$WL*L4#$NP+NMLPQ"4$QF$Q,L$R6PM$*"N7NPK$LbF*Qeg$+FP7L[6LPQ4#&$7,L$"77L*QLM&$e*LO*L7LPQ"QNFP7
                                                   W"ML$QF$MFPF*7$iQ,"Q$"$7NKPNS+"PQ$"WF6PQ$FR$L"+,$MF44"*$MFP"QLM$TF64M$5L$O"NM$FVL*$QF$ZNLQi:jFT$RF*$NQ7
                                                   O6*OF7L7j$TL*L$XPFTNPK4#$ML+LOQNVL$"PM$W"QL*N"44#$R"47L&$+FP7QNQ6QLM$"$R*"6Mi&j$"PM$TL*L$W"ML$RF*$Q,L
                                                   O*NV"QL$OL+6PN"*#$5LPLSQ$FR$i/L4LW"*XLQL*7j<e$E<"+#"Q$`&$nn$)^&$)%<

                                                   /L4LW"*XLQL*7$WFVLM$QF$MN7WN77$Q,L$R*"6M$+4"NW7&$6*KNPK$Q,"Q$Q,L#$TL*L$5"**LM$5#$Q,L$AN*7Q$=WLPMWLPQ<
                                                   /,L$Q*N"4$+F6*Q$K*"PQLM$Q,L$WFQNFP&%$"PM$Q,L$MN7WN77"4$F*ML*$T"7$"]*WLM&$NP$Q6*P&$5#$Q,L$844NPFN7$=OOL44"QL
                                                   .F6*Q$"PM$Q,L$844NPFN7$36O*LWL$.F6*Q<$/,L$844NPFN7$+F6*Q7$O4"+LM$,L"V#$TLNK,Q$FP$Q,*LL$ML+N7NFP7$FR$Q,N7
                                                   .F6*Qh$,-.)/01/(2#V<$3$&$4'%5#67(#)#8'&&'(#9%!$(7%0'%&+#^^^$D<$3<$J'($UG`I(Yg$,'-('&)(:#76#,&)&'#76#;<"#V<$=75'>.
                                                   ?"#;/%57%#37"+#^J_$D<$3<

                                                   LaOLP7L7<e$3LL$=OO<$GGG&$GJ`$U+"ONQ"4Nd"QNFP$FWNQQLMY<$8P$"P#$LVLPQ&$Q,L$7LPQLP+L$R*"KWLPQ$+F6P7L4
                                                   NMLPQNSLM$R"447$7,F*Q$FR$7,FTNPK&$NP$Q,L$R"+L$FR$L7Q"54N7,LM$844NPFN7$+"7L$4"T&$Q,"Q$Q,L$+F6*Q$eRF6PMe$Q,L
                                                   "]M"VNQ7$"PPLaLM$5#$Q,L$844NPFN7$=QQF*PL#$?LPL*"4$<'.7(5#Q,L$+FWO4"NPQ<$.F6P7L4\7$+FPQLPQNFP$N7$R6*Q,L*
                                                   +4F6MLM$5#$Q,L$844NPFN7$36O*LWL$.F6*Q\7$LaO4N+NQ$PFQ"QNFP$Q,"Q$eQ,L$=QQF*PL#$?LPL*"4$,"iMj$"QQ"+,LM$QF$,N7
                                                   +FWO4"NPQ$Q,L$"]M"VNQ7$FR$^^$ZNLQ:FT$MFPF*7<e$G`I$844<$'M&$"Q$)%'&$_J)$:<$1<$'M&$"Q$'`)<

                                                   ^$844NPFN7$4"T$O*FVNML7$Q,"Q$eiNjP$"P#$7F4N+NQ"QNFP$QF$Q,L$O654N+$RF*$"$+,"*NQ"54L$F*K"PNd"QNFP$5#$"$O*FRL77NFP"4
                                                   R6PM$*"N7L*$F*$O*FRL77NFP"4$7F4N+NQF*i&j$iQj,L$O654N+$WLW5L*$7,"44$5L$O*FWOQ4#$NPRF*WLM$5#$7Q"QLWLPQ$NP
                                                   VL*5"4$+FWW6PN+"QNFP7$"PM$5#$+4L"*$"PM$6P"W5NK6F67$MN7+4F76*L$NP$T*NQQLP$W"QL*N"47$Q,"Q$Q,L$7F4N+NQ"QNFP$N7
                                                   5LNPK$W"ML$5#$"$O"NM$O*FRL77NFP"4$R6PM$*"N7L*<$/,L$R6PM$*"N7L*&$7F4N+NQF*&$"PM$W"QL*N"47$67LM$7,"44$"47F
                                                   O*FVNML$Q,L$O*FRL77NFP"4$R6PM$*"N7L*\7$P"WL$"PM$"$7Q"QLWLPQ$Q,"Q$+FPQ*"+Q7$"PM$*LOF*Q7$*LK"*MNPK$Q,L
                                                   +,"*NQ#$"*L$FP$S4L$TNQ,$Q,L$844NPFN7$=QQF*PL#$?LPL*"4$"PM$"MMNQNFP"44#&$NP$VL*5"4$+FWW6PN+"QNFP7&$Q,L
                                                   7F4N+NQF*\7$Q*6L$P"WL$W67Q$5L$O*FVNMLM<e$844<$.FWOF$3Q"Q<&$+,<$''%&$r^J(pG_U"Y$U'((GY<

                                                   %$/,L$O"*QNL7$7657L[6LPQ4#$7QNO64"QLM$QF$Q,L$MN7WN77"4$FR$"44$*LW"NPNPK$+4"NW7<$=OO<$QF$ELQ<$RF*$.L*Q<$)(H)G<


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                                                   `^_$UG`I^Yg$"PM$@$*':#V<$A)&$7%)*#B'<'()&$7%#76#8*$%<#76#:<$+<&$E%-"+#^I_$D<$3<$_IG$UG`IIY<$1"+,$FR$Q,L$Q,*LL
                                                   ML+N7NFP7$NPV"4NM"QLM$7Q"QL$F*$4F+"4$4"T7$Q,"Q$+"QLKF*N+"44#$*L7Q*"NPLM$7F4N+NQ"QNFP$5#$+,"*NQNL7$F*$O*FRL77NFP"4
                                                   R6PM*"N7L*7$NR$"$,NK,$OL*+LPQ"KL$FR$Q,L$R6PM7$*"N7LM$TF64M$5L$67LM$QF$+FVL*$"MWNPN7Q*"QNVL$F*$R6PM*"N7NPK
                                                   +F7Q7<$,-.)/01/(2+#^^^$D<$3<&$"Q$\]^Y#;/%57%+#^J_$D<$3<&$"Q$`^_g$"PM$@$*':+#^I_$D<$3<&$"Q$_IGg$7LL$G`I$844<$'M&$"Q
                                                   )%`&$_J)$:<$1<$'M&$"Q$'`_<

                                                   /,L$844NPFN7$36O*LWL$.F6*Q$"+XPFT4LMKLM$Q,"Q$Q,N7$+"7L&$6P4NXL$,-.)/01/(2+#;/%57%+#"PM$@$*':+#NPVF4VL7$PF
                                                   O*FO,#4"+QN+$O*FVN7NFP$O*F7+*N5NPK$"P#$+,"*NQ"54L$7F4N+NQ"QNFP$NR$R6PM*"N7NPK$+F7Q7$La+LLMLM$"$O*L7+*N5LM
                                                   4NWNQ<$8P7QL"M&$Q,L$=QQF*PL#$?LPL*"4$7F6K,Q$QF$LPRF*+L$Q,L$3Q"QL\7$KLPL*"44#$"OO4N+"54L$"PQNR*"6M$4"T7$"K"NP7Q
                                                   /L4LW"*XLQL*7$RF*$e7OL+NS+$NP7Q"P+L7$FR$ML4N5L*"QL$ML+LOQNFP<e$G`I$844<$'M&$"Q$)%I&$_J)$:<$1<$'M&$"Q$'`J
                                                   U[6FQNPK$@$*':+#^I_$D<$3<&$"Q$I()$U3.=98=&$l<&$+FP+6**NPKYY<$eCFTLVL*&e$Q,L$+F6*Q$7"NM&$eQ,L$7Q"QLWLPQ7$W"ML$5#
                                                   i/L4LW"*XLQL*7j$M6*NPK$7F4N+NQ"QNFP$"*L$"44LKLM$QF$5L$\R"47L\$FP4#$5L+"67L$i/L4LW"*XLQL*7j$*LQ"NPLM$I%q$FR$Q,L
                                                   K*F77$*L+LNOQ7$"PM$R"N4LM$QF$MN7+4F7L$Q,N7$NPRF*W"QNFP$QF$MFPF*7<e$G`I$844<$'M&$"Q$)%`&$_J)$:<$1<$'M&$"Q$'`_<$/,L
                                                   =QQF*PL#$?LPL*"4\7$+FWO4"NPQ&$NP$Q,L$844NPFN7$36O*LWL$.F6*Q\7$VNLT&$T"7$eNP$L77LP+L&$"P$"QQLWOQ$QF$*LK64"QL
                                                   i/L4LW"*XLQL*7\j$"5N4NQ#$QF$LPK"KL$NP$"$O*FQL+QLM$"+QNVNQ#$5"7LM$6OFP$"$OL*+LPQ"KL*"QL$4NWNQ"QNFPeHeQ,L$7"WL
                                                   *LK64"QF*#$O*NP+NO4L$Q,"Q$T"7$*LcL+QLM$NP$,-.)/01/(2_+`#;/%57%+#"PM$@$*':"a#E1$<"

                                                   eiCjNK,$7F4N+NQ"QNFP$+F7Q7&e$Q,L$844NPFN7$36O*LWL$.F6*Q$7Q*L77LM&$e+"P$5L$"QQ*N56Q"54L$QF$"$P6W5L*$FR$R"+QF*7<e
                                                   E1$<"#8P$Q,N7$+"7L&$Q,L$+F6*Q$PFQLM&$/L4LW"*XLQL*7$+FPQ*"+QLM$QF$O*FVNML$"$eTNML$*"PKLe$FR$7L*VN+L7$NP$"MMNQNFP
                                                   QF$QL4LO,FPL$7F4N+NQ"QNFP<$E1$<"#AF*$La"WO4L&$Q,L#$"K*LLM$QF$O654N7,$"$PLT74LQQL*$"PM$QF$W"NPQ"NP$"$QF44HR*LL
                                                   NPRF*W"QNFP$,FQ4NPL<$E<"+#"Q$)%`H)J(&$_J)$:<$1<$'M&$"Q$'`_H'`I<$!F*LFVL*&$Q,L$+F6*Q$"MMLM&$ZNLQ:FT$*L+LNVLM
                                                   ePFPWFPLQ"*#$5LPLSQ7$5#$,"VNPK$iNQ7j$WL77"KL$MN756*7LM$5#$Q,L$7F4N+NQ"QNFP$O*F+L77&e$"PM$/L4LW"*XLQL*7
                                                   TL*L$MN*L+QLM$QF$7F4N+NQ$eNP$"$W"PPL*$Q,"Q


                                                   JGG

                                                   TF64M$\O*FWFQL$KFFMTN44\$FP$5L,"4R$FR$ZNLQ:FT<e$E<"+#"Q$)JG&$_J)$:<$1<$'M&$"Q$'`I<$/"XNPK$Q,L7L$R"+QF*7$NPQF
                                                   "++F6PQ&$Q,L$+F6*Q$+FP+46MLM$Q,"Q$NQ$TF64M$5L$eNP+F**L+Q$QF$O*L76WL$<<<$i"P#j$PLa67$5LQTLLP$,NK,$7F4N+NQ"QNFP
                                                   +F7Q7$"PM$R*"6M<e$E<"+#"Q$)J(&$_J)$:<$1<$'M&$"Q$'`I<

                                                   /,L$844NPFN7$36O*LWL$.F6*Q$R6*Q,L*$MLQL*WNPLM$Q,"Q&$6PML*$@$*':+#eR*"6M$+"PPFQ$5L$MLSPLM$NP$76+,$"$T"#$Q,"Q
                                                   NQ$O4"+L7$FP$7F4N+NQF*7$Q,L$"]*W"QNVL$M6Q#$QF$MN7+4F7L$QF$OFQLPQN"4$MFPF*7&$"Q$Q,L$OFNPQ$FR$7F4N+NQ"QNFP&$Q,L$PLQ
                                                   O*F+LLM7$QF$5L$*LQ6*PLM$QF$Q,L$+,"*NQ#<e$E<"+#"Q$)JG&$_J)$:<$1<$'M&$"Q$'`I<J$ANP"44#&$Q,L$+F6*Q$LaO*L77LM$Q,L
                                                   RL"*$Q,"Q$NR$Q,L$+FWO4"NPQ$TL*L$"44FTLM$QF$O*F+LLM&$"44$R6PM*"N7L*7$NP$844NPFN7$TF64M$5L$7"MM4LM$TNQ,$eQ,L
                                                   56*MLP$FR$MLRLPMNPK$Q,L$*L"7FP"54LPL77$FR$Q,LN*$RLL7&$FP$"$+"7LH5#H+"7L$5"7N7&$T,LPLVL*$NP$Q,L$=QQF*PL#
                                                   ?LPL*"4\7$c6MKWLPQ$Q,L$O654N+$T"7$5LNPK$ML+LNVLM$"5F6Q$Q,L$+,"*NQ"54L$P"Q6*L$FR$"$R6PMH*"N7NPK$+"WO"NKP
                                                   5L+"67L$Q,L$R6PMH*"N7L*\7$RLL$T"7$QFF$,NK,<e$E<"+#"Q$)J'&$_J)$:<$1<$'M&$"Q$'``<$/,L$Q,*L"QLPLM$LaOF76*L$QF
                                                   4NQNK"QNFP$+F7Q7$"PM$OLP"4QNL7&$Q,L$+F6*Q$7"NM&$e+F64M$O*FM6+L$"$7657Q"PQN"4$+,N44NPK$LbL+Q$FP$O*FQL+QLM
                                                   7OLL+,<e$E1$<"#kL$K*"PQLM$+L*QNF*"*N<$%)_$D<$3<$```$U'(('Y<

                                                   88

                                                   /,L$AN*7Q$=WLPMWLPQ$O*FQL+Q7$Q,L$*NK,Q$QF$LPK"KL$NP$+,"*NQ"54L$7F4N+NQ"QNFP<$3LL$,-.)/01/(2+#^^^$D<$3<&$"Q
                                                   J)'$Ue+,"*NQ"54L$"OOL"47$RF*$R6PM7$<<<$NPVF4VL$"$V"*NLQ#$FR$7OLL+,$NPQL*L7Q7H+FWW6PN+"QNFP$FR$NPRF*W"QNFP&$Q,L
                                                   MN77LWNP"QNFP$"PM$O*FO"K"QNFP$FR$VNLT7$"PM$NML"7&$"PM$Q,L$"MVF+"+#$FR

                                                   J$.FPQ*"+Q7$RF*$R6PM*"N7NPK$+"WO"NKP7$NP$844NPFN7$W67Q$5L$S4LM$TNQ,$Q,L$3Q"QL\7$=QQF*PL#$?LPL*"4&$7LL$844<
                                                   .FWOF$3Q"Q<&$+,<$''%&$rr^J(p'U"YUG(Y$"PM$^J(p_$U'((GY&$"PM$Q,F7L$+FPQ*"+Q7$W67Q$MN7+4F7L$"44$R6PM*"N7L*$RLL7&
                                                   NP+46MNPK$"P#$e7Q"QLM$OL*+LPQ"KL$FR$Q,L$K*F77$"WF6PQ$*"N7LMe$QF$5L$*LQ"NPLM$5#$Q,L$R6PM*"N7L*&$r$^J(p_U5Yg
                                                   7LL$r$^J(p_UMY<$/,L$S4NPK7$"*L$FOLP$RF*$O654N+$NP7OL+QNFP<$r$^J(p'URY<$844NPFN7$4"T$"47F$O*FVNML7$Q,"Q$R6PM*"N7L*7
                                                   W67Q$MN7+4F7L$eQ,L$OL*+LPQ"KL$QF$5L$*L+LNVLM$5#$Q,L$+,"*NQ"54L$F*K"PNd"QNFP$R*FW$L"+,$+FPQ*N56QNFP&$NR$76+,
                                                   MN7+4F76*L$N7$*L[6L7QLM$5#$Q,L$OL*7FP$7F4N+NQLM<e$r^J(pG_U5Y<$/L4LW"*XLQL*7$MNM$PFQ$+,"44LPKL$Q,L7L
                                                   *L[6N*LWLPQ7<


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                                                   +"67L7HQ,"Q$"*L$TNQ,NP$Q,L$O*FQL+QNFP$FR$Q,L$AN*7Q$=WLPMWLPQeYg$@$*':+#^I_$D<$3<&$"Q$_IIH_I`<$06Q$Q,L$AN*7Q
                                                   =WLPMWLPQ$MFL7$PFQ$7,NL4M$R*"6M<$3LL&$'"#2"+#D7%)*<57%#V<$@')<#;)2)4$%'+#E%-"+#)))$D<$3<$G_I&$G`($UG`^IY$UQ,L
                                                   KFVL*PWLPQ\7$OFTL*$eQF$O*FQL+Q$OLFO4L$"K"NP7Q$R*"6Me$,"7$e"4T"#7$5LLP$*L+FKPNdLM$NP$Q,N7$+F6PQ*#$"PM$N7
                                                   S*W4#$L7Q"54N7,LMeYg$O'(&4#V<$@71'(&#Q'*-.+#E%-"+#^GI$D<$3<$)')&$)^($UG`_^Y$UQ,L$eNPQLPQNFP"4$4NLe$N7$ePF$L77LPQN"4
                                                   O"*Q$FR$"P#$LaOF7NQNFP$FR$NML"7e$UNPQL*P"4$[6FQ"QNFP$W"*X7$FWNQQLMYY<$9NXL$FQ,L*$RF*W7$FR$O654N+$ML+LOQNFP&
                                                   R*"6M64LPQ$+,"*NQ"54L$7F4N+NQ"QNFP$N7$6PO*FQL+QLM$7OLL+,<$3LL&$'"#2"+#,-.%'$<'(#V<$,&)&'#FG7H%#76#E(!$%2&7%I+#)(I
                                                   D<$3<$G^_&$GJ^$UG`)`Y$UeA*"6M7&e$NP+46MNPK$eR*"6M64LPQ$"OOL"47$<<<$W"ML$NP$Q,L$P"WL$FR$+,"*NQ#$"PM$*L4NKNFP&e
                                                   W"#$5L$eMLPF6P+LM$"7$FbLP7L7$"PM$O6PN7,LM$5#$4"T<eYg$D7%)*<57%+#)))$D<$3<&$"Q$G`'$Ue=$+FPQLPQNFP$+"PPFQ
                                                   5L$7L*NF674#$+FP7NML*LM$T,N+,$"776WL7$Q,"Q$R*LLMFW$FR$Q,L$O*L77$NP+46ML7$"$*NK,Q$QF$*"N7L$WFPL#$QF
                                                   O*FWFQL$+N*+64"QNFP$5#$ML+LOQNFP$FR$Q,L$O654N+<eY<

                                                   /,L$.F6*Q$,"7$PFQ$O*LVNF674#$"MM*L77LM$Q,L$AN*7Q$=WLPMWLPQ\7$"OO4N+"QNFP$QF$NPMNVNM6"4$R*"6M$"+QNFP7$FR$Q,L
                                                   XNPM$"Q$N776L$,L*L<$8Q$,"7&$,FTLVL*&$Q,*LL$QNWL7$+FP7NML*LM$O*FO,#4"+QN+$7Q"Q6QL7$ML7NKPLM$QF$+FW5"Q$R*"6M
                                                   5#$NWOF7NPK$O*NF*$*L7Q*"NPQ7$FP$7F4N+NQ"QNFP$T,LP$R6PM*"N7NPK$RLL7$La+LLMLM$"$7OL+NSLM$*L"7FP"54L$4LVL4<
                                                   1"+,$QNWL&$Q,L$.F6*Q$,L4M$Q,L$O*FO,#4"+QN+$WL"76*L7$6P+FP7QNQ6QNFP"4<

                                                   8P$,-.)/01/(2+#ML+NMLM$NP$G`I(&$Q,L$.F6*Q$NPV"4NM"QLM$"$VN44"KL$F*MNP"P+L$Q,"Q$O*F,N5NQLM$+,"*NQ"54L
                                                   F*K"PNd"QNFP7$R*FW$7F4N+NQNPK$+FPQ*N56QNFP7$6P4L77$Q,L#$67LM$"Q$4L"7Q$_%$OL*+LPQ$FR$Q,LN*$*L+LNOQ7$eMN*L+Q4#$RF*
                                                   Q,L$+,"*NQ"54L$O6*OF7L$FR$Q,L$F*K"PNd"QNFP<e$^^^$D<$3<&$"Q$J'^$UNPQL*P"4$[6FQ"QNFP$W"*X7$FWNQQLMY<$/,L
                                                   F*MNP"P+L$MLSPLM$e+,"*NQ"54L$O6*OF7L7e$QF$La+46ML$7"4"*NL7$"PM$+FWWN77NFP7$O"NM$QF$7F4N+NQF*7&$"PM$Q,L
                                                   "MWNPN7Q*"QNVL$LaOLP7L7$FR$Q,L$+,"*NQ#&$NP+46MNPK$7"4"*NL7<$E1$<"#/,L$VN44"KL$FR$3+,"6W56*K\7$eO*NP+NO"4
                                                   c67QNS+"QNFPe$RF*$Q,L$F*MNP"P+L$T"7$R*"6M$O*LVLPQNFPh$ei=jP#$F*K"PNd"QNFP$67NPK$WF*L$Q,"P$'%$OL*+LPQ$FR$NQ7
                                                   *L+LNOQ7$FP$R6PMH


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                                                   *"N7NPK&$7"4"*NL7&$"PM$FVL*,L"M&e$3+,"6W56*K$765WNQQLM&$eN7$PFQ$"$+,"*NQ"54L&$56Q$"$+FWWL*+N"4&$RF*HO*FSQ
                                                   LPQL*O*N7Leg$eQF$OL*WNQ$i76+,$"P$F*K"PNd"QNFPj$QF$*LO*L7LPQ$NQ7L4R$"7$"$+,"*NQ#&e$Q,L$VN44"KL$6*KLM&$eN7
                                                   R*"6M64LPQ<e$E<"+#"Q$J)J<

                                                   /,L$.F6*Q$"K*LLM$TNQ,$3+,"6W56*K$Q,"Q$R*"6M$O*LVLPQNFP$*"PX7$"7$e"$7657Q"PQN"4$KFVL*PWLPQ"4$NPQL*L7iQj&e
                                                   $1$<"+#56Q$+FP+46MLM$Q,"Q$eQ,L$_%HOL*+LPQ$*L[6N*LWLPQe$O*FWFQLM$Q,"Q$NPQL*L7Q$eFP4#$OL*NO,L*"44#<e$E1$<"
                                                   3OLPMNPK$eWF*L$Q,"P$'%$OL*+LPQ$FR$i"P$F*K"PNd"QNFP\7j$*L+LNOQ7$FP$R6PM*"N7NPK&$7"4"*NL7&$"PM$FVL*,L"M&e$Q,L
                                                   .F6*Q$LaO4"NPLM&$MFL7$PFQ$*L4N"54#$NPMN+"QL$Q,"Q$Q,L$LPQL*O*N7L$N7$e+FWWL*+N"4e$*"Q,L*$Q,"P$e+,"*NQ"54L<e$E1$<"
                                                   36+,$7OLPMNPK$WNK,Q$5L$"4QFKLQ,L*$"OO*FO*N"QL&$,-.)/01/(2#PFQLM&$RF*$"$+,"*NQ"54L$F*K"PNd"QNFP$eO*NW"*N4#
                                                   LPK"KLM$NP$*L7L"*+,&$"MVF+"+#&$F*$O654N+$LM6+"QNFP$iQ,"Q$67L7$NQ7j$FTP$O"NM$7Q"b$QF$+"**#$F6Q$Q,L7L$R6P+QNFP7
                                                   "7$TL44$"7$QF$7F4N+NQ$SP"P+N"4$76OOF*Q<e$E<"+#"Q$J)JHJ)_<$e/,L$ZN44"KL\7$4LKNQNW"QL$NPQL*L7Q$NP$O*LVLPQNPK$R*"6M&e
                                                   Q,L$.F6*Q$7Q"QLM&$e+"P$5L$5LQQL*$7L*VLM$5#$WL"76*L7$4L77$NPQ*67NVL$Q,"P$"$MN*L+Q$O*F,N5NQNFP$FP$7F4N+NQ"QNFP&e
                                                   $<"+#"Q$J)_h

                                                   eA*"6M64LPQ$WN7*LO*L7LPQ"QNFP7$+"P$5L$O*F,N5NQLM$"PM$Q,L$OLP"4$4"T7$67LM$QF$O6PN7,$76+,$+FPM6+Q$MN*L+Q4#&e
                                                   $1$<"

                                                   AF6*$#L"*7$4"QL*&$NP$;/%57%+#Q,L$.F6*Q$NPV"4NM"QLM$"$!"*#4"PM$4"T$Q,"Q$O*F,N5NQLM$+,"*NQ"54L$F*K"PNd"QNFP7
                                                   R*FW$7F4N+NQNPK$NR$Q,L#$O"NM$F*$"K*LLM$QF$O"#$"7$LaOLP7L7$WF*L$Q,"P$'%$OL*+LPQ$FR$Q,L$"WF6PQ$*"N7LM<$DP4NXL
                                                   Q,L$NPsLaN54L$F*MNP"P+L$NP$,-.)/01/(2+#Q,L$!"*#4"PM$4"T$"6Q,F*NdLM$"$T"NVL*$FR$Q,L$'%$OL*+LPQ$4NWNQ"QNFP
                                                   eT,L*L$iNQj$TF64M$LbL+QNVL4#$O*LVLPQ$Q,L$+,"*NQ"54L$F*K"PNd"QNFP$R*FW$*"N7NPK$+FPQ*N56QNFP7<e$^J_$D<$3<&$"Q
                                                   `%(H`%G&$P<$'<$/,L$.F6*Q$,L4M$Q,"Q$Q,L$T"NVL*$O*FVN7NFP$MNM$PFQ$7"VL$Q,L$7Q"Q6QL<$E<"+#"Q$`J'<$ei:Fj$*L"7FiPj
                                                   FQ,L*$Q,"P$SP"P+N"4$PL+L77NQ#$T"**"PQiLMj$"$T"NVL*&e$;/%57%#F57L*VLM<$E<"+#"Q$`J)<$/,L$7Q"Q6QL$O*FVNMLM$PF
                                                   7,L4QL*$RF*$"$+,"*NQ#$Q,"Q$NP+6**LM$,NK,$7F4N+NQ"QNFP$+F7Q7$5L+"67L$NQ$+,F7L$QF$MN77LWNP"QL$NPRF*W"QNFP$"7$O"*Q
                                                   FR$NQ7$R6PM*"N7NPK<$E1$<"#:F*$MNM$NQ$7,NL4M$"$+,"*NQ#


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                                                   T,F7L$,NK,$7F4N+NQ"QNFP$+F7Q7$7QLWWLM$R*FW$Q,L$6POFO64"*NQ#$FR$NQ7$+"67L<$E<"+#"Q$`J_<

                                                   ei:jF$MF65Q$iQ,L*Lj$"*L$F*K"PNd"QNFP7$Q,"Q$,"VL$,NK,$R6PM*"N7NPK$+F7Q7$PFQ$M6L$QF$O*FQL+QLM$AN*7Q
                                                   =WLPMWLPQ$"+QNVNQ#&e$Q,L$.F6*Q$*L+FKPNdLMg$NQ$+FP+46MLM&$,FTLVL*&$Q,"Q$!"*#4"PM\7$7Q"Q6QL$T"7$NP+"O"54L$FR
                                                   eMN7QNPK6N7,iNPKj$Q,F7L$F*K"PNd"QNFP7$R*FW$+,"*NQNL7$Q,"Q$,"VL$,NK,$+F7Q7$M6L$QF$O*FQL+QLM$AN*7Q$=WLPMWLPQ
                                                   "+QNVNQNL7<e$E<"+#"Q$`JJ<$/,L$7Q"Q6QL\7$R"Q"4$s"T&$Q,L$.F6*Q$7"NM&$T"7$Q,"Q$NQ$eFOL*"QLiMj$FP$iQ,Lj$R6PM"WLPQ"44#
                                                   WN7Q"XLP$O*LWN7L$Q,"Q$,NK,$7F4N+NQ"QNFP$+F7Q7$"*L$"P$"++6*"QL$WL"76*L$FR$R*"6M<e$E1$<"#=7$NP$,-.)/01/(2+#Q,L
                                                   .F6*Q$PFQLM&$R*"6M$+F64M$5L$+,L+XLM$5#$eWL"76*L7$4L77$NPQ*67NVL$Q,"P$"$MN*L+Q$O*F,N5NQNFP$FP$7F4N+NQ"QNFPeh
                                                   A*"6M$+F64M$5L$O6PN7,LM$MN*L+Q4#$"PM$Q,L$3Q"QL$e+F64M$*L[6N*L$MN7+4F76*L$FR$Q,L$SP"P+L7$FR$"$+,"*NQ"54L
                                                   F*K"PNd"QNFP$7F$Q,"Q$"$WLW5L*$FR$Q,L$O654N+$+F64M$W"XL$"P$NPRF*WLM$ML+N7NFP$"5F6Q$T,LQ,L*$QF
                                                   +FPQ*N56QL<e$^J_$D<$3<&$"Q$`JG&$"PM$P<$`<

                                                   /,N*M$NP$Q,L$Q*N4FK#$FR$+"7L7$FP$T,N+,$Q,L$844NPFN7$36O*LWL$.F6*Q$*L4NLM$T"7$F6*$G`II$ML+N7NFP$NP$@$*':"#/,L
                                                   VN44"KL$F*MNP"P+L$NP$,-.)/01/(2#"PM$Q,L$!"*#4"PM$4"T$NP$;/%57%#*LK64"QLM$+,"*NQNL7g$Q,L$:F*Q,$."*F4NP"
                                                   +,"*NQ"54L$7F4N+NQ"QNFP$+FPQ*F47$"Q$N776L$NP$@$*':#MN*L+Q4#$*LK64"QLM$O*FRL77NFP"4$R6PM*"N7L*7<$:F*Q,$."*F4NP"\7
                                                   4"T$O*F,N5NQLM$O*FRL77NFP"4$R6PM*"N7L*7$R*FW$*LQ"NPNPK$"P$e6P*L"7FP"54Le$F*$eLa+L77NVLe$RLL<$^I_$D<$3<&$"Q
                                                   _I^$UNPQL*P"4$[6FQ"QNFP$W"*X7$FWNQQLMY<$ALL7$6O$QF$'($OL*+LPQ$FR$Q,L$K*F77$*L+LNOQ7$+F44L+QLM$TL*L$MLLWLM
                                                   *L"7FP"54Lg$RLL7$5LQTLLP$'($OL*+LPQ$"PM$)%$OL*+LPQ$TL*L$MLLWLM$6P*L"7FP"54L$NR$Q,L$3Q"QL$7,FTLM$Q,"Q
                                                   Q,L$7F4N+NQ"QNFP$MNM$PFQ$NPVF4VL$"MVF+"+#$F*$MN77LWNP"QNFP$FR$NPRF*W"QNFP<$E<"+#"Q$_I^H_I%<$ALL7$La+LLMNPK$)%
                                                   OL*+LPQ$TL*L$O*L76WLM$6P*L"7FP"54L&$56Q$Q,L$R6PM*"N7L*$+F64M$*L56Q$Q,L$O*L76WOQNFP$5#$7,FTNPK$LNQ,L*
                                                   Q,"Q$Q,L$7F4N+NQ"QNFP$NPVF4VLM$"MVF+"+#$F*$NPRF*W"QNFP$MN77LWNP"QNFP&$F*$Q,"Q&$"57LPQ$Q,L$,NK,L*$RLL&$Q,L
                                                   +,"*NQ#\7$e"5N4NQ#$QF$*"N7L$WFPL#$F*$+FWW6PN+"QL$TF64M$5L$7NKPNS+"PQ4#$MNWNPN7,LM<e$E<"+#"Q$_I%H_IJ<


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                                                   2L4#NPK$FP$,-.)/01/(2#"PM$;/%57%+#Q,L$.F6*Q\7$ML+N7NFP$NP$@$*':#NPV"4NM"QLM$:F*Q,$."*F4NP"\7$LPML"VF*$QF
                                                   *LNP$NP$+,"*NQ"54L$7F4N+NQF*7\$RLL7<$/,L$.F6*Q$,L4M&$FP+L$"K"NP&$Q,"Q$R*"6M$W"#$PFQ$5L$NPRL**LM$7NWO4#$R*FW$Q,L
                                                   OL*+LPQ"KL$FR$+,"*NQ"54L$MFP"QNFP7$"57F*5LM$5#$R6PM*"N7NPK$+F7Q7<$3LL$^I_$D<$3<&$"Q$_I`$Ue7F4N+NQ"QNFP$FR
                                                   +,"*NQ"54L$+FPQ*N56QNFP7$N7$O*FQL+QLM$7OLL+,eg$e67NPK$OL*+LPQ"KL7$QF$ML+NML$Q,L$4LK"4NQ#$FR$Q,L$R6PM*"N7L*\7
                                                   RLL$N7$PFQ$P"**FT4#$Q"N4F*LM$QF$Q,L$3Q"QL\7$NPQL*L7Q$NP$O*LVLPQNPK$R*"6MeY<

                                                   /,L$FOOF*Q6PNQ#$QF$*L56Q$Q,L$6P*L"7FP"54LPL77$O*L76WOQNFP$"QQLPMNPK$"$RLL$FVL*$)%$OL*+LPQ$MNM$PFQ$5*NPK
                                                   :F*Q,$."*F4NP"\7$7+,LWL$TNQ,NP$Q,L$+FP7QNQ6QNFP"4$dFPL&$Q,L$.F6*Q$LaO4"NPLM<$DPML*$Q,L$3Q"QL\7$4"T&$eLVLP
                                                   T,L*L$"$O*NW"$R"+NL$7,FTNPK$FR$6P*L"7FP"54LPL77$,"iMj$5LLP$*L56QQLM&$Q,L$R"+QSPML*$i7QN44$,"M$QFj$W"XL$"P
                                                   64QNW"QL$MLQL*WNP"QNFP&$FP$"$+"7LH5#H+"7L$5"7N7&$"7$QF$T,LQ,L*$Q,L$RLL$T"7$*L"7FP"54LH"$7,FTNPK$Q,"Q$Q,L
                                                   7F4N+NQ"QNFP$NPVF4VLM$<<<$"MVF+"+#$F*$iQ,Lj$MN77LWNP"QNFP$FR$NPRF*W"QNFP$iMNMj$PFQ$"4FPL$L7Q"54N7,$Q,"Q$Q,L$QFQ"4
                                                   RLL$T"7$*L"7FP"54L<e$E<"+#"Q$_IJ<

                                                   /*"NPNPK$FP$Q,"Q$"7OL+Q$FR$:F*Q,$."*F4NP"\7$*LK64"QNFP&$Q,L$.F6*Q$7Q"QLMh$e1VLP$NR$TL$"K*LLM$Q,"Q$7FWL$RF*W
                                                   FR$"$OL*+LPQ"KLH5"7LM$WL"76*L$+F64M$5L$67LM&$NP$O"*Q&$QF$QL7Q$RF*$R*"6M&$TL$+F64M$PFQ$"K*LL$QF$"$WL"76*L
                                                   Q,"Q$*L[6N*L7$Q,L$7OL"XL*$QF$O*FVL$\*L"7FP"54LPL77\$+"7L$5#$+"7L$5"7LM$6OFP$T,"Q$N7$"Q$5L7Q$"$4FF7L
                                                   NPRL*LP+L$Q,"Q$Q,L$RLL$WNK,Q$5L$QFF$,NK,<e$E<"+#"Q$_`)<$ei1jVL*#$+"WO"NKP$NP+6**NPK$RLL7$NP$La+L77$FR$)%q$<<<
                                                   iTF64Mj$765cL+Q$iR6PM*"N7L*7j$QF$OFQLPQN"4$4NQNK"QNFP$FVL*$Q,L$\*L"7FP"54LPL77\$FR$Q,L$RLL&e$Q,L$.F6*Q$F57L*VLMg
                                                   Q,"Q$4NQNK"QNFP$*N7X&$Q,L$.F6*Q$+FP+46MLM&$TF64M$e+,N44$7OLL+,$NP$MN*L+Q$+FPQ*"VLPQNFP$FR$Q,L$AN*7Q
                                                   =WLPMWLPQ\7$MN+Q"QL7<e$E<"+#"Q$_`^<$17OL+N"44#$4NXL4#$QF$5L$56*MLPLM&$Q,L$@$*':#FONPNFP$PFQLM&$TL*L
                                                   7F4N+NQ"QNFP7$+FW5NPLM$TNQ,$"MVF+"+#$F*$Q,L$+FWW6PN+"QNFP$FR$NPRF*W"QNFP&$"PM$R6PM*"N7NPK$5#$7W"44$F*
                                                   6POFO64"*$+,"*NQNL7<$E1$<"#/,L$.F6*Q$+"6QNFPLM&$,FTLVL*&$"7$NQ$MNM$NP$,-.)/01/(2#"PM$;/%57%+#Q,"Q$3Q"QL7
                                                   PLLM$PFQ$e7NQ$NM4#$5#$"PM$"44FT$Q,LN*$+NQNdLP7$QF$5L$MLH


                                                   JGJ

                                                   R*"6MLM<e$^I_$D<$3<&$"Q$_`%<$kL$"PQN+NO"QLM$Q,"Q$:F*Q,$."*F4NP"$4"T$LPRF*+LWLPQ$F]+L*7$TF64M$5L$e*L"M#
                                                   "PM$"54Le$QF$LPRF*+L$Q,L$3Q"QL\7$"PQNR*"6M$4"T<$E1$<"

                                                   @$*':#O*L7LPQLM$"$R6*Q,L*$N776L<$:F*Q,$."*F4NP"$4"T$*L[6N*LM$O*FRL77NFP"4$R6PM*"N7L*7$QF$MN7+4F7L$QF$OFQLPQN"4
                                                   MFPF*7&$5LRF*L$"7XNPK$RF*$WFPL#&$Q,L$OL*+LPQ"KL$FR$Q,L$O*NF*$#L"*\7$+,"*NQ"54L$+FPQ*N56QNFP7$Q,L$R6PM*"N7L*7
                                                   ,"M$"+Q6"44#$Q6*PLM$FVL*$QF$+,"*NQ#<$E1$<"#/,L$3Q"QL$MLRLPMLM$Q,N7$MN7+4F76*L$*L[6N*LWLPQ$"7$"$O*FOL*$WL"P7
                                                   QF$MN7OL4$O654N+$WN7OL*+LOQNFP$Q,"Q$Q,L$WFPL#$MFPF*7$K"VL$QF$O*FRL77NFP"4$R6PM*"N7L*7$TLPQ$NP$K*L"QL*H
                                                   Q,"PH"+Q6"4$O*FOF*QNFP$QF$5LPLSQ$+,"*NQ#<$E<"+#"Q$_`I<

                                                   /,N7$.F6*Q$+FPMLWPLM$Q,L$WL"76*L$"7$"P$e6PM64#$56*MLP7FWLe$O*FO,#4"+QN+$*64L&$"P$La"+QNFP$6PPL+L77"*#
                                                   QF$"+,NLVL$Q,L$3Q"QL\7$KF"4$FR$O*LVLPQNPK$MFPF*7$R*FW$5LNPK$WN74LM<$E<"+#"Q$I((<$/,L$3Q"QL\7$*64L&$@$*':
                                                   LWO,"7NdLM&$+FP+467NVL4#$O*L76WLM$Q,"Q$eQ,L$+,"*NQ#$ML*NVLiMj$PF$5LPLSQ$R*FW$R6PM7$+F44L+QLM$56Q$PFQ
                                                   Q6*PLM$FVL*$QF$NQ<e$E<"+#"Q$_`I<$/,N7$T"7$ePFQ$PL+L77"*N4#$7F&e$Q,L$.F6*Q$7"NM&$RF*$+,"*NQNL7$WNK,Q$TL44$5LPLSQ
                                                   R*FW$Q,L$"+Q$FR$7F4N+NQ"QNFP$NQ7L4R&$T,LP$Q,L$*L[6L7Q$RF*$R6PM7$+FPVL#LM$NPRF*W"QNFP$F*$NPVF4VLM$+"67LH
                                                   F*NLPQLM$"MVF+"+#<$E1$<"

                                                   /,L$.F6*Q$PFQLM$NP$@$*':#Q,"Q$:F*Q,$."*F4NP"$U4NXL$844NPFN7$,L*LY$*L[6N*LM$O*FRL77NFP"4$R6PM*"N7L*7$QF$MN7+4F7L
                                                   Q,LN*$O*FRL77NFP"4$7Q"Q67<$E<"+#"Q$_``g$7LL$844<$.FWOF$3Q"Q<&$+,<$''%&$r$^J(pG_U"Y$U'((GYg$5/>()+#"Q$J(`&$P<$^&$JGG&
                                                   P<$J<$/,"Q$MN7+4F76*L&$Q,L$.F6*Q$7"NM&$LbL+QNVL4#$PFQNSLM$+FPQ*N56QF*7$Q,"Q$"$OF*QNFP$FR$Q,L$WFPL#$Q,L#
                                                   MFP"QLM$TF64M$6PML*T*NQL$7F4N+NQ"QNFP$+F7Q7<$=$+FP+L*PLM$MFPF*$+F64M$"7X$,FT$W6+,$FR$Q,L$+FPQ*N56QNFP
                                                   TF64M$5L$Q6*PLM$FVL*$QF$Q,L$+,"*NQ#&$"PM$6PML*$:F*Q,$."*F4NP"$4"T&$R6PM*"N7L*7$TF64M$5L$F54NKLM$QF$O*FVNML
                                                   Q,"Q$NPRF*W"QNFP<$@$*':+#^I_$D<$3<&$"Q$_``$U+NQNPK$:<$.<$?LP<$3Q"Q<$r$bcb3Xb\#UG`IJYY<$06Q$6OR*FPQ$QL4LO,FPL
                                                   MN7+4F76*L$FR$Q,L$R6PM*"N7L*\7$RLL&$Q,L$.F6*Q$5L4NLVLM&$WNK,Q$LPM$"7$TL44$"7$5LKNP$Q,L$+FPVL*7"QNFPh$=
                                                   OFQLPQN"4$+FPQ*N56QF*$T,F$Q,F6K,Q$Q,L$RLL$QFF$,NK,$WNK,Q$7NWO4#$,"PK$6O<$^I_$D<$3<&$"Q$_``H


                                                   JG_

                                                   I((<$ei!jF*L$5LPNKP$"PM$P"**FT4#$Q"N4F*LM$FOQNFP7e$Q,"Q$TF64M$PFQ$+,N44$7F4N+NQ"QNFP$"4QFKLQ,L*$TL*L
                                                   "V"N4"54Lg$RF*$La"WO4L&$Q,L$.F6*Q$76KKL7QLM&$eQ,L$3Q"QL$W"#$NQ7L4R$O654N7,$Q,L$MLQ"N4LM$SP"P+N"4$MN7+4F76*L
                                                   RF*W7$NQ$*L[6N*L7$O*FRL77NFP"4$R6PM*"N7L*7$QF$S4L&e$"PM$eiNQj$W"#$VNKF*F674#$LPRF*+L$NQ7$"PQNR*"6M$4"T7$QF
                                                   O*F,N5NQ$O*FRL77NFP"4$R6PM*"N7L*7$R*FW$F5Q"NPNPK$WFPL#$FP$R"47L$O*LQLP7L7$F*$5#$W"XNPK$R"47L$7Q"QLWLPQ7<e
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                                                   /,L$.F6*Q\7$FONPNFP7$NP$,-.)/01/(2+#;/%57%+#"PM$@$*':#QFFX$+"*L$QF$4L"VL$"$+F**NMF*$FOLP$RF*$R*"6M$"+QNFP7
                                                   QF$K6"*M$Q,L$O654N+$"K"NP7Q$R"47L$F*$WN74L"MNPK$+,"*NQ"54L$7F4N+NQ"QNFP7<$3LL$,-.)/01/(2+#^^^$D<$3<&$"Q$J)_g
                                                   ;/%57%+#^J_$D<$3<&$"Q$`JG&$"PM$P<$`g$@$*':+#^I_$D<$3<&$"Q$_`%&$I((<_$=7$Q,F7L$ML+N7NFP7$*L+FKPNdLM&$"PM$"7$TL
                                                   R6*Q,L*$LaO4"NP$5L4FT&$Q,L*L$"*L$MNbL*LP+L7$+*NQN+"4$QF$AN*7Q$=WLPMWLPQ$+FP+L*P7$5LQTLLP$R*"6M$"+QNFP7
                                                   Q*"NPLM$FP$*LO*L7LPQ"QNFP7$W"ML$NP$NPMNVNM6"4$+"7L7$"PM$7Q"Q6QL7$Q,"Q$+"QLKF*N+"44#$5"P$7F4N+NQ"QNFP7$T,LP
                                                   R6PM*"N7NPK$+F7Q7$*6P$,NK,<$3LL$E"*Q$888H0&$$%6()"#3NWO4#$4"5L4NPK$"P$"+QNFP$FPL$RF*$eR*"6M&e$FR$+F6*7L&$TN44$PFQ
                                                   +"**#$Q,L$M"#<$AF*$La"WO4L&$,"M$Q,L$+FWO4"NPQ$"K"NP7Q$/L4LW"*XLQL*7$+,"*KLM$R*"6M$5"7LM$7F4L4#$FP$Q,L
                                                   OL*+LPQ"KL$FR$MFP"QNFP7$Q,L$R6PM*"N7L*7$TF64M$*LQ"NP&$F*$Q,LN*$R"N46*L$QF$"4L*Q$OFQLPQN"4$MFPF*7$QF$Q,LN*$RLL
                                                   "**"PKLWLPQ7$"Q$Q,L$7Q"*Q$FR$L"+,$QL4LO,FPL$+"44&$@$*':#TF64M$76OOF*Q$7TNRQ$MN7WN77"4<I$=$3Q"QL\7$=QQF*PL#
                                                   ?LPL*"4$76*L4#$+"PPFQ$K"NP$+"7LH5#H+"7L$K*F6PM$Q,N7$.F6*Q$,"7$ML+4"*LM$Fb$4NWNQ7$QF$4LKN74"QF*7<

                                                   _kL$"*L$Q,L*LRF*L$6POL*76"MLM$5#$/L4LW"*XLQL*7\$O4L"$Q,"Q$Q,L#$4"+XLM$R"N*$PFQN+L$FR$Q,LN*$V64PL*"5N4NQ#$QF
                                                   R*"6M$"+QNFP7<$3LL$0*NLR$RF*$2L7OFPMLPQ7$^J&$^`H%(<

                                                   I$=4Q,F6K,$R6PM*"N7L*$*LQLPQNFP$FR$I%$OL*+LPQ$FR$MFP"QNFP7$N7$7NKPNS+"PQ4#$,NK,L*$Q,"P$Q,L$)%$OL*+LPQ$4NWNQ$NP
                                                   @$*':+#Q,N7$.F6*Q$,"7$PFQ$#LQ$"++LOQLM$"P#$OL*+LPQ"KLH5"7LM$WL"76*L$"7$MN7OF7NQNVL<$3LL$5/>()+#"Q$JG%
                                                   U[6FQNPK$@$*':#V<$A)&$7%)*#B'<'()&$7%#76#8*$%<#76#A"#3"+#E%-"+#^I_$D<$3<$_IG&$_`)$UG`IIYY<


                                                   JGI

                                                   EF*QNFP7$FR$Q,L$+FWO4"NPQ$NP$R"+Q$S4LM$5#$Q,L$=QQF*PL#$?LPL*"4$"*L$FR$Q,N7$KLP*L<$3LL&$'"#2"+#=OO<$G()&$n$_'
                                                   U"77L*QNPK$Q,"Q$/L4LW"*XLQL*7\$+,"*KL$eN7$La+L77NVLe$"PM$ePFQ$c67QNSLM$5#$LaOLP7L7$iQ,L#j$O"NMeYg$$<"+#"Q$IJ&$nn
                                                   J_CHJ_8$U"44LKNPK$7Q"Q6QF*#$VNF4"QNFP7$5"7LM$FP$R"N46*L$QF$MN7+4F7L$QF$O*F7OL+QNVL$MFPF*7$/L4LW"*XLQL*7\
                                                   OL*+LPQ"KL$RLLY<$=7$TL$L"*4NL*$PFQLM&$,FTLVL*&$7LL$5/>()+#"Q$J(IHJ(`&$Q,L$+FWO4"NPQ$"PM$"PPLaLM$"]M"VNQ7&
                                                   NP$4"*KL$O"*Q&$"44LKLM$PFQ$7NWO4#$T,"Q$/L4LW"*XLQL*7$R"N4LM$QF$+FPVL#g$Q,L#$"47F$ML7+*N5LM$T,"Q
                                                   /L4LW"*XLQL*7$WN74L"MNPK4#$*LO*L7LPQLM<

                                                   DPML*$844NPFN7$4"T&$7NWN4"*$QF$Q,L$ALML*"4$264L7$FR$.NVN4$E*F+LM6*L&$eiTj,LP$Q,L$4LK"4$76]+NLP+#$FR$"$+FWO4"NPQ
                                                   N7$+,"44LPKLM$5#$"$<<<$WFQNFP$QF$MN7WN77&$"44$TL44HO4L"MLM$R"+Q7$NP$Q,L$+FWO4"NPQ$"*L$Q"XLP$"7$Q*6L$"PM$iQ,L
                                                   +F6*Qj$W67Q$MLQL*WNPL$T,LQ,L*$Q,L$"44LK"QNFP7$<<<$&$H.'%#$%&'(>('&'<#$%#&.'#*$2.&#075&#6)!7()1*'#&7#&.'#>*)$%&$V+
                                                   "*L$76]+NLPQ$QF$L7Q"54N7,$"$+"67L$FR$"+QNFP$6OFP$T,N+,$*L4NLR$W"#$5L$K*"PQLM<e$37%%$-K#V<$,/4/K$#;7&7(#37"+
                                                   N&<"+#G_^$844<$'M$^I'&$^`(&$J_%$:<$1<$'M$%I^&$%II$UG``_Y$ULWO,"7N7$"MMLMY<$>N7WN77"4$N7$O*FOL*$eFP4#$NR$NQ$+4L"*4#
                                                   "OOL"*7$Q,"Q$PF$7LQ$FR$R"+Q7$+"P$5L$O*FVLM$6PML*$Q,L$O4L"MNPK7$T,N+,$TN44$LPQNQ4L$Q,L$O4"NPQNb$QF$*L+FVL*<e
                                                   G`I$844<$'M&$"Q$)%G&$_J)$:<$1<$'M&$"Q$'`)<

                                                   /"XNPK$NPQF$"++F6PQ$Q,L$"]M"VNQ7&$"PM$*L"MNPK$Q,L$+FWO4"NPQ$NP$Q,L$4NK,Q$WF7Q$R"VF*"54L$QF$Q,L$=QQF*PL#
                                                   ?LPL*"4&$Q,"Q$O4L"MNPK$ML7+*N5LM$WN7*LO*L7LPQ"QNFP7$F6*$O*L+LMLPQ$MFL7$PFQ$O4"+L$6PML*$Q,L$AN*7Q
                                                   =WLPMWLPQ\7$+FVL*<$AN*7Q&$NQ$"77L*QLM$Q,"Q$/L4LW"*XLQL*7$"]*W"QNVL4#$*LO*L7LPQLM$Q,"Q$e"$7NKPNS+"PQ
                                                   "WF6PQ$FR$L"+,$MF44"*$MFP"QLM$TF64M$5L$O"NM$FVL*$QF$ZNLQi:jFTe$QF$5L$67LM$RF*$7OL+NS+$+,"*NQ"54L
                                                   O6*OF7L7H*L,"5N4NQ"QNFP$7L*VN+L7&$cF5$Q*"NPNPK&$RFFM$5"7XLQ7&$"PM$"77N7Q"P+L$RF*$*LPQ$"PM$5N447&$=OO<$`&$n$)^g
                                                   $<"+#"Q$G'^&$G)G&$G^%&$GJ)&$GJ`&$GI_&$GI`HT,N4L$NP$*L"4NQ#$/L4LW"*XLQL*7$XPLT$Q,"Q$eG%$+LPQ7$F*$4L77$FR$L"+,
                                                   MF44"*e$T"7$e"V"N4"54L$QF$ZNLQi:jFT$RF*$NQ7$O6*OF7L7<e$E<"+#"Q$`&$n$)^<$3L+FPM&$Q,L$+FWO4"NPQ$"44LKLM&
                                                   L77LPQN"44#&$Q,"Q$Q,L$+,"*NQ"54L$7F4N+NQ"QNFP$T"7$"$R"n"MLh$=4Q,F6K,$/L4LW"*XLQL*7$*LO*L7LPQLM$Q,"Q$MFP"QLM
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                                             Case 2:21-cv-01412-ART-EJY   Document 452-1    Filed 01/09/25   Page 57 of 78
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           Opinion        Case details


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           K.D. v. J.D.                                                                                                      Case Details


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                                                                                                                             Court: Appeals Court of
                                                                                                                             Massachusetts.


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                                                                                                                             (Mass. App. Ct. 2017)
                                                                                                                             94 N.E.3d 881
           Opinion

           16–P–1426

           11-22-2017

           K.D. v. J.D.


           MEMORANDUM AND ORDER PURSUANT TO RULE 1:28

           The defendant appeals from an order denying his motion to expunge an
           abuse prevention order issued pursuant to G. L. c. 209A (209A order). We
           aﬃrm.

           Background. On October 8, 2015, the plaintiﬀ obtained the ex parte 209A
           order, which required that the defendant refrain from abusing the plaintiﬀ,
           who is his daughter. The 209A order was set to expire on October 16, 2015, at
           4:00 P.M. ; an extension hearing was held on that day, at which both parties
           were present. After hearing testimony from both the plaintiﬀ and the
           defendant, the judge found that there was insuﬃcient evidence to conclude
           that the 209A order should be extended and allowed the ex parte order to
           expire at 4:00 P.M. on that date.

           On October 5, 2016, the defendant moved to have the 209A order expunged
           on the basis that his daughter proﬀered false testimony at the 209A order
           hearings. During a hearing on the expungement motion, the defendant
           stated that the 209A order on his criminal oﬀender record information has
           prevented him from obtaining custody of his grandson from the Department
           of Children and Families. The judge explained the diﬀerence between
           expunging a record and the expiration of an order. The defendant's motion
           was subsequently denied.

           Discussion. The defendant argues that he is entitled to have the 209A order
           expunged on the basis that his daughter perpetrated fraud on the court by
           making false statements during the 209A order hearings.

           It is well settled that a record of an abuse prevention order issued pursuant
           to G. L. c. 209A generally cannot be expunged via judicial order. See Vaccaro
           v. Vaccaro, 425 Mass. 153, 156–157 (1997) ; Commissioner of Probation v.
           Adams, 65 Mass. App. Ct. 725, 728 (2006) ; B.C. v. F.C., 90 Mass. App. Ct. 345,
           349 (2016). A narrow exception to this rule allows for judicial expungement
           "in the rare and limited circumstance that the judge has found through clear
           and convincing evidence that the order was obtained through fraud on the
           court." Adams, supra at 737. A false allegation of abuse or false testimony
           alone is insuﬃcient to constitute fraud on the court absent a showing that it
           contributed to a " ‘larger pattern of harassment’ or an ‘unconscionable
           scheme calculated to interfere with the judicial system's ability impartially
           to adjudicate a matter.’ " M.C.D. v. D.E.D., 90 Mass. App. Ct. 337, 342 (2016),
           quoting from Adams, supra at 729, 730. See Wojcicki v. Caragher, 447 Mass.
           200, 210 (2006).

           Here, no finding was made that the plaintiﬀ's testimony was false, and the
           fact that the 209A order was not extended does not support an inference
           that her testimony was in any way dishonest based on the circumstances
           presented in this case. We note that the defendant presented evidence of
           inconsistencies in the plaintiﬀ's narrative. Even assuming that the plaintiﬀ
           was untruthful in court in obtaining the 209A order, that fact, without more,
           does not constitute fraud on the court. We are mindful of the defendant's
           frustration and appreciate his cogent oral argument. However, the current
           law does not authorize an order of expungement in these circumstances. "If
           it is unwise, it is not for us to say so; the remedy lies with the Legislature."
           Murphy v. Police Commr. of Boston, 369 Mass. 469, 471 (1976). See
           Commonwealth v. Vickey, 381 Mass. 762, 767 (1980) ("[W]hen the statute
           appears not to provide for an eventuality, there is no justification for judicial
           legislation").

           Based on the foregoing, the defendant's motion to expunge the 209A order
           was properly denied.

           Order denying motion for expungement aﬃrmed.




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           TRACY MACDONALD vs. KEVIN CARUSO.
467 Mass. 382
November 4, 2013 - March 11, 2014
Court Below: Probate and Family Court Department, Plymouth Division, Plymouth County

Present: IRELAND, C.J., SPINA, CORDY, BOTSFORD, GANTS, DUFFLY, & LENK, JJ.

      Records And Briefs:

      (1) SJC-11381 01 Appellant Caruso Brief

      Oral Arguments


   Abuse Prevention. Practice, Civil, Presumptions and burden of proof. Evidence, Presumptions and burden of proof. Probate Court, General equity power.

   This court concluded that, where a defendant seeks to terminate a permanent abuse prevention order under G. L. c. 209A, the defendant must prove by clear and convincing evidence that, as a
   result of a significant change in circumstances, it is no longer equitable for the order to continue because the protected party no longer has a reasonable fear of imminent serious physical harm;
   accordingly, a Probate and Family Court judge did not abuse her discretion in denying the defendant's motion to terminate an abuse prevention order, where the defendant failed to meet this burden
   of proof, in that he rested his motion solely on his own attestations. [385-394]

   COMPLAINT for protection from abuse filed in the Plymouth Division of the Probate and Family Court Department on June 25, 1999.

   A motion to terminate an abuse prevention order, filed on May 20, 2011, was heard by Lisa A. Roberts, J.

   After review by the Appeals Court, the Supreme Judicial Court granted leave to obtain further appellate review.

   Thomas Arthur Hensley for the defendant.

   Claire Laporte, Rebecca Cazabon, Stacy Anderson, Benjamin Nardone, & Shrutih Ramlochan-Tewarie, for The Domestic & Sexual Violence Counsel, Inc., & others, amici curiae, submitted a brief.




GANTS, J. The central issue in this case is the standard to be applied when a defendant seeks to terminate a permanent abuse prevention order under G. L. c. 209A, §
3. We conclude that a defendant who seeks to terminate such an order must show by clear and convincing evidence that, as a result of a significant change in
circumstances, it is no longer equitable for the order to continue because the protected party no longer has a reasonable

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fear of imminent serious physical harm. Having considered the evidence presented here in support of the defendant's motion to terminate the permanent order, in light
of the totality of the circumstances, we conclude that the judge did not abuse her discretion in denying the motion. [Note 1]

Background. According to the complaint and affidavit filed by the plaintiff, Tracy MacDonald, on June 25, 1999, in support of her application for an ex parte temporary
restraining order under G. L. c. 209A, § 4, against the defendant, Kevin James Caruso, the plaintiff had obtained an "order of protection" in the State of New York
against the defendant in March, 1994. She left New York, where she had resided, on November 6, 1995, because the defendant threatened to kill her, and she has not
lived in New York since that date. [Note 2] On June 1, 1999, she began receiving "odd mail" in Massachusetts, where she resided, postmarked in the region where the
defendant then resided, stating that she had inquired about numerous products; one bore the defendant's handwriting. The defendant also used her social security
number and forged her signature to acquire a credit card in her name, and she received a telephone call from the credit card company claiming that she was in default
for failing to pay the $2,000 due on the card. On June 20, 1999, the plaintiff saw the defendant when she was on a boat ramp in Plymouth, near where she lived.

A Probate and Family Court judge issued a temporary abuse prevention order directing the defendant to refrain from abusing or contacting the plaintiff, to stay away
from her residence in Halifax, and to surrender any firearms or ammunition to the police department in Highland, New York, where the defendant resided. The judge
scheduled an adversary hearing for July 9, 1999, the date the temporary order was scheduled to expire. The defendant did not appear at the adversary hearing, and
another

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Probate and Family Court judge issued an initial abuse prevention order for one year, to expire on July 9, 2000. [Note 3]

The defendant was present for the hearing on July 7, 2000, the next designated hearing date, but the order was further extended for one year, to July 6, 2001, with a
new hearing scheduled for that expiration date. The defendant again appeared at that hearing, where a permanent order entered, with the judge noting that the
surrender of firearms to the police department should also be extended because the defendant presented a likelihood of abuse to the plaintiff. The defendant did not
challenge the permanent order on direct appeal.

In May, 2011, the defendant moved to terminate the permanent abuse prevention order. [Note 4] In his verified motion, he attested:

"[T]here is no further need for the order, because it is now twelve years old, with no alleged or proven violations. He has moved from New York to Park City, Utah, and
[p]laintiff now resides in Massachusetts, a separation distance of more than 2,100 miles. He is married since 2004, and happily so. He has retired from the business
world, and now seeks to pass his time with various recreational activities that are available to him in his new home, as well as with travel. He has clearly moved on
with his life. . . ."

The defendant also noted that the abuse prevention order "continues to affect his life in ways that have nothing to do with [the] [p]laintiff." The collateral
consequences he described included extra scrutiny at airports, his disqualification from charitable pursuits that require record checks, and his inability

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to hunt and to obtain a pistol permit for self-protection. After a hearing, at which the plaintiff did not appear, the judge (who was the same judge who had ordered the
second one-year extension after an adversary hearing) denied the defendant's motion, concluding that the defendant had not met his burden of proving, by clear and
convincing evidence, that there has been a significant change of circumstances and that the order was unnecessary to protect the plaintiff from harm or the reasonable
fear of harm. [Note 5]

The defendant appealed, and in an unpublished memorandum and order pursuant to its rule 1:28, the Appeals Court affirmed the denial of the defendant's motion.
MacDonald v. Caruso, 82 Mass. App. Ct. 1120 (2012). The court declined the defendant's invitation to modify the standard established in Mitchell v. Mitchell, 62 Mass.
App. Ct. 769, 781 (2005), that an abuse prevention order "should be set aside only in the most extraordinary circumstances and where it has been clearly and
convincingly established that the order is no longer needed to protect the victim from harm or the reasonable fear of serious harm." Applying that standard, the court
concluded that the judge did not err in finding that the defendant failed to meet this burden. We granted the defendant's application for further appellate review.

Discussion. General Laws c. 209A provides "a statutory mechanism by which victims of family or household abuse can enlist the aid of the State to prevent further
abuse" through orders prohibiting a defendant from abusing or contacting the victim, or requiring a defendant to stay away from the victim's home or workplace.
Commonwealth v. Gordon, 407 Mass. 340, 344 (1990). See G. L. c. 209A, § 3. [Note 6] The statute, with other abuse prevention statutes, reflects "the
Commonwealth's public

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policy against domestic abuse -- preservation of the fundamental human right to be protected from the devastating impact of family violence." Champagne v.
Champagne, 429 Mass. 324, 327 (1999).

A temporary abuse prevention order may issue ex parte for up to ten court business days where a plaintiff shows a "substantial likelihood of immediate danger of
abuse." G. L. c. 209A, § 4. After hearing, the temporary order may be extended for no more than one year if the plaintiff proves, by a preponderance of the evidence,
that the defendant has caused or attempted to cause physical harm, committed a sexual assault, or placed the plaintiff in reasonable fear of imminent serious physical
harm. [Note 7] G. L. c. 209A, § 3. See Iamele v. Asselin, 444 Mass. 734, 734-735 (2005). On or about the date the initial order expires, the plaintiff may seek to
extend the duration of the order "for any additional time necessary to protect the plaintiff" or obtain a permanent order. G. L. c. 209A, § 3. See Moreno v. Naranjo, 465
Mass. 1001, 1003 (2013) (where relief is warranted, judge owes duty under G. L. c. 209A "to extend . . . abuse prevention orders for a time reasonably necessary for
the protection of the plaintiff"); Crenshaw v. Macklin, 430 Mass. 633, 636 (2000) (duration of extension of initial abuse prevention order is within broad discretion of
judge). The standard for obtaining an extension of an abuse prevention order is the same as for an initial order -- "most commonly, the plaintiff will need to show a
reasonable fear of imminent serious physical harm at the time that relief . . . is sought." Iamele v. Asselin, supra at 735. See Smith v. Jones, 75 Mass. App. Ct. 540,
544 (2009). No presumption arises from the initial order; "it is the plaintiff's burden to establish that the facts that exist at the time extension of the order is sought
justify relief." Smith v. Jones, 67 Mass. App. Ct. 129, 133-134 (2006). Therefore, a permanent order may not enter unless the plaintiff has twice proved by a

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preponderance of the evidence a reasonable fear of imminent serious physical harm. And where the initial order was one year in duration, the plaintiff must show that
the fear of imminent serious physical harm remains reasonable approximately one year after the event that triggered the filing of the c. 209A complaint.

Where, as here, the defendant does not challenge on direct appeal the entry of a permanent abuse prevention order under G. L. c. 209A, it becomes a final equitable
order. See Zullo v. Goguen, 423 Mass. 679, 682 (1996) ("orders under c. 209A are equitable in nature"). But relief from the order may still be obtained where it is "no
longer equitable that the judgment should have prospective application." Mass. R. Civ. P. 60 (b) (5), 365 Mass. 828 (1974). See Mass. R. Dom. Rel. P. 60 (provisions
identical to Mass. R. Civ. P. 60). In determining what standard to apply to determine when it is "no longer equitable" that a permanent c. 209A order continue to have
prospective application, we note that G. L. c. 209A, § 3, provides that a "court may modify its [c. 209A] order at any subsequent time upon motion by either party." In
doing so, the Legislature recognized that, given the complicated and dynamic nature of the relationships among "family or household members," and the complex web
of personal ties and responsibilities that may still connect them even where there is an order, especially the parenting of children, even a carefully crafted abuse
prevention order may require modification as circumstances change. See G. L. c. 209, § 3. The Legislature also recognized that modification may be sought by a
plaintiff, by a defendant, or jointly by all parties, and that a motion to modify may seek to revise the terms of an abuse prevention order or to terminate the order
itself. Trial Court Guidelines for Judicial Practice: Abuse Prevention Proceedings § 6:04 commentary, at 123 (Sept. 2011) ("Both parties have the right to ask the court
to modify an existing order, by either increasing or decreasing the severity of the terms, or by terminating or vacating the order"). We decide here only the standard to
apply where a defendant seeks to terminate an order, recognizing that the standard appropriate for such a motion may not be the same where the motion to terminate
is brought by the

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plaintiff or jointly by all parties, or where the motion seeks only to modify the terms of an order. [Note 8]

A defendant's motion to terminate an order is not a motion to reconsider the entry of a final order, and does not provide an opportunity for a defendant to challenge
the underlying basis for the order or to obtain relief from errors correctable on appeal. See Iamele v. Asselin, 444 Mass. at 742; Pentucket Manor Chronic Hosp., Inc. v.
Rate Setting Comm'n, 394 Mass. 233, 236 (1985). Therefore, a defendant bringing such a motion bears the burden of proving a significant change in circumstances
since the entry of the order that justifies termination of the order. See Rufo v. Inmates of Suffolk County Jail, 502 U.S. 367, 383 (1992) ("a party seeking modification
of a consent decree bears the burden of establishing that a significant change in circumstances warrants revision of the decree"); United States v. Swift & Co., 286 U.S.
106, 114-115 (1932) ("a court does not abdicate its power to revoke or modify its mandate if satisfied that what it has been doing has been turned through changing
circumstances into an instrument of wrong"). See also Reporters' Notes to Rule 60, Mass. Ann. Laws Court Rules, Rules of Civil Procedure, at 1136 (LexisNexis 2012-
2013) (motions to terminate or modify provide "relief from a judgment which was valid and equitable when rendered, but whose prospective application has, because
of changed conditions, become inequitable"). See generally 11 C.A. Wright, A.R. Miller, & M.K. Kane, Federal Practice and Procedure § 2863, at 459-460 (2012) ("[rule
60 (b) (5)] does not allow relitigation of issues that have been resolved by the judgment. Instead it refers to some change in conditions that makes continued
enforcement inequitable").

The significant change in circumstances must involve more than the mere passage of time, because a judge who issues a permanent order knows that time will pass.
Compliance by the defendant with the order is also not sufficient alone to constitute a significant change in circumstances, because a judge who

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issues a permanent order is entitled to expect that the defendant will comply with the order. See G. L. c. 209A, § 3 ("The fact that abuse has not occurred during the
pendency of an order shall not, in itself, constitute sufficient ground for . . . allowing an order to . . . be vacated"). See also Iamele v. Asselin, 444 Mass. at 738
("obedience alone is not a ground for refusing an extension of the initial order"). However, if there is a significant change in circumstances not foreseen when the last
order was issued, the passage of time and compliance with the order may be considered in determining whether, under the totality of circumstances, a defendant no
longer poses a reasonable threat of imminent serious physical harm to the plaintiff.

The defendant contends that his burden should only be to prove by a preponderance of the evidence that the plaintiff no longer has a reasonable fear of imminent
serious physical harm from the defendant. We conclude that, where a defendant seeks to terminate an abuse prevention order, the defendant must prove by clear and
convincing evidence that the protected party no longer has a reasonable fear of imminent serious physical harm from the defendant, and that continuation of the order
would therefore not be equitable. See Mitchell v. Mitchell, 62 Mass. App. Ct. at 781.

Where the order a defendant seeks to terminate is only one year in duration, as it was in Mitchell v. Mitchell, 62 Mass. App. Ct. at 770, the defendant will have the
opportunity within one year to challenge the continuation of the order at a hearing where the plaintiff will bear the burden of proving a continued reasonable fear of
imminent serious physical harm. A motion prematurely to terminate such an order must be supported by more than a preponderance of the evidence to justify the
burden, both on the plaintiff and the court, to revisit the order before its expiration. See id. at 781 n.22 ("Unwarranted requests to modify may themselves be a form
of abuse and create a burden on the courts as well as on the opposing party").

Where the order is permanent, as it is here, a defendant has been found at least twice (here, three times) to pose a reasonable threat of imminent serious physical
harm to the plaintiff, and the judge who issued the permanent order found (at least implicitly) that the defendant poses a permanent threat to the

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safety of the plaintiff. See Trial Court Guidelines for Judicial Practice: Abuse Prevention Proceedings, supra at § 6.09 & commentary ("In determining whether to issue a
permanent order or an order for a particular period of years, the court may consider the severity and frequency of the violence involved, threats to do harm in the
future and the ages of minor children, and any other relevant facts"). The standard of proof "serves as 'a societal judgment about how the risk of error should be
distributed between the litigants.' " Cruzan v. Director, Mo. Dep't of Health, 497 U.S. 261, 283 (1990), quoting Santosky v. Kramer, 455 U.S. 745, 755 (1982). Where a
defendant has been found over an extended period of time to pose this level of danger to a plaintiff, we conclude that the risk of error should be on the side of the
plaintiff and that something more than proof by a preponderance of the evidence is necessary to ensure the plaintiff's safety. Cf. Moreno v. Naranjo, 465 Mass. at 1002
("well-established purpose of [G. L. c. 209A] is to protect victims of domestic violence").

The clear and convincing evidence standard is more demanding than the preponderance standard, but we do not accept the defendant's characterization that it is
either "amorphous" or "an enormously heavy burden of proof." Clear and convincing evidence is required to hold a litigant in civil contempt, see Birchall, petitioner, 454
Mass. 837, 852-853 (2009); to find libel against a public official or public figure, see Stone v. Essex County Newspapers, Inc., 367 Mass. 849, 870 (1975); and to
terminate parental rights, see Adoption of Helen, 429 Mass. 856, 859 (1999). It is applied every day in our courts and the burden, while demanding, is often met. See,
e.g., Birchall, petitioner, supra at 852-853. The standard is less demanding than the proof beyond a reasonable doubt standard required to justify an involuntary civil
commitment, either because the respondent poses a danger to himself or to others, see Superintendent of Worcester State Hosp. v. Hagberg, 374 Mass. 271, 275
(1978), or because of sexual dangerousness. See G. L. c. 123A, § 14 (d).

In determining whether a defendant has met the clear and convincing evidence standard, a judge must determine whether the defendant has proven a significant
change in circumstances since

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the order was issued, and whether, under the totality of the circumstances, the plaintiff, without the protection of an order of abuse prevention, would no longer
reasonably fear imminent serious physical harm from the defendant. Here, the defendant has identified five changes in circumstances that he contends justifies
termination of the order: (1) he has moved from New York to Utah, (2) he has been happily married since 2004, (3) he has retired from the "business world," (4) more
than twelve years have passed since the issuance of the permanent order, and (5) there have been no "alleged or proven violations" of the order. We have already
noted that the fourth and fifth alleged changes do not suffice alone to constitute a significant change of circumstances. As to the third alleged change, we are not
persuaded that retirement from employment constitutes a relevant change in circumstances that reasonably may affect the risk posed by a defendant. The first and
second alleged changes, however, may support a finding of a significant change of circumstances, in that the defendant's relocation from New York to Utah increases
the cost and effort required for the defendant to see the plaintiff in Massachusetts, and his long-standing marriage may suggest that, as he contends, he has "moved
on with his life" and no longer is so emotionally connected to the plaintiff as to pose a risk to her.

Assuming that the defendant has met his burden of proving a significant change in circumstances, we turn to whether the judge abused her discretion in finding that
the defendant failed to meet his burden of proving by clear and convincing evidence that he no longer poses a reasonable threat of imminent serious physical harm to
the plaintiff. The defendant asks us to give meaning to the plaintiff's failure to appear at the hearing or otherwise to object to his motion to terminate. We decline to do
so. A judge should certainly give serious consideration to the plaintiff's position regarding a defendant's motion to terminate, regardless whether the plaintiff opposes
or supports the motion, but a judge may not give meaning to a plaintiff's silence or failure to appear, because a judge cannot know whether silence reflects
acquiescence in the termination or continued fear of the defendant. See Champagne v. Champagne, 429 Mass. at 327 n.2. Moreover, a plaintiff shoulders no burden at
a termination hearing and is entitled to rest on the finality of the order.

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The defendant also asks us to consider the collateral consequences that a defendant may suffer from an abuse prevention order, including his inability to obtain a
permit to carry firearms. We decline to do so. Where a defendant has failed to meet his burden to terminate an abuse prevention order, the order shall not be
terminated, regardless how onerous the collateral consequences, because the only relevant issue is the safety of the plaintiff. See Moreno v. Naranjo, 465 Mass. at
1003 (judge may not "rely on considerations irrelevant to the plaintiff's need for protection" in deciding whether to extend abuse prevention order). Where that burden
has been met, the order should be terminated, because its prospective application is no longer needed to protect the plaintiff and, even if there were no collateral
consequences, it is no longer equitable for the order to remain in force. Therefore, the collateral consequences arising from the order are not relevant to the judge's
decision regarding termination of the order. Cf. id. at 1002 (nothing in G. L. c. 209A authorizes judge to limit duration of abuse prevention order "out of concern for the
defendant's visitation rights").

Addressing the relevant changes of circumstances, the additional distance between the defendant's and the plaintiff's residences may significantly diminish the
reasonable fear of imminent serious physical harm if the abuse prevention order had issued when the plaintiff and defendant worked or resided in close proximity to
each other, and the defendant had harmed or threatened harm to the plaintiff when their paths crossed. See Iamele v. Asselin, 444 Mass. at 740 (in evaluating risk of
future abuse, judge should consider "the likelihood that the parties will encounter one another in the course of their usual activities"). But the orders in this case issued
when the plaintiff resided in Massachusetts and the defendant resided in New York, so there was already considerable distance between the two. That the defendant
would now need to travel approximatelysix hours by airplane rather than approximately six hours by car to see the plaintiff bears on the likelihood of his seeing her,
and the expense and effort to do so, but by itself does not mean that he could not engage in the same conduct from afar that triggered issuance of the initial order.

The most significant change of circumstance in this case is

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the defendant's marriage to another woman since 2004, considered together with his undisputed compliance with the abuse prevention orders, which corroborates his
contention that he has "moved on with his life." But the defendant rested his motion to terminate solely on his own attestations in his verified motion. He did not
submit an affidavit from the chief of police or the keeper of the records of his city in Utah attesting that the police had no record of any allegations of domestic abuse,
or submit the New York and Utah equivalents of the Massachusetts criminal offender record information (CORI) and Statewide registry of civil restraining orders records
to show the absence of arrests or convictions or other restraining orders. To prove that he had truly "moved on with his life," the defendant in this case needed to
demonstrate not only that he has moved on to another relationship but that he has "moved on" from his history of domestic abuse and retaliation. [Note 9] Because
the defendant bears the burden of demonstrating, by clear and convincing evidence, that he no longer reasonably poses a threat to the plaintiff, the judge did not
abuse her discretion in finding that the defendant's attestations alone fell short of meeting this burden.

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Although we conclude that the judge here, on this record, did not abuse her discretion in denying the defendant's motion to terminate the abuse prevention order, we
leave open the possibility that the defendant might be able to meet his burden if he were to renew his motion with a stronger evidentiary foundation. The standard of
clear and convincing evidence in these matters is properly demanding, but not insurmountable if supported by a persuasive evidentiary record demonstrating that a
defendant no longer poses a reasonable risk of committing serious physical harm. Because we do not believe that a defendant's possibility of winning a motion to
terminate an abuse prevention order is illusory, or that a judge can never abuse her discretion by denying such a motion, we direct judges to place their findings of fact
regarding such motions on the record, regardless whether the motion is allowed or denied, to assist an appellate court in reviewing the determination on appeal. See
Mitchell v. Mitchell, 62 Mass. App. Ct. at 781 ("if the judge determines that it is appropriate to allow a motion to vacate or terminate a c. 209A order, the decision
should be supported by findings of fact").

Conclusion. We conclude that, on this record, the judge did not abuse her discretion in finding that the defendant failed to meet his burden of proving by clear and
convincing evidence that, as a result of a significant change in circumstances, the plaintiff no longer has a reasonable fear of imminent serious physical harm. We,
therefore, affirm the judge's denial of the defendant's motion to terminate the abuse prevention order.

So ordered.


   FOOTNOTES

   [Note 1] We acknowledge the joint amicus brief filed by The Domestic & Sexual Violence Council, Inc.; Greater Boston Legal Services; the Women's Bar Association of
   Massachusetts; DOVE, Inc.; Community Legal Aid; the Massachusetts Law Reform Institute; Community Legal Services and Counseling Center; The Second Step; Justice Center of
   Southeast Massachusetts LLC; Safe Passage; Professors Maritza Karmely and Christine L. Butler; HarborCOV; and the Foley Hoag Domestic Violence Prevention Project.

   [Note 2] The plaintiff asserted that the defendant owned seven handguns.

   [Note 3] The defendant later moved for a new court hearing to reconsider the one-year extension, contending that he did not understand that he needed to appear in court on July
   9, 1999, and that he wished to "answer this order and put this issue to rest." His motion was denied. Because the audio transcripts of the hearings were destroyed after three
   years, in accordance with court practice, the testimony, if any, on which the court relied in issuing its initial abuse prevention order is not available.

   [Note 4] The defendant titled the motion as a "motion to vacate" the abuse prevention order, but he sought only to prevent its prospective application, and did not challenge the
   grounds on which it was earlier entered. Because the "underlying basis [of the order] was not to be reviewed, nor its validity second guessed," the motion actually sought to
   terminate, not vacate, the permanent order. See Iamele v. Asselin, 444 Mass. 734, 742 (2005).

   [Note 5] The record on appeal does not include a transcript of the hearing.

   [Note 6] General Laws c. 209A, § 3, protects only "family or household members" from "abuse," with "family or household members" defined to include persons who are married,
   residing together in the same household, related by blood or marriage, having a child in common, or in a "substantive dating . . . relationship," and "abuse" defined as "the
   occurrence of one or more of the following acts[:] attempting to cause or causing physical harm; . . . placing another in fear of imminent serious physical harm; . . . causing
   another to engage involuntarily in sexual relations by force, threat or duress." G. L. c. 209A, § 1.

   [Note 7] If the defendant does not appear at the hearing, the temporary order "shall continue in effect without further order of the court." G. L. c. 209A, § 4. Here, the temporary
   order was extended for one year when the defendant failed to appear at the scheduled hearing. A defendant served with an ex parte order advising him of his right to be heard at
   a scheduled hearing has actual and constructive notice that failure to attend the hearing may result in the extension of the order. Commonwealth v. Delaney, 425 Mass. 587, 581
   (1997).

   [Note 8] We note that the Trial Court Guidelines for Judicial Practice: Abuse Prevention Proceedings § 5.08 (Sept. 2011), provides that, after appropriate inquiry, a plaintiff who
   has moved to terminate an abuse prevention order "should be permitted to do so, regardless of the reason given or the presence of children."

   [Note 9] In Freeman v. Freeman, 169 Wash. 2d 664, 673 (2010), the Supreme Court of Washington adopted a New Jersey court's eleven factors as "a sensible framework for
   analyzing whether . . . a restrained party will commit a future act of domestic violence." The factors are "(1) whether the victim has consented to lift the order, (2) the victim's
   fear of the restrained party, (3) present nature of the relationship between parties, (4) whether the restrained party has any contempt convictions for violating the order, (5)
   restrained party's alcohol and drug involvement, if any, (6) other violent acts on the part of the restrained party, (7) whether the restrained party has engaged in domestic
   violence counseling, (8) age and health of the restrained party, (9) whether the victim is acting in good faith to oppose the motion, (10) whether other jurisdictions have entered
   any protection orders against the restrained party, and (11) other factors deemed relevant by the court." Id., citing Carfagno v. Carfagno, 288 N.J. Super. 424, 435 (1995). We do
   not adopt any specific checklist of factors, recognizing that the relevant factors will differ depending on the circumstances of the case, and that the evaluation of risk must rest on
   the totality of the circumstances. See Iamele v. Asselin, 444 Mass. at 741 ("totality of the conditions" governs evaluation of future risk of domestic abuse). But we note that two of
   the factors adopted by the Washington Supreme Court concern other acts of violence and other restraining orders. In different circumstances, affidavits regarding the successful
   completion of mental health, anger management, or substance abuse counselling might be relevant in determining whether a defendant has met his burden of proof.


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           M.C.D. vs. D.E.D.
90 Mass. App. Ct. 337
June 2, 2016 - September 23, 2016
Court Below: Probate and Family Court, Essex Division

Present: Kafker, C.J., Hanlon, & Neyman, JJ.

   Amended December 2, 2016

   Abuse Prevention. Domestic Violence Record Keeping System. Fraud. Practice, Civil, Notice of appeal, Fraud.

   A Probate and Family Court judge properly denied the defendant's motion to dismiss, as untimely, the appeal of the Commissioner of Probation from an order expunging from the Statewide domestic
   violence registry system the record of an abuse prevention order issued pursuant to G. L. c. 209A, where the judge's original disposition did not clearly denote an order of expungement so as to give
   notice that the period for filing an appeal had been triggered, and the judge's subsequent findings of fact and order to expunge started the appeals period, within which the appeal was timely filed.
   [340-341]

   This court vacated a Probate and Family Court judge's order of expungement of an abuse prevention order issued pursuant to G. L. c. 209A from the Statewide domestic violence registry system,
   where the judge's subsidiary findings were insufficient to support her ultimate finding of a fraud on the court, in that, while suggesting a deliberate purpose to the plaintiff's use of a false allegation
   (i.e., to obtain that order), the judge's findings concerning the plaintiff's conduct did not add up to a larger plan intended to harass the defendant or to undermine the judicial process. [341-344]



COMPLAINT for protection from abuse filed in the Essex Division of the Probate and Family Court Department on December 15, 2014.

A motion to vacate the abuse prevention order and to expunge the record, filed on March 6, 2015, was heard by Theresa A. Bisenius, J.

Natalie L. Lorenti, Special Assistant Attorney General (Sarah M. Joss with her) for Commissioner of Probation.

D.E.D., pro se.



HANLON, J. In this cross appeal, the Commissioner of Probation (commissioner) appeals from an order of a Probate and Family Court judge to expunge a G. L. c.
209A abuse prevention order (209A order) entered against the defendant. The commissioner challenges the judge's findings that the plaintiff's allegations of

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abuse were knowingly false and constituted a fraud on the court, as explained in Commissioner of Probation v. Adams, 65 Mass. App. Ct. 725 , 729-730 (2006). We
agree that the judge's subsidiary findings were insufficient to support her ultimate finding of fraud on the court, and we vacate the order for expungement. [Note 1]

Background. The plaintiff obtained the ex parte 209A order against the defendant on December 15, 2014. She alleged in her affidavit that, on December 3, 2014, the
defendant had beaten her and that she was in fear of him. At the ex parte hearing, the plaintiff barely spoke, but her lawyer told the judge that his client had been
beaten and that she was extremely reluctant to talk about the incident, but that the people who had treated her medically, as well as members of her family, believed
that her injuries could not have been the result of a fall and were, in fact, the result of serious abuse. [Note 2]

On December 22, 2014, the day scheduled for the hearing after notice, the plaintiff did not appear and an associate of her lawyer appeared for her. The defendant was
represented by counsel, who

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immediately informed the judge that her client was "an Assistant City Solicitor for [a city in Massachusetts]." She represented that she had "[overwhelming] evidence
that . . . this allegation never . . . happened, that [D.E.D.] absolutely did not do anything to [his] wife." [Note 3] The defendant volunteered that he had "been an
attorney in good standing with the Commonwealth of Massachusetts for 32 years. [He had] a completely unblemished . . . record. [He] enjoy[ed] an impeccable
reputation among the legal bar and [his] peers. [He had] all witnesses . . . to show that it was -- absolutely could not -- [he] could -- it was not possible for [him] to
have committed the act . . . that caused the injuries to -- to [his] wife." [Note 4]

The judge responded that there was no need to "get into the evidence" because there was no request to extend the order. The defendant and his lawyer repeatedly
represented that there had been no abuse, that the defendant essentially had a solid alibi for the time in question and that his wife was an alcoholic who had fallen at
other times in the past. When the judge inquired, the plaintiff's lawyer confirmed that his law firm did, in fact, have the medical records described earlier and would
provide them to the judge if asked. The order was terminated.

On March 6, 2015, the defendant filed a motion to vacate the 209A order and to expunge all records of that order. After a March 30, 2015, hearing, the judge endorsed
the first page of the

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defendant's motion, "Allowed." [Note 5] The docket entry stated, "Motion to vacate RO Allowed 3/30/2015."

The commissioner filed a request for clarification of the order to expunge the 209A order. The judge subsequently issued findings of fact in clarification of her order to
expunge the 209A order. The judge found that, based on the evidence submitted by the defendant, the alleged abuse could not have happened as claimed by the
plaintiff. The judge found that it had been shown by clear and convincing evidence that the plaintiff made false statements in court under oath for the purpose of
obtaining the 209A order and that her false assertions constituted a fraud on the court. The judge further found that the harm to the defendant in maintaining a record
of the 209A order outweighed the government's interest in keeping the record in the system. The commissioner filed this appeal.

Discussion. 1. Timeliness of appeal. The judge's allowance of the defendant's motion to vacate the 209A order and to expunge all records of such order was endorsed
on the defendant's motion as "[a]llowed," with the date of March 30, 2015. No separate order was signed and the docket reflected only that the "motion to vacate RO
Allowed 03/30/15." The commissioner moved for clarification, and the judge, on May 1, 2015, issued findings of fact in furtherance of her order to expunge. The
findings were docketed on May 5, 2015, and the commissioner's notice of appeal was filed on July 1, 2015.

The judge thereafter denied the defendant's motion to dismiss the commissioner's appeal as untimely. The defendant, appearing pro se, cross-appealed on that basis
but no longer presses the issue on appeal. We address the issue briefly as a matter of discretion.

The judge did not abuse her discretion in declining to dismiss the commissioner's appeal. In ruling on the defendant's motion to vacate the 209A order and to expunge,
the judge's endorsement of "[a]llowed," to the extent it was intended to address expungement, was not clearly indicated by memorandum or order, nor did the docket
entry reflect the substance of the order regarding expungement, as required by Mass.R.Civ.P. 79(a), 365 Mass. 839 (1974). In our

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view, the disposition of the defendant's motion did not clearly denote an order of expungement so as to give notice that the period for filing an appeal was triggered.
See Department of Rev. v. Mason M., 439 Mass. 665 , 673 (2003); Zielinski v. Connecticut Valley Sanitary Waste Disposal, Inc., 70 Mass. App. Ct. 326 , 330-332
(2007). In these circumstances, the judge's subsequent findings of fact and order to expunge, the substance of which were recorded on the docket on May 5, 2015,
started the appeal period. As such, the commissioner's notice of appeal, filed within the sixty-day limit permitted agencies of the Commonwealth under Mass.R.A.P.
4(a), as amended, 464 Mass. 1601 (2013), was timely.

2. Fraud on the court. Records of abuse prevention orders are not to be expunged from the Statewide domestic violence registry (registry) absent a showing that the
order was obtained through the commission of fraud on the court. Silva v. Carmel, 468 Mass. 18 , 24-25 (2014). Here, the judge's subsidiary findings concerning the
plaintiff's actions and allegations in pursuing the 209A order did not support her ultimate finding that the conduct constituted a fraud on the court. "A 'fraud on the
court' occurs where it can be demonstrated, clearly and convincingly, that a party has sentiently set in motion some unconscionable scheme calculated to interfere with
the judicial system's ability impartially to adjudicate a matter by improperly influencing the trier or unfairly hampering the presentation of the opposing party's claim or
defense." Adams, 65 Mass. App. Ct. at 729-730, quoting from Rockdale Mgmt. Co. v. Shawmut Bank, N.A., 418 Mass. 596 , 598 (1994).

The judge did not specifically find that the plaintiff's claim of abuse was sentiently false, though the judge did find that the false allegation was made for the purpose of
obtaining the 209A order. [Note 6] From this, the defendant argues that the judge's findings satisfied

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the Adams standard because the plaintiff obtained the 209A order with the requisite awareness that her assertion of abuse was false.

However, while suggesting a deliberate purpose to the plaintiff's use of a false allegation -- to obtain the 209A order -- the judge's findings concerning the plaintiff's
conduct did not add up to a larger plan intended to harass the defendant or to undermine the judicial process, as was the case in Adams. Here, there was no finding
that the plaintiff's conduct was undertaken as part of a "larger pattern of harassment" or "unconscionable scheme calculated to interfere with the judicial system's
ability impartially to adjudicate a matter." Id. at 729, 730. We think it important to distinguish between a false allegation, on the one hand, and a deliberate scheme,
on the other, typically involving others in the court system, combined with a larger pattern of harassment, that has been held to constitute fraud on the court. See
MacDonald v. MacDonald, 407 Mass. 196 , 202 (1990) ("Examples are bribery of judges, employment of counsel to 'influence' the court, bribery of the jury, and the
involvement of an attorney [an officer of the court] in the perpetration of fraud" [citation omitted]). Compare Wojcicki v. Caragher, 447 Mass. 200 , 210-211 (2006)
(false testimony, alone, would not support a finding of fraud on the court, without evidence of more egregious conduct).

The judge's findings in this case point to a single instance of a party using a false allegation of abuse to procure a 209A order in an ex parte proceeding. At the hearing
after notice, the plaintiff, through her attorney, did not recant from her earlier allegation; she merely sought to terminate the order. It was the defendant's own view, at
the time of the hearing after notice, that the plaintiff suffered from alcohol addiction and did not knowingly make a false complaint. We understand that these are
extremely difficult cases for everyone involved -- for plaintiffs who may (or may not) be disclosing personal information with likely serious consequences for their
families and even for their safety; for defendants who face serious collateral consequences from the issuance of even an ex parte order, and who may not, in fact, have
committed any abuse; and for judges who are charged with determining the truth.

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Nonetheless, we also have in mind that "'[t]here is nothing in St. 1992, c. 188, § 7, or in G. L. c. 209A, that permits a record to be removed or that authorizes the
entry of a judicial order directing expungement of a record from the system.' [Vaccaro v. Vaccaro, 425 Mass. 153 , 156 (1997)]. 'The system is designed to promote
the goal of preventing abuse . . . by providing a judge (and other authorized agencies) with complete information about a defendant.' Id. at 157." Adams, 65 Mass.
App. Ct. at 728. Furthermore, in Vaccaro, supra at 157-158, the Supreme Judicial Court noted,

"The system is designed to promote the goal of preventing abuse as prescribed by a variety of statutes by providing a judge (and other authorized agencies) with
complete information about a defendant. Such information 'can be essential to providing protection for the plaintiff.' See Guidelines [for Judicial Practice: Abuse
Prevention Proceedings (Oct. 1996)], commentary to Guideline 2:10. Because all restraining and protective orders are listed, both active and inactive, a judge may be
better able to identify situations in which the plaintiff 'may face a particularly heightened degree of danger.' Id. at commentary to Guideline 3:05. . . . The power of
expungement cannot be a necessary or inevitable implication of the statutory mandate to record such orders and make them available to judges or other authorized
agencies. On the contrary, such a power would be inconsistent with the manifest purpose of G. L. c. 209A and other abuse prevention statutes."

In Adams, supra at 729, this court carved out a narrow exception for fraud on the court where "[i]n essence, the District Court judge found . . . that '[the nineteen]
allegations by [Jones] are false and perjurious'; '[his behaviors] are indicative of an obsessive compulsion that is extremely alarming'; '[t]he seeking of the restraining
order . . . is part of a larger pattern of harassment'; and '[i]n addition to filing affidavits that contain falsehoods . . . , [Jones] has falsely complained of [Adams] to the
Board of Bar Overseers.'" In so doing, we also explicitly distinguished Vaccaro, stating, "Allowing expungement in this case does not offend the Supreme Judicial
Court's rationale in Vaccaro. As the court stated in that case, the purpose of G. L. c. 209A is to protect prospective victims. [Vaccaro], 425 Mass. at 157. In the case
before us, Adams was the victim of abuse. The 209A order against her was obtained fraudulently as a means of retaliation

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against her for seeking a 209A order against Jones, and the court was used as a mechanism to perpetrate the fraud." Adams, supra at 734-735 (footnote omitted).

Applying this reasoning to the present case, we are satisfied that something considerably more systemic or egregious than what is shown here is required to constitute
fraud on the court and therefore to outweigh the public interest in the commissioner's statutory mandate to maintain 209A records for use by the courts and other
authorized agencies. See Vaccaro, supra.

Based on the foregoing, the order denying the defendant's motion to dismiss the commissioner's appeal is affirmed. The order to expunge all records of the 209A order
is vacated, and a new order is to enter denying the motion.

So ordered.



   FOOTNOTES

   [Note 1] The defendant below appealed only the denial of his motion to dismiss the commissioner's appeal as untimely. He does not press that issue here, discussed infra.

   [Note 2] Specifically, plaintiff's counsel told the judge that his client had been beaten "pretty badly [and that the defendant had] punched her in the face, grabbed her arms,
   bruising them. Her ankle was injured in the process. Uh, he punched her really badly. I mean, the -- the injuries are horrific. . . . She's got a big black eye. All of her arms are
   bruised. Her ankle was bruised." Plaintiff's counsel also said that the plaintiff had been admitted first to the Salem Hospital intensive care unit and then to a rehabilitation facility
   as a result of injuries to her ankle and knee. He represented that he had "a number of photographs . . . which really tell the story," and that the photographs would show how
   severe the beating had been. Plaintiff's counsel told the judge that it was his understanding that there had been a long-standing pattern of abuse in the marriage and that his
   client was "very reticent and has great difficulty talking about it. It was difficult to get her to assist in the affidavit." He told the judge that the plaintiff had been in the
   rehabilitation facility since the incident and was scheduled to be discharged the following day -- accounting for the reporting delay. Also, the lawyer represented that his client
   initially had insisted that she had fallen, but that medical personnel at both the hospital and the rehabilitation facility had "found that the injuries were not consistent with a fall."
   In the lawyer's view, the photographs would corroborate his argument that the injuries were not consistent with a fall. He stated that the plaintiff's children from a prior marriage
   had met with him months ago in connection with the pending divorce action "and laid out a very serious pattern of abuse." Finally, he said that his client had only recently agreed
   to disclose the abuse because "you've got someone who is somewhat in denial and reluctant to go forward, for fear of embarrassing her husband or . . . embarrassing the family."

   [Note 3] Defense counsel continued, "I have witnesses subpoenaed here. I just wanted to make an offer of proof and like this -- and would like this order . . . terminated nunc pro
   tunc. I have . . . video evidence. I have . . . the parties' 19-year-old daughter . . . . [T]he plaintiff told her that she fell, not that . . . her father had . . . hit her. My client was at
   work all day. I have video evidence from the security cameras and from the office manager for the [city] that . . . [D.E.D.] was at work from around 10:30 in the morning till eight
   o'clock at night. I have . . . video evidence or . . . [ten]-minute time shots . . . of his car right outside the [city]. . . . And I would really [ask] . . . that this be . . .vacated or
   [terminated] nunc pro tunc."

   [Note 4] "The . . . video evidence that my attorney . . . referred to shows me arrive at work at the City . . . at . . . about 10:40 A.M. It shows me leave the building at 12:06 . . .
   P.M. to move my car. And it shows me returning two minutes later -- and parked my car right in view of a -- of a high-definition video camera. And then it shows me leave -- . . . a
   fifth video shows me leave the building at eight o'clock P.M. And then . . . video slices of every ten minutes, from 11:30 A.M. to 8:30 P.M., show my car in the exact same spot.
   Never moved. [M]y office manager . . . who I work with, . . . is here. She will testify that I was at work all day."

   [Note 5] The record does not indicate whether the plaintiff or any attorney representing her appeared at the hearing on the motion to vacate and to expunge; her counsel filed a
   motion to withdraw on March 25, 2015, and the motion was allowed on April 7.

   [Note 6] The record appendix is incomplete. It contains none of the affidavits offered by the defendant to substantiate his claim that he could not have committed the abuse.
   Specifically, the defendant claimed in his "concise statement of facts and law . . . in support of [his] motion to vacate ab initio abuse prevention order . . . and all records of such
   order" that he had attached an affidavit from his daughter representing that the plaintiff (her mother) had told her daughter that the injuries were caused by a fall. He also
   represented that there was a second affidavit from a colleague in his office averring that the defendant had been in the office from 10:30 A.M. until 8:30 P.M. on December 3,
   2014. A third affidavit, he represented, would show recorded images of his car parked at city hall. On the bare record we do have, it is neither clear nor convincing that the initial
   allegation was false and there is no recantation here from the plaintiff -- only a request to terminate the 209A order. Nevertheless, the judge observed each of the parties, albeit
   at different times, and her questions show that she paid close attention at each hearing. In addition, the judge had the benefit of reading the defendant's affidavits. For all of those
   reasons, we cannot say that she was wrong when she concluded the initial allegation was false.


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           Rockdale Management Co. v.                                                                                                Case Details

           Shawmut Bank, N.A.                                                                                                        Full title: ROCKDALE
                                                                                                                                     MANAGEMENT CO., INC.,
                                                                                                                                     others vs. SHAWMUT BANK,
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                                                                                                                                     N.A


                                                                                                                                     Court: Supreme Judicial
                                                                                                                                     Court of Massachusetts.
           Summary                                                                                                                   Bristol

           Upholding dismissal for proffering forged document, providing misleading                                                  Date published: Aug 12,
           answers to interrogatories, and giving false deposition testimony                                                         1994
           Summary of this case from Cent. Bank v. Hanson

           See 3 Summaries
                                                                                                                                     Citations     Copy Citations

                                                                                                                                     418 Mass. 596 (Mass. 1994)
                                                                                                                                     638 N.E.2d 29

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                                                                                                                                     Commonwealth v. Cotto
                                                                                                                                     Their conduct constitutes a
                                                                                                                                     fraud upon the court. See
           Opinion                                                                                                                   Rockdale Management Co.,
                                                                                                                                     Inc. v. Shawmut Bank,…

           May 2, 1994.
                                                                                                                                     Commissioner of
           August 12, 1994.                                                                                                          Probation v. Adams
                                                                                                                                     It has been repeatedly held
           Present: LIACOS, C.J., WILKINS, ABRAMS, NOLAN, LYNCH, O'CONNOR,                                                           that courts have the inherent
           GREANEY, JJ.                                                                                                              power to revoke judgments
                                                                                                                                     obtained by fraud on the…
           Practice, Civil, Dismissal. Fraud. Due Process of Law, Notice, Hearing.
                                                                                                                                         59 Citing Cases
           In a civil action, the judge properly allowed the defendant's motion to
           dismiss the complaint for the plaintiﬀs' fraud on the court where the record
           clearly demonstrated that the plaintiﬀs undertook a course of conduct
           intended improperly to influence and deceive the defendant and the court,
           namely, the forgery of a document to prove damages, proﬀering the
           document in response to interrogatories, testimony under oath as to the
           document's authenticity and admitting to the forgery only after other
           testimony revealed the deception. [598-600] O'CONNOR, J., concurring. In
           a civil action, there was no merit to the plaintiﬀs' claim that they were
           entitled to an evidentiary hearing on the defendant's motion to dismiss the
           complaint, where the plaintiﬀs were aﬀorded notice and an opportunity to
           be heard and where there were no contested issues. [600] A claim in a civil
           action was properly dismissed by agreement of the parties. [601]

           CIVIL ACTION commenced in the Superior Court Department on March
           27, 1992.

           The case was heard by Maria I. Lopez, J., on a motion to dismiss.

           The Supreme Judicial Court granted a request for direct appellate review.

           John J. Gushue for the plaintiﬀs.

      597 Michael C. Gilleran ( Michael W. Sobol with him) for defendant. *597



           NOLAN, J.

           The principal issue on appeal is the correctness of the allowance of the
           defendant's (Shawmut's) motion to dismiss. There was no error.

           The plaintiﬀs, Rockdale Management Co., Inc. (Rockdale), Vincent
           Fernandes (Fernandes), and Geraldine R. Fernandes, filed a complaint
           against Shawmut alleging, inter alia, that Shawmut fraudulently concealed
           the gasoline and petroleum contamination of property purchased by
           Rockdale from Shawmut at public auction. The plaintiﬀs alleged fraud and
           negligence and sought contribution and indemnification under G.L.c. 21E
           (1992 ed.), and unfair and deceptive practices under G.L.c. 93A (1992 ed.).

           In response, Shawmut pleaded a denial of wrongdoing and further in
           defense aﬃrmatively asserted the exemption from liability accorded a
           lender under G.L.c. 21 and the statute of limitations.

           The parties propounded interrogatories to each other, made demands for
           documents, and took several depositions. Shawmut filed a motion for
           summary judgment which was denied. Additional depositions were taken,
           and Shawmut filed a motion to dismiss based on the fraud of Vincent
           Fernandes, the president of Rockdale, who admittedly forged a letter
           maintaining that it came from Sun Refining and Marketing Company (Sun).
           The letter reported that Sun was prepared to lease the property purchased
           by Rockdale. The letter, on Sun letterhead, recited that Sun was prepared to
           lease the property from Rockdale for $12,000 a month and to advance
           $150,000 for equipment. The plaintiﬀs incorporated this forged letter by
           reference in an answer to an interrogatory propounded to them. Rockdale
           also sent the letter to a real estate appraiser and to Shawmut in support of
           its claim for damages allegedly incurred as a result of purchasing the
           contaminated property.

          At a deposition, Fernandes testified under oath that the letter was genuine.
          After the nominal author of the Sun letter testified at his deposition that he
          did not sign the letter and that contents of the letter were false, Fernandes
      598 recanted his earlier testimony and admitted the forgery. *598

           Shawmut filed a motion for default or dismissal to which the plaintiﬀs filed
           an opposition. A hearing was held on the motion. The judge ruled that
           Rockdale had committed a fraud and allowed Shawmut's motion to dismiss.

           1. Motion to dismiss. The motion judge relied on Aoude v. Mobil Oil Corp., 892
           F.2d 1115 (1st Cir. 1989), in which a motion to dismiss was allowed on the
           ground that the plaintiﬀ service station operator had authored "a bogus
           purchase agreement" and annexed the agreement to the complaint. The
           dismissal was aﬃrmed because the conduct of the plaintiﬀ amounted to a
           fraud on the court. Id. at 1118.

           Fraud on the court occurs where a party tampers with the fair
           administration of justice by deceiving "the institutions set up to protect and
           safeguard the public" or otherwise abusing or undermining the integrity of
           the judicial process. Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238,
           246 (1944). The United States Court of Appeals for the First Circuit
           skillfully defined the concept of fraud on the court in Aoude, supra at 1118, as
           follows: "A `fraud on the court' occurs where it can be demonstrated, clearly
           and convincingly, that a party has sentiently set in motion some
           unconscionable scheme calculated to interfere with the judicial system's
           ability impartially to adjudicate a matter by improperly influencing the trier
           or unfairly hampering the presentation of the opposing party's claim or
           defense."

           When a fraud on the court is shown through clear and convincing evidence
           to have been committed in an ongoing case, the trial judge has the inherent
           power to take action in response to the fraudulent conduct. The judge has
           broad discretion to fashion a judicial response warranted by the fraudulent
           conduct. Dismissal of claims or of an entire action may be warranted by the
           fraud, see, e.g., Aoude, supra at 1118, as may be the entry of a default
           judgment, see, e.g., Eppes v. Snowden, 656 F. Supp. 1267, 1279 (E.D. Ky. 1986).
           We examine judicial responses to findings of fraud on the court for an abuse
           of discretion.

          In the present case, the record clearly illustrates a course of conduct taken
      599 by Rockdale intended improperly to influence *599 and deceive Shawmut and
          the court. Rockdale, through its president, Fernandes, forged a letter
          concerning lease arrangements with Sun in an eﬀort to prove damages,
          proﬀered that letter in response to interrogatories propounded by Shawmut
          concerning damages, testified under oath as to the authenticity of the letter,
          and recanted that his testimony and admitted the forgery only after the
          deposition testimony of the nominal author of the letter revealed the
          deception. The motion judge dismissed the action on a showing of these
          facts. In Aoude, supra at 1119, the court recognized, as we do, the availability
          of options other than dismissal to punish a party wrongdoer who stoops to
          fraud. However, we cannot say that the motion judge abused her discretion
          in selecting the severe option of dismissal. See Wyle v. R.J. Reynolds Indus.,
          Inc., 709 F.2d 585, 589 (9th Cir. 1983). Dismissal for fraud on the court has
          been held to be appropriate in cases involving conduct similar to that of
          Rockdale. See, e.g., Sun World, Inc. v. Lizarazu Olivarria, 144 F.R.D. 384, 390-
          391 (E.D. Cal. 1992) (entry of default judgment in favor of plaintiﬀ
          warranted where defendant proﬀered forged document in furtherance of his
          defense and counterclaim and testified falsely as to the document's
          authenticity); Wyle, supra at 589-591 (dismissal warranted either under Fed.
          R. Civ. P. 37 or pursuant to the court's inherent powers where defendant
          falsely denied facts through sworn testimony and answers to
          interrogatories, and wilfully failed to comply with discovery orders).

          For the benefit of the trial courts in subsequent cases, we now outline
          conduct which has been determined in other jurisdictions to warrant
          dismissal or the entry of a default judgment for fraud on the court. We
          acknowledge that the determination whether a fraud on a court has been
          committed is a case-by-case, fact-specific determination; we oﬀer the
          following merely for guidance. Dismissal or entry of a default judgment for
          fraud on the court has been warranted for creating and presenting false
          evidence in support of a claim or defense, see, e.g., Hazel-Atlas Glass Co.,
      600 supra at 250 ("Had the District Court learned of the fraud . . . it would *600
          have been warranted in dismissing [the] case"); Aoude, supra; destroying
          evidence and otherwise impeding the discovery process, see, e.g., Synanon
          Church v. United States, 579 F. Supp. 967, 974 (D.D.C. 1984), aﬀ'd, 820 F.2d 421
          (D.C. Cir. 1987); oﬀering false and misleading testimony, see, e.g., Nichols v.
          Klein Tools, Inc., 949 F.2d 1047, 1049 (8th Cir. 1991); Eppes, supra; United
          Business Communications, Inc. v. Racal-Milgo, Inc., 591 F. Supp. 1172, 1187 (D.
          Kans. 1984); and falsifying past deposition testimony, see, e.g., Combs v.
          Rockwell Int'l Corp., 927 F.2d 486, 488 (9th Cir. 1991). It is important to
          reiterate that it must be shown through clear and convincing evidence that a
          party's fraudulent conduct is part of a pattern or scheme to defraud.2

                 2 We also note that there exists a significant distinction between fraud on the

                     court discovered before the entry of a judgment in an action, and fraud
                     discovered after the entry of a judgment. Our discussion has focused on and
                     is limited to the former.

           Rockdale, in proﬀering a forged document, providing misleading answers to
           interrogatories, and giving false deposition testimony, to use the words of
           Aoude, "has sentiently set in motion [an] unconscionable scheme calculated
           to interfere with the judicial system's ability impartially to adjudicate a
           matter." Aoude, supra at 1118.

           2. Hearing. The plaintiﬀs argue that they were constitutionally entitled to an
           evidentiary hearing on the motion to dismiss. There is no merit to this
           contention because Fernandes admitted the forgery and, hence, there was
           no need for a hearing to take evidence. Furthermore, the plaintiﬀs neither
           demanded an evidentiary hearing in the Superior Court nor raised any
           constitutional issue there. See Tamerlane Corp. v. Warwick Ins. Co., 412 Mass.
           486, 491 (1992).

           Due process requires only notice and an opportunity to be heard. The
           plaintiﬀs were aﬀorded both. See MacDonald v. MacDonald, 407 Mass. 196,
           201 n. 9 (1990). There were no contested issues.

          3. Claim of Geraldine Fernandes. Geraldine Fernandes is the wife of Vincent
          Fernandes who forged the Sun letter. She figured only in count VI of the
      601 complaint and she argues that *601 it was error to dismiss her claim because
          she did not commit the forgery. Count VI was dismissed with prejudice by
          agreement of the parties. Geraldine had no further claim. There was no
          error.

           4. Motion to alter or amend judgment. There is no merit to Rockdale's
           argument that the judge was required to make findings of fact in connection
           with its motion to alter or amend the judgment. Rule 52 (a) of the
           Massachusetts Rules of Civil Procedure, 365 Mass. 816 (1974), provides that
           findings of fact and conclusions of law are unnecessary on such a motion.

           Judgment aﬃrmed.


           O'CONNOR, J. (concurring).

           Because the plaintiﬀ Fernandez admitted to the judge that he had forged the
           letter ostensibly written on behalf of Sun Marketing and Refining Company,
           and because that letter would have been significant evidence favorable to
           the plaintiﬀs, I agree that the judge properly dismissed the case on account
           of fraud on the court.

          I write separately only because I think that a word of caution is in order. The
          precious right of trial by jury is jeopardized by any suggestion that a jury
          case may be dismissed or the defendant may be defaulted whenever a
          motion judge or trial judge, after measuring a party's credibility and without
          the benefit of an admission such as the judge had in this case, finds by "clear
          and convincing evidence" that that party has committed perjury as "part of a
          pattern or scheme to defraud." Ante at 600. In my view, the court unwisely
          goes beyond the necessity of this case, and makes troubling suggestions
          about where it may go in the future, when it states that "[d]ismissal or entry
          of a default judgment for fraud on the court has been warranted for creating
          and presenting false evidence in support of a claim or defense," and then, by
          way of example, cites cases in which "oﬀering false and misleading
          testimony" and "falsifying past deposition testimony" is said to have
      602 occurred. Ante at 599-600. In *602 my view, in a jury case the question
          whether a party's trial or deposition testimony is true or false ought to be
      603 for the jury, not the judge, to decide. *603




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                                                                                                                                          Scott CAPUANO (and a
                                                                                                                                          consolidated case).


           Summary                                                                                                                        Court: Supreme Judicial
                                                                                                                                          Court of Massachusetts

           Recognizing defendant's "difficult choice between testifying in the [G. L.] c.
                                                                                                                                          Date published: Jun 11,
           209A case or asserting his privilege against self-incrimination"
                                                                                                                                          2014
           Summary of this case from M.K. v. D.B.

           See 1 Summary
                                                                                                                                          Citations     Copy Citations

                                                                                                                                          468 Mass. 328 (Mass. 2014)
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                                                                                                                                          In re Adoption Talik
                                                                                                                                          Custody of Two Minors, 396
                                                                                                                                          Mass. at 616, 487 N.E.2d
           Opinion                                                                                                                        1358. See Singh v. Capuano,
                                                                                                                                          468 Mass. 328, 333-334,
           SJC–11491 SJC–11565.                                                                                                           10…


           2014-06-11                                                                                                                     Quilla Q. v. Matt M.
                                                                                                                                          We decide this matter due to
           Aneeta SINGH v. Scott CAPUANO (and a consolidated case ).
                                                                                                                                          the importance of the
                                                                                                                                          statutory policy at stake, and
           Michael J. Licker (Kevin J. Conroy with him), Boston, for the plaintiﬀs.                                                       because of the significant…
           Cindy T.K. Palmquist for Women's Bar Association of Massachusetts, Inc., &
           others, amici curiae, submitted a brief.                                                                                           24 Citing Cases


           IRELAND

      1077 *1077
           Michael J. Licker (Kevin J. Conroy with him), Boston, for the plaintiﬀs.
           Cindy T.K. Palmquist for Women's Bar Association of Massachusetts, Inc., &
           others, amici curiae, submitted a brief.
           Present: IRELAND, C.J., SPINA, CORDY, BOTSFORD, GANTS, DUFFLY,
           & LENK, JJ.


           IRELAND, C.J.

           The plaintiﬀ, Aneeta Singh, appeals from two District Court orders
           extending for three months certain portions of an abuse prevention order
           that had issued against the defendant, Scott Capuano. Singh had sought to
           have the original order extended in its entirety for a full year. We granted
           Singh's applications for direct appellate review and consolidated the appeals.
           While the appeals have been pending, the underlying orders were succeeded
           by other orders, to which Singh does not object.
           2
               We therefore dismiss these appeals as moot. Considering the importance
           of “proper judicial administration of ... restraining orders,” Uttaro v. Uttaro,
           54 Mass.App.Ct. 871, 873 n. 2, 768 N.E.2d 600 (2002), however, we exercise
           our discretion to comment on some of the issues presented.
                   2 Most recently, on January 28, 2014, a judge in the District Court extended

                     the abuse prevention order against Capuano for a period of three years.
                     Singh concedes that “[t]his extension renders moot [her] request for a
                     remand to the [D]istrict [C]ourt.” Although the most recent extension does
                     not aﬀord Singh all of the relief she sought when she applied for an abuse
                     prevention order initially, she has not appealed from it.



           3


                   3 We acknowledge the amicus brief filed by Women's Bar Association of

                     Massachusetts, Inc.; Women's Bar Foundation of Massachusetts, Inc.;
                     Domestic & Sexual Violence Council, Inc.; Domestic Violence Institute at
                     Northeastern School of Law; HarborCOV; Casa Myrna Vasquez, Inc.; Justice
                     Center of Southeast Mass. LLC; Second Step; and Community Legal
                     Services and Counseling Center.



           Facts. On February 14, 2013, Singh filed a complaint in the District Court
           seeking an abuse prevention order against Capuano pursuant to G.L. c.
           209A. After an ex parte hearing, a temporary order issued granting custody
           of the parties' minor child to Singh and directing Capuano to have no
           contact with, to stay at least fifty yards away from, and not to abuse Singh or
           the child. The matter was scheduled to be heard next on February 22, 2013.
           Shortly after the ex parte hearing, Singh filed a report with the police
           concerning the events underlying the c. 209A complaint and also applied for
           criminal complaints against Capuano that eventually issued.

           Both parties appeared with counsel before a second District Court judge on
           February 22, 2013. Despite Singh's request for an evidentiary hearing and to
           have the abuse prevention order extended for one year, the judge expressly
           declined to hold an evidentiary hearing. Instead, the judge extended the
           order until April 11, 2013, and continued the hearing to that date. The judge
           indicated that he believed that the Probate and Family Court was the
           appropriate forum for resolving the matter; he also referred to the possible
      1078 *1078 consequences for Capuano in the criminal proceedings if he were to
           testify in the c. 209A proceeding.

           On April 11, 2013, the parties appeared with counsel before the same judge,
           and Singh again requested a hearing and a one-year extension of the order.
           Once again, the judge declined to hold an evidentiary hearing, referencing
           concerns similar to those he had raised previously. Over Singh's objection
           and without hearing the evidence, the judge declined to extend the no-
           contact and stay-away provisions of the extant order; extended the no-abuse
           provision for three months, until July 11, 2013; stated that the order would
           be subject to any orders of the Probate and Family Court; and continued the
           matter until July 11.

           When the parties returned to the District Court on July 11, 2013, they
           appeared before the judge who initially had granted the ex parte order. Singh
           once again sought an evidentiary hearing and a one-year extension of the c.
           209A order as originally issued. An evidentiary hearing was held, at which
           Singh testified and was cross-examined. Capuano did not testify, but instead
           asserted his privilege against self-incrimination. Singh therefore requested
           that an adverse inference be drawn against Capuano. The judge summarily
           refused to draw an adverse inference, extended the no-abuse provision of
           the order for three additional months, and declined to reinstate the no-
           contact and stay-away provisions that initially had been part of the order.

           Discussion. Because of the extraordinary sensitivity of abuse prevention
           matters, the applicable statute, G.L. c. 209A, and the guidelines promulgated
           by the Trial Court call for prompt evidentiary hearings on the merits of
           applications for such orders. See Guidelines for Judicial Practice: Abuse
           Prevention Proceedings § 5:00 (Sept. 2011) (Guidelines) (“A hearing after
           notice in a c. 209A case should be scheduled as soon as possible after an ex
           parte order is issued, but in no event later than ten court business days after
           the issuance of such an order”); id. at § 5:01 (“The hearing after notice in a c.
           209A action at which both parties appear is an adversarial proceeding in
           which both parties must be allowed to present evidence”). See also S.T. v.
           E.M., 80 Mass.App.Ct. 423, 429, 953 N.E.2d 269 (2011) (“absent serious court
           congestion or some other emergency, judges should hear and decide
           scheduled [c. 209A] matters if the parties are ready and wish to have a
           hearing”). Without first hearing the evidence, a judge should not, over
           objection, vacate any provision of a c. 209A order once issued, as the judge
           in this case did with the no-contact and stay-away provisions.
           4
               Id. at 429–430, 953 N.E.2d 269 (“judges should not issue, or vacate, any part
           of an abuse prevention order, over objection, without hearing the evidence
           and giving the parties an opportunity to respond”).
                   4 It is also incumbent on District Court judges to ensure that any District

                     Court orders issued pursuant to G.L. c. 209A are consistent with related
                     orders entered in the Probate and Family Court. See Guidelines for Judicial
                     Practice: Abuse Prevention Proceedings §§ 1:11, 2:07, 12:00 et seq., 13:00
                     (Sept. 2011).



           Specifically, the statute and guidelines contemplate that notice will be given
           to the defendant and an evidentiary hearing will be held within ten days of
           the temporary, ex parte order. Barring an agreement of the parties or
           emergency circumstances, both sides are entitled to an evidentiary hearing
           within ten days.
          5
      1079 *1079 See Guidelines, supra at § 4:00 (“Orders entered after an ex parte
           hearing should have duration of no more than ten court business days”); id.
           at commentary (“the ex parte orders should last only until the hearing after
           notice can be held, and that hearing should be scheduled for a date as soon
           as possible, consistent with service on the defendant, and, in any event, no
           more than ‘ten court business days' after the ex parte hearing. G.L. c. 209A, §
           4, second par.”); id. at § 5:01. As in all cases, a judge in a c. 209A proceeding
           has a measure of discretion regarding the scheduling of hearings, but
           continuances must not be granted lightly, especially in a c. 209A case. The
           decision to continue or suspend a hearing or to postpone the receipt of
           evidence must be made in light of the judicial responsibility to hear and
           decide cases in a manner that is consistent with the purposes of the statute
           and the interests of justice. As we recognized in Soe, Sex Oﬀender Registry Bd.
           No. 252997 v. Sex Oﬀender Registry Bd., 466 Mass. 381, 391–392, 995 N.E.2d 73
           (2013), quoting Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 97,
           99–100 (2d Cir.2012), “the person seeking a continuance or a stay of
           proceedings ‘bears the burden of establishing its need,’ ” and “a
           particularized inquiry into the competing circumstances of, and the
           competing interests in, the case” is required. See Commonwealth v. Taylor,
           428 Mass. 623, 627–628, 704 N.E.2d 170 (2007) (discussing pretrial
           continuances without change of plea in criminal cases; stating that judges
           must exercise discretion to grant continuances “only when based upon
           cause and only when necessary to insure that the interests of justice are
           served,” citing Mass. R. Crim. P. 10 [a] [1], 378 Mass. 861 [1979] ). This is
           especially important in c. 209A proceedings, which focus on the applicant's
           need for protection, and where the consequences of holding a prompt
           hearing can be significant. See, e.g., Moreno v. Naranjo, 465 Mass. 1001, 1002,
           987 N.E.2d 550 (2013).
                   5 It is not appropriate for a judge, over either side's objection, to extend an ex

                     parte order and continue the case for months without a hearing, as was
                     done here.



           6


                   6 The judge in this case appears to have continued the case on his own

                     initiative, not in response to any motion by the defendant. The same general
                     principles apply, however. Regardless whether a case is continued at the
                     request of a party or on a judge's own initiative, it must only be done based
                     on demonstrated need and a careful weighing of the competing interests
                     and circumstances.



           In this case, neither the pending criminal proceedings against Capuano nor
           the fact that Singh could have sought relief in the Probate and Family Court
           provided a basis for continuing the matter without holding an evidentiary
           hearing. See Guidelines, supra at 2:07 (“Plaintiﬀs initially seeking relief in
           the District Court, the Boston Municipal Court or the Superior Court
           Department should not be referred to the Probate and Family Court
           Department for any relief that is within the initial court's jurisdiction”); id.
           at commentary (“If the court in which a person initially seeks protection
           under c. 209A has jurisdiction, the person should be heard as soon as
           possible in court, and should not be sent to another court”). See also S.T. v.
           E.M., 80 Mass.App.Ct. at 430, 953 N.E.2d 269 (“G.L. c. 209A[, § 2,] gives a
           choice of forum to the plaintiﬀ.... A judge should not, sua sponte and over
           objection, discontinue an abuse prevention proceeding because he believes
           it should move to another forum—whether that forum is mediation, a
           criminal court, or another Trial Court department”). Notwithstanding that
           Capuano faced a potentially diﬃcult choice between testifying in the c. 209A
           case or asserting his privilege against self-incrimination, Singh was
      1080 nevertheless*1080 entitled to a prompt evidentiary hearing on her claim
           under c. 209A.

           We also comment briefly on the permissible use of an adverse inference
           when a defendant in a civil abuse prevention matter, who also faces criminal
           charges, declines to testify and instead asserts his privilege against self-
           incrimination in the abuse prevention case. It is well settled that a fact
           finder may, but is not required to, draw an inference adverse to the
           nontestifying defendant in such a situation. See Frizado v. Frizado, 420 Mass.
           592, 596, 651 N.E.2d 1206 (1995) (“An inference adverse to a defendant may
           properly be drawn ... from his or her failure to testify in a civil matter such
           as this, even if criminal proceedings are pending or might be brought against
           the defendant.... The fact that the defendant may refuse to testify on the
           ground of self-incrimination does not bar the taking of an adverse
           inference”). But there is a diﬀerence between, on the one hand, a fact finder
           considering whether to draw such an inference and declining to do so, and,
           on the other hand, the fact finder refusing outright even to entertain the
           possibility of drawing the inference. The situation is akin to one where a
           judge, with discretion to rule on a matter, fails or refuses to exercise that
           discretion, as to which we have said:

           “The term discretion implies the absence of a hard-and-fast rule. The
           establishment of a clearly defined rule of action would be the end of
           discretion, and yet discretion should not be a word for arbitrary will or
           inconsiderate action. ‘Discretion means a decision of what is just and proper
           under the circumstances.’ The Styria v. Morgan, 186 U.S. 1, 9 [22 S.Ct. 731, 46
           L.Ed. 1027 (1902) ], quoted in Paquette v. Fall River, 278 Mass. 172, 174 [179
           N.E. 588 (1932) ].”
           Long v. George, 296 Mass. 574, 578, 7 N.E.2d 149 (1937). See Pierce v. Pierce, 455
           Mass. 286, 293, 916 N.E.2d 330 (2009); Lonergan–Gillen v. Gillen, 57
           Mass.App.Ct. 746, 749, 785 N.E.2d 1285 (2003), quoting Berryman v. United
           States, 378 A.2d 1317, 1320 (D.C.1977) (“Where discretion to grant relief
           exists, a uniform policy of denying relief is error”). When a defendant has
           asserted his privilege not to testify, a judge, as fact finder, is required to
           carefully consider all the circumstances of the case when making the
           decision whether to draw an adverse inference. In this case, if the judge's
           statement that he would “not draw an adverse inference for [Capuano's]
           refusal to testify when there's a pending criminal matter” reflected a hard-
           and-fast rule never to draw an adverse inference against nontestifying
           defendants, it would have been improper. The assertion of the privilege
           against self-incrimination ought to have been considered and weighed as
           part of the evidence in the case. Andrews v. Frye, 104 Mass. 234, 236 (1870).
           While the decision whether to draw an adverse inference based on
           Capuano's failure to testify was ultimately one for the judge as fact finder,
           the judge was obliged to consider whether such an inference was fair and
           reasonable based on all the circumstances and evidence before him.

           Finally, neither a defendant's visitation rights nor the pendency of criminal
           proceedings is an appropriate consideration in establishing the duration of a
           G.L. c. 209A order. The exclusive focus must be on the applicant's need for
           protection. As we said in Moreno v. Naranjo, 465 Mass. at 1002 n. 2, 987
           N.E.2d 550:

           “The Trial Court's guidelines for proceedings under G.L. c. 209A strongly
           suggest that an order after notice should be for a minimum of one year,
      1081 unless the plaintiﬀ requests a shorter period or the *1081 court finds that a
           shorter period is warranted, and that orders for shorter periods should not
           be routinely issued over the plaintiﬀ's objection. Guidelines for Judicial
           Practice: Abuse Prevention Proceedings § 6.02 & commentary (Sept. 2011).”
           See Iamele v. Asselin, 444 Mass. 734, 739, 831 N.E.2d 324 (2005). In this case,
           the plaintiﬀ was granted multiple orders for periods of less than one year,
           following proceedings at which it appears that factors other than her need
           for protection improperly were considered.

           Conclusion. To fulfil the intended purposes of the statute, the procedure in
           abuse prevention matters pursuant to G.L. c. 209A should hew closely to the
           terms of the statute and the applicable Trial Court guidelines. It is essential,
           among other things, that hearings be held promptly. Neither the pendency
           of criminal proceedings against the defendant nor a judicial preference that
           the matter be decided in another forum is an appropriate consideration in
           deciding whether to continue a hearing. Decisions to grant, deny, extend,
           modify, or vacate orders must be based on the evidence, after hearings, and
           only upon proper considerations, and orders that are granted must be of
           suﬃcient duration to protect the plaintiﬀ, for whose benefit they are issued.

           Appeals dismissed as moot.




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                                                                             Case 2:21-cv-01412-ART-EJY   Document 452-1     Filed 01/09/25   Page 62 of 78


           S.T. vs. E.M.
80 Mass. App. Ct. 423
May 12, 2011 - September 19, 2011
Court Below: District Court Department, Somerville Division

Present: WOLOHOJIAN, MILKEY, & HANLON, JJ.

   Abuse Prevention. Due Process of Law, Abuse prevention. Witness.

   In an abuse prevention proceeding brought in District Court pursuant to G. L. c. 209A, the judge impermissibly prevented the plaintiff from calling the defendant as a witness; therefore, this court
   vacated the judge's order, which vacated a protective order previously issued against the defendant, and remanded the matter for a new hearing. [428-429]

   Statement regarding the minimum standards of fairness that must be observed at abuse prevention proceedings conducted under G. L. c. 209A. [429-431]

   COMPLAINT for protection from abuse filed in the Somerville Division of the District Court Department on February 23, 2010.

   An abuse prevention order was vacated by Neil J. Walker, J.

   Thomas R. Ayres, II (Kristyn M. Bunce with him) for the plaintiff.

   Jill S. Gately for the defendant.




HANLON, J. The plaintiff appeals from the decision of a District Court judge vacating an abuse prevention order, previously issued against the defendant, pursuant to
G. L. c. 209A. She argues that the judge impermissibly prevented her from calling the defendant as a witness at the hearing. We agree.

The plaintiff applied for and received an ex parte abuse prevention order on February 23, 2010. [Note 1], [Note 2] On March 10, 2010, both

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parties appeared at the court with counsel, apparently ready for the extension hearing, although the defendant's lawyer told the judge that she expected several
witnesses to arrive soon. After the judge read the plaintiff's affidavit, he asked whether officials at the university the parties attended had been consulted; he
expressed a strong preference that the matter be mediated, rather than litigated in court. [Note 3] The judge said that he had, in many cases, resolved such problems
"by at least allowing a restraining order to continue without a hearing for a short period of time and ordering them back into mediation with a report to be filed with the
Court as to . . . the results of that. In doing so, the restraining order exists only as to abuse. Everything else is deleted or vacated to allow the students to attend
classes and be on the campus . . . ." The defendant's lawyer objected to extending the restraining order in any form, stating her view

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that if the judge heard the evidence, he would agree that even a no abuse order was inappropriate, because it was not supported by the evidence. The judge
responded that he did not think his order was "going to affect anybody because any order that [he issued would be] continued specifically without a hearing and with
specifically taking no evidence, with the thought that, again, you know, the matter can be mediated and/or, you know, taken to the authorities at [the university]." The
defendant's lawyer responded that she had witnesses present. The plaintiff's lawyer argued that her client wished to keep the existing order intact. The judge explained
again his preference for mediation, and also stated that any order that he issued would be "mutual, one against the other." The plaintiff's lawyer then stated, "[O]ur
position is just that mediation is inappropriate where one of the students has raped the other student." The judge responded, "Excuse me, that's stricken from the
record. Don't ever say that again on the record, unless you have something that you want to put forth to the Court, because I'll refer [this to the] District Attorney's
office right now. You want that? You got it."

Thereafter, despite the efforts of both parties to persuade the judge to hold an evidentiary hearing on the restraining order, [Note 4] he suspended the proceeding and
arranged for an assistant districtattorney to come to the courtroom to speak with the plaintiff. The judge said that if the prosecutor felt "there [was] any merit, then a
complaint should be filed." In the meantime, he would give the parties "a month within which to further confer with the authorities at [the university]."

At the request of the defendant's lawyer, the judge retained jurisdiction of the matter; in the meantime, he vacated all but the no abuse and no firearms portions of the
existing restraining order. It is not clear from the record before us whether the judge, in fact, also issued a mutual order against the plaintiff. See G. L. c. 209A, § 3, as
appearing in St. 1990, c. 403, § 3("A court may issue a mutual restraining order or mutual no-

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contact order pursuant to any abuse prevention action only if the court has made specific written findings of fact").

The parties appeared before the same judge three weeks later; he told them that he would not have time to hear the case, due to court congestion. He again
suggested that mediation would be appropriate, saying, "You're in effect throwing on the Court what is really the obligation of the university to assist their students,
especially if [the plaintiff] is seriously concerned about her well-being and safety." When plaintiff's counsel drew the judge's attention to certain language in G. L. c.
209A, § 3 ("No court shall compel parties to mediate any aspect of their case"), the judge responded that he was "not unaware of what the statute says" but that he
was "aware of the practicalities . . . of these matters," adding, "You know, what's the tuition now at [the university]? Whatever it is, that's [an] awful lot of money." He
reiterated that he had an "extremely effective" program at his local university for dealing with these cases.

The defendant's lawyer again argued for a hearing, saying that she had witnesses who would report to the court that mediation had been unsuccessful. The judge
responded that he would ask for a special assignment on a particular day to hear the case. The record indicates that the no abuse and no firearms order was continued
without modification until April 16.

On the next court date, April 16, 2010, a police officer testified about the statement that she had taken from the plaintiff on March 19. [Note 5] The plaintiff then
testified to the following. She and the defendant were in a particular scholars program at the university, and they had had a dating relationship which had deteriorated.
The defendant broke up with her but continued to stay in touch with her, frequently asking personal questions that made her uncomfortable. On one occasion, the two
went out to dinner, and the defendant told her that he regretted his behavior. They ended the night by having sexual relations.

Thereafter, according to the plaintiff, the relationship became increasingly violent. She described an incident in which the defendant screamed at her and grabbed her;
she testified that on

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another occasion, he shoved her into a wall. At some point, she told him that she did not want to have a sexual relationship with him; however, they continued to
spend time together. On November 8, 2009, they spent the evening together in the defendant's dormitory room, eating and watching television. The plaintiff was
taking a prescription pain killer for an injury to her hand. At some point, she started to feel sick and vomited. According to her testimony, the defendant helped her
clean up the vomit and encouraged her to lie on his bed. Thereafter, despite her protests, he touched her sexually and had oral sex with her. The plaintiff testified that,
afterwards, although she tried to avoid him, the defendant harassed her, repeatedly texting her and coming to her room where he would yell, throw things, and kick
the wall. At one point, she said, he drew a "picture of male genitalia" on a message board outside her dormitory room. She also testified that, when she told school
officials that she wanted an order for the defendant to stay away from her, she was told that, if she pursued that course, she would have to drop out of the scholars
program at school.

The plaintiff was cross-examined at some length and in some detail about her medical history at the time of her relationship with the defendant. In particular, she was
asked about her medication history, her gynecological history, an alleged suicide attempt, and an untrue statement she agreed she had made to the defendant about
having lymphoma. She was also asked about meetings with various officials at her school. Finally, she was asked about the alleged rape incident and why she did not
report it immediately. Eventually, the judge took over the questioning and asked why she had come to court when she did, given that the sexual assault was said to
have occurred the previous November.

The plaintiff responded, in essence, that at the time that she came to court, she believed that the university officials were ignoring her; that she was told that she
would have to resign from her program if she insisted on a stay away order; and that she was afraid for her safety. The judge then summarized what he understood to
be the history of the university's handling of the matter and concluded, "And it doesn't appear, at least according to this, that you were in any way happy with that."
The plaintiff responded that she had tried "to work things out" in

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meetings with certain university officials. She told the judge that she had continued to be "terrified all the time" and that the defendant had recently approached her in
the cafeteria and stared at her.

There was then some discussion of exhibits offered by the defense. From all we can discern from the record on appeal, defense counsel was still in the middle of her
cross-examination at this point; there certainly had been no opportunity for redirect examination, and the plaintiff had not rested her case. [Note 6] The judge then
asked the plaintiff's lawyer, "[D]o you have anything else that you want to introduce?" Counsel stated an intent to call the defendant. The judge responded, "You're not
calling [the defendant]. . . . He doesn't have to. There's nothing, nothing to suggest that he can be either called as a witness nor does he have to testify." Counsel
argued that the matter was a civil case and that, if the defendant chose not to testify, the court could draw a negative inference from that choice. The judge
responded, "I beg to differ." Counsel then drew the judge's attention to Frizado v. Frizado, 420 Mass. 592 , 596 (1995) ("The plaintiff must make the case for the
awarding of relief. An inference adverse to a defendant may properly be drawn, however, from his or her failure to testify in a civil matter such as this, even if criminal
proceedings are pending or might be brought against the defendant"). The judge's response was that the plaintiff would not be permitted to call the defendant as a
witness. The defendant never asserted a privilege not to testify, whether directly or through his lawyer. Nor did the judge inquire whether the defendant chose to do so.

There ensued an exchange between plaintiff's counsel and the judge about the credibility of the plaintiff's testimony; the judge inquired several times whether there
was any corroboration. He then said, "The matter stands dismissed." Defense counsel said, "Thank you." The plaintiff's lawyer said, "Excuse me, your honor?" The
defendant's lawyer said, "The matter stands dismissed." The court clerk said, "Again, after a full hearing on the restraining [order], that matter stands dismissed." The
court officer said, "Court, all rise."

Defendant as plaintiff's witness. "The burden is on the complainant

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to establish facts justifying the issuance and continuance of an abuse prevention order." Frizado v. Frizado, 420 Mass. at 596. However, "[a]n inference adverse to a
defendant may properly be drawn . . . from his or her failure to testify in a civil matter such as [an abuse prevention proceeding under G. L. c. 209A], even if criminal
proceedings are pending or might be brought against the defendant." Ibid. See Millennium Equity Holdings, LLC v. Mahlowitz, 456 Mass. 627 , 643-644 (2010). See
also McGinnis v. Aetna Life & Cas. Co., 398 Mass. 37 , 39 (1986), and cases cited.

We recognize that this judge, on these facts, may not have drawn such an inference, eventually, given his apparent view of the plaintiff's case. Nevertheless, the
plaintiff should have been permitted to require the defendant to choose whether to testify. It may be that the defendant would have asserted his constitutional privilege
not to testify, through counsel or otherwise. It is also possible that the defendant would have testified about some of the incidents described by the plaintiff and thus
corroborated, or contradicted, some or all of her testimony. In any event, it was not the judge's prerogative to make that choice for him.

We reverse and remand for a new hearing. We do not mean to intimate how the matter should be decided after a full and fair hearing. Credibility determinations and
an evaluation of the sufficiency of all the evidence are matters for the hearing judge to decide.

We recognize that there is often an informality to c. 209A abuse prevention proceedings in a busy court. See Frizado v. Frizado, 420 Mass. at 598 ("The Legislature
devised a procedure in G. L. c. 209A that is intended to be expeditious and as comfortable as it reasonably can be for a lay person to pursue. Judges often must deal
with large numbers of these emotional matters in busy court sessions"). Nonetheless, certain minimum standards of fairness must be observed. First, absent serious
court congestion or some other emergency, judges should hear and decide scheduled matters if the parties are ready and wish to have a hearing. Second, judges
should not issue, or vacate, any part of an abuse prevention order, over objection, without hearing the evidence and giving the parties an opportunity to

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respond. [Note 7] Third, G. L. c. 209A gives a choice of forum to the plaintiff. See G. L. c. 209A, § 2. A judge should not, sua sponte and over objection, discontinue an
abuse prevention proceeding because he believes it should move to another forum -- whether that forum is mediation, a criminal court, or another Trial Court
department. [Note 8] Fourth, each party should be given a fair opportunity to present his case. [Note 9] While a judge surely may exclude irrelevant

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or inadmissible evidence, or even interrupt an argument or a witness examination that has become repetitious, he should not terminate a hearing without ensuring
that he has heard all the relevant and admissible evidence once. See C.O. v. M.M., 442 Mass. 648 , 657 (2004) ("[W]hile a judge may limit cross-examination for 'good
cause' in certain situations, see Silvia v. Duarte, 421 Mass. 1007 , 1008 [1995]; Frizado v. Frizado, [420 Mass.] at 597-598, judicial discretion is not 'unlimited,' and
'each side must be given a meaningful opportunity to challenge each other's evidence.' Frizado v. Frizado, supra at 598 n.5").

Under all the circumstances of this case, including, particularly, what might be thought to be irregularities in the procedures employed here, we think it better that the
matter be heard before a different judge.

Conclusion. The order vacating the abuse prevention order is vacated, and the matter is remanded for a new hearing before a different judge. [Note 10]

So ordered.



   FOOTNOTES

   [Note 1] In her affidavit supporting the application for the order, the plaintiff stated that she and the defendant were undergraduate students at a nearby university. They began a
   dating relationship in February, 2009; by the end of the year, the defendant "became increas[ing]ly controlling of [her]," refusing to let her do things alone and "always need[ing]
   to know where [she] was." She briefly described incidents in which, she said, the defendant threw things at her, and then related an incident in which, she said, the defendant
   "sexually assaulted" her.

   [Note 2] The order directed the defendant not to abuse the plaintiff; not to have direct or indirect contact with her; to stay away from her residence; and "to leave any common
   area at the college whenever [the plaintiff] is present in that area." In addition, as required by G. L. c. 209A, § 3B, the order directed the defendant to surrender immediately to
   the local police department any "guns, ammunition, gun licenses and [firearms identification] cards."

   [Note 3] The judge stated, "Have the authorities at [the university] been consulted?" When the defendant's lawyer responded that they were on their way to the court, the judge
   stated, "I'm not interested in anybody from [the university] coming in, unless they can tell me that they work with these kids to try to mediate the situation." Both lawyers
   addressed the court: defendant's counsel apparently tried to say that she had called certain school officials as witnesses; plaintiff's counsel stated that the school had "attempted
   a resolution, but at this point [the plaintiff did] not feel safe on campus." The judge interrupted each lawyer and concluded, "I'm sorry and I, again, point out the fact that I've
   been hearing a lot of these cases since I've been here. My home is Lowell. I deal with [a different university], and I deal with them fairly frequently. I am satisfied, in most cases,
   that once the college or university gets involved, they can do a lot more than I can. I will say to you at this point that I will not under any circumstances, unless it can be shown
   otherwise, . . . prevent any student from physically being on the campus, physically attending any and all classes. . . . I'm going to suggest you might want to sit down and
   discuss this because I'm going to tell you I'm going to be hard-pressed to continue an order that's going to prevent one student, okay, as opposed to the other, to attend a private
   institution." The judge continued, for several pages of transcript, explaining that the case should be mediated. He stated that he had had extensive discussions with officials at the
   university near his home court and had encouraged them to solve such problems internally because "any students, before they appear before this Court, or in Lowell at any event,
   they're subject, you know -- and its mandatory, it's not elective. It's not, well, I don't want to do it. It's mandatory that they at least sit down with the dean of students, with the
   proctors . . . ."

   [Note 4] In particular, the defendant's lawyer argued that she had witnesses present, including one from out of State, and asked the judge to hold the case for a hearing later in
   the day. The judge responded that he apologized to the parties, but that he thought it more important that they "now look into the criminal aspects of the case."

   [Note 5] The officer declined to provide any additional information about her investigation, and the judge sustained the plaintiff's objection to defense counsel's questions about it.

   [Note 6] The defendant's lawyer confirmed this view at oral argument.

   [Note 7] See Vittone v. Clairmont, 64 Mass. App. Ct. 479 , 486 (2005) (judge must consider carefully whether serious physical harm is imminent and should not issue a G. L. c.
   209A order "simply because it seems to be a good idea or because it will not cause the defendant any real inconvenience"), quoting from Smith v. Joyce, 421 Mass. 520 , 523 n.1
   (1995). Once an abuse prevention order is issued, it is recorded in a Statewide domestic violence record keeping system created by St. 1992, c. 188, § 7. See Vaccaro v. Vaccaro,
   425 Mass. 153 , 156 (1997) ("There is nothing in St. 1992, c. 188, § 7, or in G. L. c. 209A, that permits a record to be removed or that authorizes the entry of a judicial order
   directing expungement of a record from the system"). Cf. Commissioner of Probation v. Adams, 65 Mass. App. Ct. 725 , 737 (2006) ("[A] judge has the inherent authority to
   expunge a record of a 209A order from the Statewide domestic violence registry system in the rare and limited circumstance that the judge has found through clear and
   convincing evidence that the order was obtained through fraud on the court"). A record of a c. 209A order has long-term collateral consequences for a defendant, creating "a
   blemish on [his] record for the rest of [his] life." Id. at 736. See Frizado v. Frizado, 420 Mass. at 594 n.2.

   [Note 8] See Guidelines for Judicial Practice: Abuse Prevention Proceedings § 2:07 commentary (Dec. 2000) ("If the court in which a person initially seeks protection under c.
   209A has jurisdiction, the person should be heard as soon as possible in that court, and should not be sent to another court"). Referring a case for mediation is particularly
   troubling in light of the statute's explicit directive that "[n]o court shall compel parties to mediate any aspect of their case." G. L. c. 209A, § 3. See Guidelines for Judicial Practice:
   Abuse Prevention Proceedings § 1:01. In addition, research conducted for the United States Department of Justice indicates that, "[d]uring any given academic year, 2.8 percent
   of women [in college] will experience a completed and/or attempted rape . . . [T]he level of rape and other types of victimization found in the survey becomes an increasing
   concern when the victimization figures are projected over a . . . full college career." Fisher et al., Natl. Inst. of Justice & Bureau of Justice Statistics, U.S. Dept. of Justice, The
   Sexual Victimization of College Women 33 (Dec. 2000). See Natl. Inst. of Justice, U.S. Dept. of Justice, Sexual Assault On Campus: What Colleges and Universities Are Doing
   About It 3, 8 (Dec. 2005) ("Less than 5 percent of completed and attempted rapes of college students are brought to the attention of campus authorities and/or law enforcement";
   "A majority of campus administrators believe that requiring victims to participate in adjudication discourages reporting").

   [Note 9] See Guidelines for Judicial Practice: Abuse Prevention Proceedings § 5:01 (Dec. 2000) ("[E]ach side must be given a meaningful opportunity to challenge the other's
   evidence").

   [Note 10] The defendant's request for appellate attorney's fees and costs is denied.


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           United States v. Essex                                                                                                         Case Details


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                                                                                                                                          America, Plaintiff-Appellee, v.
                                                                                                                                          Patricia Ann ESSEX, also…


           Summary                                                                                                                        Court: United States Court of
                                                                                                                                          Appeals, Sixth Circuit

           Holding that § 1503 is not violated merely by making a false statement, id. at
                                                                                                                                          Date published: Feb 24,
           217-18
                                                                                                                                          1969
           Summary of this case from U.S. v. Poindexter

           See 14 Summaries
                                                                                                                                          Citations        Copy Citation

                                                                                                                                          407 F.2d 214 (6th Cir. 1969)


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                                                                                                                                          Id. at 227-28, 66 S.Ct. 78. We
                                                                                                                                          applied Michael in United
                                                                                                                                          States v. Essex, 407 F.2d 214
           Opinion                                                                                                                        (6th Cir. 1969), to…


           No. 18457.                                                                                                                     U.S. v. Crispo
                                                                                                                                          Defendant begins his
      215 February 24, 1969. *215                                                                                                         argument by noting that §
                                                                                                                                          1503 grew out of the second
           John S. McLellan, Kingsport, Tenn., and Moses Krislov, Cleveland, Ohio, D.                                                     section of the Act of March
           Bruce Shine, Kingsport, Tenn., Moses Krislov, Cleveland, Ohio, on brief, for                                                   2,…

           appellant.
                                                                                                                                              46 Citing Cases
           Thomas A. Williams, Asst. U.S. Atty., Chattanooga, Tenn., John H. Reddy,
           U.S. Atty., Chattanooga, Tenn., on brief, for appellee.

           Before CELEBREZZE, McCREE and COMBS, Circuit Judges.


           CELEBREZZE, Circuit Judge.

          Patricia Ann Essex, Appellant, appeals her conviction for juvenile
          delinquency rendered in the United States District Court for the Eastern
          District of Tennessee pursuant to the Federal Juvenile Delinquency Act, 18
          U.S.C. § 5031 et seq. The finding of juvenile delinquency was based on an
          information charging that Appellant violated the Federal Obstruction of
          Justice Statute, 18 U.S.C. § 1503. The charge stems from the aftermath of the
          trial and conviction of James R. Hoﬀa where, in Hoﬀa's third motion for new
          trial, Appellant, one Catherine Johnson, and two others, filed aﬃdavits in
          the United States District Court for the Eastern District of Tennessee
          alleging that they had had sexual intercourse with several petit jurors while
          the jury was sequestered for deliberations. The District Court, however,
          found the allegations of misconduct to be untruthful and rejected Hoﬀa's
          motion. United States v. Hoﬀa, 247 F. Supp. 692 (E.D.Tenn. 1965); aﬃrmed,
          382 F.2d 856 (6th Cir. 1967), cert. denied, 390 U.S. 924, 88 S.Ct. 854, 19
          L.Ed.2d 984. Johnson was subsequently indicted and convicted of perjury
          under 18 U.S.C. § 1621 for giving false testimony about her alleged relations
          with the Hoﬀa jurors before a grand jury convened to investigate alleged
          misconduct during the Hoﬀa trial. Her conviction is now on appeal to this
      216 Court, United States v. *216 Johnson, Case No. 18,377. So far as the record
          discloses, Appellant did not appear before this grand jury.

           Appellant, a minor was indicted under the Federal Obstruction of Justice
           Statute, 18 U.S.C. § 1503. When it appeared that Appellant was a juvenile and
           consented to trial as such the indictment was withdrawn and proceedings
           were then instituted against Appellant by information pursuant to the
           Federal Juvenile Delinquency Act, 18 U.S.C. § 5031 et seq. The information
           charged that:

                 "[Appellant did] corruptly endeavor to influence, obstruct and
                 impede the due administration of justice in the United States
                 District Court [for the Eastern District of Tennessee] in that she
                 wilfully caused to be filed an aﬃdavit subscribed by her in support
                 of [Hoﬀa's] motion for a new trial * * which [was] false and known
                 by her to be false when made. * * *"

           After an in camera hearing Appellant was found to have violated the statute
           and sentenced. Her contention on appeal, raised below by motion to
           dismiss, is that the information does not state an oﬀense under 18 U.S.C. §
           1503.

           Section 1503 of Title 18, "influencing or injuring oﬃcer, juror or witness
           generally"1, originated with the Act of March 2, 1831, 4 Stat. 487. The 1831 Act
           was intended to be "declaratory of the law concerning contempts of court."2
           The power of the United States courts to punish for contempt "in any cause
           or hearing before the same" had been recognized earlier by the Judiciary Act
           of 1789, 1 Stat. 83. In Section 1 of the Act of March 2, 1831, Congress
           restricted contempt jurisdiction and its summary proceedings to
           misbehavior occurring only in the presence of courts "or so near thereto, as
           to obstruct the administration of justice," see Nye v. United States, 313 U.S.
           33, 61 S.Ct. 810, 85 L.Ed. 1172 (1941). With Section 2 of the 1831 Act,3 the
          predecessor of the statute before us, Congress provided that contempts
          occurring beyond the presence of courts should be punishable by indictment
                                                         4
      217 and trial, and with all the safeguards thereof. *217 The end result was this:
           Section 1 provided that if conduct amounting to contempt of court occurred
           in the presence of the court, the contemnor could still be punished
           summarily. And Section 2 provided that if contemptuous conduct,
           "influencing or injuring oﬃcer[s], juror[s], or witness[es]" in particular,
           occurred away from the court the oﬀender was to be dealt with by
           indictment. Savin, Petitioner, 131 U.S. 267, 9 S.Ct. 699, 33 L.Ed. 150 (1889).
           The principal distinction then, between Section 1 and Section 2 of the Act of
           March 2, 1831, aside from the added procedural safeguards under the latter,
           was geographical; they both proscribed contemptuous conduct, i.e.,
           obstruction of court proceedings, United States v. Seeley, 27 Fed. Cas. p.
           1010, No. 16,248a (C.C.N.Y. 1844).5 Sections 1 and 2 of the Act of March 2,
           1831 are now part of our present statutory scheme as 18 U.S.C. § 401, which
           condemns obstructive acts in the court's presence, and 18 U.S.C. § 1503,
           which prohibits contemptuous conduct away from court,6 respectively.

                  1 Section 1503 provides: * * * "Whoever corruptly, or by threats or force, or by

                     any threatening letter of communication, endeavors to influence,
                     intimidate, or impede any witness, in any court of the United States or
                     before any United States commissioner or other committing magistrate, or
                     any grand or petit juror, or oﬃcer in or of any court of the United States, or
                     oﬃcer who may be serving at any examination or other proceeding before
                     any United States commissioner or other committing magistrate, in the
                     discharge of his duty, or injures any party or witness in his person or
                     property on account of his attending or having attended such court or
                     examination before such oﬃcer, commissioner, or other committing
                     magistrate, or on account of his testifying or having testified to any matter
                     pending therein, or injures any such grand or petit juror in his person or
                     property on account of any verdict or indictment assented to by him, or on
                     account of his being or having been such juror, or injures any such oﬃcer,
                     commissioner, or other committing magistrate in his person or property on
                     account of the performance of his oﬃcial duties, or corruptly or by threats
                     or force, or by any threatening letter of communication, influences,
                     obstructs, or impedes or endeavors to influence, obstruct, or impede, the
                     due administration of justice, shall be fined not more than $5,000 or
                     imprisoned not more than five years, or both."

                  2 Congress had directed its House Committee on the Judiciary "to inquire

                     into the expediency of defining by statute all oﬀenses which may be
                     punished as contempts of the courts of the United States, and also to limit
                     the punishment for the same." 7 Cong.Deb. 21st Cong., 2d Sess. Feb. 1, 1831,
                     Cols. 560-561.

                  3 Section 2 of the 1831 Act provided: "That if any person * * * shall corruptly, or

                     by threats or force, endeavour to influence, intimidate, or impede any juror,
                     witness or oﬃcer, in any court of the United States, in the discharge of his
                     duty, or shall, corruptly or by threats of force, obstruct, or impede, or
                     endeavour to obstruct or impede, the due administration of justice therein,
                     every person * * * so oﬀending, shall be liable to prosecution therefor, by
                     indictment * * *."

                  4 See Note, 28 Colum. Law Rev. 401 (1928). The author expresses the view

                     that the intent behind Section 2 of the 1831 Act was to transfer certain
                     denominated contempts to the category of indictable misdemeanors. Id. at
                     531. These were "constructive contempts" because the acts listed in Section
                     2, though causally related to the disruption of court proceedings, did not
                     directly interfere with them. United States v. Seeley, 27 Fed. Cas. p. 1010,
                     No. 16,248a, C.C.N.Y. 1844.

                  5 In Savin, Petitioner, 131 U.S. 267, 9 S.Ct. 699, 33 L.Ed. 150 (1889), the Court

                     recognized that an act of misbehavior, though covered in Section 2 of the
                     Act of March 2, 1831, would be contempt if committed in the presence of the
                     Court.

                  6 Section 1 of the 1831 Act was reenacted as Rev.Stat. 725, and then became 18

                     U.S.C. § 401, "Power of Court". Section 2 of this Act, reenacted as Rev. Stat.
                     5399, became 18 U.S.C. § 1503. The Supreme Court recently limited the
                     power of courts to deal with contemnors by summary proceedings under §
                     401. Bloom v. Illinois, 391 U.S. 194, 88 S.Ct. 1477, 20 L.Ed. 522 (1968).

           The question before us narrows down to did Appellant's act of filing a false
           aﬃdavit in the United States District Court for the Eastern District of
           Tennessee in support of Hoﬀa's third motion for new trial constitute a
           contemptuous act within the meaning of 18 U.S.C. § 1503? We think not.

           It is now well beyond dispute that false testimony alone will not amount to
           contempt of court. In re Michael, 326 U.S. 224, 66 S.Ct. 78, 90 L.Ed. 30
           (1945); Nye v. United States, 313 U.S. 33, 61 S.Ct. 810, 85 L.Ed. 1172 (1941); Ex
           parte Hudgings, 249 U.S. 378, 39 S.Ct. 337, 63 L.Ed. 656 (1919). As Justice
           Black said in In re Michael, supra:

                 "All perjured relevant testimony is at war with justice, since it may
                 produce a judgment not resting on truth. Therefore, it cannot be
                 denied that it tends to defeat the sole ultimate objective of a trial. It
                 need not necessarily, however, obstruct or halt the judicial process.
                 For the function of a trial is to sift the truth from a mass of
                 contradictory evidence, and to do so the fact-finding tribunal must
                 hear both truthful and false witnesses."

           In In re Michael, petitioner was tried by a District Court for contempt
           before a grand jury. No witness testified that the petitioner was guilty of
           misconduct in the grand jury room of any kind other than false swearing.
           The transcript of his grand jury testimony was oﬀered in evidence. The
          District Court, after hearing prosecution witnesses, disbelieved petitioner
          and found that his grand jury testimony had been false. The Supreme Court
          conceded that petitioner would have been guilty of perjury. The question
          before the Court, however, was whether it was proper for the District Court
          to try petitioner for contempt on the basis of his false testimony alone.
          Citing Ex parte Hudgings, 249 U.S. 378, 39 S.Ct. 337, 63 L.Ed. 656 (1919), the
          Court held that before a court may punish for contempt "there `must be
          added to the essential elements of perjury * * the further element of
      218 obstruction to the *218 Court in the performance of its duty.'" And, "`the
          presence of that element [obstruction] must be clearly shown in every case
          where the power to punish for contempt is exerted.'"

           The Court was speaking in terms of the power to punish for contempt under
           what is now 18 U.S.C. § 401. But the above cited cases stand firmly for the
           rule that perjury alone lacks the element of obstruction which is the essence
           of contempt. Since the statute before us, 18 U.S.C. § 1503, is also a contempt
           statute the obstructive element, that is, impeding the court in the conduct
           of its business or endeavoring to do so beyond the mere rendering of false
           testimony, must, we believe, be alleged and proved before conviction can be
           had under it. See Clark v. United States, 289 U.S. 1, 53 S.Ct. 465, 77 L.Ed. 993
           (1931); In re Gottman, 118 F.2d 425 (2d Cir. 1941). Appellant, as in In re
           Michael, was charged with rendering false testimony and nothing more;
           although she may have perjured herself — and we do not decide this — she
           did not endeavor to influence or interfere with "oﬃcer[s], juror[s] or
           witness[es]" within the meaning of 18 U.S.C. § 1503, nor was she so charged.

           The Government's reliance on United States v. Cohen, 202 F. Supp. 589 (D.
           Conn. 1962), one of a line of cases in which individuals were convicted under
           18 U.S.C. § 1503 of corruptly endeavoring to influence grand jurors is
           misplaced. Although the opinion in Cohen is not too clear on this point,
           defendant's conviction therein seemed to turn on the second count of a two-
           count indictment — his act of falsifying a lease contract presented to the
           grand jury, and not on his false statements before that body, the subject of
           Count One of the indictment.7 To the same eﬀect are United States v. Siegel,
           152 F. Supp. 370 (S.D.N.Y. 1957), aﬃrmed 263 F.2d 530 (2d Cir. 1959), cert.
           denied, 359 U.S. 1012, relied on by the District Court in Cohen, and United
           States v. Solow, 138 F. Supp. 812 (S.D.N.Y. 1956). In Seigel and Solow, the
           indictments specifically charged that the grand juries therein were
           obstructed by the destruction of subpoenaed documents and not by the
           rendering of false testimony.
                  7 The Court said: "The question is whether or not either allegation [falls]

                     within the purview of § 1503. If either does, the indictment must stand."
                     United States v. Cohen, 202 F. Supp. 587, 588 (D.Conn. 1962). (Emphasis
                     added). The Court then went on to hold: "certainly it is as much an
                     `obstruction of justice' to cause to be presented to a grand jury a false
                     document which is the subject of a grand jury investigation. The proferring
                     of misleading documents intended to deceive the grand jury toward a false
                     finding is no less corrupt then the fraudulent concealment of facts by the
                     wilful destruction of documents." United States v. Cohen, supra at 589.

           We would have little diﬃculty finding a violation of 18 U.S.C. § 1503 had the
           allegations of Appellant's aﬃdavit been true. The Government wishes to
           prosecute her under 18 U.S.C. § 1503 even though the District Court in
           originally rejecting Hoﬀa's motion for new trial, the grand jury, and the
           same District Court again in the present case found that Appellant was
           untruthful in stating that she had contact with the Hoﬀa jurors. We refuse
           to broaden the obstruction of justice statute beyond the scope that
           Congress gave to it. As a criminal statute 18 U.S.C. § 1503 requires strict
           construction. The general clause at its end, moreover, must be read to
           embrace only acts similar to those mentioned in the preceding specific
           language. Haili v. United States, 260 F.2d 744 (9th Cir. 1958). Neither the
           language of Section 1503 nor its purpose make the rendering of false
           testimony alone an obstruction of justice. If appellant committed any
           oﬀense at all, it was the perjury charged in the information against her.

           In view of our disposition of this matter, we deem it unnecessary to reach
           other questions raised by Appellant.

           Reversed.

      219 *219




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                                                                                                                                       AMERICA, PLAINTIFF-
                                                                                                                                       APPELLEE, v. ARNOLD
                                                                                                                                       FAUDMAN…

           Summary
                                                                                                                                       Court: United States Court of
                                                                                                                                       Appeals, Sixth Circuit
           Finding that altering corporate records subpoenaed by grand jury violates
           Section 1503
                                                                                                                                       Date published: Feb 4, 1981
           Summary of this case from U.S. v. Craft

           See 7 Summaries
                                                                                                                                       Citations      Copy Citation

                                                                                                                                       640 F.2d 20 (6th Cir. 1981)


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                                                                                                                                       See United States v.
                                                                                                                                       Schaffner, 715 F.2d 1099,
                                                                                                                                       1103 (6th Cir. 1983). The
           Opinion                                                                                                                     clause has been used to
                                                                                                                                       prosecute…

           No. 78-5209.
                                                                                                                                       United States v. McComb
           Argued December 1, 1980.                                                                                                    McComb does not argue that
                                                                                                                                       the alteration of records can
      21   Decided February 4, 1981. *21                                                                                               never amount to an
                                                                                                                                       obstruction of justice.See,
           Neil H. Fink, Detroit, Mich., for defendant-appellant.                                                                      e.g.,…

           James K. Robinson, U.S. Atty., Martin Reisig, Alan Gershel, Asst. U.S. Attys.,                                                  17 Citing Cases
           Detroit, Mich., for plaintiﬀ-appellee.

           Appeal from the United States District Court for the Eastern District of
           Michigan.

           Before WEICK and LIVELY, Circuit Judges, and SPIEGEL,_ District Judge.

                 _ The Honorable S. Arthur Spiegel, Judge, United States District Court for the

                     Southern District of Ohio, sitting by designation.



           LIVELY, Circuit Judge.

           This appeal requires us to decide whether 18 U.S.C. § 1503 (1976),1 an
           obstruction of justice statute, may be the basis for prosecuting a person who
           alters or destroys corporate records with knowledge that the records are
           being sought by a grand jury investigating the company's activities.

                     § 1503. Influencing or injuring oﬃcer,
                 1


                     juror or witness generally.

           The defendant admitted altering and defacing records of the Borman
           Company at a time when a federal grand jury was investigating possible
           Medicare and Medicaid fraud. He knew that the Borman Company's
           directors had adopted a resolution to cooperate fully with the grand jury and
           that the records he altered had been requested by the FBI. Some of the
           records were sought by a grand jury subpoena duces tecum served on the
           company prior to the time the defendant delivered them in their altered
           condition to another company oﬃcial. At trial the defendant presented a
           two-fold defense. He contended, in the first place, that his acts were not
           covered by § 1503. His second defense was lack of intent; that he did not
           intend to obstruct justice, but intended only to protect his brother and the
           company he had spent his life building. He presented psychiatric testimony
           to show that he suﬀered from anxiety neurosis at the time he altered the
           company records and that this condition deprived him of the capacity to
           form the intent required for culpability. The jury rejected this defense by its
           guilty verdict, and the only significant issue on appeal is whether § 1503
           reaches the defendant's conduct.

           The defendant argues that § 1503 is concerned only with obstruction of
           justice by threats or force — acts of intimidation — directed at oﬃcers,
           jurors or witnesses. He contends that the proscriptions of § 1503 are limited
      22   to threats or actual violence *22 against persons involved in the
           administration of justice, and that other statutes cover the obstruction of
           justice by methods not enumerated in § 1503.2 The government adopts the
           position of the district court, that the language of § 1503 is suﬃciently broad
           to cover the defendant's acts. The "omnibus" language of § 1503, relied upon
           by the government, extends culpability under the statute to anyone who
           "corruptly . . . obstructs, or impedes, or endeavors to influence, obstruct, or
           impede, the due administration of justice. . . ." The defendant asserts that
           any conduct sought to be brought within this language must be similar to
           one or more of the acts enumerated in earlier portions of the statute; that is,
           it must involve intimidation of some person by threats or actual use of
           force.
                 2 E. g., 18 U.S.C. § 1504 (influencing juror by writing); § 1506 (theft or

                     alteration of record or process); § 1510 (obstruction of criminal
                     investigations by, inter alia, bribery of or misrepresentations to a criminal
                     investigator).

           The defendant places heavy reliance on this court's decision in United States
           v. Essex, 407 F.2d 214 (6th Cir. 1969), particularly the following language:

                As a criminal statute 18 U.S.C. § 1503 requires strict construction.
                The general clause at its end, moreover, must be read to embrace
                only acts similar to those mentioned in the preceding specific
                language. Haili v. United States, 260 F.2d 744 (9th Cir. 1958). Neither
                the language of Section 1503 nor its purpose make the rendering of
                false testimony alone an obstruction of justice. If appellant
                committed any oﬀense at all, it was the perjury charged in the
                information against her.

           Id. at 218. In Essex the only act charged against the defendant was perjury
           before a grand jury. The holding of the court was that perjury before a grand
           jury is not suﬃcient, standing alone, to support a conviction under § 1503.
           The defendant argues that altering records is more akin to testifying falsely
           than to any of the acts enumerated in § 1503, and thus Essex should control
           this case.

           Reliance is also placed upon decisions of the Ninth Circuit in which
           application of the ejusdem generis rule of construction to § 1503
           prosecutions resulted in holdings that particular acts were not covered by
           the statute. See Haili v. United States, 260 F.2d 744 (9th Cir. 1958); United
           States v. Metcalf, 435 F.2d 754 (9th Cir. 1970); United States v. Ryan, 455 F.2d
           728 (9th Cir. 1972). In Haili the court described the "particularly defined
           instances" in § 1503 as all relating to "conduct designed to interfere with the
           process of arriving at an appropriate judgment in a pending case and which
           would disturb the ordinary and proper functions of the court." 260 F.2d at
           746. The only acts charged in Haili were interfering with the conditions of
           probation imposed upon a person convicted of a drug oﬀense. It seems clear
           that the charged acts were of an entirely diﬀerent kind from those
           enumerated in § 1503. Proper application of ejusdem generis led to the
           conclusion that the defendant's actions were not covered by the statute.

           In Metcalf, supra, the court narrowed its earlier construction in Haili.
           Adopting a more restrictive view of the statute, it held that ordinarily § 1503
           is violated only when administration of justice is impeded or obstructed by
           "intimidating actions." 435 F.2d at 757. This language in Metcalf is the
           strongest support we have found for the defendant's position in the present
           case. While Ryan, supra, required a strict construction of § 1503 and applied
           ejusdem generis, so many errors were discussed by the court of appeals that
           it is impossible to be certain of the basis for reversal. Although destruction
           of documents was involved, the facts in Ryan bore little resemblance to
           those of the present case. The holding appears to be that the Internal
           Revenue Service may not use grand jury subpoenas to obtain records which
           it is unable to secure by administrative subpoenas; particularly where it
           appears the grand jury is not even aware of the issuance of the subpoenas,
      23   and the records have no relevance to the grand jury proceedings. *23

           We believe prosecution of the defendant in the present case was properly
           founded on 18 U.S.C. § 1503. Neither the language of the statute nor our
           decisions require us to hold otherwise. It seems clear that the defendant
           endeavored "corruptly" to impede grand jury proceedings. The enumerated
           methods of obstructing justice are listed in the statute in the disjunctive. We
           disagree with the holding of Metcalf that someone must be intimidated for a
           violation of § 1503 to occur. We also conclude that Essex is distinguishable.
           There the only basis of the charge was the defendant's alleged perjury. She
           was not charged with interfering with the work of the grand jury in relation
           to the testimony of any other witness. In the present case, however, it was
           the testimony of the Borman Company, by way of its corporate records,
           which was sought by the grand jury. The defendant did impede the
           administration of justice by altering those records so that the "testimony" of
           the company would not implicate his brother. The acts of the defendant in
           the present case were aimed at distorting the evidence to be presented by
           the company and were intended to impede the administration of justice.
           These acts violated § 1503.

           The court in Essex, while finding perjury alone insuﬃcient for a § 1503
           prosecution, recognized the propriety of a prosecution for falsifying or
           destroying records subpoenaed by a grand jury in its discussion of United
           States v. Cohen, 202 F. Supp. 587 (D.Conn. 1962); United States v. Siegel, 152 F.
           Supp. 370 (S.D.N.Y. 1957), aﬀ'd., 263 F.2d 530 (2d Cir. 1959), cert. denied, 359
           U.S. 552, 79 S.Ct. 1147, 3 L.Ed.2d 1035 (1960); and United States v. Solow, 138 F.
           Supp. 812 (S.D.N.Y. 1956). The Essex court pointed out that in each of the
           cited cases the defendant was charged with something more than perjury —
           thus distinguishing them from Essex. 407 F.2d at 218. Essex is not to be read
           as limiting prosecutions under § 1503 to those instances where threats or
           force are used against a witness, oﬃcer or juror.

           The rule of ejusdem generis is described in 2A Sutherland Statutory
           Construction (4th Edition) § 47.17 as follows:

                The rule "accomplishes the purpose of giving eﬀect to both the
                particular and the general words, by treating the particular words as
                indicating the class, and the general words as extending the
                provisions of the statute to everything embraced in that class,
                though not specifically named by the particular words."3

                 3 Quoted from National Bank of Commerce v. Estate of Ripley, 161 Mo. 126, 131,

                     61 S.W. 587, 588 (1901).

           The defendant in the present case was charged with "impeding the court in
           the conduct of its business or endeavoring to do so beyond the mere
           rendering of false testimony . . . ." Essex, supra, 407 F.2d at 218. Moreover, the
           defendant's conduct was embraced within a class of acts described in the
           particularized list of § 1503. He corruptly endeavored to impede a witness,
           the Borman Company, before a grand jury. Unless something more than the
           precise acts listed in the earlier language was intended for inclusion, the
           "omnibus" language of § 1503 would be surplusage.

           Our view of the reach of § 1503 comports with that of the Third Circuit as
           expressed in United States v. Walasek, 527 F.2d 676 (1975). The facts in
           Walasek were similar to those of the present case. A corporate oﬃcer was
           charged with violating § 1503 by destroying records after being advised that a
           grand jury subpoena duces tecum for production of the records had been
           served on an oﬃce of the company. Recognizing the rule of ejusdem generis,
           the court held that its application to 18 U.S.C. § 1503 did not preclude a
           prosecution for deliberately destroying documents sought by a grand jury
           subpoena.

           The defendant also seeks reversal for alleged errors in the jury instructions.
           The government argues that no question with respect to instructions was
           preserved for review since the defendant did not object to the instructions
      24   of the court as required by *24 Rule 30, F.R.Crim.P. The defendant contends
           this court may consider his assignment of three of these claims under the
           "plain error" provision of Rule 52(b), F.R.Crim.P. and that the fourth was
           properly preserved. Upon consideration the court concludes that the claims
           that the jury was improperly instructed on the element of intent, on the
           defendant's state of mind and on the purpose of 18 U.S.C. § 1503 do not
           require reversal under the plain error rule. As we stated in United States v.
           Vigi, 515 F.2d 290, 293 (6th Cir.), cert. denied, 423 U.S. 912, 96 S.Ct. 215, 46
           L.Ed.2d 140 (1975), "In the absence of objection to instructions we cannot
           consider a claim of error unless the instructions are so manifestly
           prejudicial as to lead to a miscarriage of justice." (Citations omitted). The
           instructions complained of, particularly when read in context of the entire
           jury charge, simply do not meet this test.

           The district court gave the following instruction on circumstantial evidence:

                There are two types of evidence. One is direct evidence — such as
                the testimony of an eyewitness. The other is circumstantial
                evidence — the proof of a chain of circumstances pointing to the
                commission of the oﬀense.

                As a general rule, the law makes no distinction between direct and
                circumstantial evidence, but simply requires that, before convicting
                a defendant, the jury be satisfied of the defendant's guilt beyond a
                reasonable doubt from all the evidence in the case.

           Though the defendant did not object to this instruction as required by Rule
           30, he did request in writing an instruction which included a charge that
           "circumstantial evidence is proof of a chain of facts and circumstances
           indicating the guilt or innocence of a defendant." (Emphasis added). He
           contends that he was prejudiced by the court's stating that circumstantial
           evidence may point to the commission of the oﬀense without adding that it
           may also indicate innocence. Since the requested instruction apprised the
           trial judge of defendant's position on the matter, his later failure to object to
           omission of the requested charge does not preclude our consideration of his
           claim. However, we conclude that any error in the failure to instruct as
           requested by the defendant was harmless. Rule 52(a), F.R.Crim.P.; United
           States v. Eddings, 478 F.2d 67, 73 (6th Cir. 1973). The jury was fully instructed
           on the burden of proof and presumption of innocence. Further, it was told
           to consider the testimony of witnesses and exhibits, regardless of who called
           the witnesses or produced the exhibits. And a proper instruction on
           reasonable doubt was given both before and after the one relating to
           circumstantial evidence.

           The cases relied upon by the defendant diﬀer from the present case. In
           United States v. Fields, 466 F.2d 119 (2d Cir. 1972), and United States v. Clark,
           475 F.2d 240 (2d Cir. 1973), the erroneous circumstantial evidence
           instructions were prejudicial because of the likelihood of their misleading
           the jury as to the proof required to establish specific elements of the crimes
           charged. That was not the case here. The elements of the oﬀense were
           clearly stated in the instructions, with particular emphasis on the necessity
           to prove specific intent.

           The judgment of the district court is aﬃrmed.


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FINDLAW      /   CASELAW   /    UNITED STATES   /   US SUPREME COURT     /    UNITED STATES V. HANSEN




UNITED STATES v. HANSEN (2023)

United States Supreme Court

UNITED STATES v. HANSEN(2023)


No. 22-179
                                                                                                                                                           Welcome to FindLaw's Cases
Argued: March 27, 2023                                                                                                                                     & Codes
Decided: June 23, 2023                                                                                                                                     A free source of state and federal court
                                                                                                                                                           opinions, state laws, and the United
Respondent Helaman Hansen promised hundreds of noncitizens a path to U. S. citizenship through "adult
                                                                                                                                                           States Code. For more information about
adoption." But that was a scam. Though there is no path to citizenship through "adult adoption," Hansen
earned nearly $2 million from his scheme. The United States charged Hansen with, inter alia, violating 8
                                                                                                                                                           the legal concepts addressed by these
U. S. C. §1324(a)(1)(A)(iv), which forbids "encourag[ing] or induc[ing] an alien to come to, enter, or reside in the                                       cases and statutes visit FindLaw's Learn
United States, knowing or in reckless disregard of the fact that such [activity] is or will be in violation of law."                                       About the Law.
Hansen was convicted and moved to dismiss the clause (iv) charges on First Amendment overbreadth
grounds. The District Court rejected Hansen's argument, but the Ninth Circuit concluded that clause (iv) was                                                       Go to Learn About the Law "
unconstitutionally overbroad.

Held: Because §1324(a)(1)(A)(iv) forbids only the purposeful solicitation and facilitation of speci`c acts
known to violate federal law, the clause is not unconstitutionally overbroad. Pp. 4-20.

        (a) Hansen's First Amendment overbreadth challenge rests on the claim that clause (iv) punishes so                                                  UNITED STATES v. HANSEN
much protected speech that it cannot be applied to anyone, including him. A court will hold a statute facially
                                                                                                                                                            (2023)
invalid under the overbreadth doctrine if the law "prohibits a substantial amount of protected speech" relative
to its "plainly legitimate sweep." United States v. Williams, 553 U. S. 285, 292. In such a circumstance, society's                                         Docket No: No. 22-179
interest in free expression outweighs its interest in the statute's lawful applications. Otherwise, courts must
handle unconstitutional applications as they usually do--case-by-case. Pp. 4-5.                                                                             Argued: March 27, 2023

   (b) The issue here is whether Congress used "encourage" and "induce" in clause (iv) as terms of art                                                      Decided: June 23, 2023
referring to criminal solicitation and facilitation (thus capturing only a narrow band of speech) or instead as
those terms are used in ordinary conversation (thus encompassing a broader swath). Pp. 5-9.                                                                 Court: United States Supreme Court

        (1) Criminal solicitation is the intentional encouragement of an unlawful act, and facilitation--i.e., aiding
and abetting--is the provision of assistance to a wrongdoer with the intent to further an offense's commission.
Neither requires lending physical aid; for both, words may be enough. And both require an intent to bring about
a particular unlawful act. The terms "encourage" and "induce," found in clause (iv), are among the "most
common" verbs used to denote solicitation and facilitation. 2 W. LaFave, Substantive Criminal Law §13.2(a).
                                                                                                                                                           Need to 'nd an attorney?
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the challenged statute uses those terms as they are typically understood in the criminal law, an overbreadth
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challenge would be hard to sustain. Pp. 6-8.
                                                                                                                                                           Legal issue
        (2) Hansen, like the Ninth Circuit, insists that clause (iv) uses "encourages" and "induces" in their ordinary
rather than specialized sense. In ordinary parlance, "induce" means "[to] lead on; to inhuence; to prevail on; to                                             Criminal Defense                                   #
move by persuasion or inhuence," Webster's New International Dictionary 1269, and "encourage" means to
"inspire with courage, spirit, or hope," Webster's Third New International Dictionary 747. If clause (iv) conveys
                                                                                                                                                           I need help near (city, ZIP code or country)
these ordinary meanings, it arguably reaches abstract advocacy or general encouragement, and its
applications to protected speech might render it vulnerable to an overbreadth challenge. P. 9.                                                                Myrtle Beach, South Carolina                       #

   (c) The Court holds that clause (iv) uses "encourages or induces" in its specialized, criminal-law sense--that
is, as incorporating common-law liability for solicitation and facilitation. Pp. 9-13.
                                                                                                                                                                             Find a lawyer "
        (1) Context indicates that Congress used those words as terms of art. "Encourage" and "induce" have
well-established legal meanings--and when Congress "borrows terms of art in which are accumulated the
legal tradition and meaning of centuries of practice, it presumably knows and adopts the cluster of ideas that
were attached to each borrowed word." Morissette v. United States, 342 U. S. 246, 263. That inference is even
stronger here, because clause (iv) prohibits "encouraging" and "inducing" a violation of law, which is the object
                                                                                                                                                           For Legal Professionals
of solicitation and facilitation too. The Ninth Circuit stacked the deck in favor of ordinary meaning, but it
should have given specialized meaning a fair shake. When words have several plausible de`nitions, context
differentiates among them. Here, the context of these words indicates that Congress used them as terms of
                                                                                                                                                          " Practice Management
art. Pp. 9-11.
                                                                                                                                                          " Legal Technology
        (2) Statutory history is an important part of the relevant context. When Congress enacted in 1885 what
would become the template for clause (iv), it criminalized "knowingly assisting, encouraging or soliciting"                                               " Law Students
immigration under a contract to perform labor. 23 Stat. 333. Then, as now, "encourage" had a specialized
meaning that channeled accomplice liability. And the words "assisting" and "soliciting," which appeared
alongside "encouraging," reinforce the narrower criminal-law meaning. When Congress amended that
provision in 1917, it added "induce," which also carried solicitation and facilitation overtones. 39 Stat. 879. In
1952, Congress enacted the immediate predecessor for clause (iv) and also simpli`ed the language from the
1917 Act, dropping the words "assist" and "solicit," and making it a crime to "willfully or knowingly encourag[e]
or induc[e], or attemp[t] to encourage or induce, either directly or indirectly, the entry into the United States of
. . . any alien . . . not lawfully entitled to enter or reside within the United States." 66 Stat. 229. Hansen believes
these changes dramatically broadened the scope of clause (iv)'s prohibition on encouragement, but accepting
that argument would require the Court to assume that Congress took a circuitous route to convey a sweeping-
-and constitutionally dubious--message. The better understanding is that Congress simply streamlined the
previous statutory language. Critically, the terms Congress retained ("encourage" and "induce") substantially
overlap in meaning with the terms it omitted ("assist" and "solicit"). Clause (iv) is thus best understood as a                                            Get a proZle on the #1 online
continuation of the past. Pp. 11-13.
                                                                                                                                                           legal directory
   (d) Hansen argues that the absence of an express mens rea requirement in clause (iv) means that the
                                                                                                                                                           Harness the power of our directory with
statute is not limited to solicitation and facilitation. But when Congress placed "encourages" and "induces" in
                                                                                                                                                           your own pro`le. Select the button below
clause (iv), the traditional intent associated with solicitation and facilitation was part of the package. The
federal aiding and abetting statute works the same way: It contains no express mens rea requirement but                                                    to sign up.
implicitly incorporates the traditional state of mind required for aiding and abetting. Rosemond v. United
States, 572 U. S. 65, 70-71. Clause (iv) is situated among other provisions that function in the same manner.
See, e.g., §§1324(a)(1)(A)(v)(I), (II). Since "encourages or induces" draws on the same common-law principles,
                                                                                                                                                                                  Sign up "
clause (iv) also incorporates a mens rea requirement implicitly. Pp. 13-16.

   (e) Finally, it bears emphasis that the canon of constitutional avoidance counsels the Court to adopt the
Government's reading if it is at least " 'fairly possible.' " Jennings v. Rodriguez, 583 U. S. ___, ___. Pp. 16-17.
                                                                                                                                                          FINDLAW FOR LEGAL PROFESSIONALS

   (f) Section 1324(a)(1)(A)(iv) reaches no further than the purposeful solicitation and facilitation of speci`c
acts known to violate federal law. So understood, it does not "prohibi[t] a substantial amount of protected
                                                                                                                                                          Get email updates
speech" relative to its "plainly legitimate sweep." Williams, 553 U. S., at 292. It is undisputed that clause (iv)                                        from FindLaw Legal
encompasses a great deal of nonexpressive conduct, which does not implicate the First Amendment at all,                                                   Professionals
e.g., smuggling noncitizens into the country. Because these types of cases are heartland clause (iv)
prosecutions, the "plainly legitimate sweep" of the provision is extensive. To the extent clause (iv) reaches any
speech, it stretches no further than speech integral to unlawful conduct, which is unprotected. See, e.g.,
                                                                                                                                                          Enter your email address to subscribe
Giboney v. Empire Storage & Ice Co., 336 U. S. 490, 502. Hansen, on the other hand, fails to identify a single
                                                                                                                                                          * Required
prosecution for ostensibly protected expression in the 70 years since Congress enacted clause (iv)'s
immediate predecessor. Instead, he offers a string of hypotheticals, all premised on the expansive ordinary                                                                                                          "
meanings of "encourage" and "induce." None of these examples are `ltered through the traditional elements of
solicitation and facilitation--most importantly, the requirement that a defendant intend to bring about a
speci`c result. Because clause (iv) does not have the scope Hansen claims, it does not produce the horribles
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he parades. Hansen also resists the idea that Congress can criminalize speech that solicits or facilitates a                                              terms of use and privacy policy. This site is protected by
civil violation, and some immigration violations are only civil. But even assuming that clause (iv) reaches some                                          reCAPTCHA and the Google Privacy Policy and Terms of
protected speech, and even assuming that its application to all of that speech is unconstitutional, the ratio of                                          Service apply.

unlawful-to-lawful applications is not lopsided enough to justify facial invalidation for overbreadth. Pp. 17-20.

25 F. 4th 1103, reversed and remanded.

   BARRETT, J., delivered the opinion of the Court, in which ROBERTS, C. J., and THOMAS, ALITO, KAGAN, GORSUCH,
and KAVANAUGH, JJ., joined. THOMAS, J., `led a concurring opinion. JACKSON, J., `led a dissenting opinion, in
which SOTOMAYOR, J., joined.



                                                           Opinion of the Court

                                                           599 U. S. ____ (2023)

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                                                                No. 22-179

                                                UNITED STATES, PETITIONER v.
                                                        HELAMAN HANSEN

                               ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT


                                                              [June 23, 2023]



   JUSTICE BARRETT delivered the opinion of the Court.


   A federal law prohibits "encourag[ing] or induc[ing]" illegal immigration. 8 U. S. C. §1324(a)(1)(A)(iv). After
concluding that this statute criminalizes immigration advocacy and other protected speech, the Ninth Circuit
held it unconstitutionally overbroad under the First Amendment. That was error. Properly interpreted, this
provision forbids only the intentional solicitation or facilitation of certain unlawful acts. It does not "prohibi[t] a
substantial amount of protected speech"--let alone enough to justify throwing out the law's "plainly legitimate
sweep." United States v. Williams, 553 U. S. 285, 292 (2008). We reverse.

                                                                         I

   In 2014, Mana Nailati, a citizen of Fiji, heard that he could become a U. S. citizen through an "adult adoption"
program run by Helaman Hansen. Eager for citizenship, Nailati hew to California to pursue the program.
Hansen's wife told Nailati that adult adoption was the "quickest and easiest way to get citizenship here in
America." App. 88. For $4,500, Hansen's organization would arrange Nailati's adoption, and he could then
inherit U. S. citizenship from his new parent. Nailati signed up.

   It was too good to be true. There is no path to citizenship through "adult adoption," so Nailati waited for
months with nothing to show for it. Faced with the expiration of his visa, he asked Hansen what to do. Hansen
advised him to stay: "[O]nce you're in the program," Hansen explained, "you're safe. Immigration cannot touch
you." Id., at 92. Believing that citizenship was around the corner, Nailati took Hansen's advice and remained in
the country unlawfully.

   Hansen peddled his scam to other noncitizens too. After hearing about the program from their pastor, one
husband and wife met with Hansen and wrote him a check for $9,000--initially saved for a payment on a house
in Mexico--so that they could participate. Another noncitizen paid Hansen out of savings he had accumulated
over 21 years as a housepainter. Still others borrowed from relatives and friends. All told, Hansen lured over
450 noncitizens into his program, and he raked in nearly $2 million as a result.

   The United States charged Hansen with (among other crimes) violations of §1324(a)(1)(A)(iv). That clause
forbids "encourag[ing] or induc[ing] an alien to come to, enter, or reside in the United States, knowing or in
reckless disregard of the fact that such coming to, entry, or residence is or will be in violation of law." In
addition to convicting him under clause (iv), the jury found that Hansen had acted "for the purpose of private
`nancial gain," triggering a higher maximum penalty. App. 116; see §1324(a)(1)(B)(i).

   After the verdict came in, Hansen saw a potential way out. Another case involving §1324(a)(1)(A)(iv),
United States v. Sineneng-Smith, was pending before the Ninth Circuit, which had sua sponte raised the
question whether the clause was an unconstitutionally overbroad restriction of speech. 910 F. 3d 461, 469
(2018). Taking his cue from Sineneng-Smith, Hansen moved to dismiss the clause (iv) charges on First
Amendment overbreadth grounds. The District Court rejected Hansen's argument and sentenced him.

   While Hansen's appeal was pending, the Ninth Circuit held in Sineneng-Smith that clause (iv) is
unconstitutionally overbroad. Id., at 467-468. That holding was short-lived: We vacated the judgment,
explaining that the panel's choice to inject the overbreadth issue into the appeal and appoint amici to argue it
"departed so drastically from the principle of party presentation as to constitute an abuse of discretion." 590
U. S. ___, ___ (2020) (slip op., at 3). On remand, limited to the arguments that Sineneng-Smith had actually
made, the Ninth Circuit arrmed her convictions. 982 F. 3d 766, 770 (2020). But Hansen's appeal was waiting
in the wings, giving the Ninth Circuit a second chance to address the overbreadth question. It reprised its
original holding in Sineneng-Smith.

   As in Sineneng-Smith, the Ninth Circuit focused on whether clause (iv) is a narrow prohibition covering
solicitation and facilitation of illegal conduct, or a sweeping ban that would pull in "statements or conduct that
are likely repeated countless times across the country every day." 25 F. 4th 1103, 1110 (2022). It adopted the
latter interpretation, asserting that clause (iv) criminalizes speech such as "encouraging an undocumented
immigrant to take shelter during a natural disaster, advising an undocumented immigrant about available
social services, telling a tourist that she is unlikely to face serious consequences if she overstays her tourist
visa, or providing certain legal advice to undocumented immigrants." Ibid. Concluding that clause (iv) covers
an " 'alarming' " amount of protected speech relative to its narrow legitimate sweep, the Ninth Circuit held the
provision facially overbroad. Ibid.

   The Ninth Circuit denied the Government's petition for rehearing en banc over the dissent of nine judges.
Judge Bumatay, who wrote the principal dissent, attributed the panel's overbreadth concern to a misreading of
the statute. See 40 F. 4th 1049, 1057-1058 (2022). Correctly interpreted, he explained, clause (iv) reaches only
criminal solicitation and aiding and abetting. Ibid. On that reading, the provision raises no overbreadth
problem because, "[e]ven if §1324(a)(1)(A)(iv) somehow reaches protected speech, that reach is far
outweighed by the provision's broad legitimate sweep." Id., at 1072.

   We granted certiorari. 598 U. S. ___ (2022).

                                                                        II

   The First Amendment provides that "Congress shall make no law . . . abridging the freedom of speech."
Wisely, Hansen does not claim that the First Amendment protects the communications for which he was
prosecuted. Cf. Illinois ex rel. Madigan v. Telemarketing Associates, Inc., 538 U. S. 600, 612 (2003) ("[T]he First
Amendment does not shield fraud"). Instead, he raises an overbreadth challenge: He argues that clause (iv)
punishes so much protected speech that it cannot be applied to anyone, including him. Brief for Respondent
9-10.

   An overbreadth challenge is unusual. For one thing, litigants typically lack standing to assert the
constitutional rights of third parties. See, e.g., Powers v. Ohio, 499 U. S. 400, 410 (1991). For another, litigants
mounting a facial challenge to a statute normally "must establish that no set of circumstances exists under
which the [statute] would be valid." United States v. Salerno, 481 U. S. 739, 745 (1987) (emphasis added).
Breaking from both of these rules, the overbreadth doctrine instructs a court to hold a statute facially
unconstitutional even though it has lawful applications, and even at the behest of someone to whom the
statute can be lawfully applied.

   We have justi`ed this doctrine on the ground that it provides breathing room for free expression. Overbroad
laws "may deter or 'chill' constitutionally protected speech," and if would-be speakers remain silent, society will
lose their contributions to the "marketplace of ideas." Virginia v. Hicks, 539 U. S. 113, 119 (2003). To guard
against those harms, the overbreadth doctrine allows a litigant (even an undeserving one) to vindicate the
rights of the silenced, as well as society's broader interest in hearing them speak. Williams, 553 U. S., at 292. If
the challenger demonstrates that the statute "prohibits a substantial amount of protected speech" relative to
its "plainly legitimate sweep," then society's interest in free expression outweighs its interest in the statute's
lawful applications, and a court will hold the law facially invalid. Ibid.; see Hicks, 539 U. S., at 118-119.

   Because it destroys some good along with the bad, "[i]nvalidation for overbreadth is ' "strong medicine" '
that is not to be 'casually employed.' " Williams, 553 U. S., at 293. To justify facial invalidation, a law's
unconstitutional applications must be realistic, not fanciful, and their number must be substantially
disproportionate to the statute's lawful sweep. New York State Club Assn., Inc. v. City of New York, 487 U. S. 1,
14 (1988); Members of City Council of Los Angeles v. Taxpayers for Vincent, 466 U. S. 789, 800-801 (1984). In
the absence of a lopsided ratio, courts must handle unconstitutional applications as they usually do--case-by-
case.

                                                                        III

                                                                        A

   To judge whether a statute is overbroad, we must `rst determine what it covers. Recall that §1324(a)(1)(A)
(iv) makes it unlawful to "encourag[e] or induc[e] an alien to come to, enter, or reside in the United States,
knowing or in reckless disregard of the fact that such coming to, entry, or residence is or will be in violation of
law."1 The issue is whether Congress used "encourage" and "induce" as terms of art referring to criminal
solicitation and facilitation (thus capturing only a narrow band of speech) or instead as those terms are used
in everyday conversation (thus encompassing a broader swath). An overbreadth challenge obviously has
better odds on the latter view.

                                                                        1

   We start with some background on solicitation and facilitation. Criminal solicitation is the intentional
encouragement of an unlawful act. ALI, Model Penal Code §5.02(1), p. 364 (1985) (MPC); 2 W. LaFave,
Substantive Criminal Law §11.1 (3d ed. 2022) (LaFave). Facilitation--also called aiding and abetting--is the
provision of assistance to a wrongdoer with the intent to further an offense's commission. See, e.g., Twitter,
Inc. v. Taamneh, 598 U. S. ___, ___-___ (2023) (slip op., at 13-14). While the crime of solicitation is complete as
soon as the encouragement occurs, see LaFave §11.1, liability for aiding and abetting requires that a wrongful
act be carried out, see id., §13.2(a). Neither solicitation nor facilitation requires lending physical aid; for both,
words may be enough. Reves v. Ernst & Young, 507 U. S. 170, 178 (1993) (one may aid and abet by providing
" 'assistance rendered by words, acts, encouragement, support, or presence' "); MPC §5.02(2), at 365
(solicitation may take place through words or conduct); LaFave §11.1(c) (same). Both require an intent to
bring about a particular unlawful act. See, e.g., Hicks v. United States, 150 U. S. 442, 449 (1893) ("[W]ords of
encouragement and abetting must" be used with "the intention as respects the effect to be produced"). And
both are longstanding criminal theories targeting those who support the crimes of a principal wrongdoer. See
Central Bank of Denver, N. A. v. First Interstate Bank of Denver, N. A., 511 U. S. 164, 181 (1994); LaFave
§11.1(a).

   The terms "encourage" and "induce" are among the "most common" verbs used to denote solicitation and
facilitation. Id., §13.2(a); see also 1 J. Ohlin, Wharton's Criminal Law §10:1, p. 298 (16th ed. 2021) (Wharton) ("
[A]dditional language--such as encourage, counsel, and command--usually accompanies 'aid' or 'abet' "
(emphasis added)). In fact, their criminal-law usage dates back hundreds of years. See 40 F. 4th, at 1062-1064
(opinion of Bumatay, J.). A prominent early American legal dictionary, for instance, de`nes "abet" as "[t]o
encourage or set another on to commit a crime." 1 J. Bouvier, Law Dictionary 30 (1839) (emphasis added).
Other sources agree. See, e.g., Wharton §10:1, at 298 (" 'abet,' " at common law, meant "to encourage, advise,
or instigate the commission of a crime" (emphasis added)); Black's Law Dictionary 6 (1st ed. 1891) (to "abet" "
[i]n criminal law" was "[t]o encourage, incite, or set another on to commit a crime" (emphasis added)); cf. id., at
667 (11th ed. 2019) (de`ning "encourage" with, in part, a cross-reference to "aid and abet").

   This pattern is on display in the federal criminal code, which, for over a century, has punished one who
"induces" a crime as a principal. See Act of Mar. 4, 1909, §332, 35 Stat. 1152 ("Whoever . . . aids, abets,
counsels, commands, induces, or procures [the commission of an offense] is a principal" (emphasis added));
18 U. S. C. §2(a) (listing the same verbs today). The Government offers other examples as well: The ban on
soliciting a crime of violence penalizes those who "solici[t], comman[d], induc[e], or otherwise endeavo[r] to
persuade" another person "to engage in [the unlawful] conduct." §373(a) (emphasis added). Federal law also
criminalizes "persuad[ing], induc[ing], entic[ing], or coerc[ing]" one "to engage in prostitution" or other unlawful
sexual activity involving interstate commerce. §§2422(a), (b) (emphasis added). The Model Penal Code
echoes these formulations, de`ning solicitation as, in relevant part, "command[ing], encourag[ing] or
request[ing] another person to engage in speci`c [unlawful] conduct." MPC §5.02(1), at 364 (emphasis
added). And the commentary to the Model Penal Code notes that similar prohibitions may employ other verbs,
such as "induce." See id., Comment 3, at 372-373, n. 25 (collecting examples).

   The use of both verbs to describe solicitation and facilitation is widespread in the States too. Nevada
considers "[e]very person" who "aided, abetted, counseled, encouraged, hired, commanded, induced, or
procured" an offense to be a principal. Nev. Rev. Stat. §195.020 (2021) (emphasis added). Arizona provides
that one who "commands, encourages, requests, or solicits another person to engage in speci`c conduct"
commits the offense of solicitation. Ariz. Rev. Stat. Ann. §13-1002(A) (2020) (emphasis added). And New
Mexico imposes criminal liability on one who "with the intent" for another to commit a crime "solicits,
commands, requests, induces . . . or otherwise attempts to promote or facilitate" the offense. N. M. Stat. Ann.
§30-28-3(A) (2018) (emphasis added). These States are by no means outliers--"induce" or "encourage"
describe similar offenses in the criminal codes of every State. App. to Brief for State of Montana et al. as
Amici Curiae 1-44; see, e.g., Ala. Code §13A-2-23(1) (2015) ("induces"); Colo. Rev. Stat. §18-1-603 (2022)
("encourages"); Fla. Stat. §777.04(2) (2022) ("encourages"); Haw. Rev. Stat. §705-510(1) (2014)
("encourages"); Ind. Code §35-41-2-4 (2022) ("induces"); Kan. Stat. Ann. §21-5303(a) (2020) ("encouraging");
N. D. Cent. Code Ann. §12.1-06-03(1) (2021) ("induces"); Tex. Penal Code Ann. §7.02(a)(2) (West 2021)
("encourages"); W. Va. Code Ann. §61-11-8a(b)(1) (Lexis 2020) ("inducement"); Wyo. Stat. Ann. §6-1-302(a)
(2021) ("encourages").

   In sum, the use of "encourage" and "induce" to describe solicitation and facilitation is both longstanding
and pervasive. And if 8 U. S. C. §1324(a)(1)(A)(iv) refers to solicitation and facilitation as they are typically
understood, an overbreadth challenge would be hard to sustain.

                                                                        2

   Hansen, like the Ninth Circuit, insists that clause (iv) uses "encourages" and "induces" in their ordinary
rather than their specialized sense. While he offers de`nitions from multiple dictionaries, the terms are so
familiar that two samples surce. In ordinary parlance, "induce" means "[t]o lead on; to inhuence; to prevail on;
to move by persuasion or inhuence." Webster's New International Dictionary 1269 (2d ed. 1953). And
"encourage" means to "inspire with courage, spirit, or hope." Webster's Third New International Dictionary 747
(1966).

   In Hansen's view, clause (iv)'s use of the bare words "encourages" or "induces" conveys these ordinary
meanings. See Brief for Respondent 14. "[T]hat encouragement can include aiding and abetting," he says,
"does not mean it is restricted to aiding and abetting." Id., at 25. And because clause (iv) "proscribes
encouragement, full stop," id., at 14, it prohibits even an "op-ed or public speech criticizing the immigration
system and supporting the rights of long-term undocumented noncitizens to remain, at least where the author
or speaker knows that, or recklessly disregards whether, any of her readers or listeners are undocumented."
Id., at 17-18. If the statute reaches the many examples that Hansen posits, its applications to protected
speech might swamp its lawful applications, rendering it vulnerable to an overbreadth challenge.

                                                                        B

   We hold that clause (iv) uses "encourages or induces" in its specialized, criminal-law sense--that is, as
incorporating common-law liability for solicitation and facilitation. In truth, the clash between de`nitions is not
much of a contest. "Encourage" and "induce" have well-established legal meanings--and when Congress
"borrows terms of art in which are accumulated the legal tradition and meaning of centuries of practice, it
presumably knows and adopts the cluster of ideas that were attached to each borrowed word." Morissette v.
United States, 342 U. S. 246, 263 (1952); see also, e.g., United States v. Shabani, 513 U. S. 10, 13-14 (1994).

   To see how this works, consider the word "attempts," which appears in clause (iv)'s next-door neighbors.
See §§1324(a)(1)(A)(i)-(iii). In a criminal prohibition, we would not understand "attempt" in its ordinary sense
of "try." Webster's New Universal Unabridged Dictionary 133 (2d ed. 2001). We would instead understand it to
mean taking "a substantial step" toward the completion of a crime with the requisite mens rea. United States
v. Resendiz-Ponce, 549 U. S. 102, 107 (2007). "Encourages or induces" likewise carries a specialized meaning.
After all, when a criminal-law term is used in a criminal-law statute, that--in and of itself--is a good clue that it
takes its criminal-law meaning. And the inference is even stronger here, because clause (iv) prohibits
"encouraging" and "inducing" a violation of law. See §1324(a)(1)(A)(iv). That is the focus of criminal
solicitation and facilitation too.

   In concluding otherwise, the Ninth Circuit stacked the deck in favor of ordinary meaning. See 25 F. 4th, at
1109-1110; see also United States v. Hernandez-Calvillo, 39 F. 4th 1297, 1304 (CA10 2022) ("Our construction
of [the verbs in clause (iv)] begins with their ordinary meaning, not their specialized meaning in criminal law").
But it should have given specialized meaning a fair shake. When words have several plausible de`nitions,
context differentiates among them. That is just as true when the choice is between ordinary and specialized
meanings, see, e.g., Corning Glass Works v. Brennan, 417 U. S. 188, 202 (1974) ("While a layman might well
assume that time of day worked rehects one aspect of a job's 'working conditions,' the term has a different
and much more speci`c meaning in the language of industrial relations"), as it is when a court must choose
among multiple ordinary meanings, see, e.g., Muscarello v. United States, 524 U. S. 125, 127-128 (1998)
(choosing between ordinary meanings of "carry"). Here, the context of these words--the water in which they
swim--indicates that Congress used them as terms of art.

   Statutory history is an important part of this context. In 1885, Congress enacted a law that would become
the template for clause (iv). That law prohibited "knowingly assisting, encouraging or soliciting" immigration
under a contract to perform labor. Act of Feb. 26, 1885, ch. 164, §3, 23 Stat. 333 (1885 Act) (emphasis added).
Then, as now, "encourage" had a specialized meaning that channeled accomplice liability. See 1 Bouvier, Law
Dictionary 30 ("abet" means "[t]o encourage or set another on to commit a crime"); Black's Law Dictionary 6
(1891) (to "abet" is "[t]o encourage, incite, or set another on to commit a crime"). And the words "assisting" and
"soliciting," which appeared alongside "encouraging" in the 1885 Act, reinforce that Congress gave the word
"encouraging" its narrower criminal-law meaning. See Dubin v. United States, 599 U. S. ___, ___ (2023) (slip op.,
at 12) (a word capable of many meanings is re`ned by its neighbors, which often " 'avoid[s] the giving of
unintended breadth to the Acts of Congress' "). Unsurprisingly, then, when this Court upheld the 1885 Act
against a constitutional challenge, it explained that Congress "has the power to punish any who assist" in
introducing noncitizens into the country--without suggesting that the term "encouraging" altered the scope of
the prohibition. Lees v. United States, 150 U. S. 476, 480 (1893) (emphasis added).

   In the ensuing decades, Congress both added to and subtracted from the "encouraging" prohibition in the
1885 Act. Throughout, it continued to place "encouraging" alongside "assisting" and "soliciting." See Act of
Mar. 3, 1903, §5, 32 Stat. 1214-1215; Act of Feb. 20, 1907, §5, 34 Stat. 900. Then, in 1917, Congress added
"induce" to the string of verbs. Act of Feb. 5, 1917, §5, 39 Stat. 879 (1917 Act) (making it a crime "to induce,
assist, encourage, or solicit, or attempt to induce, assist, encourage, or solicit the importation or migration of
any contract laborer . . . into the United States"). Like "encourage," the word "induce" carried solicitation and
facilitation overtones at the time of this enactment. See Black's Law Dictionary 617 (1891) (de`ning
"inducement" to mean "that which leads or tempts to the commission of crime"). In fact, Congress had just
recently used the term in a catchall prohibition on criminal facilitation. See Act of Mar. 4, 1909, §332, 35 Stat.
1152 ("Whoever . . . aids, abets, counsels, commands, induces, or procures [the commission of an offense], is
a principal" (emphasis added)). And as with "encourage," the meaning of "induce" was clari`ed and narrowed
by its statutory neighbors in the 1917 Act--"assist" and "solicit."

   Congress enacted the immediate forerunner of the modern clause (iv) in 1952 and, in doing so, simpli`ed
the language from the 1917 Act. Most notably, the 1952 version dropped the words "assist" and "solicit,"
instead making it a crime to "willfully or knowingly encourag[e] or induc[e], or attemp[t] to encourage or induce,
either directly or indirectly, the entry into the United States of . . . any alien . . . not lawfully entitled to enter or
reside within the United States." Immigration and Nationality Act, §274(a)(4), 66 Stat. 229. Three decades later,
Congress brought 8 U. S. C. §1324(a)(1)(A)(iv) into its current form--still without the words "assist" or "solicit."
Immigration Reform and Control Act of 1986, §112(a), 100 Stat. 3382 (making it a crime to "encourag[e] or
induc[e] an alien to come to, enter, or reside in the United States, knowing or in reckless disregard of the fact
that such coming to, entry, or residence is or will be in violation of law").

   On Hansen's view, these changes dramatically broadened the scope of clause (iv)'s prohibition on
encouragement. Before 1952, he says, the words "assist" and "solicit" may have cabined "encourage" and
"induce," but eliminating them severed any connection the prohibition had to solicitation and facilitation. Brief
for Respondent 25-26. In other words, Hansen claims, the 1952 and 1986 revisions show that Congress opted
to make "protected speech, not conduct, a crime." Id., at 27.

   We do not agree that the mere removal of the words "assist" and "solicit" turned an ordinary solicitation and
facilitation offense into a novel and boundless restriction on speech. Hansen's argument would require us to
assume that Congress took a circuitous route to convey a sweeping--and constitutionally dubious--message.
The better understanding is that Congress simply "streamlined" the pre-1952 statutory language--which, as
any nonlawyer who has picked up the U. S. Code can tell you, is a commendable effort. 40 F. 4th, at 1066
(opinion of Bumatay, J.). In fact, the streamlined formulation mirrors this Court's own description of the 1917
Act, which is further evidence that Congress was engaged in a cleanup project, not a renovation. See United
States v. Lem Hoy, 330 U. S. 724, 727 (1947) (explaining that the 1917 Act barred "contract laborers, de`ned
as persons induced or encouraged to come to this country by offers or promises of employment" (emphasis
added)); id., at 731 (describing the 1917 Act as a "prohibition against employers inducing laborers to enter the
country" (emphasis added)). And critically, the terms that Congress retained ("encourage" and "induce")
substantially overlap in meaning with the terms it omitted ("assist" and "solicit"). LaFave §13.2(a). Clause (iv)
is best understood as a continuation of the past, not a sharp break from it.

                                                                        C

   Hansen's primary counterargument is that clause (iv) is missing the necessary mens rea for solicitation and
facilitation. Brief for Respondent 28-31. Both, as traditionally understood, require that the defendant
speci`cally intend that a particular act be carried out. Supra, at 6. "Encourages or induces," however, is not
modi`ed by any express intent requirement. Because the text of clause (iv) lacks that essential element,
Hansen protests, it cannot possibly be limited to either solicitation or facilitation.

   Once again, Hansen ignores the longstanding history of these words. When Congress transplants a
common-law term, the " 'old soil' " comes with it. Taggart v. Lorenzen, 587 U. S. ___, ___-___ (2019) (slip op., at
5-6). So when Congress placed "encourages" and "induces" in clause (iv), the traditional intent associated with
solicitation and facilitation was part of the package. That, in fact, is precisely how the federal aiding-and-
abetting statute works. It contains no express mens rea requirement, providing only that a person who "aids,
abets, counsels, commands, induces or procures" a federal offense is "punishable as a principal." 18 U. S. C.
§2(a). Yet, consistent with "a centuries-old view of culpability," we have held that the statute implicitly
incorporates the traditional state of mind required for aiding and abetting. Rosemond v. United States, 572
U. S. 65, 70-71 (2014).

   Clause (iv) is situated among other provisions that work the same way. Consider those that immediately
follow it: The `rst makes it a crime to "engag[e] in any conspiracy to commit any of the preceding acts," 8
U. S. C. §1324(a)(1)(A)(v)(I), and the second makes it a crime to "ai[d] or abe[t] the commission of any of the
preceding acts," §1324(a)(1)(A)(v)(II). Neither of these clauses explicitly states an intent requirement. Yet both
conspiracy and aiding and abetting are familiar common-law offenses that contain a particular mens rea. See
Rosemond, 572 U. S., at 76 (aiding and abetting); Ocasio v. United States, 578 U. S. 282, 287-288 (2016)
(conspiracy). Take an obvious example: If the words "aids or abets" in clause (v)(II) were considered in a
vacuum, they could be read to cover a person who inadvertently helps another commit a §1324(a)(1)(A)
offense. But a prosecutor who tried to bring such a case would not succeed. Why? Because aiding and
abetting implicitly carries a mens rea requirement--the defendant generally must intend to facilitate the
commission of a crime. LaFave §13.2(b). Since "encourages or induces" in clause (iv) draws on the same
common-law principles, it too incorporates them implicitly.2

   Still, Hansen reiterates that if Congress had wanted to require intent, it could easily have said so--as it did
elsewhere in clause (iv). The provision requires that the defendant encourage or induce an unlawful act and
that the defendant "kno[w]" or "reckless[ly] disregard" the fact that the act encouraged "is or will be in violation
of law." §1324(a)(1)(A)(iv). Yet while Congress spelled out this requirement, it included no express mens rea
element for "encourages or induces." Indeed, Hansen continues, the statute used to require that the
encouragement or inducement be committed "willfully or knowingly," but Congress deleted those words in
1986. Brief for Respondent 30. Taken together, Hansen says, this evidence rehects that Congress aimed to
make a defendant liable for "encouraging or inducing" without respect to her state of mind.

   But there is a simple explanation for why "encourages or induces" is not modi`ed by an express mens rea
requirement: There is no need for it. At the risk of sounding like a broken record, "encourage" and "induce," as
terms of art, carry the usual attributes of solicitation and facilitation--including, once again, the traditional
mens rea. Congress might have rightfully seen the express mens rea requirement as unnecessary and cut it in
a further effort to streamline clause (iv). And in any event, the omission of the unnecessary modi`er is
certainly not enough to overcome the "presumption of scienter" that typically separates wrongful acts "from
'otherwise innocent conduct.' " Xiulu Ruan v. United States, 597 U. S. ___, ___ (2022) (slip op., at 5); see also
Elonis v. United States, 575 U. S. 723, 736-737 (2015).

   Nor does the scienter applicable to a distinct element within clause (iv)--that the defendant "kno[w]" or
"reckless[ly] disregard . . . the fact that" the noncitizen's "coming to, entry, or residence is or will be in violation
of law"--tell us anything about the mens rea for "encourages or induces." Many criminal statutes do not require
knowledge of illegality, but rather only " 'factual knowledge as distinguished from knowledge of the law.' "
Bryan v. United States, 524 U. S. 184, 192 (1998). So Congress's choice to specify a mental state for this
element tells us something that we might not normally infer, whereas the inclusion of a mens rea requirement
for "encourages or induces" would add nothing.

   It bears emphasis that even if the Government's reading were not the best one, the interpretation is at least
" 'fairly possible' "--so the canon of constitutional avoidance would still counsel us to adopt it. Jennings v.
Rodriguez, 583 U. S. ___, ___ (2018) (slip op., at 12). This canon is normally a valuable ally for criminal
defendants, who raise the prospect of unconstitutional applications to urge a narrower construction. But
Hansen presses the clause toward the most expansive reading possible, effectively asking us to apply a
canon of " 'constitutional collision.' " 40 F. 4th, at 1059 (opinion of Bumatay, J.). This tactic is understandable
in light of the odd incentives created by the overbreadth doctrine, but it is also wrong. When legislation and the
Constitution brush up against each other, our task is to seek harmony, not to manufacture conhict.3

                                                                        IV

   Section 1324(a)(1)(A)(iv) reaches no further than the purposeful solicitation and facilitation of speci`c acts
known to violate federal law. So understood, the statute does not "prohibi[t] a substantial amount of protected
speech" relative to its "plainly legitimate sweep." Williams, 553 U. S., at 292.

   Start with clause (iv)'s valid reach. Hansen does not dispute that the provision encompasses a great deal of
nonexpressive conduct--which does not implicate the First Amendment at all. Brief for Respondent 22-23.
Consider just a few examples: smuggling noncitizens into the country, see United States v. Okatan, 728 F. 3d
111, 113-114 (CA2 2013); United States v. Yoshida, 303 F. 3d 1145, 1148-1151 (CA9 2002), providing
counterfeit immigration documents, see United States v. Tracy, 456 Fed. Appx. 267, 269-270 (CA4 2011)
(per curiam); United States v. Castillo- Felix, 539 F. 2d 9, 11 (CA9 1976), and issuing fraudulent Social Security
numbers to noncitizens, see Edwards v. Prime, Inc., 602 F. 3d 1276, 1295-1297 (CA11 2010). A brief survey of
the Federal Reporter con`rms that these are heartland clause (iv) prosecutions. See 40 F. 4th, at 1072 (opinion
of Bumatay, J.) (listing additional examples, including arranging fraudulent marriages and transporting
noncitizens on boats). So the "plainly legitimate sweep" of the provision is extensive.

   When we turn to the other side of the ledger, we `nd it pretty much blank. Hansen fails to identify a single
prosecution for ostensibly protected expression in the 70 years since Congress enacted clause (iv)'s
immediate predecessor. Instead, he offers a string of hypotheticals, all premised on the expansive ordinary
meanings of "encourage" and "induce." In his view, clause (iv) would punish the author of an op-ed criticizing
the immigration system, "[a] minister who welcomes undocumented people into the congregation and
expresses the community's love and support," and a government orcial who instructs "undocumented
members of the community to shelter in place during a natural disaster." Brief for Respondent 16-19. Yet none
of Hansen's examples are `ltered through the elements of solicitation or facilitation--most importantly, the
requirement (which we again repeat) that a defendant intend to bring about a speci`c result. See, e.g.,
Rosemond, 572 U. S., at 76. Clause (iv) does not have the scope Hansen claims, so it does not produce the
horribles he parades.

   To the extent that clause (iv) reaches any speech, it stretches no further than speech integral to unlawful
conduct.4 "[I]t has never been deemed an abridgement of freedom of speech or press to make a course of
conduct illegal merely because the conduct was in part initiated, evidenced, or carried out by means of
language, either spoken, written, or printed." Giboney v. Empire Storage & Ice Co., 336 U. S. 490, 502 (1949).
Speech intended to bring about a particular unlawful act has no social value; therefore, it is unprotected.
Williams, 553 U. S., at 298. We have applied this principle many times, including to the promotion

of a particular piece of contraband, id., at 299, solicitation of unlawful employment, Pittsburgh Press Co. v.
Pittsburgh Comm'n on Human Relations, 413 U. S. 376, 388 (1973), and picketing with the "sole, unlawful [and]
immediate objective" of "induc[ing]" a target to violate the law, Giboney, 336 U. S., at 502. It applies to clause
(iv) too.5

   Hansen has no quibble with that conclusion to the extent that clause (iv) criminalizes speech that solicits
or facilitates a criminal violation, like crossing the border unlawfully or remaining in the country while subject
to a removal order. See §§1253(a), 1325(a), 1326(a). He agrees that these applications of §1324(a)(1)(A)(iv)
are permissible--in fact, he concedes that he would lose if clause (iv) covered only solicitation and facilitation
of criminal conduct. Tr. of Oral Arg. 61-62. But he resists the idea that the First Amendment permits Congress
to criminalize speech that solicits or facilitates a civil violation--and some immigration violations are only civil.
Brief for Respondent 38. For instance, residing in the United States without lawful status is subject to the hefty
penalty of removal, but it generally does not carry a criminal sentence. See Arizona v. United States, 567 U. S.
387, 407 (2012).

   Call this the "mismatch" theory: Congress can impose criminal penalties on speech that solicits or
facilitates a criminal violation and civil penalties on speech that solicits or facilitates a civil violation--but it
cannot impose criminal penalties on speech that solicits or facilitates a civil violation. See Tr. of Oral Arg. 62-
63; Brief for Eugene Volokh as Amicus Curiae 5-7. If this theory is sound, then clause (iv) reaches some
expression that is outside the speech-integral-to-unlawful-conduct exception. Of course, "that speech is not
categorically unprotected does not mean it is immune from regulation, but only that ordinary First Amendment
scrutiny would apply." Brief for Respondent 44.

   We need not address this novel theory, because even if Hansen is right, his overbreadth challenge fails. To
succeed, he has to show that clause (iv)'s overbreadth is "substantial . . . relative to [its] plainly legitimate
sweep." Williams, 553 U. S., at 292. As we have discussed, the provision has a wide legitimate reach insofar as
it applies to nonexpressive conduct and speech soliciting or facilitating criminal violations of immigration law.
Even assuming that clause (iv) reaches some protected speech, and even assuming that its application to all
of that speech is unconstitutional, the ratio of unlawful-to-lawful applications is not lopsided enough to justify
the "strong medicine" of facial invalidation for overbreadth. Broadrick v. Oklahoma, 413 U. S. 601, 613 (1973).
In other words, Hansen asks us to throw out too much of the good based on a speculative shot at the bad.
This is not the stuff of overbreadth--as-applied challenges can take it from here.

                                                                   * * *

   The judgment of the Ninth Circuit is reversed, and the case is remanded for further proceedings consistent
with this opinion.

                                                                                                                           It is so ordered.



                                                          THOMAS, J., concurring


                                                           599 U. S. ____ (2023)

                                                                No. 22-179

                                UNITED STATES, PETITIONER v. HELAMAN HANSEN

                               ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT


                                                              [June 23, 2023]



   JUSTICE THOMAS, concurring.


   I join the Court's opinion in full. I write separately to emphasize how far a`eld the facial overbreadth
doctrine has carried the Judiciary from its constitutional role. The facial overbreadth doctrine "purports to
grant federal courts the power to invalidate a law" that is constitutional as applied to the party before it " 'if a
substantial number of its applications are unconstitutional, judged in relation to the statute's plainly legitimate
sweep.' " Americans for Prosperity Foundation v. Bonta, 594 U. S. ___, ___ (2021) (THOMAS, J., concurring in part
and concurring in judgment) (slip op., at 2) (quoting United States v. Sineneng-Smith, 590 U. S. ___, ___ (2020)
(THOMAS, J., concurring) (slip op., at 1)). As I have explained, this doctrine "lacks any basis in the text or history
of the First Amendment, relaxes the traditional standard for facial challenges," and distorts the judicial role. Id.,
at ___ (slip op., at 9).

   There is no question that the First Amendment does not shield respondent's scheme from prosecution
under 8 U. S. C. §1324(a)(1)(A)(iv), which prohibits "encourag[ing] or induc[ing] an alien to come to, enter, or
reside in the United States, knowing or in reckless disregard of the fact that such coming to, entry, or
residence is or will be in violation of law." Respondent defrauded nearly 500 aliens by telling them that they
could become U. S. citizens through adult adoption; he charged them up to $10,000 apiece, knowing full well
that his scheme would not lead to citizenship. The Ninth Circuit even acknowledged below that "it is clear,"
both "from previous convictions under the statute . . . and likely from [respondent's] conduct here, that
                                                                                                              68
[§1324(a)(1)(A)(iv)] has at least some 'plainly legitimate sweep.' " 25 F. 4th 1103, 1106-1107
                                                                                       64      (2022).
                                                            Case 2:21-cv-01412-ART-EJY    Document 452-1   Filed 01/09/25   Page 66 of 78
   Yet, instead of applying Congress' duly enacted law to respondent, the Ninth Circuit held the statute
unconstitutional under this Court's facial overbreadth doctrine. Speci`cally, it took the doctrine as license to
"speculate about imaginary cases and sift through an endless stream of fanciful hypotheticals," from which it
concluded that the statute may be unconstitutional as applied to other (hypothetical) individuals in other
(hypothetical) situations. 40 F. 4th 1049, 1071 (2022) (Bumatay, J., dissenting from denial of rehearing en
banc) (internal quotation marks omitted). It then tallied up those hypothetical constitutional violations and
determined that they were "substantial" enough to warrant holding the law unconstitutional in toto. 25 F. 4th, at
1109-1111. That line of reasoning starkly demonstrates that this Court's facial overbreadth doctrine offers a
license for federal courts to act as "roving commissions assigned to pass judgment on the validity of the
Nation's laws." Broadrick v. Oklahoma, 413 U. S. 601, 610-611 (1973) (majority opinion of White, J.).

   Such "roving commissions" are hardly a new idea. When they met in 1787, the Constitution's Framers were
well aware of a body that wielded such power: the New York Council of Revision (Council). Created by the New
York Constitution of 1777, the Council consisted of the Governor, the Chancellor, and the judges of the New
York Supreme Court. 2 B. Poore, The Federal and State Constitutions, Colonial Charters, and Other Organic
Laws of the United States 1328, 1332 (2d ed. 1878). Noting that "laws inconsistent with the spirit of this
constitution, or with the public good, may be hastily and unadvisedly passed," section III of the New York
Constitution required the two Houses of the New York Legislature to present "all bills which have passed the
senate and assembly" to the "council for their revisal and consideration." Ibid. The Council's power "to revise
legislation" meant that, if it "objected to any measure of a bill, it would return a detailed list of its objections to
the legislature," which "could change the bill to conform to those objections, override" them by a two-thirds
vote of both Houses, "or simply let the bill die." J. Barry, Comment: The Council of Revision and the Limits of
Judicial Power, 56 U. Chi. L. Rev. 235, 245 (1989) (Barry) (emphasis deleted).1 The grounds for the Council's
vetoes "ranged from an act being 'inconsistent with the spirit of the Constitution' to an act being passed
without 'the persons affected thereby having an opportunity of being heard' " to an act being " 'inconsistent
with the public good.' " Id., at 245-246 (alteration and footnote omitted).

   At `rst, the Council was a well-respected institution, and several prominent delegates to the Philadelphia
Convention sought to replicate it in the Federal Constitution. Resolution 8 of the Virginia Plan proposed a
federal council of revision composed of "the Executive and a convenient number of the National Judiciary"
that would have "authority to examine [and veto] every act of the National Legislature before it shall operate." 1
Records of the Federal Convention of 1787, §8, p. 21 (M. Farrand ed. 1911) (Farrand). The Council's veto
would "be `nal . . . unless the Act of the National Legislature be again passed." Ibid.; see also J. Malcolm,
Whatever the Judges Say It Is? The Founders and Judicial Review, 26 J. L. & Politics 1, 30-33 (2010).

   The proponents of a council were clear that they sought to empower judges to pass upon not only the
constitutionality of laws, but also their policy. One of the council's main supporters, James Wilson, stated that
the council would share the New York Council's power of reviewing laws, not only on constitutional grounds,
but also to determine if they were "unjust," "unwise," "dangerous," or "destructive." 2 Farrand 73. Such a power
was needed, according to Wilson, because the ordinary judicial power of refusing to apply unconstitutional
laws in cases or controversies did not include the authority to decline to give effect to a law on policy grounds.
Ibid. The other leading proponent of a council, James Madison, similarly argued that the council would veto
"laws unwise in their principle, or incorrect in their form." 1 id., at 139. For Madison, the council was necessary
to remedy the defect caused by the limits of judicial power: Judges could not prevent the "pursuit of . . .
unwise & unjust measures." 2 id., at 74. In that vein, George Mason similarly argued that a council was needed
to prevent "unjust oppressive or pernicious" laws from taking effect. Id., at 78.

   Signi`cantly, proponents of a council rejected the premise that judicial power included a power to refuse to
apply a law for policy reasons. In fact, "[n]either side thought judges would or should be authorized to make
policy--whether couched in the language of justice or rights--through their exercise of the judicial power. . . .
[T]he debate over a council of revision was made necessary . . . because . . . not a single delegate on either
side of the debate proposed or supported having judges perform a policymaking role from the bench." J.
Anderson, Learning From the Great Council of Revision Debate, 68 Rev. Politics 79, 99-100 (2006). From that
shared premise, the council's proponents argued that such an institution was needed precisely because it
would be incompatible with judicial duty to take policy concerns into account in adjudicating cases. See J.
Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev. 933, 963 (2018).2

   Despite the support of respected delegates like Wilson and Madison, the Convention voted against creating
a federal council of revision on four different occasions. P. Hamburger, Law and Judicial Duty 511 (2008). No
other proposal was considered and rejected so many times. Ibid. Like the council's supporters, opponents of
the proposal understood that the judicial power is only the authority to "resolve private disputes between
particular parties," rather than "matters affecting the general public." Barry 255. Working from that shared
premise, they reasoned that it was " 'quite foreign from the nature of [the judicial] orce to make them judges
of the policy of public measures,' " as " 'no maxim was better established' than that 'the power of making ought
to be kept distinct from that of expounding, the law.' " Ibid. (quoting 1 Farrand 97-98 (E. Gerry); 2 id., at 75 (C.
Strong)); see also 1 id., at 140 (J. Dickinson). Indeed, opponents observed that "the Judges" were "of all men
the most un`t to" have a veto on laws before their enactment. 2 id., at 80 (J. Rutledge). This was so not only
because judges could not be "presumed to possess any peculiar knowledge of the mere policy of public
measures," id., at 73 (N. Ghorum), but also because, to preserve judicial integrity, they "ought never to give their
opinion on a law till it comes before them" as an issue for decision in a concrete case or controversy, id., at 80
(J. Rutledge); see also Perez v. Mortgage Bankers Assn., 575 U. S. 92, 121 (2015) (THOMAS, J., concurring in
judgment) ("[J]udicial involvement in such a council would foster internal biases"). Opponents thus concluded
that to include judges in the policy decisions inherent in the legislative process would be a "dangerous
innovation," one that would erode public con`dence in their ability to perform their "proper orcial character." 2
Farrand 75-76 (L. Martin); see also id., at 77 ("[T]he Supreme Judiciary should have the con`dence of the
people. This will soon be lost, if they are employed in the task of remonstrating ag[ainst] popular measures of
the Legislature").

   The later history of the New York Council of Revision demonstrates the wisdom of the Framers' decision.
The Council naturally became politicized through its intrusive involvement in the legislative process. Over the
course of its existence, it returned 169 bills to the legislature; the legislature, in turn, overrode only 51 of those
vetoes and reenacted at least 26 bills with modi`cations. Barry 245. Moreover, "[t]he Council did not shrink
from tough stands on controversial or politically charged issues." Id., at 246. For example, early in its
existence, it vetoed a bill barring those convicted of adultery from remarrying and one that declared Loyalists
aliens. Ibid. Decades later, it very nearly blocked the bill authorizing the Erie Canal's construction for policy
reasons. P. Bernstein, Wedding of the Waters: The Erie Canal and the Making of a Great Nation 197-199
(2005). Some members of the Council opposed the bill due to "concern[s] about committing the state to this
huge project before public opinion was more clearly and more emphatically in favor." Id., at 198. Others were
concerned that the legislation gave the canal commission arbitrary powers. Ibid. The canal legislation--one of
the most important measures in the Nation's history--survived the Council's review only because Chancellor
James Kent changed his deciding vote at the last minute, seemingly on a whim. Id., at 199.

   The Council contributed to its own abolition in 1820, when it vetoed a bill passed by the legislature that
called for a convention to revise New York's Constitution. 1 C. Lincoln, The Constitutional History of New York
623-626 (1906) (Lincoln). The State Assembly then issued a report lambasting "the Council for usurping the
legislature's role as the democratic representative of the people"; the legislature subsequently enacted a new
bill that succeeded in calling for a constitutional convention. Barry 247; Lincoln 626-629. The same sentiment
arose at the convention when, echoing arguments that had also been made in Philadelphia against a federal
council of revision, opponents of the Council argued that it had " 'usurped the power of judging the expediency
as well as the constitutionality of bills passed by the legislature' " and that it had " 'in fact become a third
branch of the legislature.' " Barry 247 (quoting N. Carter & W. Stone, Reports of the Proceedings and Debates
of the Convention of 1821, pp. 55, 79 (1821)). Unsurprisingly, the Council was abolished, and New York's 1821
Constitution placed the veto power solely in the Governor. Barry 248.

   When courts apply the facial overbreadth doctrine, they function in a manner strikingly similar to the federal
council of revision that the Framers rejected. The doctrine contemplates that courts can declare laws
unconstitutional in the abstract without the law ever being applied against any individual in an
unconstitutional manner. Along the way, courts must examine the sum total of the law's application to people
who are not parties to any proceeding; courts then weigh the law's various applications to determine if any
unconstitutional applications outweigh the law's constitutional sweep or might "chill" protected speech. That
is nothing short of a society-wide policy determination of the sort that legislatures perform. Yet, the Court has
never even attempted to ground this doctrine "in the text or history of the First Amendment." Sineneng-Smith,
590 U. S., at ___-___ (concurring opinion) (slip op., at 2-3). Instead, it has justi`ed it "solely by reference to" yet
another layer of "policy considerations and value judgments" about "what serves the public good." Id., at ___-
___ (slip op., at 3-4). As the debate over the federal council of revision demonstrates, this approach is
fundamentally inconsistent with judicial duty.

   This case demonstrates just how far courts have drifted from their original station of adjudicating the
rights of the parties before them in accordance with law.3 In an appropriate case, we should carefully
reconsider the facial overbreadth doctrine.



                                                  JACKSON, J., dissenting


                                                    599 U. S. ____ (2023)

                                                        No. 22-179

                         UNITED STATES, PETITIONER v. HELAMAN HANSEN

                       ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT


                                                      [June 23, 2023]



   JUSTICE JACKSON, with whom JUSTICE SOTOMAYOR joins, dissenting.


   At bottom, this case is about how to interpret a statute that prohibits "encourag[ing] or induc[ing]" a
noncitizen "to come to, enter, or reside in the United States" unlawfully. 8 U. S. C. §1324(a)(1)(A)(iv). The Court
reads that broad language as a narrow prohibition on the intentional solicitation or facilitation of a speci`c act
of unlawful immigration--and it thereby avoids having to invalidate this statute under our well-established First
Amendment overbreadth doctrine. But the majority departs from ordinary principles of statutory interpretation
to reach that result. Speci`cally, it rewrites the provision's text to include elements that Congress once
adopted but later removed as part of its incremental expansion of this particular criminal law over the last
century.

   It is neither our job nor our prerogative to retro`t federal statutes in a manner patently inconsistent with
Congress's choices. Moreover, by acquiescing to the Government's newly minted pitch to narrow this statute
in order to save it,1 the majority undermines the goal of the overbreadth doctrine, which aims to keep overly
broad statutes off the books in order to avoid chilling constitutionally protected speech. See Dombrowski v.
P`ster, 380 U. S. 479, 486-487 (1965). Because the majority's interpretation of §1324(a)(1)(A)(iv) diverges
from the text and history of the provision, and simultaneously subverts the speech-protective goals of the
constitutional doctrine plainly implicated here, I respectfully dissent.

                                                               I

   Section 1324(a)(1)(A)(iv) makes it a federal crime to "encourag[e] or induc[e]" a noncitizen "to come to,
enter, or reside in the United States, knowing or in reckless disregard of the fact that such coming to, entry, or
residence is or will be in violation of law." For ease of reference, I will refer to this as the "encouragement
provision."

   Respondent Hansen argues that the encouragement provision is unconstitutional under our First
Amendment overbreadth doctrine, and the Ninth Circuit below agreed. Neither the Government nor the
majority disputes that conclusion if the statute is read according to its plain terms. And, indeed, when read
literally, the encouragement provision prohibits so much protected speech that it appears to qualify as
overbroad under our precedents.

                                                              A

   A statute is overbroad--and thus facially invalid--if "a substantial number of its applications are
unconstitutional, judged in relation to the statute's plainly legitimate sweep." United States v. Stevens, 559
U. S. 460, 473 (2010) (internal quotation marks omitted). The overbreadth inquiry thus generally requires
comparing the First Amendmentprotected expression that a statute impermissibly punishes, on the one hand
(let's call that "category one"), with the unprotected speech and conduct that the statute validly prohibits, on
the other ("category two").

   Starting with category one: With respect to the sweep of the plain text of the encouragement provision,
there is no dispute that, "[i]n ordinary parlance, 'induce' means '[to] lead on; to inhuence; to prevail on; to move
by persuasion or inhuence,' " and " 'encourage' means to 'inspire with courage, spirit, or hope.' " Ante, at 9. Thus,
on its face, the encouragement provision's use of the terms "encourage" and "induce" seems to encompass
any and all speech that merely persuades, inhuences, or inspires a noncitizen to come to, enter, or reside in
this country in violation of law.

   If speech of this nature is, in fact, surcient to trigger potential prosecution under this statute, the provision
would put all manner of protected speech in the Government's prosecutorial crosshairs. It would reach, for
example, the grandmother who says she misses her noncitizen grandchild, leading the grandchild to move
illegally to the United States. It would also apply to the doctor who informs a noncitizen patient that a
necessary medical treatment is more readily available in the United States, inhuencing the patient to stay
beyond the expiration of his visa to await treatment. The college counselor who advises an undocumented
student that she can obtain a private scholarship to attend college in the United States, inspiring the student
to reside here, would also fall within the scope of the statute.

   The encouragement provision, on this broad reading, would also punish abstract advocacy of illegal
conduct, even though such speech is plainly permissible under the First Amendment. For instance, the plain
text of the statute appears to prohibit a person from saying to a noncitizen who has no authorization to reside
here, "I encourage you to live in the United States." But that speech is plainly protected. See United States v.
Williams, 553 U. S. 285, 298-300 (2008). In Williams, this Court explained that "abstract advocacy" of child
pornography--including the phrase "I encourage you to obtain child pornography"--quali`es as protected
speech, even though the "recommendation of a particular piece of purported child pornography with the intent
of initiating a transfer" is properly proscribed by federal statute. Ibid. (internal quotation marks omitted); see
also, e.g., Ashcroft v. Free Speech Coalition, 535 U. S. 234, 253 (2002) ("The mere tendency of speech to
encourage unlawful acts is not a surcient reason for banning it").

                                                              B

   The Government does not dispute that the encouragement provision is unconstitutional as overbroad if it is
read according to its plain text, thereby reaching these various fact patterns. This point is worth repeating:
Under the broad interpretation of the statute, the Government does not even attempt to argue that the
unconstitutional applications in category one are not "substantial," Stevens, 559 U. S., at 473, in relation to the
constitutional applications that fall in category two.2 Rather, the Government argues that the statute can be
saved from falling victim to today's overbreadth challenge by construing the broad terms of the
encouragement provision narrowly--and, in particular, reading them as authorizing prosecution only for
solicitation or facilitation.

   Citing this Court's general duty "to seek harmony, not to manufacture conhict," when "legislation and the
Constitution brush up against each other," ante, at 16-17, the majority obliges. But this Court also has a duty to
refrain from taking the legislative reins and revising the text of a statute. It is well established that "[w]e will
not rewrite a law to conform it to constitutional requirements." Stevens, 559 U. S., at 481 (emphasis added;
alterations and internal quotation marks omitted). Accordingly, and in the overbreadth context in particular, the
Court "may impose a limiting construction on a statute only if it is 'readily susceptible' to such a construction."
Ibid. (some internal quotation marks omitted).

   Application of our ordinary principles of statutory interpretation here reveals that the encouragement
provision is not susceptible to the narrow solicitation or facilitation construction that the majority adopts, as
explained below. Thus, this statute is overbroad and facially invalid under the First Amendment.

                                                              II

   The majority contends that the encouragement provision uses " 'encourage' " and " 'induce' " in a
"specialized, criminal-law sense," under which those words are essentially synonymous with solicitation and
facilitation and carry certain narrowing features of those crimes. Ante, at 9. But that construction of the
statute is untenable for the reasons that follow.

                                                              A

   The majority starts its interpretation of the encouragement provision "with some background on solicitation
and facilitation," ante, at 6, instead of addressing any of the terms in the encouragement provision itself. This
is the `rst clue that the majority's statutory analysis is unusual. Ordinarily, we start with the text of the statute
being interpreted. Yet the words "solicitation" and "facilitation" appear nowhere in the encouragement
provision. (As the majority notes, facilitation is "also called aiding and abetting," ibid.--another term that is
absent from the encouragement provision.)

   The majority goes on to explain that the terms that do appear in the encouragement provision--"encourage"
and "induce"--are also often used (with other words) to de`ne "solicitation" and "facilitation." Ante, at 6-8. For
example, the majority notes that one legal dictionary "de`nes 'abet' as '[t]o encourage or set another on to
commit a crime,' " and it cites other legal dictionaries that also use "encourage" to de`ne "abet." Ante, at 7.
Similarly, the majority observes that the federal "ban on soliciting a crime of violence . . . penalizes those who
'solici[t], comman[d], induc[e], or otherwise endeavo[r] to persuade' another person 'to engage in [the unlawful]
conduct.' " Ibid. Because the terms "encourage" and "induce" are used to de`ne the crimes of solicitation and
facilitation, the majority concludes that the statutory terms " '[e]ncourage' and 'induce' have well-established
legal meanings" that "incorporat[e] common-law liability for solicitation or facilitation." Ante, at 9.

   This contention--that, because the broad terms that Congress actually used are sometimes spotted in the
de`nition of other, narrower words, the statute's broad terms are limited by the meaning of those narrower
words and those words' characteristics--is puzzling. The majority cites no precedent for this novel approach to
interpreting words in a statute. And its logic falls apart in light of the English lexicon and how dictionary
de`nitions tend to work.

   Broad words are often used to de`ne narrower ones. So the fact that a word is used to help de`ne another
word does not necessarily mean that the former is synonymous with the latter or incorporates all of its
connotations. For instance, the word "furniture" might be used in the de`nition of a "chair," but not all pieces of
furniture are chairs, nor do all pieces of furniture have four legs or other common chair-like characteristics.
Similarly, "to move" is used to de`ne "to walk," "to run," and "to hy." But that does not make these four terms
interchangeable.

   So, too, here. The phrase "encourages or induces" is not synonymous with "solicits" or "facilitates" (or "aids
and abets"). For example, among the other characteristics of solicitation and facilitation (discussed further in
Part II-C, infra) is the fact that they require "an intent to bring about a particular unlawful act," ante, at 6
(emphasis added). But the encouragement provision hints at no such thing. It simply prohibits "encourag[ing]
or induc[ing]" a noncitizen "to come to, enter, or reside in the United States, knowing or in reckless disregard of
the fact that such coming to, entry, or residence is or will be in violation of law." §1324(a)(1)(A)(iv). Nor does
the ordinary meaning of "encourages or induces" carry the intent requirement that solicitation and facilitation
do: By describing the attractions of my hometown, for instance, I might end up inducing a listener to move
there, even if that was not my intent.

   It is also telling that the very next subdivision of §1324(a)(1)(A) expressly prohibits "aid[ing] or abet[ting]
the commission of any of the preceding acts." §1324(a)(1)(A)(v)(II). That provision indicates that Congress
knows how to create an aiding-and-abetting prohibition when it wants to--and that it did not do so in §1324(a)
(1)(A)(iv).3

   The majority's mere observation that the encouragement provision's terms are used to de`ne solicitation
and facilitation is thus insurcient to establish that the terms mean the same thing or incorporate the same
features.

                                                              B

   The majority next turns to "[s]tatutory history" to support its transformation of the broad encouragement
provision that Congress wrote into a narrow solicitation or aiding-and-abetting prohibition. Ante, at 11. I agree
that the history of a statute can reveal Congress's intent to use terms in a narrower or specialized manner. But,
here again, the particulars matter. And the history of this particular statute only underscores that it cannot be
read as the majority wishes. At every turn, Congress has sought to expand the reach of this criminal law,
including by deleting the terms and mens rea requirement that the majority attempts to read back into the
statute.

                                                              1

   The history of the encouragement provision is a tale of expansion. Up `rst was an 1885 law focused
speci`cally on contract labor. Ch. 164, 23 Stat. 332. It made "knowingly assisting, encouraging or soliciting the
migration or importation of " a noncitizen into the United States "to perform labor or service of any kind under
contract or agreement" unlawful. §3, id., at 333. Congress revised this prohibition in 1917, to add "induce." §5,
39 Stat. 879. Thus, as of the early 20th century, it was a misdemeanor "to induce, assist, encourage, or solicit
. . . the importation or migration of any contract laborer," or to attempt to do the same. Ibid.

   Signi`cantly for present purposes, in 1952, Congress deleted the statute's references to solicitation and
assistance--leaving "encourages" and "induces" to stand alone. 66 Stat. 229. What is more, Congress
expanded the prohibition to all unlawful entry, not merely contract labor. Ibid. And it also ratcheted up the
punishment. Ibid. So amended, the statute made it a felony to "willfully or knowingly encourag[e] or induc[e], or
attemp[t] to encourage or induce, either directly or indirectly, the entry into the United States" of any noncitizen
who had not been "duly admitted" or who was not "lawfully entitled to enter or reside within the United States."
Ibid.

   Congress enacted the current version of the encouragement provision in 1986. It removed the mens rea
requirement relating to the encouragement or inducement element--excising from the statute that a violator
must "willfully or knowingly" encourage or induce a noncitizen to violate the immigration laws--while inserting
a mens rea requirement for knowledge or reckless disregard of the noncitizen's immigration status. See
Immigration Reform and Control Act of 1986, §112(a), 100 Stat. 3381-3382. Simultaneously, and for the `rst
time, Congress made it a crime to encourage or induce an unauthorized noncitizen not merely to enter the
United States, but also to encourage or induce such a person to "reside" here unlawfully. Ibid.

   Finally, in 1996, Congress crafted a separate penalty enhancement for certain kinds of violations. It raised
the maximum punishment from 5 years to 10 years of imprisonment if the offender violates the
encouragement provision "for the purpose of commercial advantage or private `nancial gain." §1324(a)(1)(B)
(i); see Illegal Immigration Reform and Immigrant Responsibility Act of 1996, §203(a), 110 Stat. 3009-565.

   As these developments illustrate, Congress has repeatedly revisited the scope of the encouragement
provision. And, in so doing, it has consistently expanded the reach and severity of this criminal law from its
modest 1885 origins. Most notably, the particular amendments that Congress has made to the
encouragement provision demonstrate its intent to speci`cally reject the pillars of the majority's holding.

   To reiterate: The terms "solicit" and "assist" appeared in the text of the statute between 1885 and 1952, at
which point Congress removed them. Likewise, between 1952 and 1986, violating this statute required that the
speaker "willfully or knowingly" encourage or induce a noncitizen to transgress the immigration laws. But in
1986, Congress deleted this primary mens rea requirement.

                                                              2

   The majority's efforts to spin the encouragement provision's enlightening enactment history in favor of the
majority's narrow interpretation are unavailing.

   The majority `rst points out that the 1885 version of the encouragement provision criminalized "knowingly
assisting, encouraging or soliciting" certain immigration. §3, 23 Stat. 333 (emphasis added); see ante, at 11.
Because the term "encouraging" was placed alongside "assisting" and "soliciting" in this precursor provision,
the majority maintains that the term "encouraging" is narrowed by the canon of noscitur a sociis, "which
counsels that a word is given more precise content by the neighboring words with which it is associated."
Williams, 553 U. S., at 294; see ante, at 11. In Williams, the Court (in an opinion by Justice Scalia) reasoned
that, "[w]hen taken in isolation," the broad term " 'promotes' " is "susceptible of multiple and wideranging
meanings," but that, "in a list that includes 'solicits,' 'distributes,' and 'advertises,' [it] is most sensibly read to
mean the act of recommending purported child pornography to another person for his acquisition." 553 U. S.,
at 294-295.

   But, as the majority here ultimately goes on to acknowledge, ante, at 12, the statutory word "encouraging"
was not actually accompanied by the narrower terms "soliciting" and "assisting" throughout the course of this
statute's history. And for the history to be meaningfully referenced, the state of the statute must be considered
over time, not just at particular points in which words that seem to support a particular reading might have
appeared. The delta between the purportedly narrow version of the statute that the majority points to, and
what later happened to the statutory text, is important--and there is no dispute that Congress later removed
the terms "soliciting" and "assisting" from the encouragement provision, leaving "encouraging" and "inducing"
to stand "in isolation," 553 U. S., at 294. See ante, at 13. Tracing the history over time clearly establishes that
Congress deleted the very narrowing terms that the majority now reads back into the statute.4

   The majority brushes off Congress's revision by speculating that Congress was merely "engaged in a
cleanup project" and was just "streamlin[ing]" the statutory language. Ibid. This contention, however, gets our
ordinary presumption in statutory interpretation cases precisely backwards. We "usually presume differences
in language . . . convey differences in meaning," absent some indication from Congress to the contrary. BNSF
R. Co. v. Loos, 586 U. S. ___, ___ (2019) (slip op., at 10) (internal quotation marks omitted). Thus, we have
found the presumption overcome where, for example, Congress has expressly "billed" the changes as
"effect[ing] only '[t]echnical [a]mendments.' " Id., at ___ (slip op., at 9).

   Here, the majority points to no signal from Congress that it sought to change the encouragement
provision's language without changing its meaning. It seems that the only support the majority can muster for
its "cleanup project" theory is a 1947 Supreme Court case that at several points refers to the statute as a
prohibition on "encourag[ing]" or "induc[ing]" certain unlawful immigration. Ante, at 13 (citing United States v.
Lem Hoy, 330 U. S. 724 (1947)). From this, the majority infers that, when Congress amended the
encouragement provision `ve years later to remove the words "solicit" and "assist," it must have been adopting
Lem Hoy's shorthand characterization of the statute. But the majority fails to support this connection--tenuous
on its face--with any evidence that Congress actually consulted our 1947 decision when it drafted the 1952
amendments, or anything else that might establish the primary signi`cance that the majority ascribes to our
decision's phrasing.

   The majority similarly characterizes Congress's decision to remove the intent requirement from the statute
in 1986 as "a further effort to streamline" the encouragement provision. Ante, at 16. In other words, the Court
today holds that Congress's removal of "willfully or knowingly" in the 1986 amendments did not change the
mens rea required to violate this statute. But the majority offers no support at all for its view that Congress
didn't really mean for the amendment to effect any substantive change. Instead, it conjures up its own "simple
explanation": There was "no need" for an explicit mens rea because "encourage" and "induce" carry the mens
rea associated with solicitation and facilitation. Ante, at 15; see also ante, at 14 (reasoning that Congress's
use of "encourages" and "induces" brought along the "old soil" of "the traditional intent associated with
solicitation and facilitation" (internal quotation marks omitted)). Of course, this argument merely assumes
that Congress intended for "encourage" and "induce" as they appear in the encouragement provision to mean
"solicit" and "facilitate"; it is a repackaging of the majority's unwarranted conhation of those terms. See Part II-
A, supra.

   The majority also invokes the presumption that a criminal law contains an intent requirement even where
Congress does not explicitly include one. Ante, at 15-16. But, here, the statutory history undermines that
presumption. Congress most certainly focused on the mens rea question because it not only decided to
remove "willfully or knowingly" from the statute, it did so while inserting a separate mens rea requirement for
the knowledge of the noncitizen's immigration status. The conhuence of these choices implies that
Congress's removal of the primary mens rea requirement was deliberate. And, when this deliberate choice is
considered alongside the history of the provision's signi`cant expansions, there is ample cause to think that
Congress intended a substantive change in meaning.

                                                              C

   Other features of the encouragement provision (beyond its plain text and historical development) also
suggest that Congress did not mean for the statute to be construed in accordance with established
characteristics of solicitation or aiding and abetting. These features further highlight the poor `t between this
statute and the narrow solicitation/aiding-and-abetting box into which the majority tries to squeeze Congress's
broad language.

   Recall that, in 1986, Congress made it a crime to encourage or induce a noncitizen not just to "come to" or
"enter" the United States, but also to "reside" in this country. 100 Stat. 3382; supra, at 8-9.5 As the majority
notes, while it is a crime for a noncitizen to enter the United States illegally, it is generally not a crime--just a
civil violation--to remain in the United States without lawful status, such as when a noncitizen overstays a
visitor or student visa. See Arizona v. United States, 567 U. S. 387, 407 (2012); see ante, at 19. Thus, the
encouragement provision on its face appears to criminally punish someone who merely encourages or
induces a civil violation.6

   That feature of the provision does not sit easily with its categorization as a solicitation or facilitation
statute, because, ordinarily, a person may only be held criminally liable for aiding and abetting or solicitation
when the underlying offense is itself a crime. Aiding-and-abetting liability is "a centuries-old view of culpability:
that a person may be responsible for a crime he has not personally carried out if he helps another to complete
its commission." Rosemond v. United States, 572 U. S. 65, 70 (2014) (citing J. Hawley & M. McGregor, Criminal
Law 81 (1899)); see also 18 U. S. C. §2(a) (the general federal aiding-and-abetting statute, providing that
someone who "aids, abets, counsels, commands, induces or procures" the commission of a federal crime "is
punishable as a principal"). As for solicitation, at common law, the solicited offense had to be a felony or a
serious misdemeanor; otherwise, "the solicitor [was] guilty of no offense." 1 J. Ohlin, Wharton's Criminal Law
§9:2 (16th ed. 2021) (Wharton's). Today, "in some jurisdictions, the offense solicited may be a felony or a
misdemeanor; but in others, it can only be a felony"--either way, though, the underlying offense must be
criminal. Ibid. (footnotes omitted); see also 18 U. S. C. §373 (the general federal solicitation statute, which is
limited to the solicitation of violent felonies).

   Here, by contrast, the encouragement provision on its face appears to permit a person to be punished as a
felon for merely encouraging a civil violation. Thus, the statute is not an easy `t for the solicitation and
facilitation role in which the majority has cast it.

   This statute is fundamentally different from aiding-and-abetting liability and solicitation in other ways as
well. As noted, aiding-and-abetting liability is a form of vicarious liability--i.e., a way in which a person
becomes liable for the crimes of the principal. Likewise, for solicitation, "the punishment . . . is usually geared
to . . . the punishment provided for the offense solicited." Wharton's §9:11; see, e.g., 18 U. S. C. §373(a)
(providing, for example, punishment of "not more than one-half the maximum term of imprisonment . . . of the
crime solicited"). But, notably, a person who violates the encouragement provision is not punished as if he
were a principal of the underlying offense, nor does the prescribed punishment depend on the penalty for the
underlying offense. So, for example, even if the underlying immigration offense is a civil violation, the person
who encourages or induces that infraction could be punished by up to 10 years' imprisonment for violating the
encouragement provision. Unlike solicitation and facilitation, then, punishment for violation of the
encouragement provision is not tied in any way to the punishment prescribed for the underlying offense.

   It is also telling that aiding-and-abetting liability (but not solicitation) requires that the principal actually
commit the underlying offense. 2 W. LaFave, Substantive Criminal Law §13.3(c) (3d ed. 2018) ("[T]he guilt of
the principal must be established at the trial of the accomplice as a part of the proof on the charge against the
accomplice"). Yet, the encouragement provision on its face does not require that a noncitizen actually enter or
reside in the United States.

                                                           * * *

   For these reasons, none of the traditional tools of statutory interpretation makes the encouragement
provision readily susceptible to the majority's narrowing construction.

                                                              III

   The majority nevertheless revises the statute, leaning on the canon of constitutional avoidance. Ante, at 16-
17.7 But that canon "comes into play only when, after the application of ordinary textual analysis, the statute is
found to be susceptible of more than one construction." Jennings v. Rodriguez, 583 U. S. ___, ___ (2018) (slip
op., at 12) (internal quotation marks omitted). It does not give the Court license "to rewrite a statute as it
pleases." Id., at ___ (slip op., at 14). And, here, for the reasons explained above, it is clear that the majority has
mounted "a serious invasion of the legislative domain." Stevens, 559 U. S., at 481 (internal quotation marks
omitted). The majority's rescue mission is especially problematic because it is taking place in the context of a
First Amendment challenge to a statute on overbreadth grounds, as explained below.

                                                              A

   Overbreadth challenges are an "exception to the usual rules governing standing," a variation the Court has
long permitted in recognition of the "danger of tolerating, in the area of First Amendment freedoms, the
existence of a penal statute susceptible of sweeping and improper application." Dombrowski, 380 U. S., at
486-487 (internal quotation marks omitted). Absent overbreadth doctrine, "the contours of regulation[s]" that
impinge on the freedom of speech "would have to be hammered out case by case--and tested only by those
hardy enough to risk criminal prosecution to determine the proper scope of regulation." Id., at 487. We thus
allow defendants whose speech is constitutionally proscribed by a statute (like Hansen) to argue that the
statute is nevertheless facially invalid under the First Amendment on the grounds that "a substantial number
of its applications are unconstitutional, judged in relation to the statute's plainly legitimate sweep." Stevens,
559 U. S., at 473 (internal quotation marks omitted). By permitting this kind of challenge, the Court has
"avoided making vindication of freedom of expression await the outcome of protracted litigation."
Dombrowski, 380 U. S., at 487.

   If this Court is willing to redline Congress's work to save it from unconstitutionality, it "sharply diminish[es]
Congress's incentive to draft a narrowly tailored law in the `rst place," Stevens, 559 U. S., at 481 (internal
quotation marks omitted), which runs directly counter to overbreadth's goal of limiting criminal laws that chill
constitutionally protected speech. Thus, in the particular context of an overbreadth challenge, countervailing
constitutional concerns--namely, that constitutionally protected speech will be chilled--must be considered
alongside the values that underpin our ordinary canon of constitutional avoidance.

   Heavy reliance on constitutional avoidance where statutes would otherwise be facially overbroad also
means that the broad language in the particular statute remains on the books--as compared to the alternative
world, in which the Court holds the statute unconstitutional as facially overbroad and thereby prompts the
enactment of a narrower replacement. Ordinary people confronted with the encouragement provision, for
instance, will see only its broad, speech-chilling language. Even if they do consult this Court's decision, and do
recognize that it substantially narrows the statute's scope, the Court's decision leaves many things about
future potential prosecutions up in the air.

   For example, one does not know from today's determination whether a noncitizen must actually complete
the underlying offense of coming to, entering, or residing in the United States (à la aiding and abetting) or
whether completion is not a prerequisite for prosecution (à la solicitation). This sort of uncertainty--the
clari`cation of which, by the way, should be Congress's policy prerogative--may itself dissuade people from
engaging in protected speech.8 Thus, regardless of whether a potential speaker has the ability, means, and
time to track down and interpret this decision (or hire a lawyer to do so) to understand what the law requires,
the known unknowns of the majority's course portend further chill.

                                                              B

   The majority attempts to downplay the encouragement provision's threat to free expression by highlighting
that Hansen "fails to identify a single prosecution for ostensibly protected expression in the 70 years since
Congress enacted clause (iv)'s immediate predecessor." Ante, at 17-18. But the purported lack of past
prosecutions provides no comfort for several reasons.

   The `rst is that we have already said as much--this Court squarely rejected that kind of argument when the
Government raised it in a prior overbreadth challenge. In Stevens, the Government vigorously asserted that it
had never brought a prosecution implicating the kind of protected expression that the plain text of the statute
in question swept in, and that it did not intend to do so. 559 U. S., at 480. The Government "hi[t] this theme
hard, invoking its prosecutorial discretion several times." Ibid. But we were not moved: Such a prosecution was
permitted by the statute, we noted, and that was enough to make it a serious threat. "[T]he First Amendment
protects against the Government; it does not leave us at the mercy of noblesse oblige." Ibid.

   Second, just as in Stevens, "[t]his prosecution is itself evidence of the danger in putting faith in Government
representations of prosecutorial restraint." Ibid. At trial in this very case, the Government objected to Hansen's
proposed jury instructions, which would have required, among other things, that the Government prove that
Hansen intended the noncitizen in question to reside in the United States illegally. The Government's objection
was telling. It was based on the argument that the proposed instructions added elements not found in the text
of the statute itself. And the District Court was persuaded; it sided with the Government in that regard.9 But
now that the statute's validity hangs in the balance, the Government has reversed course entirely--it now
implores us to read into the statute the very element that it earlier opposed as atextual. See Brief for United
States 23-28.

   This debacle exempli`es the real and ever-present risk of continuing to have facially overbroad criminal
statutes on the books. In its role as prosecutor, the Government often stakes out a maximalist position, only
later to concede limits when the statute upon which it relies might be struck down entirely and the
Government `nds itself on its back foot.10 I am not suggesting bad faith on anyone's part; these kinds of
turnabouts might well be chalked up to institutional incentives and coordination challenges in a massive
prosecutorial system. But given these dynamics, the answer to whether the Government has, as of today,
prosecuted Hansen's hypothetical scenarios may understandably provide cold comfort to those living and
working with immigrants.

   In any event, it makes little sense for the number of unconstitutional prosecutions to be the litmus test for
whether speech is being chilled by a facially overbroad statute. The number of people who have not exercised
their right to speak out of fear of prosecution is, quite frankly, unknowable.

   Moreover, criminal prosecutions are not the only method by which statutes can be wielded to chill free
speech. Hansen's amici detail how Customs and Border Protection (CBP) relied on the encouragement
provision to justify its creation of a "watchlist" of potential speakers that CBP had compiled in connection with
its monitoring of a large group of migrants--a list that included journalists simply reporting factual information
about the group's progress. Brief for Reporters Committee for Freedom of the Press as Amicus Curiae 5-6.
CBP allegedly compiled dossiers on those reporters and singled them out as targets for special screenings.
Ibid. There can be no doubt that this kind of Government surveillance--targeted at journalists reporting on an
important topic of public concern, no less--tends to chill speech, even though it falls short of an actual
prosecution.

   Hansen's amici also describe how a group of Members of Congress recently sent a letter to three religious
organizations that help undocumented immigrants, directing the organizations to preserve documents and
communications related to their work in advance of a potential congressional investigation into whether such
organizations are " 'harbor[ing], transport[ing], and encourag[ing] ' " noncitizens to settle unlawfully in this
country. Brief for Religious Organizations as Amici Curiae 34 (emphasis added). Again, this kind of letter
invoking the language of the encouragement provision can plainly chill speech, even though it is not a
prosecution (and, for that matter, even if a formal investigation never materializes).

   The majority nevertheless derides the fears of Hansen and his amici as an overimaginative "parad[e]" of
"horribles." Ante, at 18. But what may seem "fanciful" to this Court at great remove, ante, at 5, might well prove
to be a signi`cant obstacle for those on the ground who operate daily in the shadow of the law. The "gravity"
of the encouragement provision's chilling effect is "underscored by the `lings of . . . amici curiae in support of "
Hansen--including briefs from lawyers, immigration advocacy organizations, religious and other charitable
organizations, journalists, local governments, and nonpro`t policy institutions from across the ideological
spectrum. Americans for Prosperity Foundation v. Bonta, 594 U. S. ___, ___ (2021) (slip op., at 17).

   The substantial concerns that amici from such diverse walks of life raise illustrate that the "deterrent effect
feared by" Hansen and his amici "is real and pervasive." Id., at ___ (slip op., at 18). Moreover, at the end of the
day, those fears rehect a determination to view enacted statutes as serious business, and, essentially, to take
Congress at its word. This Court should have done the same.

   As written, the encouragement provision is overbroad. Therefore, it should have been deemed facially
unconstitutional and invalid under the First Amendment, as the Ninth Circuit held.




FOOTNOTES


Footnote 1
Although the statutory terms are not coextensive, we use "alien" and "noncitizen" as rough equivalents here.
See 8 U. S. C. §1101(a)(3); Barton v. Barr, 590 U. S. ___, ___, n. 2 (2020) (slip op., at 3, n. 2).



Footnote 2
The Ninth Circuit believed that the Government's "solicitation and facilitation" reading of clause (iv) would
create impermissible surplusage with the aiding-and-abetting provision in clause (v)(II). 25 F. 4th 1103, 1108-
1109 (2022). Hansen does not press that argument before this Court--for good reason. Clause (iv)
criminalizes the aiding and abetting of an immigration violation, whereas clause (v)(II) prohibits the aiding and
abetting of "any of the preceding acts." In other words, clause (v)(II) applies to aiding and abetting a `rst-line
facilitator. Another difference: Clause (iv) criminalizes not only facilitation, but solicitation too.


Footnote 3
The canon of constitutional avoidance is a problem for the dissent. Attempting to overcome it, JUSTICE
                                                                                                 69
JACKSON suggests that the canon has less force in the context of an overbreadth challenge.
                                                                                   65      Post, at 17. Our
                                                       Case 2:21-cv-01412-ART-EJY       Document 452-1       Filed 01/09/25   Page 67 of 78
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           Opinion       Summaries           Case details


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           United States v. Griﬃn                                                                                                             Case Details


                    Download PDF                   Check Treatment                                                                            Full title: UNITED STATES OF
                                                                                                                                              AMERICA, PLAINTIFF-
                                                                                                                                              APPELLEE, v. THOMAS
                                                                                                                                              ANDREW GRIFFIN…

           Summary
                                                                                                                                              Court: United States Court of
                                                                                                                                              Appeals, Fifth Circuit
           Rejecting the argument that the legislative history of § 1503 militates against
           applying the statute to a witness's in-court statements
                                                                                                                                              Date published: Feb 6, 1979
           Summary of this case from United States v. Bonds

           See 12 Summaries
                                                                                                                                              Citations       Copy Citation

                                                                                                                                              589 F.2d 200 (5th Cir. 1979)


                      Take care of legal research in a matter of minutes with
                             CoCounsel, your new AI legal assistant.                                                                          Citing Cases
                                                  Try CoCounsel free                                                                          U.S. v. Williams
                                                                                                                                              The omnibus clause,
                                                                                                                                              emphasized above, clearly
                                                                                                                                              forbids all corrupt endeavors
           Opinion                                                                                                                            to obstruct or impede the
                                                                                                                                              due…

           No. 78-5093.
                                                                                                                                              United States v. Caron
      201 February 6, 1979. *201                                                                                                              These differing results
                                                                                                                                              apparently stem from
           Richard B. Bergstresser, Miami, Fla., for defendant-appellant.                                                                     different perceptions of the
                                                                                                                                              purpose and scope of the…
           Jack V. Eskenazi, U.S. Atty., Miami, Fla., James A. Hunolt, Atty., Crim. Div.,
           App. Sec., Joseph S. Davies, Jr., Atty., Washington, D.C., for plaintiﬀ-                                                               64 Citing Cases
           appellee.

           Appeal from the United States District Court for the Southern District of
           Florida.

           Before WISDOM, GODBOLD and TJOFLAT, Circuit Judges.


           WISDOM, Circuit Judge:

           Thomas Griﬃn appeals his conviction under an indictment that charged him
           with "corruptly endeavor[ing] to obstruct the due administration of justice
           by testifying falsely" before a federal grand jury. In United States v. Howard, 5
           Cir. 1978, 569 F.2d 1331, 1334, and United States v. Partin, 5 Cir. 1977, 552 F.2d
           621, 631, cert. denied, 434 U.S. 903, 98 S.Ct. 298, 54 L.Ed.2d 189, we left open
           the question whether perjury by a witness can constitute an obstruction of
           justice punishable under 18 U.S.C. § 1503. The defendant objects on three
           grounds to the use of § 1503 to punish false testimony. He maintains first
           that the plain language of the statute covers obstructions of justice that
           result only from the actor's interferences with other witnesses, jurors, or
           court oﬃcials. Because § 1503 was originally enacted as a contempt statute,
           the defendant also argues that Congress did not intend the statute to cover
           simple perjury, an act not punishable summarily as contempt of court.
           Finally, Griﬃn urges that the statute would be unconstitutional if applied to
           this case because it does not give fair notice that it punishes false testimony.
           We reject these arguments and hold that the indictment states an oﬀense
           under § 1503. Accordingly, we aﬃrm the conviction.

           I.
           In September 1975, an Argentinian aircraft bound for Panama crashed at
           Miami International Airport. A bank bag containing $15,046 was discovered
           in the wreckage. In October the Federal Bureau of Investigation began to
           investigate whether the flight was connected to loan sharking activities,
           including the transportation of money out of the country. The investigation
           soon focused on Charles "Bob" Ebeling and John Cifarelli, who were placed
           under electronic surveillance.

          In January 1976, the FBI intercepted a number of conversations between the
          defendant Griﬃn and Ebeling. In these conversations, they discussed
          various ways to recover the money found in the crash. They also talked
          about a debt that Griﬃn owed Ebeling. Ebeling spoke of attempting to
          collect from a number of people indebted to him and said that he owed a
          substantial amount of money himself. The names of several individuals,
          including Jack, Dominick, and Angelo, figured prominently in the
          conversations. Although the FBI never identified these individuals, one
          name the defendant mentioned, Felix Herrerro, was identified as a
      202 passenger who died in the Miami crash. *202

           On March 9, 1976, Griﬃn was called to testify before a grand jury
           investigating the financing of loan sharking operations and the possible
           movement of money from the United States to South America. In response
           to questions concerning the crash, the debts, and the individuals mentioned
           in the conversations, Griﬃn either flatly denied knowledge or relied on an
           inability to recall the facts about which he was questioned. The following
           answers illustrate the nature of his testimony:

                 Q. What's your relationship with Bob, also known as Charles
                 William Ebeling?

                 A. None, I just met him at the track and that's it. I don't even know
                 his name.

                 Q. Do you know anything about a plane crash of a plane going to
                 South America?

           A. Know anything about? No. sir.

                 Q. Have you ever discussed with Mr. Ebeling, Bob, anything about a
                 plane crash being on its way to South America?

           A. Not that I can recall, with him.

           .....
           Q. Do you know Felix Herrerro?

                 A. No, I do not. I know a Felix, but it is not Herrerro.

           Q. Do you know an individual named Jack?

           A. Jack?

           Q. Yes.

           A. Jack, not that I can recall. In regards to what?

           Q. In regards to anything.

           A. No.

                 Q. Did Mr. Ebeling ever tell you that if you didn't pay him the
                 money you owed him you'd put him in the middle between him and
                 some other people, put him in a bad spot?

           A. I would put him in a bad spot?

           Q. Yes, if you didn't pay him the money you owed him?

           A. No.

           Q. Do you know an individual named Dominick?

           A. No, sir.

           Q. Do you know anyone named Angelo?

           A. No, sir.

           Q. Do you know brothers named Dominick, Angelo?

           A. No.

           .....
           At his trial, Griﬃn testified that his grand jury testimony was true or
           innocently incorrect. He explained that he had fabricated the conversations
           about the money found in the airplane crash to avoid a joint financial
           venture proposed by Ebeling. Other conversations, Griﬃn said, were
           engineered by Ebeling to impress his wife. On December 6, 1977, the jury
           found Griﬃn guilty of obstructing justice. He was sentenced to 6 months
           imprisonment and 2 years probation.

           II.
           A. Section 1503 is composed of two parts.1 The first portion of the statute
      203 prohibits *203 the influencing, intimidation, or impeding of any witness,
           juror, or court oﬃcial. The concluding clause of the statute penalizes anyone
           who "corruptly . . . endeavors to influence, obstruct, or impede, the due
           administration of justice". Relying on ejusdem generis and the principle that
           penal statutes must be strictly construed, the defendant argues that the
           concluding clause of the statute has no broader reach than the statute's
           specific language. Rather, the concluding clause makes clear that § 1503
           prohibits any act that is similar in manner to intimidating witnesses and
           other court oﬃcials even though the act is not expressly described in the
           first part of the statute. The defendant urges us, therefore, to recognize a
           distinction between one who induces a witness to commit perjury, conduct
           which we expressly held forbidden by the concluding clause of § 1503 in U.S.
           v. Partin, 5 Cir. 1977, 552 F.2d 621, cert. denied, 434 U.S. 903, 98 S.Ct. 298, 54
           L.Ed.2d 189, and one who perjures himself.
                  1 Section 1503 provides:


                           "Whoever corruptly, or by threats or force, or by any threatening
                           letter of communication, endeavors to influence, intimidate, or
                           impede any witness, in any court of the united States or before
                           any United states commissioner or other committing magistrate,
                           or any grand or petit juror, or oﬃcer in or of any court of the
                           United States, or oﬃcer who may be serving at any examination
                           or other proceeding before any United States commissioner or
                           other committing magistrate, in the discharge of his duty, or
                           injures any party or witness in his person or property on account
                           of his attending or having attended such court or examination
                           before such oﬃcer, commissioner, or other committing
                           magistrate, or on account of his testifying or having testified to
                           any matter pending therein, or injures any such grand or petit
                           juror in his person or property on account of any verdict or
                           indictment assented to by him, or on account of his being or
                           having been such juror, or injures any such oﬃcer, commissioner,
                           or other committing magistrate in his person or property on
                           account of the performance of his oﬃcial duties, or corruptly or
                           by threats or force, or by any threatening letter or
                           communication, influences, obstructs, or impedes or endeavors
                           to influence, obstruct, or impede, the due administration of
                           justice, shall be fined not more than $5,000 or imprisoned not
                           more than five years, or both."

           We have rejected similar reasoning raised by a defendant convicted under §
           1503 for selling transcripts of secret grand jury testimony to persons under
           investigation. In U.S. v. Howard, 5 Cir. 1978, 569 F.2d 1331, 1333, we said that
           "we cannot agree with this reading of the statute because it renders the
           omnibus clause superfluous, see United States v. Walasek, 527 F.2d 676, 679 n.
           11 (3d Cir. 1975), and because the most natural construction of the clause is
           that it prohibits acts that are similar in result, rather than manner, to the
           conduct described in the first part of the statute".2 (Emphasis added by the
           court.) The issue before us now is, as it was in Howard, whether the
           defendant's conduct tended to obstruct justice. Is the eﬀect of giving false
           testimony before a grand jury to prevent justice from being duly
           administered?
                  2 Other courts have applied ejusdem generis to section 1503, however, reading

                     the omnibus clause in a manner similar to that suggested by 4 the
                     defendant. See United States v. Ryan, 9 Cir. 1972, 455 F.2d 728, 733; United
                     States v. Metcalf, 9 Cir. 1970, 435 F.2d 754, 756-57; United States v. Essex, 6 Cir.
                     1969, 407 F.2d 214, 218.

           The clear implication of our analysis in Partin and Howard is that perjury
           constitutes an oﬀense against the eﬀective administration of justice.
           Although we left that question unanswered in Partin, we held there that one
           who conspired to induce a witness to testify falsely could be prosecuted
           under the omnibus clause of § 1503, not because the means chosen to
           obstruct justice violated the specific wording of the first part of the statute
           but because the object of the conspiracy was to obstruct justice. 552 F.2d at
           631. In Howard we relied on Partin in holding that the omnibus clause aims
           at all conduct that results in an obstruction of justice. We explained further
           that using threats to prevent a grand jury witness from testifying has the
           result of destroying evidence. Although the accomplishment of this result by
           use of threats or bribes falls under the first clause, the destruction of
           evidence by the defendant alone comes under the omnibus clause. 569 F.2d
           at 1334.3 Similarly, using threats or bribes to prevent a grand jury witness
           from testifying truthfully has the result of concealing and altering the nature
           of evidence. If such conduct constitutes an obstruction of the
           administration of justice, as we held in Partin, 4 then so does testifying
           falsely; the result in either case is the same.
                  3 Several courts have held that persons who destroy evidence relevant to

                     judicial proceedings violate § 1503. See, e. g., United States v. Walasek, 3 Cir.
                     1975, 527 F.2d 676; United States v. Weiss, 2 Cir. 1974, 491 F.2d 460, cert. denied,
                     419 U.S. 833, 95 S.Ct. 58, 42 L.Ed.2d 59.

                  4 Indeed, we defined the statutory term "administration of justice" as "the

                     performance of acts required by law in the discharge of duties such as
                     appearing as a witness and giving truthful testimony when subpoenaed."
                     United States v. Partin, 5 Cir. 1977, 552 F.2d 621, 641, cert. denied, 434 U.S. 903,
                     98 S.Ct. 298, 54 L.Ed.2d 189; United States v. Howard, 5 Cir. 1978, 569 F.2d
                     1331, 1334 n. 4.

          The same conclusion was reached by the Court of Appeals for the Second
      204 Circuit in U.S. v. Cohn, 2 Cir. 1971, 452 F.2d 881, cert. *204 denied, 1972, 405
          U.S. 975, 92 S.Ct. 1196, 31 L.Ed.2d 249. Relying on the plain language of the
          statute, the Cohn court held that an obstruction of justice results when
          attempts to gather relevant evidence by a judicial body, which is charged by
          law with the task of investigating and punishing crime, are frustrated by the
          use of corrupt or false means. "The blatantly evasive witness achieves this
          eﬀect as surely by erecting a screen of feigned forgetfulness as one who
          burns files or induces a potential witness to absent himself." 452 F.2d at 884.

           The Cohn court, however, characterized the gist of the defendant's oﬀense as
           the concealment of knowledge from the grand jury rather than the injection
           of falsehood into the proceedings. And the indictment charged Cohn with
           evasive as well as false testimony. Griﬃn reminds us that evasive testimony,
           which obstructs the system's administration of justice in a procedural way
           by blocking the grand jury investigation, must be distinguished from
           testimony which is false. Although perjury may distort the truth, the
           defendant contends that it does not impede the judicial process; the
           criminal system is in fact designed to deal with falsehood through cross-
           examination and other means. Because Griﬃn was charged with giving only
           false testimony, he insists that the indictment does not state an oﬀense
           amounting to an obstruction of the administration of justice.

           Our Court, however, has long recognized that the purpose of § 1503 is to
           protect not only the procedures of the criminal system but also the very goal
           of that system — to achieve justice. "The statute is one of the most
           important laws ever adopted. It is designed to protect witnesses in Federal
           courts and also to prevent a miscarriage of Justice." Samples v. United States,
           5 Cir. 1941, 121 F.2d 263, 265, cert. denied, 314 U.S. 662, 62 S.Ct. 129, 86 L.Ed.
           530. The perjurious witness can bring about a miscarriage of justice by
           imperiling the innocent or delaying the punishment of the guilty. Thus, had
           Griﬃn's testimony been merely false, it might well have come under the
           terms of the omnibus clause of § 1503, nonetheless. Such a case is not before
           us, however.

           The defendant has ignored the actual nature of his testimony. We find it
           impossible to diﬀerentiate a flat refusal to testify from an evasive answer or
           a falsehood such as Griﬃn's: "No; I don't know; Not that I can recall". By
           falsely denying knowledge of events and individuals when questioned about
           them, Griﬃn hindered the grand jury's attempts to gather evidence of loan
           sharking activities as eﬀectively as if he refused to answer the questions at
           all. Whether Griﬃn's testimony is described in the indictment as "evasive"
           because he deliberately concealed knowledge or "false" because he blocked
           the flow of truthful information is immaterial. In either event, the
           government must, and in this case did, charge in the indictment and prove
           at trial that the testimony had the eﬀect of impeding justice.

           B. Griﬃn contends that our construction of the statute is contradicted by
           the legislative history. Section 1503 is derived from the Act of March 2, 1831,
           4 Stat. 487. That act outlined the contempt jurisdiction of the United States
           courts. Section 1 of the 1831 Act, now 18 U.S.C. § 401, provided for summary
           punishment of contemptuous conduct in the presence of the court; section
           2, the predecessor of § 1503, provided that contempts occurring outside the
           presence of the court would be punished after indictment subject to the
           safeguards of trial.5 Because § 1503 was enacted as a federal criminal
          contempt statute, the defendant insists that it is necessary to determine
          whether the conduct charged as criminal under § 1503 amounts to
          contemptuous conduct. He points out that the Court of Appeals for the
      205 Sixth Circuit has relied on the *205 rule that simple perjury cannot be
          punished summarily as contempt of court under 18 U.S.C. § 401 in holding
          that a person who files a false aﬃdavit in an endeavor to secure a mistrial
          cannot be prosecuted under § 1503. United States v. Essex, 6 Cir. 1969, 407
          F.2d 214.6

                  5 The history of the statute is outlined in Nelles King, Contempt by Publication

                     in the United States, 28 Colum.L.Rev. 401; 28 Colum.L.Rev. 525 (1928). See also
                     Frankfurter and Landis, Power of Congress Over Procedure in Criminal
                     Contempt in "Inferior" Federal Courts — A Study in Separation of Powers, 37
                     Harv.L.Rev. 1010 (1924); Goldfarb, The History of the Contempt Power, 1961
                     Wn.U.L.Q. 1.

                  6 The Essex court also departed from our construction of the omnibus clause

                     of § 1503. 407 F.2d at 218. See note 2 infra.

           We disagree. In the first place, we find that the defendant's testimony in this
           case amounted to contemptuous conduct. Moreover, we doubt that the
           limitation on a federal judge's power to punish perjury summarily is also a
           limitation on the power to punish under § 1503.

           Originally all false swearing was punishable summarily as criminal contempt
           in the federal courts.7 See, e. g., In re Schulman, 2 Cir. 1910, 177 F. 191. In a
           series of decisions, however, the Supreme Court cautioned against the
           indiscriminate use of the contempt power to punish the perjurious witness.
           In Ex parte Hudgings, 1919, 249 U.S. 378, 39 S.Ct. 337, 63 L.Ed. 656, a witness
           was held in contempt by the trial judge after he repeatedly asserted that he
           could not recall a certain event. The Court ordered relief, explaining that it
           hesitated to permit a court to impose summary punishment whenever it
           disbelieved a witness with the object of confining the witness until the court
           exacted from him a character of testimony which the court would deem to
           be truthful. 249 U.S. at 384, 39 S.Ct. 337. In a later decision, In re Michael,
           1945, 326 U.S. 224, 66 S.Ct. 78, 90 L.Ed. 30, the Supreme Court reviewed the
           propriety of a contempt citation imposed on a witness before the grand jury
           who answered willingly but whose testimony the trial judge disbelieved after
           hearing contradictory testimony by other witnesses. Justice Black wrote:
                  7 Until 1906, however, the federal courts permitted the witness to invoke the

                     privilege of purgation of contempt by oath and be punished only for the
                     crime of perjury, unless the contempt was clear on its face. See United States
                     v. Shipp, 1906, 203 U.S. 563, 574, 27 S.Ct. 165, 51 L.Ed. 319; Curtis Curtis, The
                     Story of a Notion in the Law of Criminal Contempt, 41 Harv.L.Rev. 51 (1927).

                 All perjured relevant testimony is at war with justice, since it may
                 produce a judgment not resting on truth. Therefore it cannot be
                 denied that it tends to defeat the sole ultimate objective of a trial. It
                 need not necessarily, however, obstruct or halt the judicial process.
                 For the function of trial is to sift the truth from a mass of
                 contradictory evidence, and to do so the fact finding tribunal must
                 hear both truthful and false witnesses. 326 U.S. at 227-28, 66 S.Ct. at
                 80.

           Undeniably, the Supreme Court found that perjury alone does not have a
           necessarily inherent obstructive eﬀect on the administration of justice. The
           Court made clear, however, that false testimony can amount to
           contemptuous conduct when added to the element of perjury there is the
           "`further element of obstruction to the Court in the performance of its
           duty"'. In re Michael, 326 U.S. at 228, 66 S.Ct. at 80, quoting Ex parte Hudgings,
           249 U.S. at 383, 39 S.Ct. 337. As an example, the Court cited with approval a
           case where the requisite element of obstruction was found in sham inability
           to remember and blocking of the court's inquiry. United States v. Appel,
           S.D.N.Y. 1913, 211 F. 495. See also Schleier v. United States, 2 Cir. 1934, 72 F.2d
           414, cert. denied, 293 U.S. 607, 55 S.Ct. 123, 79 L.Ed. 697. See generally Dobbs,
           Contempt of Court: A Survey, 56 Corn.L.Rev. 183, 194-200 (1971). This
           additional element is present in the case before us. Griﬃn's testimony did
           not merely require the grand jury to ascertain the truth by resolving
           contradictory evidence; his denial of knowledge had the eﬀect of closing oﬀ
           avenues of inquiry entirely.

          Moreover, the range of conduct punishable under sections 1 and 2 of the 1831
          Act was not identical. The critical distinction between the two sections was
          that summary contempt proceedings under section 1 left the determination
          of guilt to the judge rather than the jury. For this reason, the draftsmen
      206 intended that section 1 of the *206 Act embrace not only obstructions to the
          court that were not geographically remote but also more limited kinds of
          contempt than section 2. "The point [of section 2] was to provide for things
          not covered by section 1. Section 1 excluded from summary punishment
          certain misbehaviors which Justice Johnson had said there was inherent
          power to punish . . . There was no necessity, or even expediency that they be
          dealt with summarily." Nelles King, Contempt by Publication in the United
          States, 28 Colum.L.Rev. 401; 28 Colum.L. Rev. 525, 531 (1928). Moreover, the
          Supreme Court cautioned that "[m]eticulous regard for those separate
          categories of oﬀenses must be had, so that the instances where there is no
          right to jury trial will be narrowly restricted." Nye v. United States, 1941, 313
          U.S. 33, 49, 61 S.Ct. 810, 816, 85 L.Ed. 1172.8

                  8 The Supreme Court's development of a jury trial right in non-petty criminal

                     contempt cases since 1966, see Cheﬀ v. Schnackenberg, 1966, 384 U.S. 373, 86
                     S.Ct. 1523, 16 L.Ed.2d 629; Bloom v. Illinois, 1968, 391 U.S. 194, 88 S.Ct. 1477,
                     20 L.Ed.2d 522, may erode this historical, judicial antipathy to the modern
                     counterpart of § 1 of the Act, 18 U.S.C. § 401.

           Indeed, in In re Michael, the Court explained that the issue whether ordinary
           perjury constitutes contemptuous conduct was to be resolved in the
           "constitutional setting" of summary contempt proceedings where the
           procedural safeguards of the Bill of Rights are lacking. 326 U.S. at 227, 66
           S.Ct. 78. This concern for the absence of jury trial had prompted the Court,
           at first, to demand "an extraordinarily high standard of proof — roughly
           equivalent to the standard for directing a civil verdict" before the contempt
           power could be used, in place of the perjury statute, to punish false
           swearing. "But once having verbalized this high standard in terms of
           palpable certainty, courts then came to view the evidentiary standard as a
           rule of substantive law. The early requirement that perjury must be
           `apparent on its face' to be punishable as contempt became a rule that
           `obstruction' . . must be shown in addition to the perjury . . . ." Note, Jury
           Trial for Criminal Contempts: Restoring Criminal Contempt Power and
           Protecting Defendant's Rights, 65 Yale L.J. 846, 850-51 (1946).9 There are no
           inroads on the defendant's procedural rights, however, when punishment is
           by way of § 1503.10 We see no reason, therefore, to depart from the natural
           construction of the statute by reading the restrictive law of summary
           contempt into § 1503.
                  9 Viewing the Court's narrow construction of what constitutes an

                     `obstruction to the administration of justice' as limited to the summary
                     contempt context makes sense in light of the common law's classification of
                     the crime of perjury. At common law, the lying witness incurred legal
                     penalties for his conduct even though his testimony did not cause injury to
                     an individual. His truthful testimony was owed to the government. Hence,
                     the perjurer's crime was always viewed as one against the administration of
                     justice. Perkins, Criminal Law, 382 (1957); Silving, The Oath, 68 Yale L.J.
                     1329, 1387-89 (1959).

                 10 At one time, the traditional perjury statute, 18 U.S.C. § 1621, oﬀered more

                     procedural protection than § 1503 since convictions for perjury required the
                     testimony of two witnesses. The two-witness rule was eliminated in the
                     federal courts in 1970, however. See 18 U.S.C. § 1623(e) (1970). United States
                     v. Koonce, 8 Cir. 1973, 485 F.2d 374; United States v. Ruggiero, 2 Cir. 1973, 472
                     F.2d 599.

          C. We also reject the argument that § 1503 does not give fair notice that it
          outlaws the defendant's conduct. The omnibus clause of the statute clearly
          states that it punishes all endeavors to obstruct the due administration of
          justice. Although that term covers a broad spectrum of conduct, it is not
          unconstitutionally vague. When the nature of the subject matter is a
          limitation upon the exactitude with which Congress can formulate a rule to
          cover the problem, Congress may use a term that conveys the type of
          conduct regulated rather than enumerate all the specific instances within
          the legislation. Miller v. Strahl, 1915, 239 U.S. 426, 434, 36 S.Ct. 147, 60 L.Ed.
          364; Baltimore Ohio R. R. v. ICC, 1911, 221 U.S. 612, 620, 31 S.Ct. 621, 55 L.Ed.
          878. The obstruction of justice statute was drafted with an eye to "the
          variety of corrupt methods by which the proper administration of justice
      207 may be impeded or *207 thwarted, a variety limited only by the imagination
          of the criminally inclined." Anderson v. United States, 6 Cir. 1954, 215 F.2d 84,
          cert. denied, 348 U.S. 888, 75 S.Ct. 208, 99 L.Ed. 698.

           Because of the breadth of the omnibus clause, however, it may not have been
           actually apparent to Griﬃn that his conduct would violate § 1503. Indeed,
           judicial opinions diﬀer on whether false testimony is the type of conduct
           that constitutes an interference with the due administration of justice. But
           the requirement that statutes give fair notice cannot be used as a shield by
           one who is already bent on serious wrongdoing. See United States v. Ragen,
           1942, 314 U.S. 513, 524, 62 S.Ct. 374, 86 L.Ed. 383; United States v. Alford, 1927,
           274 U.S. 264, 267, 47 S.Ct. 597, 71 L.Ed. 1040; Note, Due Process Requirements
           of Definiteness in Statutes, 62 Harv.L.Rev. 77, 85 (1948). At the very least,
           Griﬃn must have known that witnesses before a grand jury proceeding are
           required to testify truthfully. There is little need of advance notice to a
           perjurer that his false testimony, which he well knows to be unlawful, is a
           violation of the law.

           III.
           Turning finally to the record of the grand jury proceeding, we find that
           Griﬃn's false testimony was material because it had the natural eﬀect of
           dissuading the grand jury from its investigation of alleged loan sharking in
           Florida by Ebeling and others. The testimony need not be directed to the
           primary subject under investigation; it is material if it is relevant to any
           subsidiary issue or is capable of supplying a link to the main issue under
           consideration. Barnes v. United States, 5 Cir. 1967, 378 F.2d 646, 649, cert.
           denied, 1969, 390 U.S. 972, 88 S.Ct. 1056, 19 L.Ed.2d 1184; Blackmon v. United
           States, 5 Cir. 1940, 108 F.2d 572, 573-74. The questions concerning the
           airplane crash, the debt owed to Ebeling, and the persons mentioned in the
           monitored calls were either concerned with the subsidiary issue of
           transportation of money out of the country or were aimed at eliciting a link
           to the alleged loan sharker.

           The judgment of the district
                                    67  court is AFFIRMED.
                                             66




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« up                                                                                                        234 F.2d 385
                                                                                         Karl L. SMITH, Appellant,
                                                                                                    v.
                                                                               UNITED STATES of America, Appellee (two cases).
                                                                                                             No. 15645.
                                                                                                  No. 15646. (docket number)
                                                                                  United States Court of Appeals Fifth Circuit.
                                                                                                            May 25, 1956.


         J. Danforth Browne (of Macfarlane, Ferguson, Allison & Kelly), Tampa, Fla., for appellant.
         James R. Billingsley, Atty., U. S. Department of Labor, Washington, D. C., James L. Guilmartin, U. S. Atty., Miami, Fla., for appellee.

         Before TUTTLE, CAMERON and JONES, Circuit Judges.
         TUTTLE, Circuit Judge.



  1      These two appeals challenge the legality of judgment and sentence imposed on appellant following trial of the two cases, combined by agreement of the parties. The first case, a
       prosecution commenced by the filing of an information, charged violation of the criminal provisions of the Fair Labor Standards Act, 29 U.S.C. A. § 201 et seq., and the second,
       commenced by indictment, charged violation of § 1503 of the Criminal Code which prohibits corruptly endeavoring to influence, intimidate or impede a witness in a federal court, or
       influence, obstruct or impede the administration of justice.

  2      The government accepts appellant's statement of the case, so we present it pretty much as outlined by the appellant.

  3      Cause No. 15,645 is the appeal of Karl L. Smith from the judgment of the United States District Court for the Southern District of Florida, Tampa Division, in case No. 6157-T-Cr.
       wherein the appellant was adjudged guilty of employing certain persons in production of goods for interstate commerce for work-weeks longer than forty hours without paying such
       employees for hours in excess of forty at a rate not less than one and a half times the regular rate; and that he did unlawfully discharge a certain employee because said employee
       had filed a complaint with, and gave testimony to, the Wage and Hour and Public Contracts Divisions of the U. S. Department of Labor; and that he did unlawfully transport, ship
       and sell in interstate commerce certain goods in the production of which employees were employed in violation of Section 7 (requiring overtime compensation) of the Fair Labor
       Standards Act, 29 U.S.C.A. § 207 (hereinafter referred to as the "Act"); which offenses are in violation of Title 29, § 215(a) (2), (3), (1) U.S.C.A., Section 15(a) (2), (3) and (1) of the
       Act.

  4       Cause No. 15,646 is the appeal of Karl L. Smith from a judgment in the United States District Court for the Southern District of Florida, Tampa Division, in case No. 6424-T-Cr. In
       that case the appellant was adjudged guilty of corruptly endeavoring to influence, intimidate and impede certain witnesses in the case of the United States v. Karl L. Smith, No. 6157-
       T-Cr., then pending for trial in the District Court of the United States for the Southern District of Florida, in violation of Title 18, Section 1503, U.S. C.; and was adjudged guilty of
       corruptly endeavoring to influence, obstruct and impede the due administration of justice in that on or about the 21st day of March, 1953, he presented to the Assistant United
       States Attorney, an officer of the United States District Court for the Southern District of Florida, false affidavits and other communications concerning the case of United States v.
       Karl L. Smith, Criminal Action No. 6157-T, well knowing that the said case was pending trial in the said court, in violation of Title 18, Section 1503, U.S.C., and knowing the
       affidavits to be false.

  5      The Information and the Indictment were consolidated for trial at the request of counsel for the United States and at the request of the defendant Karl L. Smith.

  6      Throughout these proceedings to the date of filing notices of appeal, the defendant was without counsel, representing himself in propria persona. There is no contention that
       appellant was denied any constitutional right by reason of not having counsel, since the choice was his own, freely and knowingly made.

  7       The appellant, Karl L. Smith, was alleged to have been engaged in the operation of the Lone Palm Preserving Company at Palma Sola, Florida, a cross-roads village located
       approximately four miles from the City of Bradenton in Manatee County, Florida. The Lone Palm Preserving Company was engaged in the preparation and distribution of guava
       jellies and preserves. It was alleged that substantial portions of those guava jellies and preserves produced by Lone Palm Preserving Company were transported and shipped to
       many points outside the State of Florida.

  8      The Wage and Hour and Public Contracts Divisions of the United States Department of Labor made an investigation of that business operation, Lone Palm Preserving Company,
       on various dates between August 27, 1951 and April 16, 1952. As a result of that investigation, the appellant was charged in a Criminal Information filed March 19, 1953, with five
       violations of the Fair Labor Standards Act; Count one of that Information alleging failure to pay minimum wage; Count two alleging failure to pay proper overtime compensation;
       Count three alleging discriminatory discharge; Count four alleging failure to keep records; and Count five alleging shipments in interstate commerce when in violation of the
       overtime section of the Act.

  9      The United States dismissed Counts one and four, and at the trial on the charges otherwise alleged in the information, the appellant was convicted of Counts two, three and five.

 10      Subsequent to the filing of the Criminal Information on March 19, 1953, towit the 21st day of March, 1953, the appellant prepared and obtained signed statements from several
       persons involved in the charges outlined in the Criminal Information. Said statements were ostensibly taken under oath and were presented by the appellant sometime about the
       25th of March, 1953 to the Assistant United States Attorney in Tampa, Florida.

 11       On November 18, 1954, the appellant was indicted on the basis of the affidavits in five counts alleging violations of Title 18 U.S.C. § 1503. In substance the indictment alleges that
       the affidavits constituted a corrupt endeavor on the part of the appellant Karl L. Smith to influence, intimidate and impede certain witnesses in the case of the United States v. Karl
       L. Smith, Criminal Action No. 6157-T, and that said defendant did corruptly endeavor to influence, obstruct and impede the due administration of justice in that the affidavits and
       statement were presented to the Assistant United States Attorney for the Southern District of Florida and were false.

 12      Upon the trial of the charges alleged in the indictment, the appellant was convicted on Counts two, three, four and five and was acquitted on Count one.

 13      The alleged errors are: (1) the defendant was prejudiced by reason of the fact that the trial judge on numerous occasions commented on the fact that the defendant had a right to
       testify in his own behalf; (2) the defendant was prejudiced by reason of the fact that the United States Attorney suggested in his argument that the defendant had not taken the
       witness stand in his own behalf; (3) the court erred in consolidating the cases for trial; (4) the verdicts were supported neither by substantial evidence nor by the weight of the
       evidence.

 14      At the outset, it is appropriate to note that except for the fact that the appellant went to trial without counsel, any appellate court would be required to affirm these convictions
       without consideration of the points raised, because in no case did the appellant follow the basic requirements, universally recognized, to present for review the errors complained of.
       He made no timely objections; he made no motion for mistrial; he made no objections to the challenged actions of either trial judge or United States Attorney; and he made no
       timely or proper motion for new trial or for directed verdict.

 15      In these circumstances we might well repeat what we said in Smith v. United States:1

 16       "One reason the courts have found that assistance of counsel or an intelligent and competent waiver of such assistance is essential to due process in a trial under our Constitution
       is that the many technicalities of trial may sometimes affect the opportunity of the accused to have a real review of his trial on appeal. Johnson v. Zerbst, supra [304 U.S. 458, 58
       S.Ct. 1019, 82 L.Ed. 1461]. Once it is found, however, that such an accused has properly waived his right to counsel, the effects flowing from that decision must be accepted by him,
       together with the benefits which he presumably sought to obtain therefrom. * * *"

 17      Upon such authority we might well be justified in dismissing the appeal for failure to present any grounds of error of which we could take notice. In what may be considered an
       excess of concern for the protection of the rights of appellant under the peculiar circumstances of this case, however, we proceed to a consideration of the points he relies on.

 18       Here the court demonstrated great patience and unusual tolerance with the accused who undertook to combine argument, testimony in his own behalf, and interrogation of
       witnesses. The trial court would not conceivably have tolerated the self-serving statements made by the accused and his flat denials of statements made by witnesses, and his
       irrelevant comments, if made by a lawyer. In fact, the criticism now levelled at the trial court for referring to the right of the accused to testify in his own behalf arose entirely from
       the court's patient explanation, repeatedly made to Smith as he purported to cross examine government witnesses, that he could not argue with them or dispute them, as he
       repeatedly did, but that if he wanted to get his views to the jury he ought to take the witness stand. There is no merit in the contention that the court prejudiced appellant by any of
       such statements or by all of them taken together.

 19      With respect to the charge that the United States Attorney suggested that the accused should have taken the witness stand, the statement complained of is not, we think,
       susceptible of that construction. He said:

 20      "And he continuously talks about these `criminal actions' of the Department of Labor. These investigators, these criminal actions that they have performed. He had the
       opportunity to present any criminal action or what he thought was a basis for a criminal action in the form of testimony in the last two days, and you have seen none of it. And you
       won't see any of it. `Criminal actions.'"

 21       We think it quite clear that this was fair comment on the defendant's failure to produce witnesses touching on a subject which he injected in his conduct of the trial. During his
       argument and cross-examination of witnesses, he referred to alleged criminal acts of government witnesses. The comment by the United States Attorney that the accused had the
       opportunity to present any criminal action in the form of testimony is similar to that which was found by the court to be unobjectionable in Langford v. United States.2 There a
       statement by counsel that "the defendant has no witness to impeach the stories of [government witnesses]" was held by the court to be in substance a statement that the stories were
       not contradicted. As this court has said in Jamail v. United States,3 the rule against commenting on the failure of a defendant to testify in his own behalf "does not go to the extent
       of forbidding argument by counsel for the prosecution to the effect that the evidence against a defendant is uncontradicted." The same is true with respect to a failure to produce
       testimony on any phase of the defense upon which the accused seeks to rely.

 22      As to appellant's complaint that he was prejudiced by a consolidation of the cases for trial, it is not the province of this court to put the trial judge in error for acquiescing in a
       request intelligently and competently made by the accused himself. Nothing appears to indicate that he was in any way misled into making the requests or that he was prejudiced by
       the consolidation.

 23      Finally, we turn to the complaint that the jury's verdicts were unsupported by the evidence. It cannot be seriously argued that there was not substantial evidence of the violation of
       the provisions of the Fair Labor Standards Act. The principal attack is made on the strength of the government's case on the felony charges.

 24       Although the indictment charged that the defendant "did corruptly endeavor to influence, intimidate and impede" the signers of the affidavit and statement concerned, the statute
       makes it an offense for any person to do any one of these things as to a witness or as to the administration of justice. We have held that it is proper to charge in the conjunctive the
       various allegations in the accusing pleading where a statute specifies several means or ways in which an offense may be committed in the alternative. Heflin v. United States;4 Price
       v. United States.5 A corollary to the rule of pleading in such matters is the rule that only one of the several means or ways of committing the offense need be proved. Heflin v.
       United States, supra; Crain v. United States.6 Thus it was only necessary here for the government to prove as to each of the three persons named in counts two, three and four of the
       indictment that Smith had corruptly endeavored either to influence, or intimidate, or impede him as a witness in the pending cases, and as to count five, to prove that Smith
       corruptly endeavored either to influence, or obstruct or impede the due administration of justice by the filing of the allegedly false affidavit and petition.

 25      It is amply demonstrated that both the affidavit and statement contained information that the jury could well believe to be false. It is also undisputed that the affidavit purported
       to be sworn to and to express an honest statement of the ostensible affiants, whereas each of the signers testified that he had not read it and had not sworn to it before the notary
       public. It is further in evidence, in support of count two of the indictment, that the witness Moore was intimidated by fear of losing his job into signing the affidavit.

 26      We conclude that there was substantial evidence from which the jury was authorized to find by the required standard of proof that Smith endeavored to influence, intimidate or
       impede each of the witnesses. His act in obtaining their statements in the form of an affidavit which he prepared and presented to them to sign without reading or explanation and
       subsequently passed off on the prosecuting officers as documents solemnly sworn to, supplies the ingredient of "corruptly" doing the acts. The same is true as to the count relating to
       the corrupt endeavor to influence, obstruct or impede the due administration of justice.

 27      The court finds no error on the record and the judgments are

 28      Affirmed.


              Notes:

         1 5 Cir., 216 F.2d 724, 727


         2 9 Cir., 178 F.2d 48, 55


         3 5 Cir., 55 F.2d 216, 217


         4 5 Cir., 223 F.2d 371, 373


         5 5 Cir., 150 F.2d 283, certiorari denied 326 U.S. 789, 66 S.Ct. 473, 90 L.Ed. 479


         6 162 U.S. 625, 16 S.Ct. 952, 40 L.Ed. 1097


 29      CAMERON, Circuit Judge (dissenting).

         I.

 30      A reading of the long record in this case leaves the distinct impression that this appellant was convicted because of his cantankerousness and not because he violated the statutes
       under which he was prosecuted. To take each count of the Indictment and segregate and analyze the evidence touching it is to be convinced that there is not sufficient evidence to
       convict him of any count of the felony charge. With regard to the Information, it may be that a proper trial would disclose violations of one or more of the counts. But this record is
       so scrambled and contains so much inadmissible evidence that, in my opinion, we ought not seriously to consider affirming the conviction on any count of either the Information or
       the Indictment.

 31      The net result of this prolonged and belligerent encounter between him and the Wage and Hour Department is that appellant has been fined a total of $5,500 — doubtless a figure
       coming close to the entire value of the plant involved — and has been sentenced to imprisonment for a total of thirteen and one-half years which, by making the sentences run
       concurrently, has been reduced to three years which must be served. In addition, it is clearly inferable that this small rural business will be destroyed and its six employees put out of
       jobs. And upon what charge?

 32      Basically, the only criticism the Wage and Hour Department had of appellant's operation was that he refused to keep his books the way they wanted them kept. Even his
       archenemy, the Wage and Hour investigator, stated: "It is just as easy to be in compliance as it is to be in violation. It won't cost you any more." Out of that simple controversy which
       ought to have been resolved without any trouble if both parties had shown a little forbearance and magnanimity, the whole feud between appellant and the Labor Department, of
       which these proceedings are the final chapter, arose. That feud, in my opinion, is what was tried by the jury and was the basis for the very severe penalties assessed.

 33      Appellant was wrong in his contention about how wages should be figured, but he was not illogical. Most of the apparently meager books he kept showed employment of himself
       and of the other handful of employees by the Lone Palm Preserving Company on a monthly basis. The amount paid was well in excess of the minimum wages required, including
       overtime. The investigators insisted that appellant keep his books to show weekly wages and hours worked and rates per hour. If appellant had done that, he would have been in
       complete compliance. But he insisted on his books being tested for compliance on his paying overtime at one and one-half times the minimum wage, when the Regulations of the
       Department required that overtime be paid at one and one-half times the "regular rate".1

 34      Of course, appellant's chief undoing resulted from his obstinate insistence upon handling his case before the jury. Not only was he no match for the government counsel, but every
       time he opened his mouth he succeeded in rubbing everybody in the court the wrong way until he built up such a crushing backlog of ill-will that the merits of the case were
       indubitably forgotten. But his faith in his own rectitude was such that he not only spurned proffered counsel but naggingly insisted upon speedy trial of his case.

         II.

 35      To grasp the mistakes of law committed by the Court below it is necessary to understand and keep constantly in mind the narrow issues involved in the violations of law charged
       against appellant.

 36      Counts I and IV of the Information having been dismissed by the Government, it is necessary to consider only the three remaining counts. Count II charged that appellant failed
       to pay six individuals the minimum wages provided in the Act. Count III charged that appellant unlawfully and wilfully discharged Rose B. Davis for filing a complaint against him
       (which she denied doing); and Count V charged that appellant shipped guava jellies and preserves in interstate commerce without paying the prescribed minimum wages to the
       employees producing them.

 37      The Indictment. Count one resulted in an acquittal of appellant.2 Counts two, three and four charged appellant with attempting corruptly to influence, intimidate and impede
       three separate persons as witnesses in the case made against appellant in the information. The asserted intimidation consisted solely of appellant's act in procuring the affidavit,
       Exhibit 3, to be signed and delivered to him.3 Count five charged a like corrupt effort to impede the due administration of justice in that appellant presented to the United States
       Judge and the United States Attorney three false communications. It is interesting to note that the Government dismissed Count IV of the Information charging failure to keep
       records properly, which was the only real law violation asserted against him at the outset.

 38       Evidence was proper, therefore, only with respect to these questions: Did appellant fail to pay the five individuals named the minimum wages provided by law? Did appellant
       wrongfully discharge Rose Davis because she made a complaint against him? Did appellant corruptly endeavor to impede, influence or intimidate R. C. Moore and Mr. and Mrs.
       Underwood by causing them to sign a false affidavit? Did appellant corruptly endeavor to influence, obstruct and impede justice by presenting to the Judge and the Attorney the
       alleged false communications? No evidence was relevant or admissible except evidence tending to sustain affirmative answers to those questions.

 39      Yet the government set out deliberately to prove these palpably irrelevant and highly prejudicial facts: that appellant had told another investigator in 1945 that he would not
       comply with the bookkeeping requirements of the Wage and Hour Law;4 that appellant forbade Investigator McCutcheon to enter the plant to investigate the books or to interview
       any of the employees on its premises;5 that appellant shut the plant down and ceased operations until statements taken by McCutcheon were returned to the ones who gave them;
       that appellant told McCutcheon that the government operators were a set of thieves and threatened to take a shot at McCutcheon;6 and that appellant had demonstrated a guilty
       conscience.

 40      None of that testimony had any tendency to furnish any sort of answer to the questions above set out, and none of it was relevant evidence in the case and all of it was highly
       prejudicial and inflammatory. If these collateral occurrences constituted law violations, they should have been made the subjects of prosecutions; but they should not have been
       used to prejudice the appellant in these cases.

 41       I agree with the statement of the majority that the Court below demonstrated patience in its effort to deal with one whose unreasoning and bellicose attitude made everything he
       did irritating and provocative. But the trial Court did permit itself to be drawn unwittingly into what seem to me to be serious errors. Those errors consisted in the repeated making
       of statements in the presence of the jury which tended to draw its attention to the fact that the appellant could be expected to take the stand in his own behalf. This episode may be
       used to illustrate what happened: one of the government investigators was on the stand and appellant was cross-examining him about the meaning of certain provisions of a
       brochure the Wage and Hour Division had put out explaining the provisions of the Fair Labor Standards Act. An extended colloquy took place upon an objection by Mr. Muscarella,
       the government's attorney. Appellant was asking the attorney as to whether the digest he had in his hand was pertinent to the charge against him when this took place:

 42     "Mr. Smith: You are probably talking about two different interpretations of the Wage and Hour Law. All I am trying to go by — all I have tried to go by — is a digest of the Federal
       Wage and Hour Law.

 43      "Mr. Muscarella: If the Court please, if this man wants to testify he can take the stand. Whether he is going to stand there —

 44      "The Court: If you want the jury to consider what you have to say Mr. Smith, you ought to testify in the case. If you want your statements to be considered by the jury as evidence
       — as testimony and evidence, you ought to testify — take the witness stand and testify and be subject to cross-examination under the rules of evidence."

 45      That was an improper statement by the United States Attorney and an improper statement by the Court. In his effort to ascertain from the prosecuting attorney the relevance of
       the brochure which he wanted to question the witness about, appellant directed the remark to the government's attorney. A lawyer would probably have done the same thing — in
       other words, would have indicated that the defense felt that it was justified in proceeding under the literature put out by the Labor Department. For the government's attorney and
       the Court to set upon appellant in this way was certainly prejudicial and unjustified.

 46       It is not sufficient answer to say that appellant had made it a practice throughout the examination of the witnesses to make statements of fact and to argue with the witness rather
       than confining himself to asking questions. In all of this, appellant showed an ignorance and a naïveté almost juvenile.7 At the same time, it was the duty of government counsel and
       of the Court to exhibit patience at every stage of the examination and to rule properly on objections and to refrain from saying anything from which the jury might infer that it had a
       right to look forward to testimony from the lips of appellant. The attorney now representing appellant before us points out nineteen instances where references of a similar character
       were made. Of course, many of them were relatively harmless, but all of them tended to stress the idea expressed in the above quotation. It was not the province of the Court under
       the circumstances of this case to lecture the appellant repeatedly on the manner in which he should conduct his cross-examination. It seems to me that the Court could have avoided
       error by simply sustaining the objections as they were made. Few rights are more jealously guarded by the courts than the right of the defendant, exercised by appellant here, to fail
       to testify without having that failure commented on before the jury. Cf. 18 U.S.C.A. § 3481. And see Wilson v. United States, 149 U.S. 60, 13 S.Ct. 765, 37 L.Ed. 650.

 47      Moreover, the investigators were permitted to testify before the jury in great detail as to what the various prosecuting witnesses had told them about the important facts of the
       case. In the early stages of the trial the Court intervened several times to shut off such testimony, but towards the latter part of the trial, ceased its effort to keep out hearsay
       testimony. Finally, the Court, itself, brought out some hearsay and prejudicial testimony.8

 48      The government attorney knew, when he put in the hearsay evidence, that appellant was not familiar with the rules of evidence and the Court knew the same thing when it asked
       questions calling for the hearsay testimony. The prosecution cannot escape responsibility for the introduction of that testimony and the other inadmissible testimony mentioned in
       this opinion.

         III.

 49      It is perfectly plain to me that the Government failed completely to make out any case of violation of the statute under any count of the Indictment.9 It is inconceivable that the
       mere taking of the three statements by the appellant could possibly violate any statute. He had to make some use of them, or attempt to make some use of them, before the statute
       could be violated.

 50      Under the three counts charging appellant with having corruptly attempted to impede the three witnesses, it is clear that he could not be convicted unless he attempted to use the
       statement which had been given him to influence the testimony of these three witnesses. There was not a line of testimony that this was done. All three were used as prosecuting
       witnesses, and not one stated that appellant had ever mentioned the statement after it was taken. The fact is that not one of the three intimated that appellant had ever approached
       him in an effort to tone down his testimony although they had worked alongside of him daily for many months between the time the statement was executed and the trial of the
       case.10 How could it possibly be said that appellant was corruptly endeavoring to intimidate or impede witnesses by the mere taking of the statement and putting it in his pocket?

 51      Not only is the record completely barren of any evidence on this important point but the government's own witness showed that appellant's sole purpose and intent was to bring
       about, if he could, the prosecution of the investigators.

 52      The Assistant United States Attorney placed on the stand by the prosecution to supply this essential ingredient of proof failed entirely to do so, but made out a complete defense to
       the indictment in all of its counts. After stating that appellant had come to his office four days after the information had been filed and subpoena served, the attorney testified as
       follows: "Karl Smith came to the building and came to my office indignant and handed me these documents and urged that I, as Assistant United States Attorney, prosecute a man
       named McCutcheon and a man named Dulaney * * *."11 Appellant, in cross-examining the attorney, provided the usual irritant by asking if the attorney did not consider his refusal
       to prosecute McCutcheon a "cover-up, a side-track, a whitewash".

 53      It is perfectly plain that appellant did not use or attempt to use the so-called affidavit or the petition or any other paper for any purpose at all except to induce prosecution of
       McCutcheon. This positive evidence shows affirmatively that appellant never had any intention of attempting to use those documents in connection with the Information pending
       against him or to intimidate or impede the witnesses, or to influence the Court or the attorney as far as that prosecution against him was concerned. His sole purpose and effort were
       directed towards hitting back at his enemy by causing prosecution to be instituted. That may be some sort of a crime, but it is not the crime for which appellant was prosecuted.

 54      It is, therefore, clear that the burden rested upon the government to prove beyond a reasonable doubt that appellant, in taking the statement known as Exhibit 3, f.n. 12, infra, did
       so with the intention of making use of that statement in some way calculated to influence the testimony of the witnesses in the case then pending against him. Failure to prove that
       intent is fatal to the government's case. The witnesses covered by the counts of the Indictment upon which appellant was convicted all testified. Not one of them gave the slightest
       hint that appellant had attempted to use the statement with them in any manner whatsoever. More than that, the testimony of the government attorney establishes beyond
       reasonable doubt that the sole intent of appellant was to use the statements in a proposed criminal prosecution against McCutcheon.

 55     The government showed its acceptance of the foregoing statement of the law by requesting instructions defining intent. Without such a concession the law is plain. Morrisette v.
       United States, 1951, 342 U.S. 246, 72 S.Ct. 240, 96 L.Ed. 288; Caldwell v. United States, 1954, 95 U.S.App.D.C. 35, 218 F.2d 370, and 67 C.J.S., Obstructing Justice, § 9, pp. 56-57.

 56       Moreover, the government carried the burden of demonstrating the falsity of the affidavit upon which the indictment is based.12 The witnesses who signed the affidavit were
       asked, one by one, whether they signed it, but not one of them was asked whether the affidavit contained any untruth. The farthest reach of the testimony concerning this document
       is that the witnesses did not read it over fully and did not go before a notary to swear to it. The affidavit demonstrates artlessness rather than perfidy. The jury must not have
       accepted the government's theory concerning Mrs. Davis because it found appellant not guilty of the crime charged against him in connection with his dealings with her. Much of
       the affidavit was expressive of the contention made explicit by the appellant throughout the trial, — that the prosecuting witnesses were not his employees, but that he, along with
       them, were employees of Lone Palm Preserving Company. He tried to stress in the entire course of questioning that this was a co-operative venture. Whether it was a corporation or
       not was not developed unless the "testimony" of government's counsel in the closing argument is to be accepted as proof.13

 57       The short of this phase of the case is that appellant was well within his rights in seeking material with which to petition the government attorney to prosecute McCutcheon. The
       witnesses did not belong to the government; and the Judge and the United States Attorney could not be regarded as untouchables. The sole use he sought to make of this
       meaningless document was to make an unsuccessful plea to the proper government official that prosecution be instituted against the government investigator. The government
       failed to produce evidence sustaining any count of the Indictment.

         IV.

 58       It is not necessary to condone appellant's attitudes and actions to understand them. It is plain from this entire record that his was a natural, if too aggressive and uncontrolled,
       reaction to the all too prevalent officiousness of minor federal functionaries. The impulses which dictated his conduct were not different from those which are deep-seated in every
       citizen of this country. Mr. Justice Brandeis once gave expression to the sentiments lying behind them.14 Speaking of the protection guaranteed to individual citizens by the Bill of
       Rights, he said:

 59      "The makers of our Constitution undertook to secure conditions favorable to the pursuit of happiness. They recognized the significance of man's spiritual nature, of his feelings
       and of his intellect. They knew that only a part of the pain, pleasure and satisfactions of life are to be found in material things. They sought to protect Americans in their beliefs, their
       thoughts, their emotions and their sensations. They conferred, as against the government, the right to be let alone — the most comprehensive of rights and the right most valued by
       civilized men. * * * Men born to freedom are naturally alert to repel invasion of their liberty by evil-minded rulers. The greatest dangers to liberty lurk in insidious encroachment by
       men of zeal, well-meaning but without understanding." [Emphasis supplied.]

 60      Those words naturally are not understood by the Cult of the Omnipotent Bureaucrat. Its members are captive to the fetish that men must be governed by those of superior
       wisdom and insight who make up the might of the central government. Their goal is that the reach of Washington may be so extended that its long, insensate arm may be laid upon
       the individual citizen wherever he may be, to the end that the intimate details of his life may be directed into selected channels and subjected to minute regulations. They are
       oblivious of the teachings of history that too much government from too far off has always been counted tyranny.

 61       But appellant and the race of which he is scion know and understand those words and for centuries have counted them among the sacred shibboleths under which men can live
       happily and fruitfully. The tribe Smith from which he sprang — at once the backbone, the hope, the glory of this nation — has always been accustomed to build monuments to those
       in whose breasts the light of freedom has burned brightest and who have been willing to sacrifice greatly to satisfy the yearning to be let alone. It ought not to be thought that this
       fire, fanned by men of the stature of Mr. Justice Brandeis, could be quenched by two brief decades of the Era of the Lost Sense of Proportion.

 62      These considerations do not excuse the excesses to which appellant went under the goading of those who directed their efforts so repeatedly to this hamlet in the hinterlands of
       Florida, at a time when their reports admit that obedience to the complex structures of the Fair Labor Standards Act had not been achieved in fifty percent of the industry of the
       nation.15 But they are important in testing and judging whether the government proved criminal intent on appellant's part, — that he acted "wilfully" or "corruptly". More than
       that, they ought to have served to inspire the government to be upon its mettle to see that, whatever the cost in patience, in forbearance, in understanding, in magnanimity, this
       entire episode including the trial in the Court below should be conducted in strict conformity with rules of fairness and with accepted concepts of Anglo-Saxon Justice.

 63      And they lay upon us, too, the obligation to test these proceedings in all of their details in the light of these eternal principles, making sure that we have not joined in the
       demonstrated loss of perspective and that we stand ever ready to prevent plain miscarriages of justice. We have ample power to see that justice is done in this case. Cf. Rule 52(b),
       Rules of Criminal Procedure. I would reverse the judgment of the Court below with directions to acquit under the indictment and to try again the information under the standards
       here defined.


              Notes:

         1 The investigator testified that the proper way to arrive at the "regular rate" was to multiply the monthly wage by twelve and divide that by fifty-two and take the result thus obtained and divide it by
              the number of hours worked in a particular week in order to get the base pay for that week. Appellant seemed honestly unable to understand that complicated method. The extended cross-
              examination of the investigator which he conducted, punctuated by much argument, showed over and over that this was the basic difference and the only difference between them. Of course, the
              investigator was right and appellant was wrong. That wrong was not grievous enough to give the slightest support to what the government is here doing to him

         2 It should be observed that this count on which appellant was freed is the one charging appellant with having attempted to intimidate Mrs. Davis, who was the main asserted victim in most of the
              government's proof and the one chiefly involved in the so-called false affidavit, Exhibit 3

         3 Count Two involving R. C. Moore reads as follows:

              "The Grand Jury Further Charges:
              "That on or about the 21st day of March, 1953, at or near Bradenton, Florida, within the Southern District of Florida, Karl L. Smith did corruptly endeavor to influence, intimidate and impede R. C.
              Moore, a witness in the case of the United States v. Karl L. Smith, Criminal Action No. 6157-T, then pending for trial in the District Court of the United States for the Southern District of Florida, in
              the discharge of his duty as such witness, in that he did cause Mr. Moore to sign and deliver to him an affidavit in which facts relevant and material to said case were falsely stated, well knowing
              that the said case was then pending for trial in the said Court and well knowing that the said R. C. Moore was to be a witness in the said case and well knowing that the affidavit was false."
              [Emphasis added.]

         4 The investigator who worked up the case in 1945 resulting in appellant's pleadingnolo contendere to an Information then filed, was put on the stand to prove that appellant told him he would not
              comply with the bookkeeping provisions of the law. After stating that he found appellant then paying fifty cents per hour straight time (the minimum then being forty cents) and that he "advised
              Mr. Smith that he must keep accurate records of his daily and weekly hours on all employees", he testified: "Q. Did he make any statement with regard to your advising him as to the law? A. He said
              he would not comply."

         5 Appellant was within his rights in taking that attitude. The law gave the government agents ample and easy procedural devices by subpoena and otherwise for examining the records and talking
              with the witnesses. 29 U.S.C.A. § 209. Enforcement provisions contained in 15 U.S.C.A. §§ 49-50
              Moreover, adequate machinery was provided in the Act for enforcing its provisions by injunction. 29 U.S.C.A. § 217, and Rule 65, F.R.C.P., 28 U.S.C.A. The investigator held all of the trump cards,
              but he chose not to use them. Although he knew the history of the prolonged dispute, he elected to take a course which he is bound to have known would lead to this new controversy. Appellant
              claimed that the investigator promised not to enter the premises of the company, but he did so, went to the homes of the employees, neighbors and friends of appellant; and, using the persuasive
              power attending a government badge, he obtained statements from several of them.

         6 "Come to think of it, I have a notion to take a shot at you." The final act in these acrimonious exchanges was that McCutcheon hung up the telephone while appellant was still talking


         7 In his closing argument, the government's attorney referred to his attitude and conduct in these words: "It is comical if it wasn't so pathetic."


         8 "The Court: Did you check that, with each one? [Meaning each of the prosecuting witnesses.]

              "The Witness: Well, they said they worked up to seventy hours a week during that time. During the off season they got back down around fifty hours.
              *****
              "The Court: You are entitled to that if you violate the * * *.
              "The Witness: If you violate the twelve hours a day or the fifty-six hours a week you don't get it. Now those people told me that during the busy season — and I think it is right — that they worked
              longer hours during that period because they have a long period of cooking and have to cook the stuff up and run it off.
              *****
              "The Court: Now, did you find that to be a fact?
              "The Witness: Well, of course —
              "The Court: From the parties here?
              "The Witness: These people were regular employees and worked regular hours during the entire year, so that the assumption would have to be that the first fourteen weeks of that year — if you
              were using that exemption for preparation, etc. etc. — that that exemption would be ended at the end of the fourteen weeks." [Emphasis Added.]

         9 I will not discuss the Information further, but am of the firm opinion that the case under the information should be tried on competent evidence stripped of all of the inflammatory features here set
              forth
              Moreover, it seems likely that Mrs. Davis, the prosecuting witness about whom much of the warfare was waged, ought properly to have been classified as an employee engaged in "administrative *
              * * or local retailing capacity" under the exemption provided in 29 U.S.C.A. § 213(a).
              In addition, by reason of the fact that the preserving business is fundamentally seasonal, most of the manufacturing activities taking place in the three months following September 1st, it seems
              likely that appellant was entitled to exemption under a regulation promulgated by the Administrator. This apparently gave special rights to appellant with respect to overtime pay for a period not
              exceeding fourteen weeks by reason of the seasonal character of the operation. It is inferable, from the testimony of the investigator, that the Wage and Hour Department applied this fourteen
              week period arbitrarily to the first fourteen weeks of the year when, undisputedly, appellant's busy season was entirely over before the beginning of that period.
              The Court called McCutcheon back and conducted an extended examination of him, trying to develop whether much of the basis for prosecution did not disappear under that fourteen weeks'
              exemption. But he did not succeed in getting the facts developed to a point where I can understand them.
              A court of justice ought not to stand by and see its ends thwarted because of the foolish effort of appellant to handle his own case and to be his own lawyer. In another trial all of these matters can
              be fully developed.

        10 The only one intimating any approach to intimidation was the witness Moore who stated merely that he "figured" that he might lose his job if he refused to sign Exhibit 3. His opinion of what might
              happen to him was not probative evidence. Mrs. Davis answered categorically that there had been no effort at impeding or influencing her testimony

        11 Other statements to like effect as developed in the attorney's testimony are here quoted:

              "Q. And he desired that you take some action based on those statements; is that correct, sir? A. That's right. If you will read one of those documents there you will see that it requests that Mr.
              McCutcheon and Mr. Dulaney be prosecuted. I never heard of Mr. Dulaney.
              *****
              "Q. Did the filing of these affidavits cause you to withhold further action on that case? [Referring to the information pending against appellant.] A. No, sir. He was arraigned that day on that
              pending information.
              *****
              "Q. In reading these documents, did you get the impression that one of them is a petition to the United States District Court * * * `to prosecute to the fullest extent of the law J. B. McCutcheon * *
              *'? A. You say did I get that impression? Those are, I believe the words of the document, and I took it to mean literally what it said." [Emphasis Added.]

        12 "State of Florida,

              County of Manatee.
              "Personally appeared before me, the undersigned authority in and for said state and county, Karl L. Smith, Rose D. Davis, Thomas D. Lathe, Robert C. Moore, Mattie M. Moore, Edith A.
              Underwood, Oscar N. Underwood, who, after being duly sworn, say:
              "We are, (have been) working together, dba, Lone Palm Preserving Co. Palma Sola, Fla. a fruit growing and preserving operation, did have a caller, J. B. McCutcheon, who introduced himself as a
              member of the U. S. Department of Labor, about the middle of October, 1951.
              "Said, J. B. McCutcheon did receive considerable time of each of us in a very courteous manner, was conducted through our plant with a fairly full explanation of our operation, but he was allowed
              to make no investigation, or examination of records, it being explained several times to him that the door was closed to any member of the U. S. Dept. of Labor, due to the Criminal acts of a former
              investigation and labor agitation.
              "Karl L. Smith, Edith A. Underwood, and Oscar N. Underwood knew that Mrs. R. D. Coulter (Myrtle Coulter) very well, as she lived on the premises of the Preserving Plant in 1950 and 1951; state
              that at no time was said Mrs. R. D. Coulter hired or fired by Karl L. Smith, or the partnership dba Lone Palm Preserving Co. Mrs. R. D. Coulter was very busy with a full time job at home taking care
              of three small children, the youngest, a baby in arms, about one year old, and husband.
              "We, each of us, know that Karl L. Smith has not employed numerous employees of this establishment, and that each worker has drawn a guaranteed minimum of .75c (seventy-five cents) per hour
              worked, or more.
              "We, each of us, know and state that Rose D. Davis has not been discharged by Karl L. Smith, nor has she been hired by him. She is not, nor has been since 1950 an employee of this establishment,
              but still is a worker here, and states under oath that she is satisfied, and wants to be left alone by the U. S. Department of Labor.

                       "(Signed) Karl L. Smith,
                                  (Karl L. Smith),
                                Robert C. Moore,
                                  (Robert C. Moore),
                                Mattie M. Moore,
                                  (Mattie M. Moore),
                                Edith A. Underwood,
                                  (Edith A. Underwood),
                                Oscar N. Underwood,
                                  (Oscar N. Underwood).

              "Sworn to and subscribed before me this 21st day of March, 1953.

                             "Clancy Hebb,
                               Notary Public, State of
                                 Florida at Large.


              My commission expires Dec. 4, 1955."

        13 "He talks about `corporations'. Who is misleading in this case? There is no evidence of a corporation; but, in truth and in fact, the Lone Palm Preserving Company wasn't incorporated until after
              this indictment was returned in 1953. That is when the corporation was formed."

        14 His dissent in Olmstead v. United States, 1927, 277 U.S. 438, 478-479, 48 S.Ct. 564, 572, 72 L.Ed. 944, cited with approval by this Court in Brock v. United States, 1955, 223 F.2d 681, 685


        15 Quotations set forth in appellant's brief from the Annual Reports of the Wage and Hour and Public Contract Division of the Department of Labor show the percentages of "Establishments in
              violation of Basic Provisions", based upon those investigated, to be:

                  1950 . . . . .     51%
                  1951 . . . . .     56%
                  1952 . . . . .     58%
                  1953 . . . . .     57%
                  1954 . . . . .     52%




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           DONALDA E. VACCARO [Note 1] vs. GEORGE H. VACCARO.
425 Mass. 153
May 6, 1997 - June 5, 1997
Worcester County

Present: WILKINS, C.J., ABRAMS, O'CONNOR, GREANEY, & MARSHALL, JJ.

   A District Court judge was without statutory or other authority to order the expungement of a record of the issuance of a temporary protective order pursuant to G. L. c. 209A from the Statewide
   domestic violence record keeping system. [155-162]

   CIVIL ACTION commenced in the Clinton Division of the District Court Department on September 27, 1993.

   A motion to expunge, filed on August 10, 1995, was heard by Thomas F. Fallon, J.

   The Supreme Judicial Court granted an application for direct appellate review.

   Joseph F. Whalen, Assistant Attorney General, for Department of Probation.

   Paul W. Patten for the defendant.




GREANEY, J. A judge in the District Court allowed a motion by George H. Vaccaro to have his record expunged from the Statewide domestic violence record keeping
system (system), created by St. 1992, c. 188, s. 7. The Department of

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Probation (department) moved to have the order vacated, The motion was denied by the judge. The department appealed, and we allowed George Vaccaro's
application for direct appellate review, We conclude that the judge lacked authority to order expungement. Accordingly, we vacate the order.

The background of the case is as follows. On September 27, 1993, Donalda Vaccaro (Donalda), who was separated from her husband, George, applied in the District
Court (with the assistance of the police) for an emergency temporary protective order against him, pursuant to G. L. c. 209A, s. 5. The following day, based on the
representations set forth by Donalda in her affidavit, [Note 2] a judge in the District Court entered the requested temporary protective order pursuant to G. L. c. 209A,
s. 4, and George was served with the order.

A hearing on the continuance of the temporary protective order was held on October 15, 1993, at which both parties appeared. As might be expected, conflicting
testimony was presented to the judge as to what had occurred during the marriage and when George had entered the marital home. Donalda testified to incidents of
verbal and physical abuse during the marriage and her ongoing fear that George would harm her. George denied having committed any acts of abuse and explained
that he had entered the marital home to retrieve his tax return and personal belongings. At the conclusion of the hearing, the judge expressed his belief that Donalda
was genuinely fearful, but ruled that he could not objectively conclude that she had been placed in fear of "imminent serious physical harm," justifying the continuation
of the protective order. The judge then vacated the order. George filed a motion to expunge "the name George H. Vac-

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caro from the Domestic Offender Database." The department was not notified of the motion. After an ex parte hearing, George's motion was allowed. When it learned
of the expungement order, the department promptly moved to have it vacated. The judge conducted a hearing, at which he received and considered memoranda of
law. The judge denied the department's motion, and this appeal ensued.

1. We agree with the department that there is no statutory authority for the order directing expungement entered by the judge.

Civil restraining or protective orders, like the order involved in this case, may be entered pursuant to G. L. c. 209A, which provides that the courts have jurisdiction
over abuse prevention cases as described therein. Orders for the protection of those abused may be granted under G. L. c. 209A, s.s. 3, 4, and 5, and are enforced
under G. L. c. 209A, s. 7. By St. 1992, c. 188, s. 7, the Legislature authorized and directed the Commissioner of Probation (commissioner) to develop and implement
the system, which is to contain a computerized record of the issuance and violation of any restraining or protective order. Section 7 goes on to restrict access to the
records in the system to judges and law enforcement agencies. [Note 3] The commissioner was further directed by s. 7 to "make a written report to the joint
committee on the judiciary regarding implementation of [the mandated] record

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keeping system no later than October [9, 1992]." In his report, the commissioner advised the Legislature that the system had been created, and that the records
would contain not only data as to an original order, but also data on subsequent modifications. See Report to the Joint Committee on the Judiciary at 2 & Attachments
One, Five (Oct. 9, 1992). The department suggests in its brief that the record in the system concerning George would reflect not only the entry of the temporary
protective order on September 27, 1993, but also the fact that the order had been vacated on October 15, 1993,

There is nothing in St. 1992, c. 188, s. 7, or in G. L. c. 209A, that permits a record to be removed or that authorizes the entry of a judicial order directing
expungement of a record from the system. George argues that express authority for a judicial order directing expungement is contained in the third paragraph of s. 7
of G. L. c. 209A, which states that "[t]he court shall notify the appropriate law enforcement agency in writing whenever any [restraining or protective] order is vacated
and shall direct the agency to destroy all record of such vacated order and such agency shall comply with that directive." However, under the language of the second
paragraph of G. L. c. 209A, s. 7, which deals with service of a restraining or protective order and its underlying complaint and summons, the "appropriate law
enforcement agency" referred to in the third paragraph of s. 7 clearly refers to the agency to which orders are transmitted for service. According to Guideline 4:07 of
the Guidelines for Judicial Practice: Abuse Prevention Proceedings (Oct. 1996) (Guidelines), which concerns the service of protective orders and their supporting
papers, the words "appropriate law enforcement agency" mean the "police department of the municipality wherein the defendant can be found." Thus, the record
identified for destruction in the third paragraph of G. L. c. 209A, s. 7, is the order previously transmitted to the police department called on to serve the order. In this
manner, G. L. c. 209A ensures that the record of a vacated restraining or protective order at the police department level will be eliminated, thereby obviating the
possible service of a vacated order or any harm that might occur from the intentional or inadvertent public disclosure of an expired order.

The third paragraph of s. 7 of G. L. c. 209A has no ap-

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plication to the department, which, of course, is not involved in the process of serving restraining or protective orders. The Legislature's express directive in the act,
that a computerized record be kept in the system of all orders, inactive as well as active, and the absence of any provision for removal or authority for expungement,
reflects a deliberate legislative decision that all records be available for review by a judge who is considering an application for a restraining or protective order and by
other authorized agencies that have a legitimate need to see the record. See St. 1992, c. 188, s.s. 1, 2, 4, and 5. [Note 4]

It follows from what has been said that no power to order expungement can be implied. See School Comm. of Worcester v. Worcester Div. of the Juvenile Court Dep't,
410 Mass. 831, 836-837 (1991) (whether implied power of expungement exists is dependent upon whether "fair reading" of applicable statutes reveals such a power);
Police Comm'r of Boston v. Municipal Court of the Dorchester Dist., 374 Mass. 640, 662-663 (1978), and cases cited (power of court must be articulated expressly or
be "capable of being deduced by 'necessary and inevitable' implication"). The system is designed to promote the goal of preventing abuse as prescribed by a variety of
statutes by providing a judge (and other authorized agencies) with complete information about a defendant. Such information "can be essential to providing protection
for the plaintiff." See Guidelines, commentary to Guideline 2:10. Because all restraining and protective orders are listed, both active and inactive, a judge may be
better able to identify situations in which the plaintiff "may face a particularly heightened degree of danger." Id. at commentary to Guideline

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3:05. [Note 5] The power of expungement cannot be a necessary or inevitable implication of the statutory mandate to record such orders and make them available to
judges or other authorized agencies. On the contrary, such a power would be inconsistent with the manifest purpose of G. L. c. 209A, and other abuse prevention
statutes.

In reaching this conclusion, we have considered and rejected George's argument that, as a result of our decision in Police Comm'r of Boston, supra, the order of
expungement is a lawful incident of, and ancillary to, the court's original jurisdiction under G. L. c. 209A. That case concerned the maintenance of juvenile arrest
records, in the absence of express statutory authority requiring them to be kept, when the existence of the record poses a substantial danger of harm to the juvenile
and its maintenance is not counterbalanced by any valid State interest. Unlike that case, George's record has been maintained in response to an express legislative
directive that contains no provision for expungement. See Commonwealth v. Vickey, 381 Mass. 762, 772 (1980) (distinguishing the Police Comm'r of Boston decision;
no judicial enlargement required where statutory scheme is spelled out by Legislature). Further, the focus of the statutory framework that resulted in the creation and
maintenance of the system is on the protection of prospective victims, and the protective purpose of both the act and G. L. c. 209A, is undisputed. Thus, this is not a
case where there is "little or no valid law enforcement purpose . . . served by the maintenance and dissemination of . . . records." Police Comm'r of Boston, supra

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at 642. Finally, there is a statutory and administrative scheme in place to ensure the confidentiality of records in the system. [Note 6]

2. George also argues that the District Court's power to expunge his record arises from the inherent power of the court to uphold art. 12 of the Declaration of Rights of
the Constitution of the Commonwealth. [Note 7] There are two parts to his argument. As we understand the first part, George claims that St. 1992, c. 188, s. 7, is
facially unconstitutional because the directive in St. 1992, c. 188, s. 4, that a judge, who is considering an application for relief under G. L. c. 209A consult the system
to review the "civil or criminal record," of the alleged abuser, effectively gives criminal weight to a civil restraining or protective order. Second, George argues that

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the application of St. 1992, c. 188, s. 7, to include his record in the system has violated his due process rights under art. 12.

George's first contention - that inclusion of information regarding civil orders along with criminal data effectively makes the former criminal in nature - lacks merit. We
have held that the procedures involved in the consideration and issuance of civil restraining or protective orders under G. L. c. 209A do not infringe on a defendant's
due process rights under art. 12. Frizado v, Frizado, 420 Mass. 592, 596 (1995). The requirements of s.s. 4 and 7 of St. 1992, c. 188, do not diminish any of the due
process protections established in Frizado, nor does the inclusion of all relevant data, both civil and criminal, involving domestic violence on the part of an individual
into one system also violate that individual's due process rights. The Legislature could properly require that a judge (and others enforcing the domestic violence laws)
have available and review all pertinent information before issuing a new order against an individual or taking other action, and it makes little sense to maintain two
systems and require an independent examination of both. Further, a judge who is reviewing a particular individual's record is presumed to understand the difference
between a civil order and a criminal violation and to accord to each its proper weight. See Commonwealth v. Colon-Cruz, 393 Mass. 150, 168 (1984).

George's second argument - that, as applied to him, St. 1992, c. 188, s. 7, has violated his due process rights under art. 12 - is also not persuasive.

The United States Supreme Court has held that a person's reputation is not a protected liberty interest under the Fourteenth Amendment to the United States
Constitution unless "a right or status previously recognized by state law [is] distinctly altered or extinguished." Paul v. Davis, 424 U.S. 693, 711 (1976). See Siegert v.
Gilley, 500 U.S. 226, 233-234 (1991) (affirming the conclusions of Paul v. Davis); Romero-Barcelo v. Hernandez-Agosto, 75 F,3d 23, 32 (1st Cir. 1996), quoting Beitzell
v. Jeffrey, 643 F.2d 870, 878 (1st Cir. 1981) ("actionable deprivation of a liberty interest in one's reputation 'must be accompanied by a change in the [person's] status

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or rights'"). [Note 8] There is, as noted below, no express protection for reputation contained in art. 12, [Note 9] and, in the context of the present case, we follow the
analysis set forth above in the Paul decision in deciding whether art. 12 has been violated.

Accordingly, George must show more than a generalized fear of injury to his reputation; absent evidence of "a change in [his] status or rights," he cannot show that St.
1992, c. 188, s. 7 violates his right to due process. See Romero-Barcelo, supra. The sole assertion made by George is his subjective feeling that, because of the record
in the system, he is "put in a very difficult position" as a licensed insurance broker by questions on applications for renewal of his insurance licenses. We have already
pointed out that there are ample confidentiality procedures in place to protect the information in the system from general dissemination. See Bishop v. Wood, 426 U.S.
341, 348 (1976) (where information is not made public, it cannot form basis for claim of injury to reputation). George does not allege that the Commonwealth has
released any information from the criminal justice information system (see note 6, supra) to any prospective licensing agency, nor that, under current statutory
restrictions, the Commonwealth could legally release such information. It has not been shown that any requirement of St. 1992, c. 188, s. 7, has affected George's
ability to gain employment or otherwise has altered or extinguished a previously existing right or status held by him. See Paul v. Davis, supra at 701, 711.

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This is an entirely different situation from that presented in Valmonte v. Bane, 18 F.3d 992 (2d Cir. 1994), where the United States Court of Appeals for the Second
Circuit found that an individual's liberty interest had been violated because an unfounded child abuse accusation was maintained on a State registry. Id. at 1001. The
Valmonte decision was based on the State's requirement that this information be disseminated to potential employers in the child care field. Id. at 1002. George cannot
and does not claim that licensing authorities are authorized to access information maintained in the system. See Hodge v, Jones, 31 F.3d 157, 165 (4th Cir. 1994)
(retention of records pertaining to child abuse did not implicate liberty interest where loss was "no more than a conclusory allegation of reputational injury"); Glasford
v. New York State Dep't of Social Servs., 787 F. Supp. 384, 388 (S.D.N.Y. 1992) (no liberty interest implicated where neither claimant's employment prospects nor
family relationships were affected by failure to expunge claimant's name from registry of child abusers). We therefore conclude that George has failed to show an
injury to a liberty or property interest protected under art. 12, and his constitutional claim must fail.

3. The order of the District Court entered on May 6, 1996, allowing George's motion to expunge is vacated, and a new order is to be entered denying the motion.

So ordered.


   FOOTNOTES

   [Note 1] Donalda Vaccaro is not a party to this appeal. The Department of Probation (department) sought to become a party to the case by reason of the motion to vacate the
   order that is the subject of this appeal. As a result of the motion, the parties to the appeal, George Vaccaro and the department, treated the department as having intervened.
   There is no question that the department has a cognizable interest in the case because of the duties imposed on the Commissioner of Probation by St. 1992, c. 188, s. 7, to
   maintain a Statewide system of records of various types of domestic violence orders. There is also no question that the issues presented in the appeal are of public importance and
   concern the interests of many individuals involved in abuse prevention proceedings. We therefore include the department as a party, despite its failure to file a formal motion to
   intervene.

   [Note 2] In her affidavit, Donalda stated that George had broken into the marital home through a second story window, had taken personal papers and otherwise disrupted her
   home office, and had removed his collection of handguns and rifles from the safe in the house. George did not have a key to the home and had agreed with Donalda that he would
   make prior arrangements with her before coming to the home. Donalda was fearful because, she said, George, in addition to disrupting her office, had left a semi-automatic rifle
   and ammunition lying around and the safe door open. In her affidavit, Donalda said that she was afraid because George appeared unstable, and she referred to incidents of prior
   verbal and physical abuse and harassment. The information provided to the court in Donalda's affidavit was sufficient to allow the court to conclude she had been placed in fear of
   "imminent serious physical harm." See G. L. c. 209A, s.s. 1 (b), 4.

   [Note 3] This portion of s. 7 (which has not been codified in the General Laws) reads as follows:

   "The commissioner of probation is hereby authorized and directed to develop and implement a statewide domestic violence record keeping system . . . . Said system shall include
   a computerized record of the issuance of or violations of any protective orders or restraining orders issued pursuant to [G. L. c. 208, s.s. 18 and 34B; c. 209, s. 32; c. 209A; c.
   209C, s.s. 15 and 201. Further, said computerized system shall include the information contained in the court activity record information system maintained by the office of said
   commissioner. The information contained in said system shall be made available to judges considering petitions or complaints pursuant to [G. L. c. 208, secs. 18 and 34B; c. 209,
   s. 32; c. 209A; c. 209C, s.s. 15 and 20]. Further, the information contained in said system shall be made available to law enforcement agencies through the criminal justice
   information system maintained by the executive office of public safety. . . ."

   [Note 4] These provisions of the act require a judge to "cause a search to be made of the [system]" and to "review the resulting data to determine whether the named defendant
   has a civil or criminal record involving domestic or other violence." In addition to amending G. L. c. 209A, s. 7, the act made the search requirement applicable to the statute
   governing divorce, G. L. c. 208, by inserting s. 34D; amending the statute governing husbands and wives, G. L. c. 209, s. 32; amending the statute governing children born out of
   wedlock, G. L. c. 209C, s. 15; and also amending, through St. 1992, c. 188, s. 6, the District Court statute governing process, issuance of complaints for misdemeanor,
   consideration of criminal records and domestic violence records, and the right to a hearing, G. L. c. 218, s. 35A. Further, G. L. c. 276, s. 58A (1), the statute governing pretrial
   detention where a defendant is alleged to be dangerous, lists the issuance of orders under G. L. c. 209A, s.s. 3, 4. or 5, as a factor to be considered in deciding whether
   dangerousness has been demonstrated.

   [Note 5] While, in George's case, the temporary protective order was vacated after a hearing before a judge, more frequently such orders are vacated because the plaintiff has
   chosen not to pursue the order. The dynamics of this choice are complex and can involve the plaintiffs self-esteem, financial and family pressures, a desire for reconciliation,
   coercion, intimidation, or the heightened sense of danger that accompanies a separation. See Guidelines for Judicial Practice: Abuse Prevention Proceedings commentary to
   Guideline 2:06 (Oct. 1996). Because a fair proportion of such vacated orders may include a high level of abuse, inclusion of vacated orders in the system can provide meaningful
   information, notwithstanding their inactive status and regardless of the reason for termination. See Office of the Commissioner of Probation, The Tragedies of Domestic Violence
   (Oct. 1995).

   [Note 6] George argues that the existing system is inadequate to protect his confidentiality because it is incapable of preventing unwarranted disclosure. The legislative and
   administrative scheme in place adequately protects George, and others similarly situated: the records in the system are available only to trial court judges through the court's
   computer system and to law enforcement agencies through the criminal justice information system (CJIS), access to which is limited by regulation to certified criminal justice
   agencies and to those otherwise authorized by the criminal history systems board. CJIS information is to be used "only for a criminal justice purpose in the performance of . . .
   official duties and responsibilities." 803 Code Mass. Regs. s. 3.05 (1995). The CJIS regulations also contain additional restrictions governing who can have access to the
   information and for what purpose. See 803 Code Mass. Regs. s.s. 3.02-3.09 (1995). This statutory and regulatory scheme forecloses general access by the public to records of
   civil restraining and protective orders. Access to the system is thus limited to those agencies or persons who require such information in order to further the protective purpose of
   the act, G. L. c. 209A, and other statutes aimed at preventing abuse.

   [Note 7] George does not make a direct argument that the District Court possesses the inherent power to expunge names from the registry. An inherent power is a power "whose
   exercise is essential to the function of the judicial department, to the maintenance of its authority, or to its capacity to decide cases." Gray v. Commissioner of Revenue, 422 Mass.
   666, 672 (1996), quoting Brach v. Chief Justice of the Dist. Court Dep't, 386 Mass. 528, 535 (1982). Inherent powers involve the internal functioning of the judiciary, see Brach v.
   Chief Justice of the Dist. Court Dep't, supra, and are only implicated when the lack of a statutorily authorized power impairs the function of the court or threatens the maintenance
   of its authority. See Sheriff of Middlesex County v. Commissioner of Correction, 383 Mass. 631, 635 (1981). There is nothing in St. 1992, c. 188, s.s. 4 or 7, that impairs the
   court's function or threatens its authority or ability to decide cases so as to require an exercise of any inherent power of expungement. Compare Police Comm'r of Boston v.
   Municipal Court of the Dorchester Dist., 374 Mass. 640, 664-665 & n.18 (1978).

   [Note 8] This analysis is referred to as the "stigma plus" test for determining whether an injury to an individual's reputation constitutes a deprivation of a liberty or property
   interest protected by the Fourteenth Amendment. See Valmonte v. Bane, 18 F.3d 992, 999-1000 (2d Cir. 1994).

   [Note 9] George contends that because the Declaration of Rights makes express reference to an individual's character, the due process protections of art. 12 are automatically
   implicated when State action injures an individual's reputation. This is not the case. Although other articles of the Declaration of Rights refer to "character" (see art. 11 [right to
   access to courts and speedy trial]; art. 18 [right to demand qualifications of public officeholders]; art. 29 [right to a fair trial and impartial jury]), there is no reference to
   character in art. 12, on which the defendant has based his due process claim. In addition to art. 12, due process protection is also provided under arts. 1 & 10 of the Declaration
   of Rights, and under Part II, c. 1, s. 1, art. 4, of the Constitution of the Commonwealth, Opinion of the Justices, 423 Mass. 1201, 1229 n.20 (1996), but there is no mention of
   character in these provisions. We therefore conclude that there is no independent protection for an individual's reputation under art. 12.


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           EDMUND WOJCICKI, individually and as executor, [Note 1] vs. JOAN E. CARAGHER.
447 Mass. 200
April 4, 2006 - July 11, 2006
Essex County

Present: MARSHALL, C.J., GREANEY, IRELAND, SPINA, COWIN, SOSMAN, & CORDY, JJ.

   Medical Malpractice, Appeal, Expert opinion. Evidence, Expert opinion. Witness, Expert. Practice, Criminal, New trial. Fraud.

   In a civil action for medical malpractice, the judge abused her discretion in granting the plaintiff's motion for a new trial and imposing sanctions on the defendant and an expert witness for the
   defense on the ground that the witness had provided false and misleading testimony, where the evidence did not support the notion that the witness, or defense counsel, committed a fraud on the
   court [208-211]; where, although there was ample support for the judge's finding that the witness's testimony was misleading, it was difficult to conclude that the witness's testimony was false [211-
   212]; where the data related to a certain medical study underlying the witness's testimony could not be considered newly discovered evidence that would justify a new trial, in that the plaintiff should
   have anticipated that the defendant would dispute the study's application to the circumstances of the case and could have obtained the data before trial, or could have taken remedial action at trial,
   and where, in any event, the data would not likely affect the result of a new trial [213-216]; and where, given that there was no need for a new trial, there was no need for sanctions to compensate
   the plaintiff for costs associated with a second trial [216-217].

   CIVIL ACTION commenced in the Superior Court Department on January 25, 2000.

   The case was tried before Diane M. Kottmyer, J., and a motion for a new trial was heard by her.

   Leave to prosecute an interlocutory appeal was allowed in the Appeals Court by Mark V. Green, J.

   The Supreme Judicial Court granted an application for direct appellate review.

   William J. Dailey, Jr. (John M. Dellea with him) for Frederick Hochberg.

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   David M. Gould (Sean E. Capplis with him) for the defendant.

   David W. White-Lief (Marc L. Breakstone with him) for the plaintiff.




SPINA, J. Edmund Wojcicki (plaintiff), acting individually and as the executor of the estate of his wife, Sherry Wojcicki (decedent), brought this action for medical
malpractice and loss of consortium, alleging negligence by Dr. Joan Caragher (defendant) in treating the decedent for stroke. After a trial in the Superior Court, the jury
returned a verdict in favor of the defendant. The plaintiff filed a motion for a new trial, claiming that an expert witness for the defense had provided false and
misleading testimony, and asked the judge to impose sanctions. After extensive posttrial proceedings, including a deposition of the expert witness, the motion judge,
who also had presided at trial, granted the plaintiff's motion and imposed sanctions against both the expert and the defendant. A single justice of the Appeals Court
granted the defendant's interlocutory appeal from these orders, and stayed the proceedings in the Superior Court pending appellate review. We granted the plaintiff's
application for direct appellate review, and we now reverse.

1. Background. The decedent was diagnosed with cancer in April, 1999, and received the final dose of chemotherapy to shrink a large, inoperable tumor in her right
breast on July 1, 1999. At home the next day, at approximately 11:30 A.M., the plaintiff discovered the decedent collapsed on a couch, unable to move her left arm or
leg. The decedent quickly was taken to a hospital by ambulance; when she arrived in the emergency department, she appeared alert, complaining of headache, left-
sided weakness, and slurred speech. After examining the decedent and performing the relevant diagnostic tests, including blood work and a CT scan, hospital staff
determined that she had suffered an ischemic stroke. [Note 2]

Treatment options for ischemic stroke were very limited until 1995, when a study conducted by the National Institute of

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Neurological Disorders and Stroke (NINDS study) demonstrated that tissue plasminogen activator (t-PA), a drug that can dissolve blood clots, may reduce the long-
term disability that often follows ischemic stroke. Because of the serious risks associated with t-PA use, including fatal intracranial bleeding, the drug had to be
administered within three hours of the onset of stroke, and the patient had to undergo a CT scan before the t-PA could be administered, to rule out any bleeding in the
brain. The researchers also developed exclusion criteria to ensure that patients with a heightened risk of intracranial bleeding did not receive the drug. [Note 3] The
Food and Drug Administration (FDA) approved the use of t-PA to treat ischemic stroke in 1996.

When the defendant, the attending physician in the emergency department, learned of the decedent's recent cancer diagnosis and treatment, she telephoned the
decedent's oncologist to determine whether her cancer was metastatic; if the cancer had spread to the decedent's brain, she would face an increased risk of
intracranial bleeding and therefore would not be an appropriate candidate for t-PA. The oncologist informed the defendant that he did not believe the decedent's breast
cancer to be metastatic, but the testing necessary to determine whether the cancer had reached her brain had not been completed. [Note 4] The defendant ultimately
decided that the decedent was not an appropriate candidate for t-PA.

Following the defendant's decision not to administer t-PA,

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the decedent was transferred to another hospital. [Note 5] Two weeks later, she was moved to a rehabilitation facility, where she remained for several weeks. The
stroke left the decedent paralyzed on the left side of her body. Although surgery to remove the tumor in her breast was successful, she died from cancer-related
complications in 2002. [Note 6]

The plaintiff filed this action for medical malpractice in 2000, claiming that the decedent was an appropriate candidate for t-PA therapy on July 2, 1999; that the
defendant deviated from the standard of care by failing to use this drug to treat her stroke, or to transfer the decedent in time to receive t-PA at another hospital; and
that the failure to administer t-PA caused the decedent's medical outcome. At trial, the plaintiff introduced an article from the New England Journal of Medicine
summarizing the results of the 1995 NINDS study; two expert witnesses who testified on behalf of the plaintiff stated that this article established the standard of care
regarding the use of t-PA to treat stroke patients in 1999. These experts testified that a patient like the decedent would be a suitable candidate for t-PA therapy
because she satisfied all of the inclusion criteria set out in the article -- t-PA could have been administered within three hours of the onset of stroke, and the CT scan
did not reveal any bleeding in her brain -- and because she did not present with any exclusion criteria. Both experts also stated that cancer is not a contraindication to
the use of t-PA unless it has metastasized to the patient's brain.

The defendant, testifying at trial, explained that she did not consider the decedent to be an appropriate candidate for t-PA therapy because she recently had been
diagnosed with breast cancer; she had undergone chemotherapy the day before the stroke; and the testing necessary to determine whether her cancer had
metastasized had not been completed. Each of these

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factors, the defendant claimed, increased the decedent's risk of intracranial bleeding. The defendant offered the testimony of three expert witnesses to support her
position. One of these experts, Dr. Fred Hochberg, a neurologist specializing in the treatment of cancer patients, testified that no cancer patients were included in the
NINDS study. [Note 7] On cross-examination, Hochberg insisted that, although the article from the New England Journal of Medicine did not mention cancer, "the actual
study" contained "zero" cancer patients. [Note 8] When defense counsel later asked Hochberg to clarify the difference between the study and the published article,
Hochberg explained that all data pertaining to patients enrolled in the study were contained on

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two CD-ROMs, available from the National Institutes of Health, and that some of this data were not included in the article. [Note 9] Hochberg also acknowledged that
cancer was not listed as an exclusion criteria in the NINDS study.

The jury found that the defendant had not been negligent in treating the decedent. After the verdict, the judge, accompanied by counsel, met briefly with jurors; one
juror mentioned that she was particularly impressed by Hochberg's testimony. [Note 10] Later that day, the plaintiff's counsel contacted one of his own experts to
discuss his concerns about Hochberg's testimony. That expert informed him that Hochberg's claim that zero cancer patients participated in the NINDS study was not
supported by the data. Counsel then contacted the NINDS study coordinator and discovered that fifty-nine of the 624 participants reported having been diagnosed with
a malignancy at some point in their lives.

Based on this information, the plaintiff filed a motion for a

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new trial pursuant to Mass. R. Civ. P. 59 (a), 365 Mass. 827 (1974), and a motion for relief from judgment pursuant to Mass. R. Civ. P. 60 (b) (3), 365 Mass. 828
(1974), arguing that Hochberg gave false and misleading testimony about a central issue in the case when he testified that no cancer patients were included in the
NINDS study. The plaintiff characterized this testimony as perjury, claimed that its admission constituted fraud on the court, and asked the judge to impose sanctions.
The plaintiff submitted affidavits in support of the motion from the study's lead biostatistician, averring that fifty-nine study participants reported a previous cancer
diagnosis, and that this information was available on the CD-ROM from the National Technical Information Service.

At the conclusion of the first hearing on the motion, the judge ordered Hochberg to appear for a deposition regarding the basis of his testimony about the NINDS study.
Hochberg testified repeatedly at the deposition that his trial statements about "cancer patients" referred only to patients like the decedent, with acute, recently
diagnosed, active cancer. He further testified that, although he had never reviewed the data on the CD-ROMs, he based his statement that patients with active cancer
were excluded from the NINDS study on a telephone conversation with the lead biostatistician. [Note 11]

The plaintiff responded with a supplemental affidavit from the biostatistician, in which she explained that neither the published article nor the data on the CD-ROMs
contained any information about whether the participants who reported a diagnosis of malignancy had active cancer at the time of the study. The only way to
determine the status of cancer in those fifty-nine patients during the study, she later explained, would be to identify the patients, contact their treating physicians, and
review their individual medical records. She also denied ever having a telephone conversation with Hochberg, and produced

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documents proving she was out of State when he claimed their conversation occurred.

At the next hearing on the motion, the judge found that Hochberg intended to create the impression that the CD-ROMs indicated that no cancer patients participated in
the NINDS study when, in fact, he did not review the data and lacked such knowledge. Accordingly, she ordered a new trial and awarded the costs of the first trial to
the plaintiff as sanctions. Because she imposed sanctions, the judge gave Hochberg the opportunity to be heard before issuing her final, written decision.

Hochberg obtained his own counsel, and the posttrial proceedings continued over several months. Hochberg presented evidence that researchers considered "a serious
medical illness that is likely to interfere with" the NINDS study to be an exclusion factor. He deposed the biostatistician and obtained affidavits from three of the study's
principal investigators, attesting that, to the best of their knowledge, none of the participants enrolled through their hospitals had active cancer. [Note 12] Finally,
counsel for the defendant submitted an affidavit in which he confirmed that he told Hochberg before trial that he did not need to purchase the CD-ROM. Defense
counsel also explained that, at trial, he was careful to ask Hochberg only questions about patients who "presented with" cancer, a clinical term meaning active cancer,
and that he intentionally did not ask Hochberg if he had reviewed the data on the CD-ROMs, because he knew that Hochberg had not done so.

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On November 16, 2004, the judge issued her written decision on the plaintiff's motion for a new trial, finding by clear and convincing evidence that Hochberg
intentionally testified at trial about the existence of a fact (the exclusion of cancer patients from the NINDS study) that he did not know to be true; "deliberately
created the false impression . . . that he had reviewed the CD-ROM . . . and that it showed that no cancer patients were included in the study"; and testified falsely in
his posttrial deposition that he had a telephone conversation with the lead biostatistician. The judge found that the evidence presented in the plaintiff's motion was
newly discovered because the defendant did not disclose that Hochberg would testify about the characteristics of study participants, specifically, that no cancer patients
were included in the study, and because the study data on CD-ROM could be read only by a statistician using special software. These circumstances, she concluded,
warranted a new trial. In addition, while acknowledging that she could find no clear precedent authorizing an award of sanctions against a nonparty witness, the judge
imposed sanctions against Hochberg for this false testimony. The judge also ordered sanctions against the defendant, based on defense counsel's failure to disclose
that Hochberg would testify that no patients with active cancer were included in the study, his failure to correct Hochberg's testimony that "zero" cancer patients were
included in the study, and his role in eliciting testimony that created the false impression that Hochberg had reviewed the CD-ROMs. [Note 13]

2. Discussion. The sole issue raised on appeal is the propriety of the order allowing the plaintiff's motion for a new trial and imposing sanctions on Hochberg and the
defendant. Rule 59 (a) (1) permits a judge to order a new trial "in an action in which there has been a trial by jury, for any of the reasons for which new trials have
heretofore been granted in actions at law in the courts of the Commonwealth." Rule 60 (b) (3) specifically

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authorizes relief from a final judgment for "fraud (whether heretofore denominated intrinsic or extrinsic), misrepresentation, or other misconduct of an adverse party."
The resolution of motions for a new trial and motions for relief from judgment rests in the discretion of the trial judge, and we review orders granting such relief for an
abuse of that discretion. [Note 14] E.g., Gath v. M/A-Com, Inc., 440 Mass. 482, 492 (2003) (motion for new trial); Cullen Enters., Inc. v. Massachusetts Prop. Ins.
Underwriting Ass'n, 399 Mass. 886, 894 (1987) (motion for relief from judgment). We similarly review orders imposing sanctions for an abuse of discretion. Ayash v.
Dana-Farber Cancer Inst., 443 Mass. 367, 401, cert. denied sub nom. Globe Newspaper Co. v. Ayash, 126 S. Ct. 397 (2005), and cases cited.

The defendant and Hochberg contend that the judge abused her discretion in ordering a new trial and imposing sanctions because they did not commit fraud on the
court or provide false or misleading trial testimony. They argue that Hochberg's testimony about the NINDS study cannot be considered newly discovered evidence,
and that a new trial is not the proper remedy in these circumstances. The plaintiff, however, maintains both that Hochberg and defense counsel committed fraud on the
court, and that a new trial would be warranted (in the interests of justice) even without such a finding, because Hochberg intentionally gave false and misleading
testimony related to a central issue in the case. The plaintiff claims that the evidence that fifty-nine NINDS study participants had some history of cancer is newly
discovered, and that the award of sanctions against Hochberg and defense counsel was fair and reasonable.

a. Fraud on the court. "A "fraud on the court' occurs where "it can be demonstrated, clearly and convincingly, that a party

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has sentiently set in motion some unconscionable scheme calculated to interfere with the judicial system's ability impartially to adjudicate a matter by improperly
influencing the trier or unfairly hampering the presentation of the opposing party's claim or defense.' " Paternity of Cheryl, 434 Mass. 23, 35 (2001), quoting Rockdale
Mgt. Co. v. Shawmut Bank, N.A., 418 Mass. 596, 598 (1994). The doctrine is limited to "that species of fraud which does, or attempts to, defile the court itself, or is a
fraud perpetrated by officers of the court so that the judicial machinery can not perform in the usual manner . . . ." Pina v. McGill Dev. Corp., 388 Mass. 159, 165
(1983), quoting Lockwood v. Bowles, 46 F.R.D. 625, 631 (D.D.C. 1969). "Courts have found fraud upon the court only where there has been the most egregious
conduct involving a corruption of the judicial process itself. Examples are bribery of judges, employment of counsel to "influence' the court, bribery of the jury, and the
involvement of an attorney (an officer of the court) in the perpetration of fraud." MacDonald v. MacDonald, 407 Mass. 196, 202 (1990), quoting Lockwood v. Bowles,
supra at 631-632.

Although it is unclear whether the judge found that Hochberg committed fraud on the court, we conclude that the evidence cannot support such a finding. [Note 15]
Aspects of Hochberg's testimony are disturbing, particularly his trial testimony about the CD-ROMs, suggesting that he was familiar with the data, and his posttrial
testimony about his conversation with the biostatistician, which the judge expressly found to be false. However, even "[p]erjury does not constitute "fraud upon the
court' " when there is no evidence that the judicial process itself was corrupted. Lockwood v. Bowles, supra at 628. "The possibility of a witness testifying falsely is
always a risk in our judicial process, but there are safeguards within the system to

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guard against such risks. The most basic of these is cross-examination of witnesses . . . ." Id. at 632-633.

The plaintiff also suggests that defense counsel committed fraud on the court because he "launched the fraud" perpetrated by Hochberg when he inquired about the
inclusion of cancer patients in the study, knowing that Hochberg had not reviewed the study data. Again, however, the judge did not explicitly find that counsel's
conduct amounted to fraud on the court, and we conclude that the record does not support such a finding. In fact, the judge found that Hochberg told defense counsel
he had discussed the exclusion of patients with active cancer with an investigator with the National Institutes of Health, giving counsel a legitimate basis for inquiring
about that issue at trial. [Note 16]

b. False and misleading testimony. While arguing that Hochberg and defense counsel did commit fraud on the court, the plaintiff maintains that the judge ordered a
new trial based not on a finding of fraud on the court, but on Hochberg's false and misleading testimony that "no cancer patients" were included in the study, when in
fact, fifty-nine study participants had been diagnosed with cancer at some point during their lives. The defendant and Hochberg, however, counter that Hochberg's
testimony was not false or misleading because he did not testify that no patients with a history of cancer participated in the study, only that no patients "presenting
with" cancer, a clinical term meaning active cancer, were included. They emphasize that Hochberg never testified that he reviewed the CD-ROMs, and that he based his
testimony regarding the exclusion of

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patients with active cancer from the study on his knowledge, training, and experience.

There is ample support for the judge's finding that Hochberg's trial testimony was misleading. Both defense counsel and Hochberg claim that the distinction between
active cancer and historical cancer is critical to understanding Hochberg's testimony, yet neither explained this difference, or even used these terms, at trial. In
addition, Hochberg's description of the CD-ROMs and their contents implied familiarity with the study data, but he had never seen the CD-ROMs or reviewed the data.
Therefore, he could not know with certainty that cancer patients were excluded from the study, but he testified without qualification that no cancer patients
participated. Indeed, even had he reviewed the CD-ROMs, he would not have been able to determine whether patients with active cancer were included in the study,
because the CD-ROMs did not contain information about the cancer status of the participants who reported a diagnosis of malignancy. Like the judge, we are left with
significant concerns about the basis for Hochberg's testimony about the exclusion of cancer patients from the NINDS study. [Note 17]

While these aspects of Hochberg's testimony were misleading, it is not clear whether, and to what extent, the judge found that his trial testimony was false. The judge
found that Hochberg intentionally created the false impression that he had reviewed the study data, and that he testified to facts that he did not know to be true, but
the only "testimony" that she actually found to be "false" was his posttrial testimony about the telephone conversation with the biostatistician. [Note 18] Hochberg's
statement that no cancer patients were included in the NINDS study appears to be baseless, but it is difficult, on this record, to conclude that it was false: the evidence
adduced posttrial does not establish that any patients with active cancer participated in the study, although fifty-nine patients with some history of cancer did.

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c. Newly discovered evidence. Even if we assume that Hochberg's trial testimony was false, however, the plaintiff must demonstrate that the evidence presented in his
motion for a new trial was newly discovered. Evidence is considered "newly discovered" in this context only if it was "unknown and unavailable at the time of trial
despite the diligence of the moving party." Leavitt v. Mizner, 404 Mass. 81, 89 (1989), quoting Commonwealth v. Williams, 399 Mass. 60, 64 (1987). DeLuca v. Boston
Elevated Ry., 312 Mass. 495, 497 (1942).

The judge found that the plaintiff satisfied his burden of showing that the evidence relied on in support of his motion -- the data showing that fifty-nine study
participants reported a history of malignancy -- was newly discovered because the defendant did not disclose that Hochberg would testify about the characteristics of
study participants, and in particular, that he would testify that no cancer patients were included. She also considered relevant the fact that the CD-ROM could be read
only using specialized statistical software.

The defendant and Hochberg challenge this conclusion, maintaining that the data cannot be considered newly discovered because the plaintiff should have anticipated
that the defendant would dispute the study's application to cancer patients, and could have obtained the data before or during trial. We agree. The plaintiff introduced
the NINDS study and had access to the CD-ROMs containing the underlying study data. Thus, the data were not unavailable, and the plaintiff could have discovered
that fifty-nine study participants previously had been diagnosed with cancer. Furthermore, the pretrial disclosures provided that Hochberg "is expected to testify that
[the decedent] had many contraindications to thrombolytic therapy, including her anemia, her recent chemotherapy and the possibility of metastatic disease, possibility
of a tumor, and the risk of intracerebral bleeding." This was sufficient to notify the plaintiff that the defendant would argue that the decedent was not an appropriate
candidate for t-PA for reasons related to her cancer and its treatment. Because the plaintiff used the NINDS study to establish the standard of care for the
administration of t-PA, it was foreseeable that the defendant, through her experts, could challenge the application of that research to cancer patients like

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the decedent. The plaintiff cannot now claim to be unfairly surprised by expert testimony about the relevance of the NINDS study to cancer patients.

More important, even if the plaintiff did not anticipate that a defense expert would testify about the NINDS study data or the exclusion of cancer patients, he could
have taken remedial action at trial. The plaintiff did not attempt to explore the basis of Hochberg's testimony about the study data through cross-examination, the
traditional means of attacking the validity of expert testimony. See, e.g., Commonwealth v. Sands, 424 Mass. 184, 186 (1997) ( "basis of [expert] testimony can be
effectively tested through cross-examination and rebuttal evidence"); Sacco v. Roupenian, 409 Mass. 25, 30 (1990) ("adverse party is free to attack inconsistencies or
omissions in the factual foundation, as well as flaws in the expert's analytical process . . . through cross-examination"). The plaintiff also could have objected and
moved to strike Hochberg's testimony if he was not prepared to counter such testimony based on the pretrial disclosures, or he could have requested a voir dire
hearing or a brief continuance for further investigation. Commonwealth v. Martin, 424 Mass. 301, 306 n.1 (1997). Commonwealth v. Pyne, 35 Mass. App. Ct. 36, 39-40
(1993). However, "[t]here was no objection, register of surprise, or request for a continuance by the [plaintiff]. In these circumstance, the [plaintiff]'s claim of lack of
notice rings hollow." Commonwealth v. Cortez, 438 Mass. 123, 126 (2002). See Beaupre v. Cliff Smith & Assocs., 50 Mass. App. Ct. 480, 486-487 (2000) (fact that
party did not make specific objection to expert testimony, or request continuance or voir dire of expert, subverts claim of unfair surprise or prejudice).

Indeed, the plaintiff did not take any action regarding Hochberg's testimony, which he claims was both unanticipated and devastating to his case, until after the jury
returned an unfavorable verdict, when the plaintiff's counsel contacted his own expert to discuss his concerns about Hochberg's testimony. It took this expert just one
hour to confirm his belief that no study data supported Hochberg's testimony about the exclusion of cancer patients. [Note 19] The plaintiff's appellate counsel
advances no reason for trial counsel's delay in contacting this expert to

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discuss Hochberg's testimony. We are left with the conclusion that the plaintiff "is attempting to raise now on a motion for a new trial questions which he might have
raised but did not present at his trial." Commonwealth v. Richardson, 361 Mass. 661, 663, cert. denied, 409 U.S. 884 (1972). Given the "public interest in the finality
of judgments," a motion for a new trial should not be granted when the issues raised therein could have been addressed during the trial. Commonwealth v. Tucceri,
412 Mass. 401, 406 (1992). See Davis v. Boston Elevated Ry., 235 Mass. 482, 496 (1920).

Moreover, newly discovered evidence does not warrant a new trial unless that evidence also would "be a real factor with the jury in reaching a decision." Id. The new
evidence must be "material not only in the sense that it is relevant and admissible but also in the sense that it is important evidence of such a nature as to be likely to
affect the result." DeLuca v. Boston Elevated Ry., 312 Mass. 495, 497 (1942). Although the judge need not be convinced that the new evidence would result in a
different verdict, it must nevertheless be "important evidence" that "would have genuine effect" on the jury. Davis v. Boston Elevated Ry., supra.

The judge found that Hochberg's testimony concerned "an issue that was central to the case," but made no other findings related to its materiality. The plaintiff argues
that Hochberg's testimony affects the very foundation of his case because it made the NINDS study, which established the standard of care for the administration of t-
PA, irrelevant to the decedent. [Note 20] Citing the juror's posttrial comment as proof of the impact of Hochberg's testimony, the plaintiff claims that the fact that some
study participants reported having been diagnosed previously with cancer would make a difference at a new trial.

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However, given the evidence uncovered posttrial, this seems unlikely. [Note 21] If there were another trial, the jury would learn that fifty-nine study participants had
been diagnosed with cancer at some point in their lives. Presumably, however, the jury also would learn that patients with serious medical illnesses were excluded from
the study, and that several physicians involved with the study believed that no patients with active cancer participated at their hospitals. [Note 22] Furthermore, the
jury would hear expert testimony that there are risks associated with administering t-PA to cancer patients; t-PA should never be used to treat patients with brain
metastases; and the testing to determine whether the decedent's cancer had metastasized had not been completed -- all evidence supporting the verdict for the
defendant. Finally, the plaintiff extracted a significant concession from Hochberg at trial, namely that cancer was not listed as an exclusion factor in the NINDS study. "
[A] new trial "ought not to be granted unless on a survey of the whole case it appears to the judge that otherwise a miscarriage of justice would result.' " Spiller v.
Metropolitan Transit Auth., 348 Mass. 576, 580 (1965), quoting Nicholas v. Lewis Furniture Co., 292 Mass. 500, 507 (1935). The mere possibility that allegedly newly
discovered evidence might affect the outcome does not require a new trial. DeLuca v. Boston Elevated Ry., 312 Mass. 495, 500 (1942).

d. Sanctions. After allowing the plaintiff's motion for a new trial, the judge imposed sanctions against the defendant and Hochberg to compensate the plaintiff for
expenses incurred at the first trial and during posttrial proceedings. Sanctions may be ordered "to compensate the aggrieved litigant for the actual loss incurred by the
misconduct of the offending party." Avelino-Wright v. Wright, 51 Mass. App. Ct. 1, 5 (2001), citing Clark v.

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Clark, 47 Mass. App. Ct. 737, 744-745 (1999). For the reasons explained above, however, no new trial is required; therefore, there is no longer a need to compensate
the plaintiff for costs associated with a second trial. [Note 23]

3. Conclusion. For the foregoing reasons, we conclude that the judge abused her discretion in granting the plaintiff's motion for a new trial and imposing sanctions
against the defendant and Hochberg. We accordingly vacate the orders of the judge, reinstate the jury verdict, and enter a final judgment of dismissal.

So ordered.


   FOOTNOTES

   [Note 1] Of the estate of Sherry Wojcicki.

   [Note 2] A stroke is caused by a sudden interruption of blood flow to the brain. An ischemic stroke is caused by the blockage, typically by a blood clot, of a blood vessel in the
   brain. A hemorrhagic stroke, the less common type, is caused by the sudden rupture of a blood vessel in the brain.

   [Note 3] For example, patients were not considered appropriate candidates for t-PA therapy, and therefore were not eligible to participate in the NINDS study, if they had
   experienced a stroke or serious head trauma within the preceding three months; they had undergone surgery within the previous two weeks; they had a history of intracranial
   bleeding; or they had high blood pressure or a blood clotting disorder. Stroke patients with symptoms deemed mild or rapidly improving also were not eligible to participate in the
   study because the risks associated with t-PA use would outweigh its potential benefits for those patients.

   [Note 4] The CT scan performed shortly after the decedent's arrival in the emergency department likely would not have identified brain metastases: the experts who testified at
   trial agreed that generally an MRI or an enhanced CT scan are the best methods of detecting metastatic cancer. The defendant could not perform these tests in the emergency
   department, and no neuroradiologist was available at the hospital on July 2, 1999, to review the unenhanced CT scan results.

   [Note 5] The decedent arrived at that hospital more than three hours after the onset of her stroke and therefore was not eligible for t-PA therapy there.

   [Note 6] It is not clear from the record whether the decedent in fact had metastatic cancer when she suffered the stroke on July 2, 1999. However, eight of fourteen lymph nodes,
   sampled when the decedent's tumor was removed later that summer, tested positive for cancer, and the plaintiff testified that the decedent died as a result of metastatic disease,
   after the cancer spread to her bones.

   [Note 7] On direct examination, Hochberg testified to the following:

   Q.: "Dr. Hochberg, are you familiar with the NINDS study that was published in December of 1995?"

   A.: "Yes."

   Q.: "And as part of this study, Dr, Hochberg, based upon your review of it together with your knowledge, training, and experience, as a neurologist, were there any patients
   included in that study who presented with cancer?"

   A.: "No."

   Q.: "Were there any patients who are part of that study who presented with breast cancer?"

   A.: "There were no patients with breast cancer in the NINDS, either part one or part two of that study."

   [Note 8] The following exchange occurred during Hochberg's cross examination:

   Q.: "How many patients in the NINDS Study had cancer?"

   A.: "Zero."

   Q.: "No one knows."

   A.: "Excuse me, zero."

   Q.: "You're telling the ladies and gentlemen of this jury that this study indicates how many patients had cancer?"

   A.: "That's correct."

   Q.: "Okay. Let's --"

   A.: "It's not published in there."

   Q.: "-- well, let's have a look at it, Doctor. Exhibit 12 is a copy of the NINDS Study. Can you tell us where in that study it states that none of the patients had cancer?"

   A.: "You're referring to the study or the publication of the study?"

   Q.: "What is it that you're holding in your hand, sir?"

   A.: "This is the publication of the study. You asked me about the actual NINDS Study, and the answer is zero. The publication makes no mention of the cancer patients. The actual
   study contained no cancer patients."

   [Note 9] On redirect examination, defense counsel asked Hochberg, "[W]hat is the difference between the publication of the study and the study results themselves?" Hochberg
   responded: "The NINDS Study was completed in approximately 1994. The current study data, which include the data of every patient who was entered into the study, those who
   were included, those who were not included . . . all are included in two large cd-roms that are available from the National Institutes of Health. To publish the results of the study in
   the New England Journal of Medicine requires that those data be distilled down to an article that can be read by physicians and by non physicians alike, that will give them the
   bare information that is logical about the nature of this study. But the actual study details are not embedded in this article."

   [Note 10] According to an affidavit from plaintiff's counsel, this juror said that she was "most impressed by Dr. Hochberg," and "after he testified that no cancer patients had been
   included in the NINDS study, "that was the end of the case as far as [she] was concerned.' "

   [Note 11] Hochberg testified that he telephoned the biostatistician and asked whether a patient like the decedent, who had active breast cancer, the extent of which was not
   known, and was receiving chemotherapy, would be included in the study. He claimed that she said no, and that he did not ask any other questions. Hochberg's telephone records
   revealed a thirty-second telephone call to the biostatistician's office.

   [Note 12] Eleven physicians from eight hospitals throughout the United States served as principal investigators for the NINDS study. Hochberg obtained affidavits from three of the
   eleven principal investigators. One of the three stated that six study participants from his hospital reported a previous diagnosis of malignancy. At his direction, a data coordinator
   reviewed the medical records of these patients, and none of them had active cancer during the study. The affidavits provided by the two other principal investigators do not
   indicate whether anyone reviewed the medical records of the participants enrolled through their hospitals who reported a previous diagnosis of malignancy: their affidavits state
   only that, to the best of their knowledge and recollection, no patients with active cancer from their hospital participated. Hochberg also obtained an affidavit from a physician on
   the NINDS data safety monitoring committee, who reported that, to the best of his knowledge and recollection, no patients with acute or active cancer, receiving chemotherapy,
   were included in the research because they "would have been excluded as a result of an acute medical condition."

   [Note 13] The judge ordered that the defendant pay the plaintiff's costs and attorney's fees for services "wasted" during the first trial, and for costs incurred at some of the
   posttrial proceedings, totaling $68,380. Hochberg was ordered to pay the plaintiff's costs and attorney's fees for the remainder of the posttrial proceedings, as well as the costs
   associated with empanelling a jury for the new trial, totaling $20,305.

   [Note 14] The judge did not specify whether she granted relief under Mass. R. Civ. P. 59 (a), 365 Mass. 827 (1974), or under Mass. R. Civ. P. 60 (b), 365 Mass. 828 (1974). The
   plaintiff argued for relief under both rules in the same document and on essentially the same grounds: that Hochberg, assisted by defense counsel, gave false and misleading
   testimony on an important issue at trial. It appears that the judge granted relief under rule 59: her memorandum and order refer to the plaintiff's request for relief as a motion for
   a new trial, and the plaintiff filed the motion within ten days of the judgment, as required by rule 59.

   [Note 15] In the judge's memorandum and order, she noted that "[a] finding of fraud on the court must be shown by clear and convincing evidence," and she proceeded to find
   clear and convincing evidence that Hochberg intentionally testified to a fact without knowing it to be true, deliberately misled the jury, and lied during his posttrial deposition.
   However, the judge did not discuss or cite any cases dealing with fraud on the court, nor did she explicitly find that a fraud on the court occurred in this case.

   [Note 16] The specific findings in the judge's memorandum and order relating to Hochberg's misconduct likewise do not support a finding of fraud on the court. She found that
   defense counsel helped create the false impression that Hochberg had reviewed the study data, and that he failed to correct Hochberg's testimony that "zero" cancer patients
   participated in the study. This, however, does not constitute a sentient scheme to defraud the court, particularly where defense counsel had reason to believe that Hochberg had
   talked to an investigator from the National Institutes of Health about the exclusion of patients with active cancer. The judge also found that defense counsel made inadequate
   pretrial disclosures about the testimony expected from Hochberg, but "[c]onduct such as nondisclosure to the adverse party or the court of facts pertinent to the matter before it,
   without more, does not constitute a fraud on the court . . . ." Sahin v. Sahin, 435 Mass. 396, 406 (2001).

   [Note 17] On appeal, the defendant and Hochberg argue that Hochberg's testimony was based on his education, training, and experience. When Hochberg was deposed posttrial,
   he insisted that his testimony was based on a telephone conversation with the biostatistician. However, he never mentioned this telephone call at trial.

   [Note 18] We express no opinion as to whether this testimony constituted perjury.

   [Note 19] After discussing the matter with his own expert, counsel contacted the NINDS project officer to confirm that cancer patients were not excluded from the study. Counsel
   contacted the project officer on a Friday afternoon, and was informed on the following Tuesday that fifty-nine participants reported some history of malignancy.

   [Note 20] Although the plaintiff now claims that the NINDS study was a critical piece of evidence at trial, we note that neither attorney mentioned the study during opening
   statements or closing arguments. Although defense counsel referred to Hochberg's testimony once during his closing, and the plaintiff referred to his testimony several times,
   these references did not concern his testimony about the study.

   [Note 21] The judge alluded to this during a posttrial hearing when she remarked that "one of the most disturbing things about this is the fact that an honest, legitimate defense
   is likely to have been successful in this case." She expressed a similar sentiment in her memorandum and order, noting that "a retrial is by no means certain to result in a verdict
   in favor of plaintiff."

   [Note 22] The plaintiff has not produced any evidence showing that patients with active cancer were included in the study: he relies on the fact that the NINDS data reveal only
   that fifty-nine participants had been diagnosed with cancer at some point, and suggests the status of their cancer during the research will never be known.

   [Note 23] Because we vacate the order imposing sanctions against Hochberg and the defendant, we need not address Hochberg's contention that the judge lacked the authority to
   impose sanctions against a nonparty witness.


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                          particular,Massachusettsshouldrequirethatthedefendant'sactionsmeet
                          thedefinitionsofspecificcrimessetoutintheMassachusettsGeneralLaws
                          beforeacourtissuesanabusepreventionorder.Additionally,thestate
                          legislatureshouldempowercourtstoimposeapenaltyonindividualswho
                          falselyallegeabuse.Thesechangeswillaverttheissuanceofunnecessary
                          abusepreventionordersandtheresultantdestructiontodefendants'lives.

                            *CandidateforJurisDoctor,NewEnglandLawlBoston(2013).B.A.,Psychology,magna
                          cumlaude,ElonUniversity(2010).Iwouldliketothankmyfamily,friends,andtheNew
                          EnglandLawReviewstafffortheirsupportthroughoutthewritingprocess.
                                Gregory             Fighting False Restraining Orders,              MASSOUTRAGE,
                          http://www.massoutrage.com/ma/restraining-order-resources/fighting-false-restraining-
                          orders/(lastupdatedJan.2,2012).

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                                                                           Case 2:21-cv-01412-ART-EJY   Document 452-1   Filed 01/09/25   Page 72 of 78
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               =:A=.>C.->//B#>^+;.+*#.@+#P?);++*-CNV#)?#-.#@>=#C).#A+;)X+#X>C-M+=.#.@>.#=:;@#M>/=-.B#@>=#A++C#)?
               [-//#A+#+SP)=+*&                                                                                                                                                U1YJZ#Y11K88JJ
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            087HV#8d#'.>.&#IaJaf#2:A&#!&#0dJ`JIIV#.-./+#ggg"""V#GcJJdd0HU0ZU!ZV#'+P.&#0JV#088YV#0d1#'.>.&#I0Y7&Z
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